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                                           No. 19-2005

                         UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT


                            STUDENTS FOR FAIR ADMISSIONS, INC.,
                                               Plaintiff-Appellant,

                                                  v.

                       PRESIDENT AND FELLOWS OF HARVARD COLLEGE,
                                              Defendant-Appellee.


                        On Appeal from the United States District Court
                              for the District of Massachusetts


                                      JOINT APPENDIX
                                        VOLUME VII


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                                                             THE CHRONICLE
                                                                 of Higher Education                                              I     EXHIBIT

                                                                                        TRIAL EXHIBIT                             i WuvV'""




                                                                                                             exhibitsticker.com
                                                                                                                                                   If-/
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                                                                                                                                                  J""",
                                                                                             P340
                           ADMISSIONS & STUDENT AID
                                                                                           SFFA v. Harvard




                           Affirlllative-Action Foe Plans
                           Crunpaigns Against 3 Universities
Date Filed: 07/30/2020




                           By Erjc Hoover I APRIL 01, 2014

                           [ Updated (4/7/2014, 7:26 p.m.J wjth comment from North CaroHna and
                           it'isconsjn.]

                           The Project on Fair Representation, a nonprofit legal organization, is seeking
                           plaintiffs for potential lawsuits challenging the race-conscious admissions
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                           policies at Harvard University, the University of North Carolina at Chapel Hill,
                           and the University of Wisconsin at Madison. The organization announced the
                           effort on Monday.
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                           The project has created three nearly identical Web sites (HARVARDnotFair.org,
                           UNCnotFair.org, and UWnotFair.org) that invite rejected applicants at each of
                           the three institutions to contact the organization. The Harvard-specific site, for
                           instance, asks, "Were you denied to Harvard? It may be because you're the wrong
                           race."
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                           In a news release, the organization said it believes that Harvard "is discriminating
                           against Asian-American students by using a 'quota' or 'ceiling' to limit their
                           admission to the university."

                           The ChronjcJe requ ested comment on Monday from the three universities. By
                           late Monday, North Carolina and Wisconsin had responded with a defense of
                           their policies.

                                                                     JA4451
                         http://www.chronicle.com/article/Affirmative-Action-Foe-Plans/ 145797
                         Affirmative-Action Foe Plans Campaigns Against 3 Universities - The Chronicle of High... Page 2 of 3



                           Since the U.S. Supreme Court's ambiguous ruling in Fisher v. UnjversjtyofTexas
                           at Austjn (No . 11-345) last June, colleges that consider applicants' race and
                           ethnicity have reassessed their admissions policies, hoping to insulate them from
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                           legal challenges.

                           On the heels of the ruling, Edward Blum, director of the Project on Fair
                           Representation, predicted "a wave oflitigation against colleges." Now his
                           organization-which provided legal counsel to Abigail Noel Fisher, the plaintiff in
Date Filed: 07/30/2020




                           the Texas case-is poised to make more waves.

                           The organization is also encouraging anyone with "firsthand knowledge" of the
                           use of race in admissions policies and practices at the three colleges "to come
                           forward and speak up as well," the news release says.


                           A Matchmaker
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                           Mr. Blum, who is not a lawyer, has characterized himself as a matchmaker. He
                           seeks plaintiffs to challenge policies, and then links them up with lawyers who are
                           willing to represent them at little or no cost. Mr. Blum found Ms. Fisher, the
Document: 00117622242




                           daughter of an old friend, more than two years after he started his search (he had
                           created a website similar to those that he unveiled on Monday). Ms. Fisher
                           contends that Texas rejected her because she is white.

                           It was not immediately clear why Mr. Blum's organization had singled out
                           Harvard, North Carolina, and Wisconsin. Each of the three websites makes the
                           same assertion: "It is our belief that [the college] has not followed the Supreme
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                           Court's instructions and it is vulnerable to a lawsuit."

                           Mr. Blum said last year that he interpreted the Fisher ruling to mean colleges
                           must first try out a race- neutral admissions policy before adopting a race-
                           conscious one. But other legal experts have rejected that interpretation.




                                                                          JA4452
                         httn·//www rhrnnirlP rnmfr1rtir]p/ A ffirmMivP-Artinn-FnP-Pl:=rn,_/14 '17CJ7
                         Affirmative-Action Foe Plans Campaigns Against 3 Universities - The Chronicle of High... Page 3 of 3



                           In September, Catherine E. Lhamon, assistant secretary in the Education
                           Department's Office for Civil Rights, said the Fjsherruling did not mean colleges
                           must go so far as to adopt race-neutral alternatives before considering race-
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                           conscious policies. "They don't have to be tried and used first," she said.

                           In the Fjshercase, North Carolina had submitted an amicus brief describing how
                           Chapel Hill's admissions office had studied the potential effects of adopting a
                           race-neutral plan. If the university had guaranteed admission to all students in
Date Filed: 07/30/2020




                           the top tenth of their high-school class, the brief said, the number of nonwhite
                           and underrepresented minority students would have risen slightly, yet other
                           measures of academic quality, such as test scores and grade-point averages,
                           would have fallen.

                           In its response on Monday, the university said it "stands by the statements in that
                           amicus brief, as well as the legality and fairness of the current undergraduate
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                           admissions policy and process."

                           Paul M. Deluca Jr., the provost at Madison, said in a written statement that the
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                           Wisconsin flagship had reviewed its holistic admissions policy in the wake of the
                           Fjsherdecision and earlier Supreme Court rulings, and believes its approach "is
                           appropriate and consistent with the law."


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                                                                       JA4453
                         htto://www.chronicle.com/article/ Affinnati ve-Action-Foe-Plans/ 14 5 797
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                                                                                                                        TRIAL    EXHIBIT




                                                                                                                                                 exhibitsticker.com
                                                                                                                               P461
                                                                                                                             SFFA v. Harvard


          III         H A R VA R D' COL LEG E                          I    Office of Admissions            and Financial   Aid



           "                                                                                                                      EXHIBIT
                                                                                                                                               r /



                                                                                           April 19, 2012


                              Redacted:
                           PillS PI
                New York, NY 10022




                        President Faust has asked me to respond to your April 4 letter, in which you offer many
                thoughtful observations about Harvard College students and the results of the admissions
                process. We appreciate your efforts to help us continually to improve the quality of our student
                body, particularly through your support of the New York Harvard Club Scholarship Committee.
                As you know, we continue to depend on the Club's support of many kinds.

                        Your comments on the importance of attracting a strong representation of students from
                Massachusetts resonates well in the Admissions Committee. We have worked hard-and
                successfully-at that goal. Currently over twelve percent of Harvard College students are
               Massachusetts residents. You might be interested to know that the Harvard Clubs of Boston and
               of Worcester have been active in helping us to recruit significant members of strong students
               through outreach of various forms and with scholarship support, as have our smaller local
               Harvard Clubs. Alumni efforts have made a huge positive contribution to our success not just
               locally but around the world. Although, as you note, Harvard is indeed a global institution, we
               have never forgotten our Cambridge and Boston roots, nor our aspirations, so well articulated at
               the 1936 tercentenary, to be America's University.

                       Our ambition to educate future leaders has made Harvard appealing to the most talented
               and ambitious students across America. As a result the College has become more representative
               of the ethnic and economic diversity of the eountry and, the University believes, better
               positioned to make significant contributions to the country. We have been pleased by our
               graduates' success and their leadership in their communities and professions following college,

                       I am personally delighted to learn of your great interest in our squash program. As you
               note, we have had a number of excellent players from abroad but most have been-and are
               today-from the US, Of this year's 21 men, 5 came from outside the US (one is from Canada),
               and the women's team of 15 includes three from outside the US (two are Canadian.) This has
               been another great year in squash, and we are optimistic about the future.


                                                                                        Continued



                   Administrative   Office 86 Brattle Street . Cambridge,   Massachusetts 02138
                   Visitor Center Agassiz House· Radcliffe Yard· 5 James Street- Cambridge, Massachusetts 02138


CONFIDENTIAL                                                                                                                  HARV00029940
                                                                   JA4454
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                April 19, 2012

                      All of us at Harvard appreciate your thoughtful letter, as well as your loyalty over the
               years. Congratulations on the seventieth anniversary of your graduation from the College.

                                 With best wishes,

                                                                                   Yours sincerely,




                                                                                   Marlyn E.McGrath
                                                                                   Director of Admissions

               Cc:    President Drew G. Faust

               l\1EMlalb




CONFIDENTIAL                                                                                                     HARV00029941
                                                        JA4455
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          Balian, Andrea
          From:                     Partin, Rachel Katherine [rachel_partin@harvard.edu]
          Scnt:                     Tuesday, April 17, 2012 3:14 PM
          To:                       McGrath, Marlyn
          Cc:                       Balian, Andrea
          Subject:                  Letter from Alumnus re Quotas
          Attachments:              12.04.061 Reda 1DGF Notification - Harvard should have predominantly U.S. Nationality
                                    students. pdf


          Hi Marlyn,

          President Faust received the attached letter from an alumnus regarding admissions practices. Given the
          nature of his suggestions, I was wondering if your office wouldn't mind responding on behalf of the
          president. Let me know what you think.

          Thanks!
          Rachel

          Rachel Partin
          Office of the President
          Harvard University
          617.496.3716




CONFI DENTIAL                                                                                                               HARV00029942
                                                           JA4456
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                                                            Redacted:
                                                              PIl/SPI
                                                     NEW YORK, N.Y. 10022




                                                                        April 4. 2012




                 Mrs. Drew Gilpin Faust. President
                 Harvard University
                 Office of the President                           RECEIVED
                 Massachusetts Hall
                 Cambridge, MA 02138
                                                                     APR 6 ZO'2

                 Dear Mrs. Faust:


                    .
                                I graduated from Harvard~c e ac   class of 1942, some time ago.
                Incidentally, I have known your brother, ted:   a charming fellow whom I have no! seen
                in about fifty years.

                                 The reason for my letter regards the makeup of Harvard's male
                 undergraduates. When I attended the college there was only one denn dealing with
                admissions, namely Dean Gummere, of the approximately one thousand male freshmen.
                I would venture that about 750 of these were top notch individuals. both academically
                and otherwise. The remaining 250 were not of such high caliber. I remember sitting next
                to a fellow freshman in the Union dining hall the night I arrived at Cambridge and
                learning from him that he was attending Harvard, having been turned down by Brown. In
                those days, it was virtually impossible to be turned down by Brown and accepted by
                Harvard. It shows that Harvard was in need of some public relations which it got
                eventually in part from graduates who embarked on the local School Committees and
                projected Harvard to their local community including the local high schools.

                                I was active also some years ago in the scholarship program and was
                chairman of the New York Harvard Club Scholarship Committee and increased the
                amount contributed by members of the Club from $5,000 a year to $50,000 a year, which
                made the Club the largest scholarship contributor next to the college itself. You will,
                accordingly, note that I maintain an interest in Harvard and have made an effort to
                increase the caliber of the undergraduates - no longer so necessary!




CONFI DENTIAL                                                                                                   HARV00029943
                                                         JA4457
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                 Mrs. Drew Gilpin Faust, President               -2-               April 4, 2012




                                The reason for my letter is to make comments with regard to the college's
                admissions policy. Since Harvard is located in Massachusetts. my strong feeling is that a
                reasonable number of students should necessarily come from Massachusetts.         Harvard
                can consider itself a "global" institution but it is necessary to have strong ground roots
                and these ground roots, of course. are in the state in which the college is located, namely
                Massachusetts.

                               Another aspect of the admissions policy should. in my mind. he based on
                informal quotas. Other colleges I know have quotas. The quotas would include foreign
                students and the country of their origin. For example. I would limit the number of
                Japanese students to a certain percentage or number. I think it is also important to have a
                quota based on religious affiliation and skin color. None of this. of course, has to go
                beyond the confines of the dean's office.

                               The last time I was in Cambridge it seemed to me that there were a large
                number of oriental students, for example. I think they probably should be limited to 5%
                as should other criteria.

                               I know, in fact, that other colleges actually do have stated quotas and I see
                no reason that Harvard should not have private informal quotas.

                                For example, on the athletic front, it is of course a well-known fact that the
                president of Trinity College, a former advertising executive, upon becoming the head of
                Trinity, made a decision that in order for Trinity to achieve some national recognition to
                do this was through an athletic endeavor. He chose squash (the number of participants is
                small). He recruited and, I presume. paid the tuition of individual students from Pakistan,
                India. Egypt. etc. They constituted the entire squash team at Trinity and upended
                Harvard's proud tradition by winning 9-0 almost every year recently. There have not
                been any U.S. players on their squash teams - too bad. Harvard in tum has had a few
                foreign players on the squash team but. to its credit, has not gone out as Trinity has
               actively to acquire squash players from other countries. I feel strongly that participating
               on a college team adds a certain feature to the education at Harvard which would
               otherwise be lacking. I was the captain of the squash team and follow that sport. Clearly,
               it is a good idea to have local American students constitute as much of the team as
               possible and I have. in fact, suggested that foreign nationals constitute only one-third of
               the actual squash team. This gives the local boys a chance.

                              Basically, I think Harvard should have predominately     U.S. nationality
               students.




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                 Mrs. Drew Gilpin Faust, President           -3-                 April 4, 20) 2



                               I would appreciate hearing what you might think of my comments.

                                                                   .Siacerelz   yours


                                                                                        Redacted:
                                                                                         PII/SPI




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              oir.harvard.edu




           Office of Institutional Research

                                                                                                            TRIAL EXHIBIT




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           Our Mission
                 To collect, synthesize, and analyze institutional data to fulfill mandatory reporting requirements and support University decision-making.


           Our Objectives
                 To offer accurate, timely, and digestible research, tailored to diverse audiences, with the goal of promoting informed decision-making
                 and furthering the core missions of the University.

           Our Scope
                 Primary source for major University facts and figures: Fact Book, Common Data Set, IPEDS, and other major reporting
                 Support for key University-wide committees
                 Systems analysis and information-sharing partnerships within Harvard and among peer institutions.
                 Planning and policy analysis; evidence-based recommendations


           Our Audiences
           At Harvard

                 University Leadership in the Office of the President and Provost
                 The Governing Boards
                 Senior Leadership in the Schools
                 Others, on a request-by-request basis

           Outside Harvard

                 Federal Government Agencies
                 Peer Institutions and Consortia
                 General Public




https://oir.harvard.edu/
                                                                          JA4460                                                                                         1/1
 Case: 19-2005
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            Key Points                                                                   P467
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             The law of the land, supported broadly
             Harvard’s lawful admissions policies consider many factors, including race, to
             evaluate each applicant as a whole person with the goal of seeking excellence,
             expanding opportunity, and bringing together profoundly di erent students to live
             with and learn from one another. The Supreme Court has consistently recognized
             that a class that is diverse on multiple dimensions, including on race, transforms
             the educational experience of students from every background and prepares
             graduates for an increasingly pluralistic world, and that an applicant’s race can be
             considered as one of an array of factors in assessing the entirety of a student’s
             application. There is broad support for those goals. In a recent Pew survey, 71% of
             Americans said e orts to embrace diverse student bodies were ‘a good thing’. And
             two-thirds of Asian-Americans in a recent Gallup poll indicated support for
             consideration of race in admissions.

             A strong commitment to diversity
             Harvard College directs extraordinary resources and sta           to recruiting and
             admitting a student body that is diverse and high achieving, for example, investing
             deeply in        nancial aid to allow every admitted student to attend regardless of
             ability to pay.

             An extraordinary applicant pool
             The large majority of the 40,000+ applicants to Harvard College are academically
             quali ed, requiring the College to consider more than grades and test scores. In a
             recent admissions cycle (in which there are fewer than 2,000 available slots): more
             than 8,000 domestic applicants had perfect GPAs; over 3,400 applicants had
             perfect SAT math scores; and over 2,700 applicants had perfect SAT verbal scores.

             Increase in Asian-Americans
             The percentage of Asian-Americans in Harvard College’s admitted classes has
             grown signi cantly (by 27%) since 2010, and Asian-Americans comprise nearly 23%
             of the 2022 admitted class.

             Expert analysis supports Harvard
             Professor David Card, a nationally recognized expert and economics professor at
             the University of California at Berkeley, comprehensively analyzed Harvard

https://admissionscase.harvard.edu/key-points
                                                        JA4461                                                                 1/3
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             College’s admissions database and concluded there was no discrimination against
             Asian-Americans.

             One person, one vote
             Harvard admissions o               cers evaluate each applicant individually and assign ratings
             on a variety of metrics, such as academic quali cations, personal attributes,
             extracurricular activities, and athletic activities based on a whole person review.
             Admissions decisions are made by a simple majority vote, and each member of
             Harvard’s diverse 40-person admissions committee has one vote.

             Race-neutral means less diverse
             A er studying more than a dozen race-neutral alternatives, a Harvard committee
             found that none of these practices “could promote Harvard’s diversity-related
             educational objectives as well as Harvard’s ... admissions program while also
             maintaining the standards of excellence that Harvard seeks in its student body.”

             O ce of Institutional Research documents: A preliminary and
             incomplete analysis
             The OIR documents represent a preliminary and incomplete analysis OIR was
             conducting without the bene t of the full admissions database or a full
             understanding of the admissions process. The OIR documents themselves directly
             acknowledge various missing data and aspects of the admissions process that are
             not taken into account, and the OIR sta               have con rmed that the work was
             preliminary and incomplete. This work was not part of any “internal investigation,”
             and none of the documents cited in the summary judgment papers was created at
             the request of Harvard’s O              ce of the General Counsel. Again, SFFA attempts to
             distort and mislead in its suggestions that the analysis showed discrimination or
             was somehow improperly stopped. As Dr. Card’s analysis shows, when all the data
             and information are included and analyzed, no evidence of discrimination exists.

             Personal rating
             The personal rating re ects a wide range of valuable information in the
             application, such as an applicant’s personal essays, responses to short answer
             questions, recommendations from teachers and guidance counselors, alumni
             interview reports, sta             interviews, and any additional letters or information
             provided by the applicant. Harvard uses this information to understand the
             applicant’s full life story, for example, where the student grew up, what
             opportunities or challenges they faced in their families, communities, and
             secondary school, and what impact they might have both here at Harvard and a er
             they graduate, as citizens and citizen-leaders of our society.


https://admissionscase.harvard.edu/key-points
                                                              JA4462                                                      2/3
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             Alumni interviewer and admissions o       cer personal ratings, although similar in
             name, vary widely because they are based on di erent information. Thousands of
             Harvard alumni perform an extremely valuable service as volunteers interviewing
             applicants to Harvard College from their communities. The alumni interviewer
             personal rating re ects what the interviewer has learned about the applicant during
             the interview, while the admissions o     cer rating considers the full range of
             information in the application (listed above). Any alumni interviewer also sees only
             a tiny percentage of the applicants in the pool. They evaluate these applicants in
             comparison to those few other applicants they have interviewed, while the
             admissions committee has before it a much fuller range of the talented applicants
             Harvard is fortunate enough to attract.

             A faulty statistical model
             Mr. Blum’s case hinges on a statistical model that deliberately ignores essential
             factors, such as personal essay or teacher recommendations, and omits entire
             swaths of the applicant pool (such as recruited athletes or applicants whose parents
             attended Harvard) to achieve a deliberate and pre-assumed outcome. Months of
             investigation failed to produce any documentary or testimonial support for SFFA’s
             accusation that Harvard intentionally seeks to limit the number of Asian-
             Americans or discriminates against them. To the contrary, the evidence forcefully
             demonstrates that Harvard values the diversity and myriad contributions that
             Asian-American students—like students of all other backgrounds— bring to its
             campus, and that Harvard seeks and succeeds in recruiting and enrolling
             exceptional Asian-American students as well as students of all other backgrounds.

             An obligation to protect applicant privacy
             Harvard, like every college and university across this country, has an obligation to
             protect the extensive personal information applicants entrust to us in the
             admissions process. Sensitive student information has been produced in this
             litigation, and while names and directly identifying information have been
             redacted, other information remains that could lead to outside parties identifying
             speci c students. Not one page of 100,000 pages of internal Harvard documents
             re ects any systematic e ort to discriminate against Asian-Americans. In seeking to
             protect the con dentiality of a small fraction of these 100,000 pages of documents,
             Harvard also shares the reasonable expectation of our alumni that their private
             correspondence with the University should remain private, rather than be used by
             SFFA to drive sensational headlines that seek to distract from the complete lack of
             actual evidence supporting their claims.




https://admissionscase.harvard.edu/key-points
                                                     JA4463                                                     3/3
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                                                  HARVARD UNIVERSITY
                                                   Office of the General Counsel

            Heather M.Quay                                                                    Holyoke Center,Suite 980
            University"';Harney                                                              1350 Massachusetts Avenue
                                                                                    Cambridge,Massachusetts 02138-3834
            heather_quay@barvard.edu
                                                                                                       t.617.495.1434
                                                                                                       (.617.4955079




                                                                        February 2,2012


                  Ms. Nicole Merhill
                  Office for Civil Rights
                  U.S. Department of Education, Region I
                  5 Post Office Square
                  8th Floor
                  Boston, MA 02109

                             Re:       ComplaintNci:61-11-2078

                  Dear Ms. Merhill:

                  Thank you again for your courtesy in allowing me extra time to prepare the response of
                  President and Fellows of Harvard College("Harvard")to the above-referenced
                  complaint.

                  According to                   letter dated January 11,2012,the Complainants allege that
                  Harvard denies t eiir son admission to Harvard College on the basis of his national origin.
                  Specifically, they allege that Harvard set a limit on the number of Asian American
                  students admitted to the University and applied a higher standard to their son's
                  application than it did to applications submitted by White Americans. AlthOUgh11:1
                  Kedacre
                     d:     letter does not name the Complainants,they have identified themselves to
                  Harvard in a separate letter to William R. Fitzsimmons, Dean of Admissions and
                  Financial Aid for Harvard College, alerting him that their complaint to OCR was
                  accepted. This letter, dated January 13,2012,is the latest in a series ofletters between
                  the Complainants and Harvard, all of which are attached as part ofthis submission. Thus,
                                                                              methata.eci.
                  because the Complainants, who are the parents of              PII/SPI        , have made
                  their identity known to Harvard,this response will in part address specifically the context
                                                                   neudtaeu.
                  and reasons for Harvard's decision on             PIMP!          application. As the
                  following narrative and attached materials amply demonstrate, Harvard did not
                                              nesiacteu.
                  discriminate against                         in any way.




                                                           JA4464
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                As has been explained to the Complainants, admission to Harvard College is highly
                competitive. In 2010-2011,the College received almost 35,000 applications for the
                roughly 1660 possible places for newly entering freshmen.' Just over six percent of the
                applicants were admitted. (Because some students choose not to attend the College, the
                number ofadmitted students is somewhat larger than the number ofspots available.)
                                                        Keaactea:
                 In no way did Harvard subject            PII/SPI     to different treatment in the
                 admissions process on the basis of national origin, as the complaint alleges. As you
                 know,OCR has in the past conducted an extensive compliance review ofHarvard
                 College's admission process, particularly with respect to Asian American applicants
                (OCR Compliance Review 01-88-6009). As OCR reported to Harvard at the end ofthat
                 review:"We found no evidence ofthe existence or use of quotas, nor did we find that
                 Asian Americans were treated differently than white applicants in the implementation of
                 the admissions process." See October 4, 1990 letter from Thomas J. Hibino to Derek
                 Bok, enclosed as Attachment A. The information that OCR gathered during the course of
                 that compliance review(and in,subsequent cases)regarding Harvard College's criteria for
                 admission, its use of race as a factor in admissions decisions, and its general policies and
                 procedures for nigpting _student§ for admission to its undergraduate program is still
                 accurate today. The only difference, as noted-above,is in the diamatiCally increased
                 numbers of applicants, which has made the competition for places in each undergraduate
                 class even more fierce.

                   The Office of Admissions estimates that approximately 85% ofits applicants are
                   academically qualified for admission — that is, 85% ofthose who apply would likely be
                   able to handle the academic work. See the Office of Admissions 2011-2012 Interviewer
                   Handbook,enclosed as Attachment B,page 10. But given that the College can only
                   admit approximately 6% ofits applicants, it is clear that academic qualifications are
                   necessary but not sufficient to obtain an offer of admission. Like other highly
                   competitive colleges and universities, Harvard admits only those applicants who present
                   truly exceptional records of academic, extracurricular, and personal accomplishments.
                                                Keaacrea:
                   Harvard considered            PWSR          application in accordance with its standard
                   admissions process. While his application demonstrated that he is an intelligent and well-
                   rounded young man,ultimately the College determined that other candidates presented
                   stronger qualifications for admission. In short,the College felt that his application, while
                   within the pool of applicants who met the fundamental requirements, ultimately did not
                   display any particular areas of excellence that set him apart from the many thousands of
                   other qualified applicants.

                   I have responded separately below to the individual items listed in the Data Request
                   attached to Kea actea:
                                 PIUSPI    letter.



                   I When returning students are included, the freshman class size is approximately 1685.




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                   1. The name,title, business address, email address and telephone number(including
                     fax number)of:(a) The University's contact personfor this complaint; and(b) The
                      person authorized to resolve this complaint.

                          Please consider me the University's contact person for this complaint. My
                   contact information is as follows:

                          Heather Quay
                          University Attorney
                          Harvard University
                          Office ofthe General Counsel
                          1350 Massachusetts Avenue, Suite 980
                          Cambridge, MA 02138
                          Email: heather quay@harvard.edu
                          Telephone:(617)495-1280
                          Fax:(617)495-5079

                          The person authorized to resolve this complaint is:

                          William R. Fitzsimmons
                          Harvard College
                          Dean of Admissions and Financial Aid
                          86 Brattle Street
                          Cambridge, MA 02138
                          Email: wrf®fas.harvard.edu Telephone:(617)495-1551
                          Fax:(617)495-8321


                   2. A complete description ofthe University's admissions policies and proceduresfor
                      applicants to the University's class 012015.

                   The hallmark of Harvard College's admissions process is that it is highly individualized,
                   flexible, and holistic. Members ofthe Admissions Committee carefully review each
                   application, giving serious consideration both to the student's potential to achieve
                   academic excellence and to contribute to a diverse educational environment. As the
                   Office of Admissions website advises potential applicants:"There is no formula for
                   gaining admission to Harvard. Students with vastly different credentials come from
                   thousands of secondary schools across the country and around the world. What unifies
                   our students are the talents they bring to Harvard and the passion to explore its vast
                   resources." http://www.admissions.college.harvard.edu/applv/index.html




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                   In a section entitled "What We Seek," the website continues:

                           Applicants can distinguish themselves for admission in a number of ways.
                           Some show unusual academic promise through experience or
                           achievements in study or research. Many are "well rounded" and have
                           contributed in various ways to the lives oftheir schools or communities.
                           Others are "well lopsided" with demonstrated excellence in a particular
                           endeavor—academic,extracurricular or otherwise. Still others bring
                           perspectives formed by unusual personal circumstances or experiences.

                           Academic accomplishment in high school is important, but we also seek
                           people with enthusiasm, creativity and strength ofcharacter.

                           Most admitted students rank in the top 10-15 percent oftheir graduating
                           classes, having taken the most rigorous secondary school curriculum
                           available to them.

                   http://www.admissions.college.harvard.edu/apnly/index.html

                Further information about the College's application process, as well as a set of detailed
                "Frequently Asked Questions"for high school students considering Harvard can also be
                found on the Office of Admissions website. Among other things,these materials reiterate
                in a number of ways both the holistic nature ofthe application review and the fact that the
                Admissions Committee does not use quotas of any kind.

                   http://www.admissions.college.harvard.edu/index.html
                   http://www.admissions.college.harvard.edu/apnly/faq.html

                   Notably, the internal guidance documents created by the Office of Admissions for its
                   committee members and others who participate in the admissions process, such as alumni
                   interviewers, are entirely consistent with the materials it makes publicly available. I have
                   attached the following for your review:

                           • The Harvard College Office ofAdmissions 2011-2012 Interviewer Handbook
                            (Attachment B);
                           • The Harvard College Office ofAdmissions 2011-2012 Schools Committee
                             Chairperson Handbook(Attachment C);
                           • The 2011-2012 Standing Committee on Admissions and Financial Aid in
                             Harvard College Information Sheet(Attachment D); and
                           • Reading Procedures, Class of2016(Attachment E).2

                   7I have provided the current iteration of this document, which is virtually identical to the previous years'
                   version.




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                The 2011-2012 Interviewer Handbook,enclosed as Attachment B,has a section entitled
                "Admissions Standards," a large portion of which is devoted to an explanation ofthe
                College's "Search for 'Distinguishing Excellences'— a narrative description ofthe very
                individualized approach Admissions Committee members take as they "scrutinize"
                applications not just for indications ofacademic excellence, but in an attempt to discern
                applicants' "intellectual imagination, strength of character and... ability to exercise good
                judgment." Given the extraordinary strength of the pool,the salient question posed by
                the Committee in considering an individual candidate is:"What makes him or her
                distinctive?" The Committee has identified a number of broad factors, or "distinguishing
                excellences" that, when considering a group already winnowed to those with a"high
                level of merit," might help to positively "tip" a candidate. These are:(1)outstanding and
                unusual intellectual ability;(2),unusually appealing personal qualities;(3)outstanding
                capacity for leadership;(4)creative ability;(5)athletic ability;(6)Harvard and Radcliffe
                parentage; and(7)geographic,•ethnic and economic factors. With respect to the last
                factor,the Committee quotes former Harvard President Neil Rudenstine, who described
                diversity as essential to the life of an academic community:"It is the substance from
                 which much human learning, understanding, and wisdom derive. It offers one ofthe
                mostpowerful_ways.otcreating_the.intellectuatquergy_40 rP1.;014st.w§:that.iel giegeT
                knowledge, as well as the tolerance and           respect that are so esseitiiito the
                maintenance of our civil society." Finally,the Committee notes that it must proceed with
                "care, discretion and humility" in making these admittedly subjective judgments,
                appreciating that"no one can predict with certainty what an individual will accomplish
                during college or beyond." See Attachment B,pages 9-11.
                                                Keaactea:
                   Harvard considered             PWSPI           application in accordance with its standard
                   admissions process,in which each applicant's folder receives extensive individual
                   evaluation. The first reader is generally an "area" admissions officer, who is a staff
                   member assigned to a particular geographic area ofthe country. In some cases,
                   applications also may be sent to a second reader for further assessment.

                   The readers rate applicants on a scale ofone to four(with one being the highest and four
                   the lowest)in four categories: academic achievement, extracurricular activities, athletics,
                   and personal qualities. There are no numerical equivalents or formulas in the rating
                   system. The academic rating, for example,is derived from a subjective assessment of a
                   number offactors, including test scores, class rank,teacher recommendations, and
                   responses to questions on the application. An applicant with perfect 800 SAT scores
                   could be rated as a one,two or even a three academically based on teacher reports and
                   other academic information. The reader also gives each applicant a preliminary overall
                   rating(POR)that reflects the reader'sjudgment as to the applicant's likelihood of
                   admission based on the applicant's other ratings and the reader's sense ofthe relative
                   strength ofthe application.




                                                        JA4468
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               After folders have been read, they are considered by a subcommittee. The
               subcommittees generally consist offour to eight people, including area admissions
               officers, and, as Chair, a senior member ofthe admissions office staff. Subcommittees
               are formed around geographical areas (called "dockets")so that staff members come to
               know the schools, guidance counselors, and special characteristics ofthe region. At the
               subcommittee meeting, all members ofthe subcommittee have a summary ofthe readers'
               evaluations, while the first reader has the entire folder present for reference as needed.
               The subcommittee makes a recommendation, which is then considered at a full meeting
               ofthe Admissions Committee. The Admissions Committee, which consists of38 people,
               including all admissions officers and other high level administrators ofthe College,3
               reviews all subcommittee recommendations and votes on final outcomes.
                                                             Keaactea:
               In accordance with these procedures,           PWSM
                                                                             application was read
               carefully by the admissions officer responsible for his area. The subcommittee then
               considered it along with the applications of other candidates in the"C Docket," which
               includes southern California(specifically the Greater Los Angeles area), Hawaii,and
                                                                                          meum4...1.
               Guam and other U.S. possessions. The final decision not to admit            PWSM
               was taken by the      Admissions Committee by the standard
                                                                       „ .    majprity vote  process.


               3. Statistical information regarding the number ofnon-minority,Indian American
                  and Asian American applicants,from each group, that appliedfor admission to the
                  University's class of2015, and the respective number ofapplicantsfrom each
                  group that was admitted or waitlisted.

               Attached are a number of spreadsheets that provide the information you have requested,
               as described and summarized below:

                   • Enclosed as Attachment F is a chart labeled "Class of2015 — Overall" that
                     provides the applicant data that you have requested. Please note that this chart
                     provides statistical information only for those applicants who chose to self-
                     identify as Asian Americans(both as a whole and according to the specific
                     designations provided by the applicants) and for those who chose to self-identify
                     as White Americans. It does not include statistical information for any other
                     demographic group. As noted earlier, the overall admit rate is 6.3%.

                   • Enclosed as Attachment G is a chart labeled "Class of2015 — C Docket"that
                     provides the applicant data that you have requested for the docket in whichal

               3A Faculty committee, the Standing Committee on Admissions and Financial Aid for Harvard College,
               meets several times a year to discuss broad topics relating to Admissions policy. In addition, these faculty
               members may be asked to serve as expert readers when a particular applicant has expressed an interest that
               relates to their academic discipline. Ifthey wish,they may attend and vote at subcommittee or full
               committee meetings, but in practice do so only rarely.




                                                            JA4469
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                February 2,2012
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                              meaactea:
                                PII/SPI      application initially was considered. Again, this chart provides
                          statistical information only for applicants who chose to self-identify as Asian
                          Americans and White Americans, and not for any other demographic group.
                          Although Harvard does not impose any kind of quotas — either by docket or any
                          other measure — it nonetheless may be useful for you to consider the allegation
                          that has been made within the general context ofthe relevant docket
                                                                    KICCI clt•let1
                          subcommittee's work, given that             PUISIN        parents claim that his
                          application was considered less favorably than those submitted by White
                          American applicants. Of particular note is the fact that the overall admit rate for
                          this group is 5.6%, which is equal to the admit rate for candidates who self-
                          identify as Asian American (also 5.6%), and higher than the admit rate for
                          candidates who self-identify as White American (5.1%).

                      • Enclosed as Attachment H is a chart labeled "Class of 2015 — NLNA Overall."
                        Again limited as described above to data for self-identified Asian Americans and
                        White Americans, this chart shows the applicant numbers and admissions rates for
                        "Non Legacy/Non-Athlete" candidates — in other words,for those applicants who
                        would not be eligible.for a "tip" either because one oftheir parents went to
                        Harvard or Radcliffe or because of their exceptional athletic ability. These data
                        show that, consistent with OCR's previous findings about Harvard's admissions
                        practices, once applicant data is limited to "Non Legacy/Non-Athlete" candidates,
                        the admit rates between Asian Americans and White Americans are far closer.
                        Further, as you know, at the conclusion of its prior compliance review, OCR
                        specifically found that "the reasons or goals provided by Harvard for giving
                        preferences to children of alumni and recruited athletes are legitimate institutional
                        goals, and not a pretext for discrimination against Asian Americans." See
                        October 4, 1990 OCR letter, enclosed as Attachment A. For the"NLNA" group,
                        the overall admit rate is 5.4%.

                      • Enclosed as Attachment I is a chart labeled "Class of2015 —NLNA C Docket."
                        These data show that the overall admit rate for the "Non Legacy/Non-Athlete"
                        applicants in the C Docket is 5.1%,lower than the admit rate for candidates in
                        that group who self-identify as Asian American(5.3%), and higher than the admit
                        rate for candidates in that group who self-identify as White American(4.1%).


                   4. The names and titles ofall individuals involved in the class 02015 admissions
                                                                                    RedacteIci:
                      MOM   da'S regardipg applicants who attended                    PII/SP
                          Ke cced:
                           PIUSPI       I Pacific Palisades, California 90272, during the 2010-2011 school
                      year. For each individual identified,please also provide:(a) The number ofyears
                      each individual has been involved in the admissions process;(b)A description of
                      the role each individual has in the admissions process (e.g., reader, subcommittee




                                                        JA4470
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                   member,full committee member, etc.);(c) The credentials ofeach member; and(d)
                   The individual's race, color and national origin.

                Enclosed as Attachment J is a chart providing the information about the Admissions
                Committee that you have requested. The initial reader for all applications from the
                           Redacted:
                              IIISPI           was Danielle Early. In addition to Ms. Early, the
                members of the subcommittee with responsibility for the C Docket were: Precious
                Eboigbe, Nathalie Galindo, Lucerito Ortiz, Elizabeth Pabst, and Sarah Donahue (Chair).
                As noted above,the full Admissions Committee reviews and votes on all subcommittee
                recommendations.


                5. A copy ofthe complete application files for all applicants to the University's class of
                                                Redacted:
                   2015 who attended              PIIISPI              during the 2010-2011 school
                   year.

                As we have discussed, Harvard will make all necessary arrangements for you to review
                the files you have,requested at.a.tirne and.plac.e that is_convenient.for you....N.e.will not
                provide copies of these files, which are highly personal to the applicants, and in which
                the applicants have a strong expectation of privacy, in light of our concern that these files
                might be requested subsequently under the Freedom ofInformation Act.

                However, because the Complainants allege that Harvard engaged in unlawful
                                                                                       Redacted:
                discrimination in deciding not to extend an offer of admission to        PH/SP'       a
                more full discussion of the way in which the Admissions Committee made that
                determination is appropriate. In short, as stated above, Harvard denied=
                     meudc.teu.
                      PWSM        application because, viewed as a whole, it did not exhibit areas of
                excellence distinctive enough to set him apart from the many thousands of students who
                applied.
                                                            rceuat,teu.
                As Dean Fitzsimmons explained to             PWSPI      father last July, approximately
                48 percent ofthe 2010-2011 applicant pool presented SAT I scores totaling 1400 or
                higher. Nearly 4,175 scored a perfect 800 on the SAT Mathematics test and over 3,050
                recorded an 800 Verbal SAT. As has been the case for many years, the number of
                applicants who were valedictorians oftheir high schools(3,598) was more than twice the
                number of places in the freshman class. Further, 52% ofthe applicant pool was in the top
                ten percent of their respective high school classes.
                      Redacted:
                       PII/SPI         file was read and evaluated by Danielle Early, Admissions Officer
                and Director of Internet Communications. Ms. Early, who served on the Admissions
                Committee for five years, was responsible for the initial evaluation of applicants from
                      Redariiicted:
                           §PI         geographic area, the"C Docket," which includes southern
                California (specifically the Greater Los Angeles area), Hawaii, and Guam and other U.S.




                                                       JA4471
HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                      HARV00018459
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               possessions. As described above,readers rate applicants on a scale of one to four(with
               one being the highest and four the lowest)in four categories: academic achievement,
               extracurricular activities, athletics, and personal qualities.4 Ms. Early recognized Red
                   Redacted:
                     PWSPI        strong academic record, giving him a rating of"2" in that category.
               This rating indicates"Magna potential: Excellent student with superb grades and mid- to
               high-700 scores." See Attachment E,at page 5 for Harvard's coding guidelines. The
               median academic rating for admitted students in his applicant pool also was "2." See
               "Class of2015— Admits, Median Ratings," enclosed as Attachment K.

               However,the Admissions Committee also looks for candidates who have distinguished
               themselves from the many other academically talented candidates by demonstrating
                                                                       Kenactea:
               excellence outside ofthe classroom. Although             PWSM         lwas involved in a
               number of extracurricular activities and played a sport, his accomplishments did not rise
               to the level ofexcellence displayed by other candidates. In each of the remaining three
               categories,                     I only received a rating of"3," which translates to:"Solid
               participation but without special distinction"(extracurricular activities);"Active
               participation"(athletics); and "Generally positive"(personal qualities). See Attachment
               E,at page 6. In contrast,themedian extracurricular,.atlaletic, and personalratings for.
               admitted students were "2","3", and"2" respectively. See Attachment K. A rating of
               "2"in extracurricular activities is defined as "Strong secondary school contribution in
               one or more areas such as class president, newspaper editor, etc. Local or regional
               recognition; major accomplishment(s)." A rating of"2" in personal qualities is defined as
               "Very strong." See Attachment E,at page 6.
                                            Neaacrea:
               Further, while           PWSPI          letters ofrecommendation were positive,they were
               not notably more positive than those of many other applicants. His teacher
               recommendations were coded as"2" and"3+" and his guidance counselor support was
               coded as "2-." A rating of"2"translates to:"Very strong support. 'One ofthe best' or
               'the best this year," while a rating of"3"translates to "Above average positive support."
               See Attachment E,at page 6. The median ratings for admitted students were "2,""2" and
                                                Keadiuteu.
               "2." See Attachment K.             PWSPI          also received an overall rating of"3+"from
               the alumnus who conducted his personal interview. The interviewer noted: "as strong as
               he is across many areas, I'm not sure there is any one thing that gives him a decided edge
               among our highly competitive group of applicants."

                   On balance, after a careful and individualized evaluation and consideration ofall ofthe
                   information presented by          PWSM          the reader did not feel that he was one of
                   the candidates who stood out above the rest. On the back ofthe summary sheet for Ell
                       Neaactea:
                         PH/SP!
                                    Ms. Early noted his academic strengths but commented generally that
                   she was"not sure what would keep him in the class." Consequently, she gave him a

                   4
                     The "personal" category takes into account the applicant's letters of recommendation,essays, interview,
                   and other personal data.




                                                              JA4472
HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                     HARV00018460
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                preliminary overall rating of"3," reflecting the opinion that he was a"Solid contender:
                An applicant with good credentials and support." In contrast,the median POR for all
                admitted applicants in 2011 was "2," defined as "Strong credentials but not quite tops."
                See Attachment E,at page 5; Attachment K.


                6. A copy ofthe application(s), including allsupplementalformsfor admissionfor the
                   class of2015. Please also indicate the number ofyears the University has used the
                   particular application(s) and/orforms.

                Harvard accepts both the Common Application and the Universal College Application,
                and also requires applicants to submit an Application Supplement unique to Harvard. A
                copy ofthe Application to Harvard Collegefor Fall 2011 Entrance is enclosed as
                Attachment L. This includes information for applicants,the Common Application,
                Harvard's Application Supplement, and teacher and school report and evaluation forms.


               —7. Any other information including- documentation-that the-University believes may be--
                   helpful in OCR's understanding ofthe allegation presented in this complaint.

                As noted above,the Complainants corresponded with the Office of Admissions
                throughout the summer. A copy ofthis correspondence is enclosed,in chronological
                order, as Attachment M.


                                                       Conclusion

                As you know, Harvard College's general policies and practices on admissions have been
                extensively reviewed in the past by OCR,and have been found to meet the requirements
                ofthe law. Every student is evaluated as an individual and no quotas of any kind — either
                to exclude or to include — exist. While an overwhelming number of applicants could
                handle Harvard's academically rigorous undergraduate program,the Admissions
                Committee engages in a flexible and highly individualized review of all applicants,
                attempting to select students whose achievements and personal qualities make them most
                likely to contribute to and benefit from IIarvard's multi-faceted educational environment.

                In closing, I reiterate that the undergraduate admissions process at Harvard is
                extraordinarily competitive and highly selective. In 2010-2011 Harvard was able to offer
                admission to only 6.3% ofits nearly 35,000 applicants, which necessarily meant that the
                Admissions Committee had to make a series of difficult choices and turn away thousands
                of qualified applicants. All things considered,the Admissions Committee determined
                               d
                that          PWSIN           application simply was not as compelling as those ofother




                                                      JA4473
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                   candidates who applied. In light ofthose circumstances, and given the absence ofany
                   evidence of discrimination, the Complainants' charge should be dismissed.

                   Please do not hesitate to contact me if you have any questions or would like additional
                   information.

                                                                Very truly yours,



                                                                Heather M. Quay




                   cc:    William R. Fitzsimmons, Harvard College Dean of Admissions and Financial Aid
                          Marlyn E. McGrath,Harvard College Director of Admissions




                                                       JA4474
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                                                                                                         TRIAL EXHIBIT




                                                                                                                                exhibitsticker.com
                                                                                                                P555
                                              STATEMENT OF FINDINGS                                           SFFA v. Harvard




           BACKGROUND

           During the past few years, there has been growing concern within the Asian American community
           over the possibility of discrimination in the selection of applicants for admission by some of the most
           prestigious colleges and universities in the country. As articulated in numerous media reports and
           journal articles, the basic thrust of the concern has been that, despite superior academic credentials
           in terms of high school performance and standardized test scores, Asian Americans have been
           admitted to selective schools at a rate lower than white applicants and other minority group
           applicants. Charges that schools are setting quotas to limit the number of Asian American students
           admitted in the face of their growing numbers of applicants, have been leveled by community leaders
           and reported in the media. Although administrators at most private, selective universities deny
           discriminatory practices or the use of quotas, at least two, Brown and Stanford, formed committees
            to review their own policies and practices. Brown concluded that there was evidence of
           discrimination in their admissions process which adversely affected Asian American applicants. At
            Stanford, a committee found that they could not completely explain why Asian Americans were
            admitted at a lower rate than white applicants, although they found no evidence of conscious bias or
            implicit quotas.

            While the possibility of discriminatory admissions practices continues to be debated, there is general
            consensus that, since the mid-1970s, the number of Asian Americans applying to colleges and
            universities has nearly doubled. Further, it is recognized that Asian Americans collectively represent
            a highly qualified group of applicants; in some areas such as Scholastic Aptitude Test(SAT) Math,
            Asian American students score higher than white students.

            At Harvard, interest in the admission of Asian American students dates back to the mid-1970s, when
            Asian American and other minority groups sought to increase the recruitment and admission of
            minority applicants. A major objective of the Harvard Asian American student group then was to
            be recognized by Harvard as a minority group, and included in the affirmative action programs of the
            Admissions Office. By 1983, student concerns included their belief that stereotypes of Asian
            Americans held by Admissions Officers contributed to the low percentage of applicants admitted, a
            rate below that for all other ethnic groups,including whites. A further concern was the small number
            of Asian Americans from disadvantaged backgrounds who were admitted.

            In the Spring 1987 issue of The Public Interest, Bunzel and Au suggested, based primarily on their
            review of published SAT scores, that the lower Asian American admission rate at institutions
            including Harvard could not be explained by a less qualified Asian American applicant pool. Further,
            they asserted that there was insufficient evidence that Asian American applicants scored lower on
            other criteria, such as extracurricular activities and other non-academic areas, which might account




                                                         JA4475
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            for the lower admission rate. Similarly, they were not persuaded that special consideration given to
            certain groups of applicants, such as geographical preferences, children of alumni or faculty, or
            minorities sought through affirmative action programs,fully explained the disparity between white and
            Asian American admit rates.

            In January 1988, Harvard, through the Dean of Admissions and Financial Aid, issued a "Statement
            on Asian American Admissions at Harvard-Radcliffe" which, in part, responded to concerns raised
            about "under-representation" of Asian Americans at Harvard and rumors of quotas. In light of the
            vigorous efforts to recruit Asian Americans, and the new record set each year of the last decade in
            the number of Asian American students admitted, Harvard felt that claims that the school might be
            limiting Asian American opportunities were unfounded. The difference in admission rates for Asian
            Americans and whites, about 3.7% (13.3% vs. 17.0%) over a 10 year period, including the Classes of
            1982 through 1991, was explained as follows:

                       While Asian Americans are slightly stronger than whites on academic criteria,
                       they are slightly less strong on extracurricular criteria. In addition, there are
                       very few Asian Americans in our applicant pool who are alumni/ae children
                       or prospective varsity athletes. When all these factors are taken into account,
                       the difference in admission rates for the two groups disappears. Those with
                       comparable extracurricular and athletic credentials are admitted at the same
                       rates. This is also true for Asian American alumni/ae children.

            The isgue of possible discrimination against Asian American applicants to selective colleges and
            universities came to the attention of the Office for Civil Rights (OCR)from a number of sources,
            including various individuals and Asian American organizations, the multitude of media reports, and
            articles contained in scholarly journals. In addition, specific concerns about the undergraduate
            admissions program at Harvard were raised directly to the Department of Education (Department)
            and to OCR. Consequently, OCR decided to initiate a compliance review to determine whether
            Harvard was complying with Title VI of the Civil Rights Act of 1964, which prohibits discrimination
            on the bases of race and national origin by institutions receiving Departmental funds.

            In this review OCR first sought to determine whether Asian Americans were admitted to Harvard
            at a significantly lower rate than whites. If true, we would then seek to explain why the disparity
            existed, and whether any explanations,or the admissions process itself,indicated discrimination against
            Asian Americans, in violation of Title VI. Included in our review was an examination of the alleged
            quota issue, and also the general treatment of Asian Americans in the admissions process.




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            LEGAL AND INVESTIGATIVE APPROACH

            The regulation implementing Title VI at 34 C.F.R. Sections 100.3 (a) and (b)(2) proscribes:

                    (a)     General. No person in the United States shall on the ground of race, color,
                            or national origin be excluded from participation in, be denied the benefits of,
                            or be otherwise subjected to discrimination under any program to which this
                            part applies.

                    (b)(2) Specific discriminatory actions prohibited.
                           A recipient, in determining the . . . class of individuals to whom, or the
                           situations in which.... services, financial aid, other benefits, or facilities will
                           be provided .. . or the class of individuals to be afforded an opportunity to
                           participate in any such program, may not, directly or through contractual or
                           other arrangements, utilize criteria or methods of administration which have
                           the effect of subjecting individuals to discrimination because of their race,
                           color or national origin, or have the effect of defeating or substantially
                           impairing accomplishment of the objectives of the program as respect
                           individuals of a particular race, color, or national origin.

             To assess compliance with 34 C.F.R. 100.3 (a), OCR sought to determine whether Harvard treated
             Asian American students differently from non-minority (white) students in its admissions process for
             Harvard-Radcliffe's undergraduate program. First, we established that Asian American applicants
             were admitted at a significantly lower rate than white applicants. Next, we tried to ascertain whether
             this lower admit rate was the result of intentional discrimination. Towards this end, we reviewed
             Harvard's undergraduate admissions policies and procedures, as described through written documents
             and interviews, to understand the methods and criteria used to select applicants for an entering class,
             including any major policy or procedural changes over a ten year period of review affecting the
             Classes of 1983 through 1992. Specifically, we looked for any differences in the established
             procedures for the evaluation of Asian American applicants in comparison to white applicants.

             In addition, OCR considered whether the admissions process was applied in the same manner to
             Asian American students and white students. Through interviews and review of applicant files, we
             assessed the implementation of the admissions process, including staff (reader) ratings, preference
             categories, and committee deliberations. Different treatment could be established, for example, if
             Admissions staff gave lower ratings to Asian American than white applicants with similar records or
             achievements.




                                                           JA4477
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             In addition to investigating whether Harvard applied its procedures in the same manner to white and
             Asian American applicants, OCR sought to determine, under 34 C.F.R. 100.3(b), whether there were
             one or more criteria or factors which had a disparate effect on Asian Americans. OCR reviewed the
             results of the overall admissions process by conducting various statistical analyses on admit rates and
             related factors. Analyses were conducted to try to determine any criteria or factors which accounted
             for the disparity in Asian American and white admit rates. The lower rate might be explained, for
             example, if Asian American applicants as a group were less qualified than white applicants, or if the
             use of neutral criteria, such as non-academic accomplishments, had an adverse impact on Asian
             Americans. For each procedure, criterion, or factor which OCR determined accounted for the lower
             admit rate for Asian Americans, OCR investigated whether it could be justified in terms of
             institutional goals or legitimate educational purposes, or whether it was a pretext for discrimination.

             INITIAL ANALYSIS

             We began by examining ten years of summary data provided by Harvard for the Classes of 1983 to
             1992, which identified Asian American and white applicants and admits (applicants who were offered
             admission.) As shown in Table 1 below, in each of the last seven years, Asian Americans were
             admitted at a statistically significant lower rate, utilizing a z test. Statistical significance is shown
             where the p value is smaller than .05.

                                                               TABLE 1

                                    NumgER OF APPLICANTS, NLMBER OF ADMITTED, AND PERCENT ADMITTED
                                      (ASIAN AMERICAN AND WHITE, CLASSES OF 1983 THROUGH 1992)

                             Asian American                                      White


                       Number of      Number                 Number of      Mather                     Significance
              Class    Applicants     Admitted   Percent     Applicants     Admitted     Percent

              1992       2,263          291       12.9%         9,157        1,453       15.9%       3.55      0.0006
              1991       2,168          267       12.3%         9,270        1,474       15.9%       4.20      0.0001
              1990       2,054          232       11.3%         9,196        1,623       17.6%       6.96      0_0001
              1989       1,731          220       12.7%         9,561        1,596       16.7%       4.17      0.0001
              1988       1,605          204       12.7%         9,219        1,629       17.7%       4.93      0.0001
              1987       1,391          199       14.3%         8,855        1,707       19.3%       4.45      0.0001
              1986       1,351          180       13.3%         9,715        1,755       18.1%       4.35      0.0001
              1985       1,161          167       14.4%         9,849        1,607       16.3%       1.67      0.0953
              1984       1,015          153       15.1%        10,708        1,642       15.3%       0.17      0.8660
              1983         784          118       15.1%        10,344        1,744       16.9%       1.30      0.1936




              Another way of looking at the difference between the admit rates of the two groups is to view the
              lower Asian American rate as a percentage of the white rate. In this comparison, -as shown in Table




                                                           JA4478
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           2, the Asian American admit rate ranged from a low of 64% of the white rate for the Class of 1990
           to 81.04% for the Class of 1992, in the seven years Asian Americans were admitted at a statistically
           significant lower rate.

                                                         TABLE 2

           Ctass             1952     1991     1990     1989        1988      1987     1986

           Asian American    81.04%   77.45%   64.00%   76.14%      71.93%    74.21%   73.75%
           Admit Rate as a
           Proportion of the
           White Admit Rate



           QUOTAS

           OCR found that the numerical data did not support the existence of a quota limiting the number of
           Asian Americans. We found that the number of Asian American applicants increased each year in
           the ten years we studied, such that in the Class of 1992 there were almost three times as many Asian
           Americans applicants as in the Class of 1983. As the size of the applicant pool increased, the number
           of Asian American applicants admitted has also grown. By the Class of 1992. 291 Asian Americans
           were admitted in comparison to 118 ten years earlier. The table below shows the proportion of each
           class which was Asian American.

                                                          TABLE 3

            Class            1992     1991     1990     1989        1988      1987     1986     1985   1984     1983

           .Asian American   14.2%    12.9%    11.5%    10.9%       10.4%      9.6%     8.5%    8.5%   7.5%     5.5%
            % of Class


           OCR found that this pattern of growth of Asian Americans as a percentage of the Class continued
           in the two most recent class year admission cycles. We found that Asian Americans constitute 17.2%
           of the Class of 1993 and we were informed by the Dean of Admissions that Asian Americans
           constitute 19.7% of the Class of 1994.

           In addition to reviewing the data, OCR reviewed documents, and interviewed ten members of the
           Harvard Admissions staff regarding any goals or quotas that Harvard might use in the admissions
           process. Each of the staff members interviewed stated that he or she had never heard any numerical
           quotas or goals mentioned in the admissions process with respect to the admission of Asian
           Americans or members of any other racial or ethnic group. We also interviewed Harvard alumni,
           who served on alumni admissions committees, who similarly stated that they knew of no numerical
           goals or quotas used by Harvard with respect to the admission of specific racial or ethnic minority




                                                        JA4479
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            groups. Additionally, we interviewed former Harvard Admissions staff, and former students who
            worked with the Admissions office minority programs and were knowledgeable about admissions
            practices. Finally, we interviewed numerous Asian American community leaders who were involved
            with the issue of Asian American admissions. None of the individuals interviewed had any evidence
            or information to suggest that Harvard imposed numerical restrictions or quotas limiting the admission
            of Asian American students.

             ADMISSIONS POLICY

            Over the past 30 years Harvard has moved decidedly away from making the criterion of scholarly
            excellence the sole or predominant determinant for admissions. It has instead sought a variety of
            "interests, talents, backgrounds and career goals," which contribute to a diverse student body, which
            is believed to be an essential ingredient in the educational process. Harvard's goal, therefore, is to
            ensure that its student body is both excellent and diverse.

            Described. as "complex, subjective and difficult to comprehend," the admissions process seeks to
            identify qualities in its students that would contribute to the vitality, intellectual excellence, and
            quality of the educational experience. The Official Register of Harvard University. 1988-1989 points
            out that "no one pattern guarantees success for Harvard/Radcliffe applicants." What. characterizes
            each entering class is "diversity." Applicants are chosen on the strength of their credentials, but once
            they are deemed academically admissible, other strong qualities are considered that would potentially
            contribute to the educational experience at Harvard for all students. The.critical criteria, therefore,
            "are often individual qualities or experiences," and, therefore, in each class the geographic
            distribution, ethnic make-up and correspondent talents will vary from year to year. See, Brief of
            Amici Curiae, California Board of Regents v. Bakke 438 U.S. 265 (1977) Harvard seeks students
            who are well rounded and who excel generally, but who also show special interests, achievements or
            skills.

             Harvard explained that one of its objectives in admissions is to select a diverse group of students from
             a wide range of socio-economic, cultural, racial and ethnic backgrounds. In fact, Harvard's catalogue
             states that "diversity is the hallmark of the Harvard/Radcliffe experience." Harvard maintains that
             such diversity enhances the educational experience of all students because students in the college
             environment learn so much from each other.

             There are four major criteria on which all candidates are assessed: academic achievement,
             extracurricular activities, athletics, and personal qualities. "Criteria" are described as standards against
             which all applicants are measured. In evaluating a candidate's accomplishments against the criteria,
             Harvard judgments are primarily based on the set of information listed below. Some items listed are




                                                            JA4480
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            more or less "objective," while others remain "subjective" in that they must be measured through
            individual judgment or discretion. Examples of "objective" information are standardized tests scores
           (SAT's), grade point average (GPA), and academic distinctions such as National Merit Scholarship.
           "Subjective" items may include such information as teacher or counselor recommendations, essays
            written by the applicant, and the alumni interview.

                     I.     ACADEMIC

                              A. Scholastic Aptitude Tests (SATs)
                                 1. Verbal
                                 2. Quantitative
                            •    3. Achievement Tests (3)

                            B.    Class rank or GPA
                            C.    Academic Distinctions
                            D.    Special Academic Problems
                            E.    Teacher Recommendation Report
                            F.    Strength of high school attended
                            G.    Academic Goals at Harvard/Radcliffe
                            H.    Response to questions on application
                             I.   Alumni/Staff interview

                     I I.    EXTRACURRICULAR

                            A.    School Activities
                            B.    Summer Activities
                            C.    Non-Academic Distinctions
                            D.    Community activities
                            E.    Employment
                            F.    Teacher and/or Counselor Recommendation Report
                            G.    College Activities Interests

                    I II.    ATHLETICS

                            A.    Varsity high school
                            B.    Jr. Varsity high school
                            C.    Harvard coach's recommendations
                            D.    College athletics interests
                                   1. Varsity
                                  2. Jr. Varsity
                                  3. Intramural
                                  4. Recreational

                     I V.    PERSONAL

                             A.   Teacher and/or Counselor Recommendation Report
                             B.   Application essay
                             C.   Alumni/Staff interview
                             D.   Other personal data


             We note that while some of the items fall into categories quite naturally, others may actually
             influence more than one categorical area as raters make evaluations or a candidate's strengths. For
             example, a teacher recommendation is considered under academic achievement. It invariably




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            influences the personal qualities category and, if the teacher were a sponsor of a school club or
            activity, the recommendation could also have influence on the extracurricular rating category.

              In addition to these criteria which affect all applicants, there may be other elements that influence
              the admissions process and decisions, but do not necessarily apply to all candidates. The individual
              circumstances or facts about a particular applicant may come to be weighed in the overall admissions
              decision. For example, if an applicant overcame a severely disadvantaged background, his/her
              performance might be rated higher than similar performance of an applicant from a more privileged
              background. Another situation could occur when more than one applicant comes from the same
              high school, which might cause Harvard to consider the impact on the school if the one with the
            • weaker academic record is accepted for other reasons. The most important factor, which affects only
              certain categories of applicants, is the positive weight given in the admissions process in the form of
              preferences. '

            PREFERENCES

             Based on interviews with Admissions staff and documentation submitted by Harvard, we learned that
             Harvard gives preferences, sometimes called "tips," to certain categories of applicants. In general,
             Harvard stated that a "tip" is a preference which:

                         may help in some situations where all other factors arc substantially equal for
                         two candidates, but it does not ensure admission. The admissions process is
                         not based on a mathematical formula, and the tips have no numerical weight.
                         All Admissions Officers are aware of the policy regarding tips and take that
                         into consideration throughout the process.

             With this concept of "tips" in mind, OCR found that there are three major categories of applicants
             for whom preferences or "tips" are given: 1) Racial/ethnic groups, 2) children of alumni, and 3)
             recruited athletes.

             With respect to the racial/ethnic groups preference or "ethnic tip", as it is called, Harvard's
             Admissions staff stated that ethnicity is simply one of many considerations in the admissions process
             which may serve as a positive factor in reviewing an application. There are no formulas or specific
             criteria for measuring or assessing ethnicity, nor are there instructions for determining how much
             weight is given to ethnicity, or where the weight is to be applied in the admissions process.

             Harvard indicated that it also gives positive weight in the admissions process to children of alumni.
             or "legacies." They stated that there are no separate instructions describing how the preference is




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            given to legacies. However, all legacy applicants are routinely referred to the Dean of Admissions
            for reading, according to Harvard's procedures.

            In addition, Admissions staff explained that a recruited (talented) athlete, like the child of an alumnus
            or the member of an ethnic minority group,is given special weight or consideration in the admissions
            process. Athletes are recruited based upon their athletic accomplishments, talents and their predicted
            ability to contribute to the athletic programs at Harvard. Harvard's coaches develop lists of priority
            applicants for their respective teams, and these lists are considered or weighed by the Admissions
            subcommittees and the full admissions committee in making their decisions. Other than to suggest
            that the higher an applicant was on a coach's priority list, the greater the weight attributed in the
            admissions process, Harvard did not have specific guidelines governing the preference given to
            recruited athletes.

            While ethnic groups, legacies and recruited athletes are the largest groups of applicants who receive
            "tips" or preferences, Harvard stated that there were several other groups who were also given
            positive weight in the admissions process. Specifically, Harvard stated that "in light of its [Harvard's]
            responsibility to the local communities, tips are also given to residents of Boston and Cambridge. In
            addition, tips are given to children of staff and faculty, whose commitment and dedication arc also
            critical to the University's smooth functioning."

            As with other "tips," the tips for faculty and staff children, as well as for Boston and Cambridge
            residents, are not based upon any formula or equation. They are merely positive factors which are
            considered in determining whether or not to admit applicants., It should be noted that Harvard
            maintained that all applicants were viewed in light of what they would bring or contribute to the
            University, and that d1_, ultimately had to demonstrate that they were qualified for admission to
            Harvard in the eyes of the full committee.

            ADMISSIONS PROCESS

            To gain an understanding of the admissions process and procedures,. OCR obtained and reviewed
            copies of Harvard's application for admissions as well as all printed brochures describing the
            admissions process. We also reviewed ten years of annual reports on Admissions from the Office of
            Admissions and Financial Aid, as well as written descrip_tions of the admissions process that were
            submitted by the Dean of Admissions in response to our data request. Applicant files were reviewed
            in order to be familiar with the material considered by Harvard in the selection process. Finally,
            OCR interviewed 10 members of the Admissions staff about their roles as "readers" and as
            "subcommittee and full committee members" in the admissions process, including their methods for
            evaluating individual applicants. The 10 staff members interviewed included the Dean of Admissions




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             and Financial Aid, Director of Admissions, Senior Admissions Officers, Admissions Officers whose
             geographical areas included many Asian American applicants, and three "ethnic' readers who read
             Asian American and black applicant files. All of these individuals served as readers during the
             admissions process.

             Although Harvard explained that recruitment of the best pool of applicants is the first step in the
             admissions process, OCR did not investigate this aspect of the process. Part of the reason for this
             decision was the self-selective nature of the decision to apply, and also the tremendous increase in
             Asian American applicants during the period under review. In addition, Harvard has included Asian
             Americans in its minority recruitment efforts, particularly from among segments of the Asian
             American population which have not traditionally applied to Harvard, such as recent immigrants or
             individuals from 'blue collar" backgrounds.

            The second step in the admissions process, student selection, is designed to select the best, most
             promising students from among the applicant pool. Harvard estimates that between 80% and 90%
            of its 11,000 plus applicants could probably do the academic work at Harvard, and 50%-60% could
            do superb work. Consequently, the selection process is one of choosing the best applicants from a
             highly qualified group of applicants. Because of the limited number of spaces available
            (approximately 1,600), some extremely well-qualified applicants are necessarily rejected. It is this
            selection process which was the main focus of our investigation.

             THE APPLICATION

             As the first step in the admissions process, each undergraduate applicant is required to submit a
             completed Admissions Application. Harvard reviews applications in two stages - Early Action and
             Regular Action. Since procedurally, both stages are similar, for the purposes of this review, no
             distinction has been made between the groups of applicants.

             The application contains a Personal Data Form (PDF) which requests basic information on the
             applicant, including the applicant's name, address, high schools attended, tentative fields of study in
             college,intended occupation, activities ofinterest and whether he/she intends to request financial aid.
             The applicant may also choose to indicate his/her race. Also, information must be provided on the
             applicant's family, including parents' names,education levels and professions, and the names and ages
             of brothers and sisters and the colleges that they have attended. This portion of the application also
             asks the applicant to list principal extra-curricular activities, participation in athletics, and employment
             and summer activities. Finally, the applicant is asked to indicate awards, honors and distinctions that
             are non-academic.




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            The application also includes an Application and Essay form. This form, which is filled out by the
            applicant, requests such general information as the SAT and Achievement test scores, as well as,
            information on special courses that were taken which might qualify an applicant to take certain
            College Board Advanced Placement Tests. It also requests the applicant to list the books he or she
            has read in the past 12 months, or to list and write briefly on the four or five books which have had
            the greatest impact on the applicant.

            The Application and Essay form asks the applicant to list all languages he or she speaks, reads and/or
            writes. It also asks the applicant to write several essays on various subjects including the one or two
            academic experiences which were most significant to the applicant, the applicant's academic goals at
            Harvard and Radcliffe; the applicant's one or two most significant extracurricular work or community
            activities; and the one or two non-academic activities that the applicant would most like to pursue
            at Harvard and Radcliffe. The form also includes a space for the applicant to make additional
            comments on material which has not been adequately addressed elsewhere in the application. Finally,
            the Application and Essay form requires the applicant to write a 200-500 word essay on any topic of
            the applicant's choosing. The instructions indicate that "any subject of direct personal importance
            to the applicant would be a good choice.''

            The next part of the application is the Secondary School Report, which is completed by the
            applicant's high school. This Report is supposed to include a copy of the applicant's transcript, SAT
            math and verbal and three achievement test scores. Most of the Secondary School Report is actually
            a recommendation form filled out by the Guidance Counselor in the high school. It includes a
            section.for the Counselor to rate the applicant in such non-academic areas as emotional maturity,
            warmth of personality, leadership, self-confidence, personal initiative, sense of humor and concern
            far others.

             In addition to the Counselor's report, the applicant is required to submit two Teacher Reports
            (recommendations). Harvard provides its own form for these, although teachers may write up their
             own letters of recommendation in their own format_

             An applicant's folder should also contain a Personal Interview Report,which is completed by Harvard
             alumnus/a. This Report describes the results of an alumnus/a interview of the applicant. Alumni/ae
             interviewers give numerical ratings (1-5 or 1-6) in four areas and write narrative comments to assess
             applicants. The four numerical rating categories are: academic, extra-curricular/athletic, personal
             qualities, and an overall rating. Included on this Report form is general guidance to interviewers on
             what constitutes the 1-6 numerical ratings for applicants in the four areas.




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            READER SYSTEM

            Individual applications are grouped for administrative purposes by geographic areas called "dockets".
            In addition, there are dockets for categories such as "prep schools" and "Americans abroad". Within
            dockets there are smaller geographic subdivisions called "areas". Individual Admissions staff persons
            are assigned to one or more areas, which determines which set of applications they will read.

            Based on staff interviews and data submitted by Harvard, including the "Reading Procedures"
            provided to Admissions staff, OCR found that all applications go through a reading process consisting
            of reviews of the application by individual readers. The length of time to review a file varied by
            reader, but generally it took between 10-30 minutes. While individual readers had their personal
            methods and sequence for reviewing applicant folders, there appeared to be some consistency.
            Generally, readers began their review by reading the PDF, which provides background information
            on the applicant, as well as specific information on extracurricular and athletic activities in high
            school, and on anticipated .activities in college. Readers would also be able to determine from the
            PDF an applicant's race;interest in financial aidrand whether the applicant had a Harvard connection
            through parents or siblings. Next, readers would read the application and essay, which would describe
            academic accomplishments. including SAT scores, books read, and personal statements on academic
            and non-academic experiences. Then the readers would read the remaining items in the folder, the
            Secondary School and Teachers' Reports, and the alumni interview. Some readers stated that they
            would review the entire file prior to rating the applicant, others stated that they rated some areas
            such as extracurriculars or athletics while reading the PDF.

            An application may get anywhere.from one to four or more readings depending on the applicant's
            background and experiences. OCR learned that the first reader, who is generally the assigned area
            person, is responsible for organizing the applicant file and filling out. a "Summary Sheet" which is
            placed in each applicant's folder. The Summary Sheets, through a coding system, contain biographical
            information such as the ethnicity of the applicant, citizenship and sex of the applicant, as well as
            whether the applicant is applying Early Action or Regular Action, applying for financial aid, plans
            on commuting to Harvard, has parents who are alumni/ae or faculty of Harvard/Radcliffe, has a
            physical handicap that requires special attention, or is a potential athlete in whom coaches might be
            interested. Additionally, the first reader is expected to verify the applicant's test scores and the code
            for his or her high school.

            First readers, after reviewing all information in the applicant folder, fill in numerical ratings on the
            Summary Sheet on the criteria of academics,extracurricular activities, athletics and personal qualities.
            They also give ratings for two teacher recommendations, a guidance counselor's recommendation and
            any interviews that may have been held with the applicant by alumni or admissions staff. A




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            preliminary overall rating(POR)is made on the Summary Sheet which reflects the reader's judgment
            as to the applicant's likelihood of admission, based on a combination of the other ratings along with
            the reader's sense of how strong or weak the applicant is. Ratings range from 1-4 or 1-6, one
            representing the highest or best rating, four or five representing the lowest, and six indicating that
            something is missing, or that there is an extenuating circumstance justifying little or no activity in a
            given area.

            In addition, first readers (and subsequent readers) write brief narrative summaries of applicants'
            strengths and weaknesses on the Summary Sheets. They should also note important academic and
            extracurricular accomplishments so that subsequent readers may more easily assess the strengths of
            the applicant.

             An application is sent to a second reader when the first reader a) wants a second opinion; b) would
             like an application to have three readings because it is a complex case; or c) wants the second reader
             to provide extra support for an applicant. Applications that go to a second reader are usually
             borderline cases that are not clear admits and not clear rejects. Second readers, like first readers, also
             fill out numerical ratings and write brief narrative summaries about the applicants. Additionally,
             second readers sometimes serve as the advocate for a case instead of the first reader. In some
             instances folders go directly from the first to third reader, principally when the applicant is
             exceptionally strong.

            According to the Reading Procedures, if a reader finds that a folder does not meet the criteria above
            for a second or third read, then the folder may be "coded out." OCR verified from Harvard that
            "coding out" a folder means that the reader enters his or her ratings onto a profile sheet without
            passing the folder to another reader. Thus, weaker applications may be read by only one reader,
            although the Procedures explain that first readers "must be doubly certain to check all late
            information prior to the Committee meetings which might make a difference to the case."

             The third reader is either the Dean of Admissions or the Chairperson of a subcommittee. The third
             reader generally is responsible for giving the four numerical reader ratings to an applicant which are
             entered into the data base (the PORs assigned by the first and second readers are also entered) and
             printed out on docket strips. Harvard explained that these numerical ratings are subject to change
             as new information on an applicant is received. Third readers also provide written narratives on the
             Summary Sheets.

             The fourth reader is considered a "specialty" reader. Some fourth readers are faculty members who
             read and evaluate an application to assess an applicant's accomplishments in a particular subject or
             field. (For example, a biology professor might read an application of a student who won a science




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             award for his/her research in biology.) Other fourth readers serve as "ethnic" readers who review
             large numbers of applications from a specific minority group. By doing this, "ethnic" readers develop -
             a greater awareness of the overall attributes of the particular minority group in an applicant class.
             Harvard uses ethnic or fourth readers for Asian American, Black, Hispanic and Native American
             applicants. The primary purpose of the Asian American "ethnic' read (reading) is to provide an
             additional or different sensitivity to the review of the application. The ethnic read is designed to
             ensure that no special cultural or ethnic factors are overlooked which might prevent an Asian
             American applicant's background from being fully understood. Those applicants who are
             exceptionally strong and likely to be admitted anyway, or are so weak as to have virtually no chance
             of admission, may not be reviewed by an ethnic reader. According to the Dean of Admissions, the
             Asian American reader reviews folders of Asian American applicants who "have a chance", perhaps
             80% of the applicants.

             The readers were all fairly consistent in describing the levels of participation and accomplishment
             which warranted specific ratings in the various categories. The responses given as to how folders
             were read and rated were consistent with the written guidelines from the Reading Procedures below,
             which are provided to readers:

             Overall

             1 =        Tops for admission: very strong objective and subjective support (99+% admission).
             2=         Clear admit: strong credentials but not quite tops (80-90% admission).
             3=         Solid contender: good credentials and support (20-40% admission).
             4 =        Marginal:   reasonable credentials but strengths generally below those of other candidates (0-5%
                       .admission).
             6=         Unrated: incomplete folder or special case.

             Academic

             1 =        Potential sumo or highest magna: creative, high grades, top scores (700,$) and strong support.
             2=         Potential magna: strong record and scores (680-750).
             3 =        Solid candidate: potential honors: good record and scores (600's).
             4=         Fair ability: decent record and modest scores (500's).
             5 =        Marginal academic ability.
             6=         Special case requiring review: used to be only in special cases of unusually strong candidates in
                        other respects who have marginal but possibly acceptable academic credentials or candidates whose
                        academic strength lies in one area only.

             Extracurricular

             1 =        Unusual strength in one or more areas. Possible state or national level achievement. A potential
                        major contributor at Harvard and Radcliffe.
             2=         Strong secondary school contribution in one or more areas such as class president, newspaper editor,
                        etc.
             3=         Solid participation but without special distinction.
             4=         Little significant activity.




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            6=          Physical condition, work or family circumstances prevent significant activity.

             Athletic

            1 =         Unusually strong prospect for varsity sports at Harvard and Radcliffe.
            2=          Strong abilities and interest which will probably continue in college.
            3=          Active participation.
            4=          Little or no interest.
            6=          Physical condition, work or family circumstances prevent significant activity.

             Personal

             1 =        Outstanding.
            2 =         Very Strong.
            3 =         Generally positive.
            4 =         Bland or somewhat negative or immature.

             School Support

             1 =        Strikingly unusual support, "Best in ten years."
             2          Very strong support, "One of the best this year."
             3.         Generally positive.
             4 =        Lukewarm or negative.


             OCR questioned readers as to how ethnicity was used as a factor in reviewing applications. All of
             the readers indicated that Asian American ethnicity is simply one of many considerations which may
             serve as a positive factor or "plus", but never serves as a negative weight or factor. A majority of the
             staff stated that Asian American ethnicity is only a factor to the extent that it has influenced or
             impacted on the applicant's life. Several readers indicated that simply being Asian American would
             not be.significant. All of the readers agreed that the positive weight given to an Asian American
             applicant was most significant when the applicant demonstrated that he or she overcame severe
             obstacles related to the ethnic background. For example, an applicant who came to the United States
             as a refugee, learned English as a second language, rose to the top of his class academically, and
             became involved in school activities or worked to help support his or her family, would receive great
             positive weight. Also, applicants who demonstrate a strong commitment to the Asian American
             community or interest in their heritage by getting involved in community activities or by describing
             the influence of ethnicity on their lives, will tend, generally, to get positive weight in the admissions
             process.

             We found that the readers had several different views as to where and whether Asian American
             ethnicity was given positive weight or a "tip" in the admissions process. Some readers explained that
             when ethnicity was deemed to be a significant factor in an application, it was reflected in the FOR
             and during discussions at subcommittee and committee meetings. Other readers indicated that
             ethnicity was a factor considered throughout the entire admissions process. They stated that it could




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            be reflected in the four reader rating areas, as well as in the POR,and during the subcommittee and
            committee meeting discussions. Still other readers stated that ethnicity was not a factor at all unless
            the effect of that ethnicity on the applicant was evident from the applicant's file. They indicated that
            ethnicity was only considered a "plus" when the applicant wrote about or indicated the significance
            of his or her heritage, or when there was some other indicia in the file of the applicant's involvement
            with ethnic community organizations or groups.

            In addition to reading Asian American files, the Asian American ethnic reader also makes informal
            comparisons between similarly-situated applicants within the ethnic group. One of the purposes of
            this comparison is to provide first readers (as advocates) additional information to be used when
            presenting cases in subcommittee. (See SUBCOMMITTEES below.) Admissions staff stated,
            however, that ultimately, each applicant is compared to all other applicants seeking admission to the
            class.

            Also, the Reading Procedures designate which staff members serve as ethnic readers, to whom the
            various ethnic cases should be referred after they have been coded out by the final reader. The
            categories to which coordinating staff members are assigned are: Blue Collar Asians, Chicanos,
            Puerto Ricans, Native Americans, and Blacks. (Through subsequent questioning Harvard clarified
            the Procedures,indicating that the Asian American reader had broader responsibilities than just "Blue
            Collar' Asian American applicants.)

            The Reading Procedures provide that all folders of Harvard and Radcliffe Alumni/ae children and
            faculty.and staff children are to be given to the Dean of Admissions for reading. Additionally,
            readers are instructed to refer folders to the Dean if the folders are "particularly sensitive or
            controversial, or raise issues of fundamental Admissions or Financial Aids policy."

            The Reading Procedures require final readers to fill out "profile sheets" which contain the numerical
            ratings that are entered into the computer. The final reader also insures that an accurate class rank
            for applicants is coded, and that an ethnic code is noted for all minority applicants. Finally, first
            readers are instructed to follow up on missing material and incomplete folders, and all readers are
            instructed on where to return misfiled materials.

            SUBCOMM11 1 EES

            After applications are reviewed by the individual readers and the ratings have been entered into the
            computer, the applications are sent to subcommittees for discussion and consideration. A particular
            subcommittee covers all applications from one docket. Admissions staff who are assigned to read
            folders from a particular docket make up that subcommittee. Included on the subcommittee are the




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             area admissions officers from the docket, who are usually the first readers of applications, and who
             consequently serve as advocates for those applicants in subcommittee discussions. They present cases
            (applicants) to the assembled subcommittee, emphasizing each applicant's strengths and reasons for
             admission. In addition to the First readers, second readers assigned to the area sit on the
            subcommittee, as well as the chairperson of the subcommittee. Additionally, faculty members may
             sit on subcommittees and participate in the discussions and decision-making. According to Harvard,
             the number of people on a subcommittee varies from as few as three to as many as twelve but,
             generally, there are between four and eight members. Harvard explained that the primary purpose
             or objective of the subcommittees is to provide a set of recommendations on the applications to the
             full committee. Generally, the subcommittees collectively recommend approximately 2000 applicants
             for admission each year.

             Prior to subcommittee deliberations, the Dean of Admissions and Financial Aid and senior
             Admissions Officers set "targets" for each subcommittee. These targets represent the tOtal number
             of applicants who should be recommended for admission from a given docket. Harvard explained that
             one purpose of the target system is to ensure that collectively, all of the students admitted from the
             various dockets do not exceed the total number that should be recommended for acceptance at the
             subcommittee level. More importantly, targets are used to ensure that applicants from each docket
             have a comparable opportunity to be admitted. By considering the strength of the applicants in one
             docket versus other dockets, for example, adjustments in the targets could ensure that an applicant
             from a very strong docket would not be unfairly disadvantaged in comparison to an applicant from
             a relatively weak docket. Harvard explained that the targets are developed, in part, based on factors
             other than the strength of the applicant pool, including the number of applicants from preference
             categories, as well as on several minor factors such as the historic yield rate (percentage of applicants
             accepted who are expected to come to Harvard) for a given docket or preference category. Harvard
             explained that race is only used as a positive factor to increase the number of applicants to be
             admitted from a given docket; it is never used negatively, or to set a goal or benchmark for the
             number of applicants to be admitted from a given race for a given docket.

             When the subcommittees discuss applications, they have before them a copy of the Computerized
             docket sheets which show the POR ratings from one, two or three readers depending upon how many
             have reviewed the applicant's folder. The dotket sheet also shows the ratings entered by the third
             reader for extracurricular, athletics, personal qualities, two teacher recommendations, guidance
             counselor recommendations and alumni/ae and staff interviews. It is these numbers with which the
             subcommittee members work when they make decisions on whom to recommend for admission. In
             addition, the applicant's whole folder is available for review by subcommittee members.




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             During the subcommittee meetings, the advocates make oral presentations on individual candidates.
             The subcommittee members may refer to the actual applicant folder if necessary. The readers
             explained, however that most often the committee members rely on the numerical information from
             the docket sheets and the information provided by the advocate, when voting to recommend
             admission or rejection of applicants. Consequently, the numerical ratings or the docket sheets, while
             not decisive, can be very influential in affecting the voting of the subcommittee members.

             The subcommittees review applicants by docket, and within each docket, by high school. Each
             applicant in the docket is reviewed, and the subcommittee decides either by formal vote, or by
             informal consensus, whether to recommend the applicant for admission or rejection. Harvard
             explained that the strength of applicants who are recommended for admission are distinguished by
             the subcommittees from strongest to weakest as: straight A(A = admit), A•(A - dot), A*(A - star),
             A**(A - double star), and A****(A star galaxy). These various designations of admitted applicants
             generally represent the degree of consensus among the subcommittee members on the
             recommendation to admit. They also serve as further guidance to the full committee on how strongly
             the subcommittee felt about a given applicant.

             Additionally, strong "rejected" applicants might be circled on the docket printout to alert other
             members of the subcommittee. Still other applicants might be noted as "W.L." for wait list or "I" for
             incomplete. According to Harvard, these applicants may still be admitted if they are revived by the
             full committee. Harvard explained that throughout the entire admissions process there is late-
             breaking information which can cause a "straight A" applicant to be rejected, or a "rejected" applicant
             to be admitted. These decisions, however, occur in the full committee.

             FULL COMMII 1 EE

             After the subcommittees are finished meeting, they submit their list of recommendations to the full
             admissions committee. The full committee, which includes all Admissions officers, Financial Aid staff,
             and some faculty and administrators, consists of approximately 45 people.

             The full committee has the responsibility for making the final admissions decisions. Basically, they
             begin with the results of the subcommittees, which generally recommend for admission approximately
             2,000 applicants which is 200 less than the roughly 2200 who will ultimately get admitted. "Rerun"
             meetings are held by the full committee during which the stronger "reject" applicants and weaker
             "admit" applicants from the subcommittee recommendations are reviewed for final action_ In addition,
             the full committee can fill the at remaining places. The last "rerun" meeting, known as the "lop"
             session is when all final admissions decisions are completed. Voting on each applicant is done by




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            majority rule. The Dean of Admissions indicated that up until the final day in the proces.s, decisions
            to admit and reject applicants are "fluid" and subject to change.

            IMPLEMENTATION OF POLICIES AND PROCEDURES

            To determine whether Harvard's admissions policies and procedures were implemented as described,
            we first reviewed applicant files from the Classes of 1991 and 1992. Initially, we reviewed a sample
            of 100 applicant files to familiarize ourselves with the contents of a folder prior to questioning the
            readers about the reading and rating process. Subsequent to the interviews, we reviewed 300 more
            full applicant files, 150 each from the Classes of 1991 and 1992. An equal number of Asian American
            and white files were examined and for each Class approximately 30% of the applicants were accepted
            and 70% rejected. Specifically, the 300 files consisted of 76 applicants who were admitted (38 Asian
            Americans and 38 whites) and 224 applicants who were rejected (112 Asian Americans and 112
            whites). Within these parameters the files were randomly selected. In addition, we looked at reader
            Summary Sheets from approximately 2000 additional applicant files, which contained individual reader
            ratings, reader comments, and other information.

            Separate from the file review, we analyzed information provided regarding the implementation of
            subcommittee and full committee procedures. Finally, we studied the implementation of all of the
            admissions procedures through the conduct of statistical analyses on applicant data provided by
            Harvard.

             FULL.FILE REVIEW

             The primary purpose of the file review was to determine whether reader ratings in the four areas:
             academic, extracurricular, athletic, and personal qualities, as well as the POR, were consistent with
             the documentation in the file for both Asian American and white applicants. In addition, we looked
             to see whether there was any evidence of readers' lack of awareness or insensitivity to the culture or
             background of Asian American applicants, such that they were at a disadvantage in the admissions
             process. Also, given the subjective nature of the admit/reject decision in light of the varied
             information contained in a folder, we sought to identify the considerations or "hooks", which appeared
             to separate the admitted vs. rejected students from among many strong candidates. In this regard we
             looked closely for indications of the use and impact of the 'tips', including the Asian American ethnic
             tip, in the evaluation of applicants.

             OCR read each file in its entirety and noted the various reader's comments and ratings which had
             been recorded on Summary Sheets found in each file. Although the Reading Procedures described




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            a rating system containing only whole numbers (1-6), many files showed finer gradations, such as a
            "3+" or "2-", or even ratings such as "2/3".

            It was readily apparent that the pool of applicants, both Asian American and white, was extremely
            bright and talented. Academically, the norm appeared to be applicants with SAT scores above the
            middle 600s, with scores in the 700s quite common. Similarly, the class rank of applicants was usually
            in the top 10 percent, while many were class valedictorians. Most students had numerous
            extracurricular and athletic activities, as well as academic and non-academic honors and awards. The
            required essays were, more often than not, so interesting, insightful, or moving, that it was hard to
            imagine that they were prepared by 17 year olds. In fact, given the overall strength of the applicant
            pool, it sometimes seemed as if the students who stood out were the ones who scored below the 600s
            on their SATS, were not in the top 10% percent of their class, or were not extremely well-rounded.

            OCR's review of complete files showed that there was the greatest consistency among readers' ratings
            in the academic and extracurricular categories. We found that the readers consistently applied the
            standards found in the Reading Procedures in these areas. For example, in the academic area, OCR
            noted that those applicants with test scores in the upper 700's, as well as a very high rank in class and
            exceptionally strong teacher recommendations received a 1 academic rating, those with test scores
            in the high 600's to low 700's, high ranks and very strong teacher support received a 2. etc. OCR
            found no evidence of Asian American applicants being given lower academic ratings than white
            applicants for similar academic credentials and accomplishments.

            Although the academic rating area was in some ways the easiest in which to assess the consistency
            of reader ratings, OCR also found similar ratings of the quantity, duration, and quality of participation
            in extracurricular activities. For instance, readers appeared to be mindful not only of the number of
            activities in which an applicant was involved, but the number of hours per week, the nature and
            significance of the accomplishments in a given activity, and the number of years of commitment to,
            or active involvement in the activity. Again, OCR found consistency in the ratings of Asian American
            and white applicants with similar credentials. It should be noted, however,.that almost all (over 95%)
            of the applicants received some form of a 2 or 3 rating in this category. Hence, there was not a great
            deal of differentiation in the ratings in the extracurricular area.

             OCR found less consistency among readers''ratings in the athletic and personal categories. For
             example, several applicants listed nothing on their applications under athletic activities. Different
             readers would give either a 6 or a 4 as a rating where nothing was listed. A 6 rating indicates either
             that something is missing from a file or that there is some extenuating circumstance which precluded
             an applicant's participation. A rating of 6 is not a negative rating. OCR found several cases where
             one reader would give a 6 rating when nothing was written down on the application, and another




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            reader would give the same case a 4. Additionally, it was clear that several readers had differing
            views of what level athletic activities constituted a 3 rating and what level constituted a 4. Some
            applicants with only recreational participation during high school received a better athletic rating than
            applicants who participated on varsity teams in high school.

            OCR questioned Harvard regarding the apparent inconsistencies among reader ratings in the athletic
            category. Harvard explained that some readers did have different views of what levels of athletic
            participation constituted a 3 versus a 4 athletic rating, however, the individual readers were consistent
            in rating all applications they read. Further, Harvard asserted, and we confirmed through an analysis
            of the data provided, that a 3 versus a 4 athletic rating made little difference in an applicant's chance
            for admission. OCR looked closely at individual reader's athletic ratings of both Asian American and
            white applicants and found that in almost all cases, there appeared to be consistency in the ratings.
            In other words, if a particular reader seemed to give worse athletic ratings than other readers, OCR
            found that that reader treated Asian American and white applicants similarly by giving all applicants
            a poor rating.

            With respect to the personal qualities ratings, most applicants in our sample, both Asian American
            and white, were given between 3- and 2+. Overall, in the Classes of 1991 and 1992, from which our
            file samples were drawn, over 98% of the applicants received some form of a 2 or 3. However,
            between the two groups, 20% of Asian American applicants and 25.5% of white applicants received
            a 2 rating in the personal category.

            In reviewing files, we found that the differences between some 3 and 2 ratings, such as a 3- and 2+,
            were not clearly discernable. According to the Admissions staff who were interviewed the personal
            rating is derived from a variety of elements in the applicant's file. It may be based on the essay
            written by the applicant, the comments of staff or alumni interviewers, teacher recommendations or
            any other information in the file which indicates strength of character. It could also be reflected in
            extracurricular activities, such as when an applicant has spent significant time doing community
            volunteer work.

            Because the information which went into the personal qualities rating could come from a variety of
            sources in an application, it was virtually impossible for OCR to identify exactly on what information
            a given reader based his/her personal rating of an applicant. Of the 300 files examined in this phase
            of the file review, OCR found only one applicant who received a personal rating poorer than a 3-
            on the summary sheet. The applicant was an Asian American who was admitted, and who ultimately
            came to Harvard. The fact that the applicant was admitted despite the low personal rating supported
            Harvard's position that the readers and committees view the entire application as a whole.
            Admissions staff explained that generally, with the exception of perhaps a very low academic rating




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             which might indicate an inability to perform the academic work at Harvard, weaknesses in some areas
             could be overcome by strengths in other areas. Our comparison of the personal qualities ratings to
             the supporting material in the applicant files revealed no apparent inconsistencies between the ratings
             and the underlying documentation. In all cases where an applicant received a 2 or better personal
             rating, there was some evidence either in the reader's narrative comments or the supporting
             documentation with the application (such as a Teacher's recommendation) which suggested that the
             applicant had unusually strong personal qualities.

             In light of the lower ratings for Asian Americans and the subjective nature of the personal category,
             we looked for evidence of stereotyping,and for indications that cultural differences, which might have
             placed Asian American applicants at a disadvantage, were overlooked. Basically, as discussed more
             fully in the following section, we found little evidence of negative stereotyping of Asian American
             applicants. With respect to cultural differences, it was not apparent from readers' comments or from
             the ratings themselves, how, if at all, ethnic or cultural background was taken into account. Perhaps
             more importantly, however, numerous Asian American files did not reflect review by the Asian
             American reader, raising the potential that cultural differences in areas affecting the personal rating,
             such as leadership style, for example, may not have been fully considered.

             With respect to the FOR, which Harvard stated represented an applicant's likelihood of admission
             based on all factors and information (not simply the four major rating areas), OCR found only a
             handful of Asian American cases from the sample of 300 in which one or two readers appeared to
             give a FOR which did not seem to reflect the documentation in the applicant folder, and did not
             appear to be consistent with the PORs assigned by other readers of the same folders. We found that
             the readers who gave the lower PORs, however, gave individual ratings in the four major rating areas
             that were comparable to the individual ratings of other readers of the same Asian American folders
             and that appeared to be consistent with the applicant's achievements as documented in the folder.
             OCR was informed by Harvard that the POR represents an individual reader's personal view of the
             likelihood of admission of a particular applicant, and consequently, it appears that the lower PORs
             in the handful of cases simply reflected the individual reader's perception that a given applicant was
             not as strong or deserving of being admitted as other applicants with similar individual ratings. While
             the disparity in the FOR ratings, was not significant enough for OCR to conclude that the readers
             were discriminating against Asian Americans, OCR noted there were several Asian American files
             read by only one reader which received a 3 FOR (defined as a "Solid Contender" by the Reading
             Procedures). These appeared to be worthy of further consideration, at least by the Asian American
             ethnic reader. Most of these files had no evidence reflecting that they had been reviewed by the
             Asian American ethnic reader.




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            The final phase of the file review consisted of reviewing approximately 2,000 Summary Sheets
            containing comments and numerical ratings from the readers. For the Class of 1991, OCR received
            and reviewed 950 Summary Sheets, 219 admitted students and 731 rejected candidates. Similarly,
            for the Class of 1992, a total of 1,020 Summary Sheets were reviewed, 260 admitted students 760
            applicants who were rejected. Within each category there were approximately an equal number of
            Asian American and white applicants.

            Although our review of the applicant information contained on Summary Sheets did not provide a
            basis for determining whether reader ratings were supported by file documentation, we used the
            Sheets to conduct a more detailed analysis of possible differences between readers in assessing Asian
            American and white folders. We looked to see whether one or more readers appeared to treat Asian
            American applicants more harshly than other readers reviewing the same candidate. Also, we sought
            to determine how the Asian American reader ratings and comments on Asian American applicants
            differed from other readers. Through a review of the comments by the readers we checked for any
            evidence of bias or insensitivity towards Asian American applicants. Finally, also from the comments,
            we tried to determine what actually "tipped" the balance in favor of admitting individual applicants.

            We found that of the 989 Summary Sheets from Asian American applicant files, only 189 or
            approximately 19.1% had been read by the Asian American ethnic reader. OCR's review of the
            Summary Sheets, therefore, did not support Harvard's initial contention that the ethnic reader reads
            "most" of the Asian American applicants, or that she reads "all" or nearly all of the Vietnamese and
            Filipino applicants. OCR observed several applicants who were noted by the reader as Vietnamese
            refugees or of Filipino heritage, for whom there was no evidence of the ethnic read. Additionally,
            most of the Asian American cases that were read by the ethnic reader were not read by her as an
            "extra" or "4th" reader, but rather as a first reader who was assigned to read the case because it was
            on her docket.

            However, Harvard indicated that the Asian American ethnic reader was assigned to dockets and sits
            on subcommittees which included over half of all Asian American applicants. Consequently, Harvard
            asserts that in addition to those applicant files in which OCR found evidence of the Asian American
            ethnic read, the Asian ethnic reader reviews files and participates in discussions at subcommittee and
            full committee meetings on many more Asian American applicants for which there is no written
            evidence of her input.

            In order to see whether the Asian American ethnic reader's rating or comments were any different
            than other readers, we looked separately at Summary Sheets from all Asian American and white
            applicants in our sample which she had read. OCR found that there was no discernable distinction
            in either the nature or tone of her comments for Asian American and white applicants. Her




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            comments addressed, generally, the strengths and weakness of each applicant. There was also no
            discernable difference between her comments and those of other readers in terms of any cultural or
            experiential differences faced by Asian American applicants. Put another way, it would be no easier
            to tell from her comments than from any other reader's comments, that the applicant being reviewed
            was Asian American or that the reader reviewing it was a fourth or ethnic reader. Similarly, the
            ratings, themselves, suggest little if any difference between the Asian American ethnic reader's
            numerical ratings of Asian American applicants and other reader's numerical ratings of Asian
            American applicants. Harvard asserted that the Asian American ethnic reader played an important
            role, not only in reviewing applicant files, but in sharing useful information about Asian American
            applicants with other readers. They claimed that she generally heightened staff awareness of Asian
            American issues which could help Asian American applicants in the admission process.

            While our file review did not support Harvard's assertion that the Asian American ethnic reader
            reviews "most" or all files of Asian American applicants who "have a chance," we could not conclude
            that the lack of an ethnic read put Asian Americans at a disadvantage. However, the Asian American
            ethnic reader's role, in part, was to ensure that no cultural or ethnic differences pertaining to Asian
            Americans were overlooked. To the extent that she is unable to review Asian American files as a
            reader, the possibility exists that some ethnically-related factors might be overlooked.

            In addition to examining the ethnic reader's comments, OCR's concern for the potential stereotyping
            of Asian American applicants prompted a review of reader comments for negative characterizations
            which could have an impact on the admissions decision and ratings. On its face. reader comments
            revealed several recurring characterizations attributed to Asian American applicants. Quite often
            Asian American applicants were described as being quiet/shy, science/math oriented, and hard
            workers. For example, one reader's comment embraced all of these in describing an Asian American
            applicant when she wrote:

                    "...[applicant] seems like a reserved, hard-working, aspiring woman scientist/doctor.'

             While such descriptions may not seem damaging, OCR was conscious that problems of "model
             minority" stereotypes could negatively impact Asian American applicants as a whole. This concern
             was also raised when OCR's file review came upon comments such as:

                    "He's quiet and, of course, wants to be a doctor.. ."




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            suggesting that most or all Asian American applicants "want to be a doctor." Or more pointedly:

                    "...[applicant]'s scores and application seem so typical of other Asian applications
                    I've read: extraordinarily gifted in math with the opposite extreme in English."

             OCR noted that in a number of cases, Asian American applicants were described as "quiet, shy,
             reserved, self-contained, soft spoken" and that these characteristics were underlined for added
             emphasis by the reader. While white applicants were similarly described, OCR found such
             descriptions ascribed to Asian American applicants more frequently. In some cases these comments
             actually originated from the interviews, teacher or counselor recommendations, or self-descriptions
             given by the applicant. For instance, in one case, an interviewer wrote:

                    "... he comes across as the hard worker rather than the really outstanding potential
                    scholar."

             In another, a teacher reports:

                     11...[applicant] has naturally reserved qualities."


             OCR recognized that reader comments were also sometimes echoes of other reviewers'commentaries
             related to the applicant. OCR also noted a few cases in which the readers referred to an applicant
             as "a classic V.N. [Vietnamese] bootstrap case" or "a classic BC/NC (blue collar/non-college
             background) Asian American from the inner-city." While it was clear from the context of the
             statement that the readers were not criticizing the applicants, and that there was no negative
             intention, the comments do suggest a tendency to stereotype by calling the applicants "classic."

             Additionally, OCR found another reader's comment which suggested a degree of insensitivity on the
             part of the reader. The file received five reads, including an ethnic read. Reader one gave a 3+12-
             POR, reader two gave a 2-13+ POR and the ethnic reader gave a 2- POR. The third reader,
             however, gave a 3/4 POR. The applicant was listed as a "BCNC" applicant, whose parents owned and
             operated a grocery store. The third reader wrote the following comment to the other readers:
             "Don't romanticize, by the way - the grocery may be profitable - they are back in the middle-class
             suburb, remember." This comment suggests that the fact that the applicant's family grocery store was
             doing well enough for the family to live in the "middle-class" suburb, somehow, detracted from, or
             operated to the disadvantage of the applicant. The comment also illustrates the distinction drawn
             between socio-economic status ("BCNC"), and ethnicity.




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             OCR also found some evidence of the readers' sensitivity to the obstacles facing Asian Americans,
             especially new immigrants. For example, one reader commented on a low alumnus interview score
             (4/5) and mediocre teacher support by saying "IV [the interview] and TRs[teacher recommendations]
             say [the applicant] is reserved, this may be the Filipino culture that others don't quite understand."
              Additionally, there were numerous comments justifying lower verbal SAT and Achievement scores
             for Asian American applicants because English was a second language which was not spoken at home.
              In many of these cases, the readers looked more closely at the teacher recommendations and essays
              written by the applicant, rather than the verbal SAT score to determine whether the applicant had
              sufficient language and writing skills to suceeed at Harvard.

              OCR found that while some reader comments could be construed to negatively affect the case of
              Asian American applicants, the ratings given to the applicant, where these comments did occur, did
              not reflect a lower than expected score. For example, in the aforementioned interviewer's comment
              on "hard worker" versus the "outstanding potential scholar," the reader rated the applicant's academic
              area a "2," consistent with his test scores and class standing. Similarly, applicants who were deemed
              to be "quiet/shy" were often rated "3" or better in the POR.

              OCR concluded that, while descriptions of Asian American applicants were found that could have
              implications for the stereotyping of Asian American applicants, they could not be shown to have
              negatively impacted the ratings given to these applicants.

              In reviewing Summary Sheets for indication of specific factors which appear in a general sense to
              positively or negatively affect admissions, OCR found that the most frequent comments indicating why
              an applicant was rejected stated that an applicant was "hookless", "not special', 'standard", "flat", or
              otherwise "not unique in the Ha pool," and, thus, would have difficulty getting admitted. The
              second most frequent comment for rejected applicants was that they were weak academically, in
              comparison to other applicants. On the plus side, the most clear indication of positive weight which
              appeared to significantly increase an applicant's chance of admissions was found in comments on
              recruited athlete and legacy files.

              OCR found information in the readers' comments on the Summary Sheets which illustrated the
              significance of the weight given to recruited athletes. The following readers' comments from
              applicants who were admitted to the classes of 1991 and 1992, illustrate the weight and significance
              that athletics can play in the admissions process:

                     "A shaky record and so-so scores don't bode well for [the applicant's] case,... nice personal
                     qualities, and he'd make a fine addition to the team if the coaches go all out for him, but
                     that's what it would take."




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                  It... a straightforward case hanging on athletic ability. Easy to do if a needed '1' [athletic
                  rating], pretty ordinary if not?

                  "As a swimmer who could 'help the program'she is special. If she isn't really special, the case
                  will be difficult to make."

                  "I fear that this may be tough without a field hockey push."

                  "If she's a '1' [athlete] she's one to compare on 'the list'. Otherwise I'm afraid the mediocre
                  scores will work against her."

           These comments suggest that an applicant's athletic ability and Harvard's need for such an athlete
           on its teams (reflected in the coaches' "lists"), can be crucial if not decisive in determining whether
           or not to admit the applicant.

           OCR noted that both Asian Americans and white applicants received positive weight for athletic
           "tips". There was no evidence in the Summary Sheets to suggest that the implementation of an
           athletic preference or "tip" was in any way designed to negatively treat or affect Asian American
           applicants.

           Similarly, our review of the readers' comments on the Summary Sheets illustrated the significance of
           being a Harvard/Radcliffe legacy in the admissions process. OCR observed the following readers'
           comments on applicants who were ultimately admitted to the classes of 1991 and 1992 which illustrate
           the positive weight given for being a legacy:

                  "Well, not much to say here. [Applicant] is a good student, w/average EC's [extracurricular],
                  standard athletics, middle-of-the-road scores, good support and 2 legacy legs to stand on..
                  .. Let's see what alum thinks and how far the RR [Harvard/Radcliffe] tip will go."

                    "Dad's . . . connections signify lineage of more than usual weight. That counted into the
                    equation makes this a case which (assuming positive TRs and Alum IV) is well worth doing."

                  "This is a good folder, but without the lineage it seems shy of an absolutely clear hook."

                    "We'll need confirmation that dad is a legit, S&S[Alumni Schools and Scholarship Committee
                    participant] because this is a "luxury" case otherwise.

                    "Without lineage, there would be little case. With it, we will keep looking?




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                    "Not a great profile but just strong enough #'s and grades to get the tip from lineage."

           It is evident from some of these readers' comments that being the son or daughter of an alumnus of
           Harvard/Radcliffe was the critical or decisive factor in admitting the applicant. It is clear that the
           "lineage tip" can work to the advantage of an applicant by offsetting weaker credentials in virtually
           any of the rating categories. There is also some evidence to suggest that certain alumni parents'
           status may be weighed more heavily than others. For instance, the distinction made between alumni
           and "S8cS" alumni suggests that legacies whose parent(s) participates on the Schools and Scholarship
           Committee are likely to get a bigger "tip" (more positive weight) in the admissions process than
           legacies whose parents are not as active with Harvard or Radcliffe.

            OCR concluded from the file review that both Asian American and white legacy applicants were
            given "tips" for their legacy.status. OCR observed, however, that there were significantly fewer Asian
            American applicants than white applicants in our sample of approximately 2,000 Summary Sheets,
            who had the legacy status, and fewer still, who had several generations of lineage at Harvard.

            With respect to the positive weight or "tip" assertedly given to Asian American applicants, there were
            few comments in the approximately 1000 Summary Sheets which reflected this. The only comment
            suggesting an ethnic tip was found on a Filipino applicant's Summary Sheet which stated: "The
            number of Phillipino students in the pool is very small. - Given the scores and support I don't see
            a problem." It should be noted that this applicant received a 2 POR and had strong ratings in all
            individual rating categories.

            OCR found no readers' comments which suggested that an applicant's Asian ethnicity was a
            significant or important factor in deciding to admit the applicant in the same way that being a legacy
            or a recruited athlete was instrumental in admitting numerous applicants. This conclusion was best
            exemplified by the comments of the third reader on an Asian American applicant whose folder
            showed that he was both clearly influenced by his ethnicity and a good athlete:

                    "He is more the hard worker than the scholar but if the soccer talents are competitive
                    at H/R then he is special."

            The applicant's Asian American ethnicity is not recognized and he would only be considered "special"
            based on his athletic talent. While the various "tips" or preferences could not be weighed or defined
            precisely, it was clear that the ethnic tip for Asians was significantly less instrumental, and present
            less often than tips for legacies and recruited athletes.




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             SUBCOMMI 1 hES AND FULL COMMI1 hE

             In addition to reviewing files to determine how the reader system was implemented, OCR sought to
             examine the implementation of the subcommittee and full committee portion of the admission
             process. As described previously, both the subcommittees and full committee conduct oral
             deliberations followed by a voting process on each and every applicant. In addition to interviewing
             staff, we reviewed the limited available data on subcommittee and full committee actions to determine
             whether Asian Americans might have been adversely affected by these processes. Also, we assessed
             the effect of the development of targets on Asian American applicants.

             During interviews with Admissions staff, OCR was told that the Asian American "ethnic tip" could
             be reflected in the subcommittee and full committee meetings. When asked exactly how this tip
             would come up in such meetings, none of those interviewed could think of, or remember a single case
             in which an applicant's Asian American ethnicity was cited as the "tip" which resulted in that applicant
             being admitted over a substantially equal white applicant.

             OCR requested information from Harvard specifying the admit/reject status of applicants at the end
             of the subcommittee meetings in order to compare those figures to the final admit/reject decisions
             which resulted from the full committee meetings. In this way, we could determine how Asian
             American applicants were affected by the subcommittee deliberations in comparison to the full
             committee. Unfortunately, Harvard was only able to provide data on the subcommittee results for
             the Class of 1993. The information below represents the number of potential admits resulting from
             subcommittee deliberations, which was compiled just prior to the full committee meetings.

                                                          Class of 1993

             Total Admitted:                         1959
             Admitted Asian Americans:                292
             Admitted Others:                        1263
             Admitted Lineage*:                       261
             Admitted Athletes*:                      216

             In comparison, after full committee deliberations, the results in terms of the final admitted class are
             below:

             Total Admitted:                         2255
             Admitted Asian Americans:                341
             Admitted Others:                        1428




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            Admitted Lineage*:                       290
            Admitted Athletes*:                      300

            *Harvard noted that these statistics do not break down lineage and athletes by race, and therefore,
            one applicant may show up more than once in the statistics.

            Without similar data for several years, OCR was unable to find any patterns or trends in the
            admission of Asian Americans versus whites from these figures. We did note that the number of
            Asian Americans admitted to the Class of 1993, rose by 49 from the Subcommittee decisions to the
            final decisions of the full committee. Consequently,from this limited data, OCR found no evidence
            to suggest that Asian Americans were being restricted or hindered during the final full committee
            meetings. In fact, at least during the 1993 class year, proportionally, Asian Americans made greater
            gains than Other (white) applicants and than lineage applicants during the full committee process.

            To assess the effect of subcommittee deliberations on Asian American applicants, we tried to
            determine whether the development of targets could adversely affect Asian Americans. If the targets
            reflected different proportions of applicants to be admitted in different dockets (subcommittees), we
            looked to see whether those dockets with disproportionately large numbers of Asian Americans had
            smaller targets.

                                                             TABLE 4

                                    CLASS OF 1991                                         CLASS OF 1992

                           TARGET AS %                                    TARGET AS %
                           OF ALL APPS.     % OF ASIAN AMERICAN           OF ALL APPS.   % OF ASIAN AMERICAN
            DOCKET         IN DOCKET        APPS. IN DOCKET               IN DOCKET      APPS IN DOCKET

            A               14.1%                   27.1%                  12.7%                26.4%
            C               12.6%                   30.3%                  11.3%                33.8%
            M               28.6%                    5.3%                  28.7%                 5.7%



            Ali
            Dockets         14.6%                   15.2%                  14.1%                15.7%




            As shown in Table 4 above, OCR evaluated Dockets A and C, which represented the States of
            California and Hawaii, because they contained large percentages of Asian American applicants in the
            Classes of 1991 and 1992, but appeared to have relatively low percentages of total applicants targeted
            for admission. Harvard explained that the targets were set based largely upon the strength and
            quality of applicants in the docket, as well as the number of special interest of preference group
            applicants. In part, to determine whether the lower targets in A and C dockets were justified, OCR




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            conducted an analysis described in the following Statistical Analyses section which showed that
            Californian applicants were somewhat weaker than non-Californian applicants. However, it also
            appears that the large number of Asian Americans in these dockets did not have a strong positive
            effect on the target size, which is consistent with our conclusion that there is little if any Asian
            American "tip."

            Additionally, we observed that Docket M (New England Preparatory Schools) had a high percentage
            of applicants targeted-for admission, and a low percentage of Asian Americans in the applicant pool.
            OCR notes that the high targets for dockets such as M reflected not only the strong qualifications
            of the applicants from the prestigious New England preparatory schools, but also, quite possibly, a
            large number of legacy applicants from the docket as well. From all of the above, we concluded that
            Asian Americans did not appear to be disadvantaged through the establishment of docket targets.



            STATISTICAL ANALYSES

            As stated previously, the admit rate for Asian American applicants over the last seven years (Classes
            of 1986 to 1992) was significantly lower than for white applicants. In the Implementation section
            above, OCR determined that Harvard implemented its admissions procedures, particularly the process
            of reviewing application folders and assigning reader ratings, in a manner which did not treat Asian
            Americans differently (except as previously noted). Nonetheless, it was impossible to determine
            exactly why, and on what basis, any individual applicant was accepted or rejected. Harvard
            maintained that this decision was not based on any formula which mechanically used the reader
            ratings or any other information contained in the folders. Instead, all information was taken into
            account through a succession of individual (reader) and group (subcommittee and full committee)
            assessments to ensure that each applicant is excellent and well-rounded, and would contribute to a
            diverse student body.

             Consequently, OCR sought an explanation through statistical analyses on all ten Classes (1983-1992),
             including virtually all (approximately 110,000) Asian American and white applicants for those years,
             using information contained on a computer data tape provided by Harvard. The tape included the
             following applicant information:

             1.     Personal data

                    Home state
                    Sex
                    Financial aid applicant
                    Tentative field of study
                    Prospective occupation
                    Prospective college activities




                                                        JA4505
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                    Parents' occupation
                    Parents, college background
                    Recruited athlete

             2.      Academic record

                     SAT and achievement test scores
                     Class rank and class size

             3.      Ratings.

                     Reader -           Overall
                                        Academic
                                        Extracurricular
                                        Athletic
                                        Personal
                     Teacher
                     Staff interview
                     Alumni interview


             We note that there were slight differences between analyses conducted from the computer generated
             data and the "hard copy" information provided by Harvard. For example, in Table 11 in this section,
             2,236 Asian American applicants arc shown for the Class of 1992. Table 1 on page 4, based on the
             "hard copy", indicates that there were 2,263 Asian American applicants for the same class. The
             difference can be attributed to our decision to utilize, for this section's analyses only, applicants for
             whom an admit or reject decision was reflected on the computer tape data, without including
             applicants who may have filed an initial application, but did not complete the admission process (less
             than 3% of our sample). Consequently, the Asian American and white admit rates described in Table
             8 are different from the rates that can be calculated from Table 1.

             It was explained by Harvard that this data tape was compiled for administrative purposes, as opposed
             to'research. It is generally used by Harvard to provide a "shorthand" summary in numerical form of
             each of the thousands of applicants in a given year. However, reader ratings in the data base are only
             described in whole numbers, in contrast to the finer gradations on Summary Sheets, which we
             observed during the file review. Also, some applicant information is obtained late in the admissions
             process, most notably alumni interview ratings, and might not get entered into the data base, although
             considered in making the admissions decision. Consequently, while there was information on over
             111,000 Asian American and white applicants on the tape, there was complete data on a much
             smaller number, approximately one-fourth of the total records. The incomplete records in almost all
             instances lacked only the alumni interview. Our analyses appeared to show little bias associated with
             the presence or absence of this information.

             More importantly, perhaps, is the understanding that, while there is a great deal of information
             relevant to the admit/reject decision contained in the quantitative variables we analyzed, there may
             be other unmeasured variables which affect the decision. For example, the importance or weight of




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            the "tips" given to certain applicants would not be necessarily be quantified in the tape data. In
            addition, there are two substantive steps in the admissions process,. the subcommittee and full
            committee deliberations, which would not be reflected in the information on the data tape. Finally,
            it is clear both from Harvard's statements, and our investigation, that there is no formula by which
            the quantitative information analyzed is translated into an admissions decision for any or all
            candidates.

            Our first task was to determine whether the Asian American and white applicant pools were similarly
            qualified. If the white applicants were, on average, superior to Asian American applicants, then it
            is reasonable to expect that whites would be admitted at a higher rate. A simple way to compare the
            Iwo groups is to view the mean scores of Asian American and white applicants over the ten year
            period on ten admissions criteria central to the admit/reject decision. As shown in Table 5 below,
            while the two groups were found to be significantly different on many of the variables, they appear
            overall to be comparably qualified when viewing their means. (Note that for reader ratings a 1
            represents the best rating and 4 or 5 represents the worst rating.)

                                                                 TABLE 5

                                           MEAN SCORES OF ASIAN AMERICAN AND WHITE APPLICANTS
                                                                TEN TEARS

                                               ETHNIC
                    VARIABLE                   GROUP HIGHER                ASIAN          WHITE    SIGNIFICANCE


                    Academic Rating            Asian American               2.81           2.97         s
                    Athletic Rating            White                        3.33           3.06         s
                    Extracurr.                                              2.77           2.75         ns
                    Personal Rating            White                        2.84           2.79         s
                    SAT Math                   Asian American                683            661         s
                    SAT Verbal                 White                         606            623         s
                    Counselor Rating                                        2.63           2.66         ns
                    Class Percent (Rank)       Asian American              93.46          91.46         s
                    A lumni Rating                                          2.68           2.63         ns
                    Teacher Rating             Asian American               2.58          .2.61         s



            Another more sophisticated way of examining the issue of comparability of applicant pools is to
            employ a discriminant function analysis. This multivariate technique indicates whether, on specified
            admissions criteria, the two applicant groups are statistically different and, if so, which criteria or
            variables best distinguish between the two groups, controlling for the other variables. By controlling
            for the effect of the other variables, one avoids inappropriately attributing a unique effect to one.
            For example, it allows us to measure the individual effect of each of four academic measures
            (academic rating, SAT Math and Verbal, Class Percent), which are basically measuring similar things,
             that is, aspects of academic performance. The same ten admissions variables shown in the mean




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            scores comparison above from the data tape were selected. The results of this discriminant analysis
            showed that the groups were different on eight of the ten variables as shown in Table 6 below.
            Generally, Asian Americans had higher academic scores, whites, higher non-academic scores. While
            the eight admissions criteria did significantly discriminate between Asian Americans and whites, the
            magnitude of the difference between the two groups was small as indicated by the small partial r2
            values for each variable. Hence, it appears from this analysis as well, that the Asian American and
            white applicant pools are similar in overall quality.

                                                              TABLE 6

                                                          DISCRIMINANT ANALYSIS
                                                                TEN YEARS
                                                             ALL APPLICANTS

                            ETHNIC
                            GROUP HIGHER       VARIABLE                           PART. r2   Significance

                            White              1.   Athletic Rating               .0180             s
                            Asian   American   2.   SAT Math                      .0125             s
                            White              3.   SAT Verbal                    .0180             s
                            Asian   American   4.   Class Rank                    .0035             s
                            White              5.   Personal Rating               .0010             s
                            Asian   American   6.   Counselor Rating              .0008             s
                            White              7.   Extracurricular Rating        .0005             s
                            Asian   American   8.   Academic Rating               .0002             s




             From the above analyses we could not conclude that the disparity in Asian American and white admit
             rates was attributable to differences in the quality of the respective applicant pools.

             We then employed logistic regression to try to identify which of the ten admissions variables could
             account for the admit rate disparity. Logistic regression is a multivariate technique which can determine
             not only whether specific admissions criteria, in fact, influence the admissions decision, but more
             importantly, whether their impact is different for Asian American applicants as compared to white
             applicants. Through this technique, we identified six variables which appeared to negatively impact Asian
             Americans, that is, those variables on which Asian Americans received less benefit in the admit/reject
             decision than white applicants with similar scores. These were three of the reader ratings: academic,
             extracurricular and personal, along with the Counselor and Alumni ratings, and SAT Math. Since
             Harvard asserted that the preference given to legacy and recruited athlete applicants explained the admit
             rate disparity, we next reran the logistic regressions without these two groups. When recruited athletes
             and legacies were removed from the analysis, all of these race effects disappeared, with the exception that
             one variable, the reader academic rating, continued to have a small adverse effect on Asian Americans.
             The effect size, however, was too small to explain the disparity in overall Asian American and white admit




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            rates. Harvard's assertion, therefore, that the differential admit rate between whites and Asian Americans
            is a function of the preference given to recruited athletes and legacies, was supported. Conversely, we
            could not conclude from the logistic regression analysis that any of the tested admissions variables
            explained the disparity in Asian American and white admit rates.

           We looked further at the treatment of legacies and recruited athletes, two groups that get a "tip" in the
           admissions process. Harvard's assertion that the admit rate disparity could be attributed to these groups
           was based on the low number of Asian Americans in these groups, which had higher admit rates in
           comparison to other applicants. As shown in Table 7 below, over the eight years for which data were
           available for both alumni children and recruited athletes, the admit rate for all applicants was 16.9%.
           (Note that "All Applicants" in Table 7 and "Total Applicants" in Table 12 reflect Asian American and
            white applicants only.) In the same period, alumni children were admitted at a 35.7% rate and recruited
            athletes at a 48.7% rate. While Asian Americans comprised 15. 7% of all applicants over the eight years,
            they represented only 3.5% of the alumni children pool and 4.1% of the recruited athlete pool. We
           separately viewed the Classes of 1991 and 1992, as these were the classes from which our file review
           samples were drawn. The data from these classes were consistent with the eight year totals.


                                                              TABLE 7

                                    ADMIT RATE             TOTAL                  AA's in
                                    BY CATEGORY            * APPLICANTS           TOTAL APPS.

            CLASSES OF
            1985-1992 (8 Yrs.)

            ALL APPLICANTS             16.9%                  66437               13562 (15.7%)

            CHILDREN OF ALUMNI        35.7%                    9927                 344 ( 3.5%)
            RECRUITED ATHLETES        48.7%                    3747                 153( 4.1%)

            CLASS OF 1992

            ALL APPLICANTS             15.6%                  11182                2236 (20.0%)

            CHILDREN OF ALUMNI        35.2%                    1198                  42( 3.5%)
            RECRUITED ATHLETES        41.0%                     541                  23 ( 4.2%)

            CLASS OF 1991

           • ALL APPLICANTS            15.5%                  11231                2149 (19.1%)

            CHILDREN OF ALUMNI         33.4%                   1165                  46 ( 3.9%)
            RECRUITED ATHLETES         39.4%                    619                  26( 4.2%)




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            The effect of legacies and recruited athletes on the comparative admit rate between Asian Americans
            and white applicants is most easily shown by viewing the rates of admission with and without these two
            groups.

                                                               TABLE 8

                                            ALL APPLICANTS                 NO ALUMNI OR REC. ATMS.
                           CLASS   AA         WHITE                      AA       WHITE
                           YEAR    ADMIT      ADMIT                      ADMIT    ADMIT
                                   RATE       RATE    SIGNIFICANCE       RATE     RATE    SIGNIFICANCE

                           1992    13.07.    16.27.        s           12.57.    11.0%         s
                           1991    12.4%     16.2%         s           12.0%     11.37.       ns
                           1990    11.4%     18.0%         s           10.5%     12.4%         s
                           1989    12.8%     17.1%         s         ' 11.7%     12.8%        ns
                           1988    12.9%     18.17.        s           11.4%     12.67.       ns
                           1987    14.4%     19.8%         s           13.5%     14.2%        ns
                           1986    13.7%     18.9%         s           12.7%     13.7%        ns
                           1985    14.6%     16.8%        ns           14,1%     11.9%         s
                           1984    15.3%     15.8%        ns           15.1%     13.2%        ns
                           1983    15.2%     17.3%        ns           14.2%     14.3%        ns

                           Total   13.2%     17.4%                       12.5%   12.8%




            The above table demonstrates that the disparity in admit rates is virtually eliminated over the ten year
            period when removing legacies and recruited athletes from the sample. In fact, for three classes,
            including the Classes of 1991 and 1992, Asian Americans were admitted at a higher rate than white
            applicants without these groups.

            Evidence of the weight or "tip" given to legacies and recruited athletes can be shown by a comparison
            of the strength of legacy and recruited athlete applicants who were admitted with non-legacy/non-athlete
            admitted applicants. In Table 9 below, the mean scores over the ten years (Classes of 1983 to 1992) are
            described:




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                                                                 TABLE 9

                                                 MEAN SCORES OF RECRUITED ATHLETES
                                          CHILDREN OF ALUMNI AND MON ATHLETE/NON ALUMNI
                                                     FOR ADMITTED APPLICANTS
                                                            ALL YEARS
                                                     ALL ADMITTED APPLICANTS

                                                                                            NOM ATHLETE/
                                            RECRUITED ATHLETES        CHILDREN OF ALUMNI    NON ALUMNI

                    SAT Math                        67.02                     69.50           71.77
                     AT Verbal                      60.30                     67.41           68.67
                    Athletic Rating                  1.31                      3.08            3.11
                    Academic Rating                  3.00                      2.40            2.19
                    Extracurr. Rating                2.90                      2.52            2.43
                    Personal Rating                  2.52                      2.53            2.44
                    Teacher Rating                   2.43                      2.32            2.08
                    Counselor Rating                 2.43                      2.34            2.14
                    Alumni Rating                    2.35                      2.25            2.06
                    Class Rank                      92.30                     92.47           96.73



             With the exception of the athletic rating, non-legacy/non-athletes scored better than legacies and
             recruited athletes in all areas of comparison. In addition, the differences between non-legacy/non-athletes
             and legacies and, separately, between non-legacy/non-athletes and recruited athletes was found, in each
             category, to be statistically significant.

             It is clear from these analyses that thc "tip" given to legacies and recruited athletes is weighted quite
             significantly in the admissions process. The comparison shows that on average, the admitted non-
             athleteinon-legacy applicants scored more than 130 points higher on the combined math and verbal SATs
             than the admitted recruited athletes, and 35 points higher than the legacies. Still, although recruited
             athletes score relatively low on the SATs in comparison to other Harvard applicants, their scores would
             place them in the top percentiles of all students taking them.

             Having determined that legacies and recruited athletes are favorably treated in the admissions process,
             we evaluated whether Asian American and white applicants within these pools were similarly treated.
             The overall pattern of mean scores below suggests that the Asian Americans and whites are similarly
             qualified within the legacy and recruited athlete categories.




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                                                                      TABLE 10

                                                   MEAN SCORES OF RECRUITED ATHLETES
                                         CHILDREN OF ALUMNI AND NON ATHLETE/NON ALUMNI BY RACE
                                                       ALL YEARS - ALL APPLICANTS

                                                                                                 NON ATHLETE/
                                                 RECRUITED ATHLETES        CHILDREN Of ALUMNI    NON ALUMNI
                                                 Asian                      Asian                Asian
                                                 Amer.     White            Amer.     White      Amer.     White

                    SAT Math                      67.42     64.85          68.47       66.33      68.70       66.16
                    SAT Verbal                    58.74     57.83          62.24       63.72      60.91       62.34
                    Athletic Rating                1.48      1.40           3.27        3.10       3.35        3.15
                    Academic Rating                3.05      3.30           2.83        2.89       2.86        2.97
                    Extracurr. Rating              2.92      2.99           2.74        2.71       2.77        2.75
                    Personal Rating                2.77      2.66           2.83        2.75       2.84        2.81
                    Teacher Rating                 2.58      2.59           2.64        2.62       2.57        2.61
                    Counselor Rating               2.60      2.62           2.74        2.67       2.62        2.67
                    A lumni Rating                 2.70      2.55           2.52        2.54       2.68        2.65
                    Class Rank                    90.79     88.25          88.51       86.29      93.65       88.25



            Further, Table 11 below shows that in each of the last six years (prior to which there were so few Asian
            American recruited athletes that comparison was not feasible) there was no significant difference in the
            admit rates of Asian American and white recruited athlete applicants. In terms of legacies, in only one
            year was there a significant difference. These data appear to indicate that Asian American and white
            applicants are similarly treated within the legacy and recruited athlete pools.

                                                                       TABLE 11

                                                RECRUITED ATHLETES                CHILDREN OF ALUMNI
                            CLASS       AA          WHITE                     AA       WHITE
                            YEAR        ADMIT       ADMIT                     ADMIT    ADMIT
                                        RATE        RATE    SIGNIFICANCE      RATE     RATE    SIGNIFICANCE

                            1992        34.8%      41.3%        ns            26.27.    35.6%      ns
                            1991        34.6%      39.6%        ns            19.6%     34.0%       s
                            1990        42.9%      44.2%        ns            28.9%     39.8%      ns
                            1989        45.8%      44.2%        ns            35.6%     32.0%.     ns
                            1988        68.4%      58.1%        ns            37.8%     34.9%      ns
                            1987        52.9%      53.17.       ns            26.2%     38.6%      ns



            In addition, we reviewed two other sub-groups of applicants: California residents; and students who
            anticipated majoring in the biological sciences towards a career in medicine. One hypothesis to explain
            the lower admit rate for Asian American applicants is that categories of applicants in which Asian
            Americans are heavily represented are admitted at a lower rate. The sub-group of applicants from
            California was studied because Asian Americans were overrepresented in this group and, as shown below
            in Table 12, the admit rate was significantly lower than the admit rate for applicants in general. The




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           biological science/pre-med majors group was chosen because it was clear from the file review that readers
           often noted that Asian American applicants were "CJers", Admissions shorthand for students who
           indicated biological sciences as their anticipated major and medicine as their career goal. One way bias
           against Asian Americans might be manifested is through the use of stereotypes. If Asian American
           applicants are seen stereotypically as one-dimensional, math/science types, applicants who fit this pattern
           might be evaluated more negatively. As described in Table 12, Asian Americans are disproportionately
           represented among 'Cl" applicants who, as a group also get admitted at a lower rate than other
           applicants.

                                                            TABLE 12

                                                          ASIAN AMERICAN            TOTAL APPLICANTS
                                          TOTAL           APPLICANTS                ADMITTED
                                          APPLICANTS     #                                          X

                    CLASS OF 1992:

                    All Categories         11182          2236      20.0     1744           15.6

                    Calif                  1593            555      34.8      195           12.2
                    Non Calif              9589           1691      17.5     1547           16.1

                    Bio & Med ("CJ")        1433           543      37.9      143           10.0
                    Non CJ                  9749          1693      17.4     1601           16.4

                    CLASS OF 1991:

                    A LL Categories        11231          2149      19.1     1741           15.5

                  .Calif                    1573            509     32.4      192           12.2
                   Non Calif                9658           1640     17.0     1549           16.1

                    Bio & lied ("CJ")       1585           621      39.2      185           11.7
                    Non CJ                  9646          1528      15.9     1556           16.1



            Through logistic regression analysis, we tested whether the large number of Asian American applicants
            in the California and Cl pools were adversely affected. For the Classes of 1991 and 1992, we found there
            was no California or CI effect on Asian American applicants, that is, these applicants were similarly
            treated to non-California and non-C.1 Asian American applicants. It appears, therefore, that the extent
            to which Asian American applicants in the California and Cl pools were admitted at a lower rate than
            other Asian American applicants is a reflection of their weaker qualifications. The view that Asian
            American applicants from California might be weaker than those from other areas of the country was also
            expressed by an Alumni Admissions committee member in southern California Through additional
            logistic regression analyses on white applicants in the California and Cl pools, we were able to determine
            that Asian Americans are not disadvantaged in comparison to white within these two pools. Thus, we
            concluded that, although Asian American applicants from California and in the Cl pool are admitted at




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            a lower rate than other Asian American applicants, there was no evidence of intentional or unintentional
            bias.

            From all of the analyses performed,OCR found a strong and distinct correlation between the preferences
            or positive weight given to children of alumni and recruited athletes, and the disparity in Asian American
            and white admit rates. No other criteria or factors appeared to substantively contribute to the disparity.
            As a result of these analyses, taken together with the file review, we have concluded that the disparity
            in admit rates between Asian American and white applicants for the most part can be explained by this
            preference given to legacies and recruited athletes - groups that are predominantly white. The adverse
            effect on the Asian American admit rate was quite clear. Consequently, OCR examined Harvard's
            reasons for giving these preferences.

            JUSTIFICATION FOR PREFERENCES

            OCR learned that Harvard has been giving a preference to applicants who are children of alumni and
            to talented athletes at least back to the beginning of the century. OCR noted that these preferences
            were given long before there was a significant number of Asian American applicants. Also, it is clear that
            preferences for legacies and athletes are not unique to Harvard. Consequently, we found no evidence
            to suggest that these preferences were instituted to intentionally or deliberately limit the number of Asian
            Americans at Harvard. Because of the disparate impact that these preferences have on Asian Americans,
            however, OCR proceeded to analyze the legitimacy of their use in the admissions process.

            Harvard explained that the preference for alumni children was given because:

                    Harvard alumni support the college by devoting immense amounts of time in recruiting
                    and other volunteer activities, by contributing financially, and by informing other people,
                    be they potential students, parents, donors, or community leaders, about the College.
                    Those alumni are naturally, very interested in the college choices of their own children.
                    If their children are rejected by Harvard, their affection for and interest in the college
                    may decline; if their children are admitted, their involvement with the College is renewed.
                    Having children share the parent's college affiliation stimulates those three aspects of
                    contribution: of service, of money, and of community relations.

            Additionally, in response to OCR's query whether alternatives had been considered which would serve
            Harvard's institutional and educational goals, but which might have a less severe impact on Asian
            American applicants, Harvard responded that:




                                                          JA4514
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                    ... in our judgment, and in the judgment of many of our fellow institutions, tips for
                    lineage .. could not be eliminated without a severe effect on the strength and vitality
                    of the institutions and their ability to achieve their educational objectives.

             OCR asked Harvard for documentation supporting their assertion that alumni contribute both financially
             and through service to the University. Information submitted indicated that alumni provide the bulk of
             the scholarship funds provided to all students. In addition, Harvard demonstrated the extent to which
             alumni serve on the Schools and Scholarship Committee and other alumni organizations which are
             extremely important to the operation of the Admissions Office and other components of the University.

             With respect to athletic preferences. Harvard explained that its athletic programs, like the academic
             programs at Harvard sought the very best applicants who could contribute to those programs.
             Consequently, in the same way that unusually strong math or science scholars would he looked upon
             favorably in the admissions process for the contributions they could make to the math or science
             programs, talented athletes are looked upon favorably for the contributions they could make to the
             athletic programs. Further, Harvard maintained that a varsity sports program was an integral part of
             American college life, benefiting athletes and other students as well.

             Specifically, regarding the "tip" for athletics, Harvard stated that:

                     Excellence in athletic ability is only one of the excellences that the Committee looks for,
                     of course, and reflects the Committee's continual quest for diverse.abilities to contribute
                    • to the life of the community. At Harvard, athletes are not admitted by a different
                     committee, nor are they subject to a different process, nor do they receive athletic
                     scholarships; they are viewed like the other students with whom they will live and study,
                      and are distinctive only in the nature of their particular excellence. Dedicated athletes
                      wish to compete with athletes of similar dedication, and that kind of intensity is valued
                      in all candidates. Our coaches tell us again and again that it would be impossible to field
                      a varsity level team without recruiting athletes and giving their athletic excellence the kind
                     of positive weight we give a myriad of other non-athletic excellences in the admissions
                      process. There is no alternative to a "tip" if Harvard wishes to have a competitive varsity
                      athletic program.

             In evaluating Harvard's justifications for providing "tips" to legacy and recruited athlete applicants, OCR
             took into account court decisions related to this matter. While there is no case law which directly
             addresses the legitimacy of a private University admissions preferences to children of alumni, there is at
             least one case in which a court upheld such a preference for out-of-state children of alumni at a State
             University. In Rosenstock v. Board of Governors of University of North Carolina, 423 F. Supp. 1321




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            (1976), a Federal district court found that "defendants showed that the alumni provide monetary support
            for the University and that out-of-state alumni contribute close to one-half of the total given." Id. at 423
             p. 1327. The court concluded that "to grant children of this latter group a preference then is a
             reasonable basis and is not constitutionally defective." Id. That case involved an Equal Protection
             challenge to a State University's preference to out-of-state applicants who were children of alumni.
             While Harvard is a private University, and we are reviewing its undergraduate admissions program under
             Title VI of the Civil Rights Act of 1964, the Rosenstock case does indicate one court's willingness to
             recognize the legitimacy of a link between a University's economic interests, and admissions preference
             to alumni children based on the fact that alumni donate large sums of money to the University.

             In addition to the Rosenstock case, one Justice on the U.S. Supreme Court at least mentioned the fact
             that a preference is given to children of alumni and recruited athletes. Justice Blackmun, in his separate
             opinion in Bakke supra., stated that:

                     It is somewhat ironic to have us so deeply disturbed over a program where race is an
                     element of consciousness, and yet to be aware of the fact, as we are, that institutions of
                     higher learning, albeit more on the undergraduate than graduate level, have given
                     conceded preferences up to a point to those possessed of athletic skills, to the children
                     of alumni, to the affluent who may bestow their largess on the institutions, and to those
        •            having connections with celebrities, the famous and the powerful. Bakke 438 U.S. Rep.
                     at 404.

             Justice.Blackmun went on to defer such matters to the expertise of educators, and to presume the good
             faith of the institutions administering such policies. There is no definitive authority, therefore, to suggest
             that such preferences are unlawful in and of themselves.

             With respect to alumni preferences, OCR asked Harvard to provide some evidence of their support and
             contributions to the University. Harvard provided information showing that last year,for example, alumni
             contributed over 36 million dollars to the Harvard College Fund, much of which goes to providing
             financial aid and scholarships to needy students. Additionally, Harvard provided data which indicated that
             over 4,000 alumni serve on schools and scholarship committees, and that the more than 37,000 dues-
             paying members of the Harvard and Radcliffe Clubs contribute to the University by raising scholarship
             funds and sponsoring schools and scholarship committees. Harvard maintained that the direct financial
             support from alumni was an essential component of the financial aid that enables the University to
             maintain its "needs-blind" admissions policy and achieve its important educational objective of diversity
             in its student body. Data supplied by Harvard substantiated Harvard's assertion that alumni time, energy,
             money and intellectual resources were essential to maintaining the excellence of the institution.




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            OCR's review of current case law found no legal authority to suggest that giving preferences to legacies
            and recruited athletes was legally impermissible. In fact, the case law suggests that if schools are to
            possess a desirable diversity, officials must retain wide discretion, with respect to the manner of selecting
            students. The courts have generally been reluctant, if not unwilling to dictate what considerations or
            methods of selection are to be given priority in college admissions. OCR finds that the reasons or goals
            provided by Harvard for giving preferences to children of alumni and recruited athletes are legitimate
            institutional goals, and not a pretext for discrimination against Asian Americans. Additionally, Harvard
            asserted, and OCR accepts, that there are no alternatives to these preferences that could effectively
            accomplish the same legitimate goals. In light of the evidence, and the lack of any legal authority
            suggesting that such preferences are impermissible. OCR finds that Harvard's use of preferences for
            children of alumni and recruited athletes, while disproportionately benefitting white applicants, does not
            violate Title VI of the Civil Rights Act of 1964 or its implementing regulation at 34 C.F.R. Part 100.

             Based upon the entirety of OCR's review, and Harvard's explanations of its preferences for alumni
             children and recruited athletes, OCR drew the following conclusions.

             CONCLUSION

             OCR established that Asian American applicants to Harvard-Radcliffe were accepted at a statistically
             significant lower rate than non-minority (white) applicants in each of the last seven years covered by our
             review (Classes of 1986-1992). Our investigation found, however, no evidence of the use of a quota to
             limit the number of Asian Americans at Harvard, which might explain the disparity in admit rates. During
             the entire ten year period studied (Classes of 1986-1993), in each succeeding year both the number of
             Asian American applicants and the number accepted were greater than in the previous year. In addition,
             an extensive review of the literature, documentation provided by Harvard, and extensive interviews of
             both Harvard staff and other knowledgeable individuals, revealed no information attesting to the
             existence or use of quotas by Harvard.

             Consequently, we turned to Harvard's admissions policy and process for an explanation of the disparity
             between Asian American and white acceptance rates. After review of files and documentation submitted
             by Harvard, supplemented by interviews with Admissions staff, we found several policies and procedures
             in Harvard's admission process which indicated different treatment of Asian American applicants on the
             basis of race.

             First, Harvard indicated that it provides an extra "ethnic" read for Asian American applicants. Our
             investigation found, however, that the "ethnic" read was an affirmative step designed to ensure a full
             understanding of the different backgrounds of Asian American applicants by having the applicant file read
             by an Admissions Officer who was knowledgeable and sensitive to the Asian American cultures and




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             experiences. Second, Harvard stated unequivocally that Asian American ethnicity is a factor in the
             admissions process which can weigh in favor of the admission of a specific applicant. We found that
             Harvard's intent was for race or ethnicity to be considered only as one positive factor in evaluating Asian
             American applicants, .which might make a difference in a situation where all other factors were
             substantially equal. Third, Harvard stated that some Asian American applicants are compared to other
             similarly-situated Asian American applicants during the admissions process. We found, however, that to
             the extent certain Asian American applicants were compared to other similar applicants, they were not
             ultimately shielded from comparison to all other applicants. Finally, Harvard stated that race is a factor
             in determining targets for the total number of applicants to be admitted from each docket. After further
             inquiry, OCR found that race was simply one, positive consideration in the development of a target for
             each docket, and that there were no targets for specific racial or ethnic groups of applicants.

             OCR concluded, to the extent that they treat Asian Americans differently from whites, Harvard's
             admissions policies and procedures intended race to be used in a manner which benefitted, not harmed,
             Asian American applicants. The "ethnic" read and the within group comparisons were designed to ensure
             that differences in culture or background did not place Asian American applicants at an unfair
             disadvantage. The ethnic "tip" and the development of targets provided an opportunity for Asian
             American ethnicity to be positively weighted in the admissions process.

             OCR notes that Justice Powell. in dicta in the )3akke case stated that ethnic diversity is "one element in
             a range of factors a university may properly consider in attaining the goal of a heterogeneous student
             body" Bakke 438 U.S. at p. 314. The key, according to Powell, is that while "race or ethnic background
             may be deemed a "plus" in a particular applicant's file, . . . it does not insulate the individual from
             comparison with all other candidates for the available seats.° (Id. at p.317.) OCR found no evidence
             to suggest that Harvard's admissions policies and procedures intended race or ethnicity to be the decisive
             or sole factor, rather than one of many factors which might weigh in favor of admitting a particular
             applicant. Consequently, OCR finds that Harvard's policies and procedures for admissions, themselves.
             while not racially neutral, are consistent with the legal requirements of Title VI of the Civil Rights Act
             of 1964 and its implementing regulations at 34 C.F.R. Part 100.

             OCR's analysis of Harvard's stated admissions policies and procedures, did not provide an explanation
             for the lower Asian American admit rate. Therefore, OCR next evaluated the implementation of those
             policies and procedures to determine whether Asian American applicants were somehow disadvantaged
             in the admissions process. We interviewed staff, reviewed files, and analyzed data provided by Harvard
             regarding both the reader rating process and the decisions to admit or reject applicants.

             As a result, we have reached a number of conclusions with respect to the disparity in admit rates between
             Asian American and white applicants from our review of Harvard's implementation of the admissions




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          process. First, we could not conclude that the reader rating process was implemented in a manner that
          unfairly treated Asian American applicants. Given the subjective nature of the process, however, it was
          almost impossible to determine that a rating was inaccurate. OCR could not determine, for example,
          whether an applicant, based on all the information in a Ede, should have received a '1" rather than a "2"
          on "personal qualities", when a 1 was defined in the Reading Procedures as "Outstanding" and a 2 as
          "Very Strong". Nonetheless, it appeared that Asian American and white applicants received similar
          ratings from readers for similar accomplishments. In addition, our data analyses showed that Asian
          Americans and whites had similar mean scores in the reader rating categories, which also supports the
          conclusion that the reader ratings did not treat Asian Americans differently.

           Also, we looked carefully at Asian American applicant information for indications of stereotyping, or
           insensitivity to their background or culture, which might place them at a disadvantage in comparison to
           white applicants. While there was some evidence that readers stereotyped some groups of Asian
           American applicants, it did not appear to result in unfairly low ratings. Although in only a small number
           of cases did readers note an Asian American applicant's background or experience, we could not conclude
           that readers.failed to adequately take into account Asian American ethnicity when rating files. On the
           other hand, our file review did not support Harvard's assertion that the Asian American ethnic reader
           reviewed most of the competitive Asian American applicant files. To the extent that Asian American
           applicants do not receive the benefit of an "ethnic read", the possibility exists that cultural or ethnic
           differences may be overlooked. Also, there was little evidence from the file review, that Asian Americans
           received a "tip" in the assignment of reader ratings, or in the overall rating.

           While some aspects of the reader rating process might disadvantage some Asian American applicants, we
           concluded that, taken as a whole, there was no significant difference between the treatment of Asian
           American applicants and the treatment of white applicants. Further,in light of the small number of cases
           found where there was any indication of possible disadvantage, it clearly could not explain the disparity
           between Asian American and white admit rates overall.

           Since OCR had little information to evaluate the treatment of Asian American applicants during
           subcommittee and full committee meetings, we addressed the final results of these processes, that is, the
           ultimate decision to admit or reject. We first conducted analyses to determine the relative qualifications
           of Asian American and white applicants, based on summary information on each applicant, which was
           available to subcommittee and full committee members. It was our conclusion that the two groups were
           similarly qualified. Therefore, a hypothesis that the admit rate disparity could be explained by a weaker
           Asian American applicant pool was not supported by the evidence.

           Utilizing ten years of quantitative data supplied by Harvard for all individual Asian American and white
           applicants, it appeared that Asian Americans were at a small but statistically significant disadvantage in




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            the admissions process. However, this disadvantage is virtually eliminated if legacies and recruited
            athletes (groups with few Asian Americans), are removed from the Asian American and white sample.
            This finding is consistent with the results of our file review, which revealed clear evidence of a "tip" for
            legacies and recruited athletes. Further evidence of the effect of the preference for these groups on
            Asian Americans was 'demonstrated by the comparable Asian American and white admit rates when
            legacies and recruited athletes were removed from the sample.

             At the same time, there was no evidence from these sources of any "tip" for Asian Americans. Although
             this finding contradicts Harvard's stated policy, OCR concludes that the lack of a 'tip" in the admissions
             process does not, in itself constitute discrimination in violation of Title VT or its implementing regulation.

             Having determined that the primary cause of the lower Asian American admit rate in comparison to
             white applicants is the "tip" or preference given to legacies and recruited athletes, we sought to determine
             Harvard's reasons for these preferences, and whether they could be justified in terms of institutional or
             educational goals.

             According to information provided by Harvard, the primary reasons for giving a preference to children
             of alumni were to 1)encourage alumni volunteer services; 2)to encourage alumni financial contributions;
             and, 3) to maintain community relations. With respect to recruited athletes, Harvard likened the
             preference given to excellence in athletics to excellence in any particular field. Further, they asserted
             that varsity sports are an integral part of college life. OCR finds that these reasons or goals provided
             by Harvard are legitimate institutional goals, and not a pretext for discrimination against Asian Americans.
             Thus, OCR concludes that Harvard's use of preferences for children of alumni and recruited athlete,
             while disproportionately benefiting white applicants, does not violate Title VI.

             As a result of this compliance review, it is OCR's overall conclusion that Harvard did not discriminate
             against Asian American applicants to its undergraduate program in violation of Title VI of the Civil
             Rights Act of 1964 or its implementing regulation at 34 C.F.R. Part 100.




                                                           JA4520
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                                                                                                                   TRIAL EXHIBIT




                                                                                                                                           exhibitsticker.com
                                                                                                                            P604
                                                                                                                         SFFA v. Harvard
       From:                Heenan, Christine M [/O=HARVARD UNIVERSITY/OU=FIRST ADMINISTRATIVE
                            GROUP/CN=RECIPIENTS/CN=CMH191]
       Sent:                Monday, April 29, 2013 3:50:44 PM
       To:                  Driver-Linn, Erin
       Subject:             RE: two quick things
       Categories:          Strategy - Liam

       Gotcha. I spend very little time in Admissions land!


       Christine M. Heenan
       Vice President, Public Affairs and Communications
       Harvard University
       Massachusetts Hall
       Cambridge, MA 02~38

       Phone: 617-495-1703
       entail ; chrisline_heenan@harvard.edu


       From: Driver-Linn, Erin
       Sent: Monday, April 29, 2013 11:48 AM
       To: Heenan, Christine M
       Subject: RE: two quick things

       Yes, extra weight for admissions decisions. Usual categories in admissions conversations include gender, race, legacy,
       athlete, etc.


       From: Heenan, Christine M
       Sent: Monday, April 29, 2013 11:45 AM
       To: Driver-Linn, Erin
       Subject: RE: two quick things

       Thumbs on the scale? Meaning extra weight we give to those students? If so, you are right -- there are upsides and
       downsides of being public about that analysis...


       Christine M. Heenan
       Vice President. Pubiic Affairs and Communications
       Harvard Univer5ity
       Massachusetts Hall
       Cambridge, MA 02 i 38

       Phone: 617-495-1703
       email : christine heenan@harvard.edu


       From: Driver-Linn, Erin
       Sent: Monday, April 29, 2013 11:37 AM                                                                           EXHIBIT
       To: Heenan, Christine M
       Subject: RE: two quick things                                                                                            q
       Okay great-Tippi is unfortunately sick today, so I'll have Liam call Monica.

                                                     11
       Fitz asked us to do some analysis of thumb on the scale" for low income. Could be a positive message, but has
       implications for need blind policy as well as opening the door to Unz-like requests for info about other thumbs on the
       scale. Team is putting together a memo to send to Fitz, copy you and Jeff to put this in context, but I guess I am aware
       that part of the wonderful thing about Fitz is he has a lot of friends and likes to talk about his work ...




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                                                              JA4521
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       From: Heenan, Christine M
       Sent: Monday, April 29, 2013 10:43 AM
       To: Driver-Linn, Erin
       Subject: RE: two quick things

                                                                       Redacted:
                                                                       Redacted


       Sounds good re: Fitz·- what is the issue?




       Christine M. Heenan
       Vice President. Public Affairs and Communications
       Harvard University
       Massachusetts Hall
       Cambridge, MA 02'i38

       Phone: 617-495-1703
       email : christine heenan@harvard.edu



       From: Driver-Linn, Erin
       Sent: Sunday, April 28, 2013 1:59 PM
       To: Heenan, Christine M
       Subject: two quick things

       Hi Christine,

       Hope al
                 I      I   I                              Redacted:
                     iswel.~~~~~~~~~~~-R_ed_a_ct_ed~~~~~~~~~~~
       Also, would like to give you a heads up about some analysis and correspondence we've been having with Fitz. He's
       excited to share more broadly, I believe is going to be in touch with Jeff Neal tomorrow, but I'd like to make sure you've
       had a chance to think through implications, not entirely straightforward.

       If you think a good idea, I'll have Tippi connect with Monica to try to find time for a short phone call. All best,

       -Erin




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                                                                       JA4522
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                                       Admit Rates of ALDCs Versus Non-ALDCs
                                                                                                         Legacy,
                                                                                                        Dean’s List,
             Academic                                                                                  Children of
              Rating                                          Non-ALDC             Athletes           Faculty or Staff

                                 Number of Applicants           612                   1                     60
                     1           Number of Admits               405                   1                     58
                                 Admit Rate                    66.18%              100.00%                96.67%

                                 Number of Applicants          59,731               303                    3,118
                     2           Number of Admits               5,986               291                    1528
                                 Admit Rate                    10.02%              96.04%                 49.01%




  JA4523
                                 Number of Applicants          57,874               821                    2,444
                     3           Number of Admits               1,390               716                     442
                                 Admit Rate                    2.40%               87.21%                 18.09%

                                 Number of Applicants          18,176               210                    373
                     4           Number of Admits                 3                 167                     13
                                 Admit Rate                    0.02%               79.52%                 3.49%

                                 Number of Applicants          6,335                  8                     46
                     5           Number of Admits                0                    4                      0
                                 Admit Rate                    0.00%               50.00%                 0.00%
                                                                                                                  TRIAL EXHIBIT

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                                                                                                                                        exhibitsticker.com




Expanded Dataset Plus Athletes                                                                                        SFFA v. Harvard
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                                            Applicants Interviewed and Admitted
                                                                                                                            Total
                                                                                    Asian       African                  (Including All
                                                                        White      American    American     Hispanic   Races/Ethnicities)

           # ALDC Applicants                                            5,002         841         440         413           7,384
           # ALDC Applicants Interviewed                                1,035         144         113         73            1,478
           % ALDCs Interviewed Out of ALDC Applicants                   20.69%      17.12%      25.68%      17.68%         20.02%


           # ALDCs Interviewed and Admitted                              797          114          94         64            1,161
           % ALDCs Admitted Out of ALDCs Interviewed                    77.00%      79.17%      83.19%      87.67%         78.55%


           # Non-ALDC Applicants                                        57,582      40,415       15,664     17,970        142,728
           # Non-ALDC Applicants Interviewed                             928          350         199         181           1,801
           % Non-ALDCs Interviewed Out of Non-ALDC Applicants           1.61%        0.87%       1.27%       1.01%          1.26%




  JA4524
           # Non-ALDCs Interviewed and Admitted                          244          101          89         58              531
           % Non-ALDCs Admitted Out of Non-ALDCs Interviewed            26.29%      28.86%      44.72%      32.04%         29.48%


           # Total Applicants                                           62,584      41,256       16,104     18,383        150,112
           # Total Applicants Interviewed                               1,963         494         312         254           3,279
           % Applicants Interviewed Out of All Applicants               3.14%        1.20%       1.94%       1.38%          2.18%


           # Total Applicants Interviewed and Admitted                  1,041         215         183         122           1,692
           % Applicants Admitted Out of All Applicants Interviewed      53.03%      43.52%      58.65%      48.03%         51.60%

                                                                                                                               TRIAL EXHIBIT

                                                                                                                                    P619
                                                                                                                                                    exhibitsticker.com




Expanded Dataset Plus Athletes                                                                                                    SFFA v. Harvard
  TRIAL EXHIBITCase:                                 19-2005          Document:
                                                                       Number 00117622242
                                                                                and Share of Applicants
                                                                                              Page: 87 Admitted     07/30/2020
                                                                                                        Date Filed:and  Rejected Entry ID: 6356615
         P620                                                   White                        Asian American                    African American                   Hispanic                       All Applicants




                           exhibitsticker.com
      SFFA v. Harvard                                                                                                                                                                     (Including All Races/Ethnicities)
                                                     Number     Number     Number   Number      Number     Number      Number      Number     Number   Number     Number     Number   Number        Number           Number
                                                     Admitted   Rejected    Total   Admitted    Rejected    Total      Admitted    Rejected    Total   Admitted   Rejected    Total   Admitted      Rejected          Total
         Overall                                 1      24         0         24        31          0            31        8           0         8         5          0         5        77              0               77
         Rating                                  2    1,656      873       2,529     1,261        664         1,925      694         126       820       550        142       692      4,498          1,975           6,473
                                                3     1,131     39,975     41,106     780        29,306       30,086     485        6,137     6,622      552       9,340     9,892     3,206         92,782           95,988
                                                ≥4      3       13,920     13,923      0         8,373        8,373       0         8,214     8,214       0        7,381     7,381       3           40,187           40,190
         Academic                                1     124        47        171       229          141         370        2           1         3         7          0         7        405           207              612
         Rating                                  2    2,374     23,532     25,906    1,727       22,236       23,963     703         733      1,436      717       2,285     3,002     5,986         53,745           59,731
                                                3      315      25,501     25,816     116        12,737       12,853     481        5,794     6,275      383       8,209     8,592     1,390         56,484           57,874
                                                ≥4      1       5,688      5,689       0          3,229       3,229       1         7,949     7,950       0        6,369     6,369       3           24,508           24,511
         Extracurricular                        1      75         98        173       75           75          150        7            11       18        11          11       22       192           228              420
         Rating                                 2     1,980     11,866     13,846    1,547        9,713       11,260     610         1,806    2,416      616        2,386    3,002     5,179         28,223           33,402
                                                3      736      40,689     41,425     446        27,757       28,203     560        11,473    12,033     466       13,437    13,903    2,357        101,002          103,359
                                                4       3       1,735      1,738       0           659         659        3          1,012    1,015       1          859      860        9           4,560            4,569
         Athletic                               1       –          –          –        –            –            –        –           –         –         –          –         –         –              –                –
         Rating                                 2      590      6,774      7,364      149         1,794       1,943      169         900      1,069      169       1,180     1,349     1,175         11,644           12,819
                                                3     1,260     29,248     30,508     911        18,384       19,295     576        7,144     7,720      474       8,272     8,746     3,497         68,329           71,826
                                                4      810      17,416     18,226     915        17,415       18,330     387        5,773     6,160      394       6,817     7,211     2,716         51,400           54,116
         Personal                                1      19        8          27        3           1            4         1            2         3        1          1         2         26            13               39
         Rating                                  2    2,338     9,884      12,222    1,515       5,610        7,125      882        2,093     2,975      861       2,493     3,354     6,037        21,771           27,808
                                                3      457      44,629     45,086     554        32,538       33,092     304        12,309    12,613     245       14,283    14,528    1,721        112,496          114,217
                                                ≥4




  JA4525
                                                        0        247        247        0          194          194        0           73        73        0          86        86        0            664              664
         Teacher 1                               1     476       1,118     1,594      328         715         1,043       61          83       144        81        152       233      1,019          2,273            3,292
         Rating                                  2    1,702     14,222     15,924    1,218       10,183       11,401     646        1,892     2,538      622       3,024     3,646     4,531         31,947           36,478
                                                3      636      37,503     38,139     525        26,357       26,882     480        10,804    11,284     404       12,186    12,590    2,232         94,123           96,355
                                                ≥4      0         301       301        0          191          191        0          144       144        0         140       140        0             833              833
         Teacher 2                               1     465       934       1,399      298          570         868       72          71        143       76         119       195       984           1,844            2,828
         Rating                                  2    1,638     12,584     14,222    1,210        8,999       10,209     589        1,587     2,176      635       2,555     3,190     4,406         28,078           32,484
                                                3      627      30,908     31,535     492        22,706       23,198     474        8,142     8,616      351       9,597     9,948     2,117         77,591           79,708
                                                ≥4      0        214        214        1           165         166        0          79        79         0         102       102        1             597              598
         Counselor                               1     307       579        886       265          443         708       47            51       98        65          80      145       751          1,260            2,011
         Rating                                  2    1,832     11,836     13,668    1,251        8,193       9,444      640         1,433    2,073      581        2,233    2,814     4,651         25,831           30,482
                                                3      648      39,137     39,785     541        27,858       28,399     492        11,057    11,549     444       12,780    13,224    2,307         98,452          100,759
                                                ≥4      0        329        329        0           236         236        0           254      254        0          196      196        0           1,089            1,089
         Alumni                                  1    1,232      6,658      7,890     866        4,707      5,573        438        1,405     1,843      454       1,607     2,061     3,236         15,657           18,893
         Personal                                2    1,342     19,515     20,857    1,035       13,734    14,769        604        4,286     4,890      558       4,818     5,376     3,838         46,097           49,935
         Rating                                 3      162      13,447     13,609     130         9,665     9,795        106        3,802     3,908      71        4,213     4,284      517          33,741           34,258
                                                ≥4      14       3,165      3,179      7          2,532     2,539         13        1,120     1,133       3        1,214     1,217       38           8,684           8,722
         Alumni                                  1    1,009      3,790     4,799      894        3,649        4,543      257         440       697       317        682       999      2,684          9,434           12,118
         Overall                                 2    1,427     14,787     16,214     978        11,006       11,984     615        1,952     2,567      570       2,674     3,244     3,910         33,319           37,229
         Rating                                 3      287      15,849     16,136     154        10,509       10,663     259        3,646     3,905      178       4,253     4,431      941          37,196           38,137
                                                ≥4      23       7,868     7,891       9         5,119        5,128       26        4,247     4,273       20       3,944     3,964       82          22,655           22,737

Baseline Dataset
                           Case: 19-2005           Document:
                                                    Number 00117622242
                                                             and Share of Applicants
                                                                           Page: 88 Admitted     07/30/2020
                                                                                     Date Filed:and  Rejected Entry ID: 6356615
                                             White                      Asian American                 African American                    Hispanic                       All Applicants
                                                                                                                                                                   (Including All Races/Ethnicities)
                                   Share      Share     Share     Share      Share       Share    Share      Share     Share     Share      Share     Share     Share         Share             Share
                                  Admitted   Rejected   Total    Admitted   Rejected     Total   Admitted   Rejected   Total    Admitted   Rejected   Total    Admitted      Rejected           Total
         Overall              1   0.85%         0%       0.04%    1.50%        0%       0.08%     0.67%        0%      0.05%    0.45%         0%       0.03%    0.99%           0%             0.05%
         Rating               2   58.85%      1.59%      4.39%   60.86%      1.73%      4.76%    58.47%      0.87%     5.23%    49.68%      0.84%      3.85%   57.79%         1.46%            4.54%
                             3    40.19%     72.99%     71.39%   37.64%     76.43%     74.44%    40.86%     42.39%     42.28%   49.86%     55.39%     55.05%   41.19%        68.76%           67.25%
                             ≥4   0.11%      25.42%     24.18%      0%      21.84%     20.72%       0%      56.74%     52.44%     0%       43.77%     41.07%    0.04%        29.78%           28.16%
         Academic             1   4.41%       0.09%     0.30%    11.05%      0.37%     0.92%     0.17%      0.01%       0.02%    0.63%       0%        0.04%    5.20%        0.15%             0.43%
         Rating               2   84.36%     42.97%     44.99%   83.35%     57.99%     59.29%    59.22%     5.06%       9.17%   64.77%     13.55%     16.71%   76.90%        39.83%           41.85%
                             3    11.19%     46.56%     44.83%   5.60%      33.22%     31.80%    40.52%     40.02%     40.06%   34.60%     48.68%     47.81%   17.86%        41.86%           40.55%
                             ≥4   0.04%      10.39%     9.88%      0%        8.42%     7.99%     0.08%      54.91%     50.75%      0%      37.77%     35.44%    0.04%        18.16%           17.17%
         Extracurricular      1    2.68%      0.18%      0.30%    3.63%      0.20%      0.37%     0.59%     0.08%       0.12%   1.01%      0.07%       0.12%   2.48%          0.17%            0.30%
         Rating               2   70.87%     21.82%     24.21%   74.81%     25.42%     27.96%    51.69%     12.63%     15.61%   56.31%     14.29%     16.88%   66.94%        21.06%           23.56%
                              3   26.34%     74.81%     72.44%   21.57%     72.65%     70.03%    47.46%     80.22%     77.72%   42.60%     80.49%     78.16%   30.46%        75.37%           72.92%
                              4    0.11%      3.19%      3.04%    0.00%      1.72%      1.64%     0.25%     7.08%       6.56%   0.09%      5.15%       4.83%   0.12%          3.40%            3.22%
         Athletic             1      –          –          –        –          –           –        –           –         –        –          –          –        –             –                 –
         Rating               2   22.18%     12.68%     13.13%   7.54%      4.77%       4.91%    14.93%      6.51%     7.15%    16.30%     7.25%      7.79%    15.90%        8.86%             9.24%
                              3   47.37%     54.73%     54.38%   46.13%     48.90%     48.76%    50.88%     51.70%     51.64%   45.71%     50.85%     50.54%   47.33%        52.01%           51.76%
                              4   30.45%     32.59%     32.49%   46.33%     46.33%     46.33%    34.19%     41.78%     41.21%   37.99%     41.90%     41.67%   36.76%        39.13%           39.00%
         Personal             1   0.68%      0.01%       0.05%    0.14%       0%        0.01%     0.08%     0.01%      0.02%     0.09%      0.01%     0.01%     0.33%        0.01%            0.03%
         Rating               2   83.08%     18.05%     21.23%   73.12%     14.63%     17.63%    74.30%     14.46%     18.99%   77.78%     14.78%     18.66%   77.56%        16.13%           19.48%
                             3    16.24%     81.49%     78.30%   26.74%     84.86%     81.88%    25.61%     85.02%     80.52%   22.13%     84.70%     80.85%   22.11%        83.36%           80.02%
                             ≥4




  JA4526
                                    0%       0.45%       0.43%      0%      0.51%       0.48%       0%      0.50%      0.47%       0%       0.51%     0.48%       0%         0.49%            0.47%
         Teacher 1            1   16.92%      2.10%     2.85%    15.84%      1.91%     2.64%     5.14%      0.64%       1.02%   7.32%       0.98%      1.40%   13.09%         1.76%            2.40%
         Rating               2   60.48%     26.76%     28.46%   58.81%     27.19%     28.85%    54.42%     14.64%     17.99%   56.19%     19.51%     21.95%   58.22%        24.73%           26.63%
                             3    22.60%     70.57%     68.16%   25.35%     70.39%     68.03%    40.44%     83.60%     79.97%   36.50%     78.61%     75.80%   28.68%        72.86%           70.35%
                             ≥4     0%        0.57%     0.54%      0%        0.51%     0.48%       0%       1.11%       1.02%     0%        0.90%      0.84%     0%           0.64%            0.61%
         Teacher 2            1   17.03%     2.09%       2.95%   14.89%      1.76%      2.52%     6.34%     0.72%       1.30%    7.16%      0.96%      1.45%   13.11%         1.71%           2.45%
         Rating               2   60.00%     28.19%     30.02%   60.47%     27.74%     29.64%    51.89%     16.06%     19.76%   59.79%     20.65%     23.74%   58.68%        25.97%           28.10%
                             3    22.97%     69.24%     66.57%   24.59%     69.99%     67.36%    41.76%     82.42%     78.23%   33.05%     77.56%     74.05%   28.20%        71.77%           68.94%
                             ≥4     0%       0.48%       0.45%    0.05%      0.51%      0.48%       0%      0.80%       0.72%     0%        0.82%      0.76%   0.01%          0.55%           0.52%
         Counselor            1   11.02%      1.12%      1.62%   12.88%      1.21%      1.83%     3.99%     0.40%      0.70%     5.96%     0.52%       0.89%   9.74%          1.00%            1.50%
         Rating               2   65.73%     22.81%     25.00%   60.82%     22.31%     24.35%    54.28%     11.20%     14.83%   53.30%     14.61%     17.18%   60.33%        20.40%           22.69%
                             3    23.25%     75.44%     72.78%   26.30%     75.85%     73.22%    41.73%     86.42%     82.65%   40.73%     83.59%     80.74%   29.93%        77.75%           75.00%
                             ≥4     0%        0.63%      0.60%     0%        0.64%      0.61%       0%      1.99%      1.82%       0%      1.28%       1.20%     0%           0.86%            0.81%
         Alumni               1   44.80%     15.56%     17.33%   42.49%     15.36%     17.06%    37.73%     13.24%     15.65%   41.80%     13.56%     15.93%   42.42%        15.03%           16.90%
         Personal             2   48.80%     45.61%     45.80%   50.79%     44.83%     45.20%    52.02%     40.38%     41.53%   51.38%     40.65%     41.55%   50.31%        44.25%           44.66%
         Rating              3    5.89%      31.43%     29.89%    6.38%     31.55%     29.98%     9.13%     35.82%     33.19%   6.54%      35.55%     33.11%   6.78%         32.39%           30.64%
                             ≥4   0.51%      7.40%       6.98%    0.34%     8.26%      7.77%      1.12%     10.55%     9.62%    0.28%      10.24%     9.41%    0.50%         8.34%            7.80%
         Alumni               1   36.74%      8.96%     10.65%   43.93%     12.05%     14.06%    22.21%     4.28%       6.09%   29.22%     5.90%       7.90%   35.24%         9.19%           10.99%
         Overall              2   51.97%     34.96%     36.00%   48.06%     36.34%     37.08%    53.15%     18.98%     22.43%   52.53%     23.15%     25.67%   51.33%        32.47%           33.78%
         Rating              3    10.45%     37.47%     35.83%   7.57%      34.70%     32.99%    22.39%     35.45%     34.13%   16.41%     36.81%     35.06%   12.35%        36.25%           34.60%
                             ≥4    0.84%     18.60%     17.52%   0.44%      16.90%     15.87%    2.25%      41.29%     37.34%   1.84%      34.14%     31.37%   1.08%         22.08%           20.63%

Baseline Dataset
 TRIAL EXHIBIT
                                                Case: 19-2005                            Document:
                                                                                          Number 00117622242
                                                                                                   and Share of Applicants
                                                                                                                 Page: 89 Admitted     07/30/2020
                                                                                                                           Date Filed:and  Rejected Entry ID: 6356615
      P621




                      exhibitsticker.com
    SFFA v. Harvard
                                                               White                                         Asian American                                    African American                                      Hispanic                                         All Applicants
                                                                                                                                                                                                                                                              (Including All Races/Ethnicities)
                         ADMITTED                           REJECTED           TOTAL           ADMITTED         REJECTED           TOTAL           ADMITTED        REJECTED           TOTAL           ADMITTED        REJECTED          TOTAL           ADMITTED         REJECTED           TOTAL
                      Number Share                       Number Share      Number Share     Number Share     Number Share      Number Share     Number Share    Number Share      Number Share     Number Share    Number Share     Number Share     Number Share     Number Share      Number Share

 Overall          1                        24   0.85%      0       0%       24     0.04%     31     1.50%       0      0%       31     0.08%      8    0.67%      0       0%        8     0.05%      5    0.45%      0      0%        5     0.03%      77    0.99%      0        0%        77     0.05%
 Rating           2        1,656                58.85%    873     1.59%    2,529   4.39%    1,261   60.86%     664    1.73%    1,925   4.76%     694   58.47%    126     0.87%     820    5.23%     550   49.68%    142    0.84%     692    3.85%    4,498   57.79%   1,975    1.46%     6,473    4.54%
                  3        1,131                40.19% 39,975 72.99% 41,106 71.39%           780    37.64% 29,306 76.43% 30,086 74.44%           485   40.86%    6,137   42.39%   6,622   42.28%    552   49.86%   9,340   55.39%   9,892   55.05%   3,206   41.19% 92,782     68.76%    95,988   67.25%
                 ≥4                        3    0.11%    13,920 25.42% 13,923 24.18%          0      0%       8,373   21.84%   8,373   20.72%     0     0%       8,214   56.74%   8,214   52.44%     0     0%      7,381   43.77%   7,381   41.07%     3     0.04%    40,187 29.78%      40,190   28.16%

 Academic         1                 124         4.41%      47     0.09%     171    0.30%     229    11.05%     141    0.37%     370    0.92%      2    0.17%      1      0.01%      3     0.02%      7    0.63%      0      0%        7     0.04%     405    5.20%     207     0.15%      612     0.43%
 Rating           2        2,374                84.36% 23,532 42.97% 25,906 44.99%          1,727   83.35% 22,236 57.99% 23,963 59.29%           703   59.22%    733     5.06%    1,436   9.17%     717   64.77%   2,285   13.55%   3,002   16.71%   5,986   76.90%   53,745   39.83% 59,731 41.85%
                  3                 315         11.19% 25,501 46.56% 25,816 44.83%           116    5.60%    12,737 33.22% 12,853 31.80%         481   40.52%    5,794   40.02%   6,275   40.06%    383   34.60%   8,209   48.68%   8,592   47.81%   1,390   17.86% 56,484     41.86% 57,874      40.55%
                 ≥4                        1    0.04%    5,688    10.39%   5,689   9.88%      0      0%       3,229   8.42%    3,229   7.99%      1    0.08%     7,949   54.91%   7,950   50.75%     0     0%      6,369   37.77%   6,369   35.44%     3     0.04%    24,508   18.16% 24,511 17.17%

 Extra-           1          75                  2.68%   98    0.18%  173    0.30%            75     3.63%   75    0.20%  150   0.37%             7     0.59%   11    0.08%   18   0.12%            11     1.01%   11    0.07%   22    0.12%          192    2.48%    228    0.17%   420    0.30%
 curricular       2        1,980                70.87% 11,866 21.82% 13,846 24.21%          1,547   74.81% 9,713 25.42% 11,260 27.96%            610   51.69% 1,806 12.63% 2,416 15.61%             616   56.31% 2,386 14.29% 3,002 16.88%           5,179   66.94% 28,223 21.06% 33,402 23.56%
 Rating
                  3         736                 26.34% 40,689 74.81% 41,425 72.44%           446    21.57% 27,757 72.65% 28,203 70.03%           560   47.46% 11,473 80.22% 12,033 77.72%           466   42.60% 13,437 80.49% 13,903 78.16%         2,357   30.46% 101,002 75.37% 103,359 72.92%
                  4          3                   0.11% 1,735 3.19% 1,738 3.04%                 0      0%    659    1.72%  659   1.64%             3     0.25% 1,012 7.08% 1,015 6.56%                1     0.09%  859   5.15%   860   4.83%            9      0.12% 4,560 3.40% 4,569 3.22%

 Athletic         1                        –      –        –           –     –       –        –       –         –       –        –       –        –      –         –       –        –       –        –      –        –       –        –       –        –       –        –         –        –        –
 Rating           2                 590         22.18%   6,774    12.68%   7,364   13.13%    149    7.54%     1,794   4.77%    1,943   4.91%     169   14.93%    900     6.51%    1,069   7.15%     169   16.30%   1,180   7.25%    1,349   7.79%    1,175   15.90% 11,644     8.86%    12,819    9.24%
                  3        1,260                47.37% 29,248 54.73% 30,508 54.38%           911    46.13% 18,384 48.90% 19,295 48.76%           576   50.88%    7,144   51.70%   7,720   51.64%    474   45.71%   8,272   50.85%   8,746   50.54%   3,497   47.33% 68,329 52.01% 71,826 51.76%
                  4                 810         30.45% 17,416 32.59% 18,226 32.49%           915    46.33% 17,415 46.33% 18,330 46.33%           387   34.19%    5,773   41.78%   6,160   41.21%    394   37.99%   6,817   41.90%   7,211   41.67%   2,716   36.76%   51,400 39.13% 54,116        39.00%

 Personal         1                        19   0.68%      8      0.01%      27    0.05%      3     0.14%       1      0%        4     0.01%      1    0.08%      2      0.01%      3     0.02%      1    0.09%      1     0.01%      2     0.01%      26    0.33%      13     0.01%       39     0.03%
 Rating           2        2,338                83.08%   9,884    18.05% 12,222 21.23%      1,515   73.12%    5,610   14.63%   7,125   17.63%    882   74.30%    2,093   14.46%   2,975   18.99%    861   77.78%   2,493   14.78%   3,354   18.66%   6,037   77.56%   21,771   16.13% 27,808      19.48%
                  3                 457         16.24% 44,629 81.49% 45,086 78.30%           554    26.74% 32,538 84.86% 33,092 81.88%           304   25.61% 12,309 85.02% 12,613 80.52%           245   22.13% 14,283 84.70% 14,528 80.85%         1,721   22.11% 112,496 83.36% 114,217 80.02%
                 ≥4                        0     0%       247     0.45%     247    0.43%      0      0%        194    0.51%     194    0.48%      0     0%        73     0.50%      73    0.47%      0     0%        86    0.51%      86    0.48%      0      0%       664     0.49%      664     0.47%




   JA4527
 Teacher 1        1                 476         16.92%   1,118    2.10%    1,594   2.85%     328    15.84%     715    1.91%    1,043   2.64%      61   5.14%      83     0.64%     144    1.02%     81    7.32%     152    0.98%     233    1.40%    1,019   13.09%   2,273    1.76%     3,292    2.40%
 Rating           2        1,702                60.48% 14,222 26.76% 15,924 28.46%          1,218   58.81% 10,183 27.19% 11,401 28.85%           646   54.42%    1,892   14.64%   2,538   17.99%    622   56.19%   3,024   19.51%   3,646   21.95%   4,531   58.22% 31,947 24.73% 36,478          26.63%
                  3                 636         22.60% 37,503 70.57% 38,139 68.16%           525    25.35% 26,357 70.39% 26,882 68.03%           480   40.44% 10,804 83.60% 11,284 79.97%           404   36.50% 12,186 78.61% 12,590 75.80%         2,232   28.68% 94,123     72.86%    96,355   70.35%
                 ≥4                        0     0%       301     0.57%     301    0.54%      0      0%        191    0.51%     191    0.48%      0     0%       144     1.11%     144    1.02%      0     0%       140    0.90%     140    0.84%      0      0%       833     0.64%      833     0.61%

 Teacher 2        1                 465         17.03%    934     2.09%    1,399   2.95%     298    14.89%     570    1.76%     868    2.52%      72   6.34%      71     0.72%     143    1.30%      76   7.16%     119    0.96%     195    1.45%     984    13.11%   1,844    1.71%     2,828    2.45%
 Rating           2        1,638                60.00% 12,584 28.19% 14,222 30.02%          1,210   60.47%    8,999   27.74% 10,209 29.64%       589   51.89%    1,587   16.06%   2,176   19.76%    635   59.79%   2,555   20.65%   3,190   23.74%   4,406   58.68% 28,078     25.97% 32,484 28.10%
                  3                 627         22.97% 30,908 69.24% 31,535 66.57%           492    24.59% 22,706 69.99% 23,198 67.36%           474   41.76%    8,142   82.42%   8,616   78.23%    351   33.05%   9,597   77.56%   9,948   74.05%   2,117   28.20% 77,591     71.77%    79,708   68.94%
                 ≥4                        0     0%       214     0.48%     214    0.45%      1     0.05%      165    0.51%     166    0.48%      0     0%        79     0.80%      79    0.72%      0     0%       102    0.82%     102    0.76%      1     0.01%     597     0.55%      598     0.52%

 Counselor        1                 307         11.02%    579     1.12%     886    1.62%     265    12.88%     443    1.21%     708    1.83%      47   3.99%      51     0.40%      98    0.70%      65   5.96%      80    0.52%     145    0.89%     751    9.74%    1,260    1.00%     2,011    1.50%
 Rating           2        1,832                65.73% 11,836 22.81% 13,668 25.00%          1,251   60.82%    8,193   22.31%   9,444   24.35%    640   54.28%    1,433   11.20%   2,073   14.83%    581   53.30%   2,233   14.61%   2,814   17.18%   4,651   60.33% 25,831     20.40% 30,482      22.69%
                  3                 648         23.25% 39,137 75.44% 39,785 72.78%           541    26.30% 27,858 75.85% 28,399 73.22%           492   41.73% 11,057 86.42% 11,549 82.65%           444   40.73% 12,780 83.59% 13,224 80.74%         2,307   29.93% 98,452     77.75% 100,759 75.00%
                 ≥4                        0     0%       329     0.63%     329    0.60%      0      0%        236    0.64%     236    0.61%      0     0%       254     1.99%     254    1.82%      0     0%       196    1.28%     196    1.20%      0      0%      1,089    0.86%     1,089    0.81%

 Alumni           1        1,232                44.80%   6,658    15.56%   7,890   17.33%    866    42.49%    4,707   15.36%   5,573   17.06%    438   37.73%    1,405   13.24%   1,843   15.65%    454   41.80%   1,607   13.56%   2,061   15.93%   3,236   42.42% 15,657 15.03% 18,893          16.90%
 Personal         2        1,342                48.80% 19,515 45.61% 20,857 45.80%          1,035   50.79% 13,734 44.83% 14,769 45.20%           604   52.02%    4,286   40.38%   4,890   41.53%    558   51.38%   4,818   40.65%   5,376   41.55%   3,838   50.31%   46,097 44.25% 49,935        44.66%
 Rating
                  3                 162         5.89%    13,447 31.43% 13,609 29.89%         130    6.38%     9,665   31.55%   9,795   29.98%    106   9.13%     3,802   35.82%   3,908   33.19%     71   6.54%    4,213   35.55%   4,284   33.11%    517    6.78%    33,741   32.39% 34,258 30.64%
                 ≥4                        14   0.51%    3,165    7.40%    3,179   6.98%      7     0.34%     2,532   8.26%    2,539   7.77%     13    1.12%     1,120   10.55%   1,133   9.62%      3    0.28%    1,214   10.24%   1,217   9.41%     38     0.50%    8,684    8.34%     8,722    7.80%

 Alumni           1        1,009                36.74%   3,790    8.96%    4,799   10.65%    894    43.93%    3,649   12.05%   4,543   14.06%    257   22.21%    440     4.28%     697    6.09%     317   29.22%    682    5.90%     999    7.90%    2,684   35.24%   9,434    9.19%    12,118    10.99%
 Overall          2        1,427                51.97% 14,787 34.96% 16,214 36.00%           978    48.06% 11,006 36.34% 11,984 37.08%           615   53.15%    1,952   18.98%   2,567   22.43%    570   52.53%   2,674   23.15%   3,244   25.67%   3,910   51.33% 33,319     32.47% 37,229 33.78%
 Rating
                  3                 287         10.45% 15,849 37.47% 16,136 35.83%           154    7.57%    10,509 34.70% 10,663 32.99%         259   22.39%    3,646   35.45%   3,905   34.13%    178   16.41%   4,253   36.81%   4,431   35.06%    941    12.35% 37,196     36.25% 38,137 34.60%
                 ≥4                        23   0.84%    7,868    18.60%   7,891   17.52%     9     0.44%     5,119   16.90%   5,128   15.87%     26   2.25%     4,247   41.29%   4,273   37.34%     20   1.84%    3,944   34.14%   3,964   31.37%    82     1.08%    22,655   22.08% 22,737 20.63%

Baseline Dataset
   TRIAL EXHIBITCase:                                19-2005          Document:
                                                                       Number 00117622242
                                                                                and Share of Applicants
                                                                                              Page: 90 Admitted     07/30/2020
                                                                                                        Date Filed:and  Rejected Entry ID: 6356615
           P622                                                 White                        Asian American                    African American                   Hispanic                       All Applicants




                           exhibitsticker.com
       SFFA v. Harvard
                                                                                                                                                                                          (Including All Races/Ethnicities)
                                                     Number     Number     Number   Number      Number     Number      Number      Number     Number   Number     Number     Number   Number        Number           Number
                                                     Admitted   Rejected    Total   Admitted    Rejected    Total      Admitted    Rejected    Total   Admitted   Rejected    Total   Admitted      Rejected          Total
         Overall                                 1      38         0         38        34           0           34        10          0         10        8          0         8        104             0              104
         Rating                                  2    2,422      973       3,395     1,426         682        2,108      743         133       876       608        146       754      5,644          2,121           7,765
                                                3     1,707     42,221     43,928     882        29,671       30,553     515        6,250     6,765      613       9,523     10,136    4,067         96,007          100,074
                                                ≥4      9       14,287     14,296      0          8,447       8,447       0         8,308     8,308       0        7,424     7,424       10          40,816           40,826
         Academic                                1     157        48         205      242         141          383        2           1         3         7          1         8        463           209              672
         Rating                                  2    3,408     24,682     28,090    1,945       22,465       24,410     738         743      1,481      803       2,343     3,146     7,514         55,335           62,849
                                                3      600      26,863     27,463     155        12,928       13,083     527        5,899     6,426      419       8,341     8,760     1,832         58,486           60,318
                                                ≥4      11      5,888       5,899      0         3,266        3,266       1         8,048     8,049       0        6,408     6,408       16          24,914           24,930
         Extracurricular                        1       99        102        201       80          77          157        7           11        18        13         11        24       228           236              464
         Rating                                 2     2,716     12,578     15,294    1,705       9,823        11,528     655        1,852     2,507      675       2,436     3,111     6,281         29,240           35,521
                                                3     1,332     42,615     43,947     552        28,092       28,644     595        11,633    12,228     525       13,606    14,131    3,249        103,863          107,112
                                                4       8        1,796      1,804      0          669          669        4         1,019     1,023       3         868       871        18          4,656            4,674
         Athletic                               1       –          –          –        –            –         –           –           –         –         –          –         –         –              –                –
         Rating                                 2      970       7,286     8,256      198         1,853     2,051        192         924      1,116      198       1,215     1,413     1,706         12,343           14,049
                                                3     1,914     30,727     32,641    1,048       18,628    19,676        610        7,271     7,881      535       8,399     8,934     4,473         70,503           74,976
                                                4     1,120     18,081     19,201     995        17,562    18,557        410        5,830     6,240      422       6,875     7,297     3,221         52,434           55,655
         Personal                                1      23        8          31        3           1            4         1            3         4        2          1          3        32            14               46
         Rating                                  2    3,290     10,594     13,884    1,678       5,705        7,383      947        2,147      3,094     938       2,552      3,490    7,419        22,789            30,208
                                                3      861      46,623     47,484     661        32,898       33,559     320        12,466    12,786     289       14,452    14,741    2,372        115,460          117,832
                                                ≥4      2        256        258        0          196          196        0           75        75        0          88         88       2            681              683




  JA4528
         Teacher 1                               1     562      1,164       1,726     346         720       1,066         63          87       150        86        154       240      1,149          2,335           3,484
         Rating                                  2    2,462     14,930     17,392    1,362       10,293    11,655        697         1,919    2,616      673       3,078     3,751     5,643         32,952           38,595
                                                3     1,152     39,419     40,571     633        26,690    27,323        508        10,977    11,485     470       12,355    12,825    3,031         96,979          100,010
                                                ≥4      0        316         316       0          194        194          0           146      146        0         141       141        0             856             856
         Teacher 2                               1     548       980        1,528     312         572       884          74          73        147        82        124       206      1,105         1,905            3,010
         Rating                                  2    2,338     13,241     15,579    1,340       9,127     10,467        629        1,611     2,240      695       2,599     3,294     5,437         29,024           34,461
                                                3     1,128     32,519     33,647     598        22,983    23,581        502        8,285     8,787      403       9,748     10,151    2,878         80,003           82,881
                                                ≥4      2        223         225       1          165       166           0           82        82        0         102       102        3            613              616
         Counselor                               1     352       606        958       277         448          725        48          51         99      75          83       158       836          1,300            2,136
         Rating                                  2    2,631     12,478     15,109    1,410       8,285        9,695      686        1,459      2,145     645       2,287     2,932     5,829        26,722            32,551
                                                3     1,153     41,107     42,260     638        28,208       28,846     525        11,235    11,760     492       12,948    13,440    3,068        101,414          104,482
                                                ≥4      0        338        338        0          236          236        0          256        256       0         197       197        0           1,102            1,102
         Alumni                                  1    1,585     7,097       8,682     953        4,779        5,732      456        1,432     1,888      498       1,651     2,149     3,813         16,303           20,116
         Personal                                2    2,106     20,724     22,830    1,178       13,930       15,108     651        4,368     5,019      623       4,906     5,529     4,947         47,826           52,773
         Rating                                 3      346      14,126     14,472     159        9,780        9,939      120        3,864     3,984      78        4,275     4,353      785          34,761           35,546
                                                ≥4      30       3,303      3,333      13        2,566        2,579       14        1,132     1,146       5        1,225     1,230       64           8,900            8,964
         Alumni                                  1    1,272      4,025      5,297     974        3,703     4,677         262         447       709       342        699      1,041     3,112         9,775            12,887
         Overall                                 2    2,171     15,800     17,971    1,112       11,145    12,257        661        2,006     2,667      643       2,743     3,386     5,002         34,725           39,727
         Rating                                 3      562      16,727     17,289     194        10,660    10,854        284        3,717     4,001      197       4,337     4,534     1,343         38,521           39,864
                                                ≥4      54       8,190      8,244      19        5,186      5,205         30        4,294     4,324       21       3,977     3,998      134          23,163           23,297

Expanded Dataset
                           Case: 19-2005           Document:
                                                    Number 00117622242
                                                             and Share of Applicants
                                                                           Page: 91 Admitted     07/30/2020
                                                                                     Date Filed:and  Rejected Entry ID: 6356615
                                             White                      Asian American                 African American                    Hispanic                       All Applicants
                                                                                                                                                                   (Including All Races/Ethnicities)
                                   Share      Share     Share     Share      Share       Share    Share      Share     Share     Share      Share     Share     Share         Share             Share
                                  Admitted   Rejected   Total    Admitted   Rejected     Total   Admitted   Rejected   Total    Admitted   Rejected   Total    Admitted      Rejected           Total
         Overall              1   0.91%         0%       0.06%    1.45%        0%       0.08%    0.79%        0%       0.06%     0.65%        0%      0.04%     1.06%          0%              0.07%
         Rating               2   58.00%      1.69%      5.51%   60.89%      1.76%      5.12%    58.60%     0.91%      5.49%    49.47%      0.85%     4.12%    57.45%        1.53%             5.22%
                             3    40.88%     73.45%     71.25%   37.66%     76.47%     74.26%    40.62%     42.54%     42.39%   49.88%     55.71%     55.32%   41.39%        69.10%           67.27%
                             ≥4   0.22%      24.86%     23.19%      0%      21.77%     20.53%      0%       56.55%     52.06%      0%      43.43%     40.52%    0.10%        29.38%           27.44%
         Academic             1    3.76%      0.08%     0.33%    10.33%      0.36%     0.93%     0.16%       0.01%      0.02%   0.57%       0.01%      0.04%    4.71%         0.15%            0.45%
         Rating               2   81.61%     42.94%     45.56%   83.05%     57.90%     59.33%    58.20%      5.06%      9.28%   65.34%     13.71%     17.17%   76.48%        39.83%           42.25%
                             3    14.37%     46.73%     44.54%   6.62%      33.32%     31.80%    41.56%     40.15%     40.27%   34.09%     48.80%     47.81%   18.65%        42.09%           40.54%
                             ≥4    0.26%     10.24%     9.57%      0%        8.42%     7.94%     0.08%      54.78%     50.44%     0%       37.49%     34.97%    0.16%        17.93%           16.76%
         Extracurricular      1    2.38%      0.18%      0.33%    3.42%      0.20%      0.38%     0.56%      0.08%      0.11%    1.07%     0.07%       0.13%   2.33%          0.17%            0.31%
         Rating               2   65.37%     22.03%     24.97%   72.96%     25.41%     28.12%    51.94%     12.76%     15.89%   55.51%     14.40%     17.15%   64.25%        21.19%           24.04%
                              3   32.06%     74.64%     71.75%   23.62%     72.66%     69.87%    47.18%     80.14%     77.51%   43.17%     80.41%     77.91%   33.23%        75.27%           72.49%
                              4    0.19%      3.15%      2.95%      0%       1.73%      1.63%     0.32%      7.02%      6.48%    0.25%     5.13%       4.80%   0.18%          3.37%            3.16%
         Athletic             1      –          –          –         –          –          –        –           –          –       –          –          –        –              –                –
         Rating               2   24.23%     12.99%     13.74%    8.84%      4.87%      5.09%    15.84%      6.59%      7.32%   17.14%     7.37%      8.01%    18.15%         9.12%            9.71%
                              3   47.80%     54.78%     54.31%   46.76%     48.97%     48.84%    50.33%     51.84%     51.72%   46.32%     50.94%     50.63%   47.59%        52.12%           51.82%
                              4   27.97%     32.23%     31.95%   44.40%     46.16%     46.07%    33.83%     41.57%     40.95%   36.54%     41.69%     41.36%   34.27%        38.76%           38.47%
         Personal             1    0.55%     0.01%       0.05%    0.13%        0%       0.01%     0.08%     0.02%      0.03%     0.16%     0.01%      0.02%     0.33%        0.01%             0.03%
         Rating               2   78.78%     18.43%     22.52%   71.65%     14.70%     17.95%    74.68%     14.61%     19.39%   76.32%     14.93%     19.05%   75.51%        16.40%           20.31%
                             3    20.62%     81.11%     77.01%   28.22%     84.79%     81.57%    25.24%     84.85%     80.12%   23.52%     84.55%     80.46%   24.14%        83.10%           79.20%
                             ≥4    0.05%     0.45%       0.42%      0%       0.51%      0.48%       0%      0.51%      0.47%       0%      0.51%      0.48%     0.02%        0.49%             0.46%




  JA4529
         Teacher 1            1   13.46%      2.08%      2.88%   14.78%      1.90%      2.65%     4.97%     0.66%       1.04%    7.00%      0.98%      1.42%   11.70%         1.75%            2.44%
         Rating               2   58.96%     26.74%     28.98%   58.18%     27.16%     28.97%    54.97%     14.62%     18.17%   54.76%     19.57%     22.12%   57.45%        24.75%           27.00%
                             3    27.59%     70.61%     67.61%   27.04%     70.43%     67.90%    40.06%     83.61%     79.77%   38.24%     78.55%     75.63%   30.86%        72.85%           69.96%
                             ≥4     0%        0.57%      0.53%     0%        0.51%      0.48%       0%      1.11%       1.01%     0%        0.90%      0.83%     0%           0.64%            0.60%
         Teacher 2            1   13.65%     2.09%      3.00%    13.86%      1.74%      2.52%    6.14%      0.73%       1.31%   6.95%       0.99%      1.50%   11.73%         1.71%           2.49%
         Rating               2   58.22%     28.19%     30.56%   59.53%     27.79%     29.82%    52.20%     16.03%     19.90%   58.90%     20.67%     23.95%   57.70%        26.02%           28.49%
                             3    28.09%     69.24%     66.00%   26.57%     69.97%     67.19%    41.66%     82.43%     78.07%   34.15%     77.53%     73.81%   30.54%        71.72%           68.51%
                             ≥4   0.05%      0.47%      0.44%     0.04%      0.50%      0.47%      0%       0.82%       0.73%     0%        0.81%      0.74%    0.03%         0.55%           0.51%
         Counselor            1    8.51%      1.11%      1.63%   11.91%      1.21%      1.84%     3.81%     0.39%       0.69%   6.19%       0.53%      0.94%   8.59%          1.00%            1.52%
         Rating               2   63.61%     22.88%     25.75%   60.65%     22.29%     24.54%    54.49%     11.22%     15.04%   53.22%     14.74%     17.53%   59.89%        20.47%           23.21%
                             3    27.88%     75.39%     72.04%   27.44%     75.87%     73.02%    41.70%     86.42%     82.47%   40.59%     83.45%     80.35%   31.52%        77.69%           74.49%
                             ≥4      0%       0.62%      0.58%     0%        0.63%      0.60%       0%      1.97%       1.80%     0%        1.27%      1.18%     0%           0.84%            0.79%
         Alumni               1   38.97%     15.68%     17.60%   41.38%     15.39%     17.18%    36.74%     13.26%     15.68%   41.36%     13.69%     16.21%   39.68%        15.12%           17.13%
         Personal             2   51.78%     45.80%     46.29%   51.15%     44.86%     45.29%    52.46%     40.46%     41.70%   51.74%     40.69%     41.69%   51.48%        44.37%           44.95%
         Rating              3     8.51%     31.22%     29.34%   6.90%      31.49%     29.79%     9.67%     35.79%     33.10%    6.48%     35.46%     32.83%   8.17%         32.25%           30.28%
                             ≥4    0.74%     7.30%       6.76%   0.56%      8.26%      7.73%      1.13%     10.49%      9.52%    0.42%     10.16%     9.28%    0.67%          8.26%            7.64%
         Alumni               1   31.34%      9.00%     10.85%   42.37%     12.06%     14.18%    21.18%      4.27%      6.06%   28.43%     5.95%      8.03%    32.45%         9.21%           11.13%
         Overall              2   53.49%     35.31%     36.83%   48.37%     36.31%     37.15%    53.44%     19.17%     22.79%   53.45%     23.33%     26.13%   52.15%        32.70%           34.31%
         Rating              3    13.85%     37.39%     35.43%    8.44%     34.73%     32.90%    22.96%     35.52%     34.19%   16.38%     36.89%     34.99%   14.00%        36.28%           34.43%
                             ≥4   1.33%      18.30%     16.89%    0.83%     16.90%     15.78%    2.43%      41.04%     36.95%   1.75%      33.83%     30.85%   1.40%         21.81%           20.12%

Expanded Dataset
 TRIAL EXHIBIT
                                                 Case: 19-2005                            Document:
                                                                                           Number 00117622242
                                                                                                    and Share of Applicants
                                                                                                                  Page: 92 Admitted     07/30/2020
                                                                                                                            Date Filed:and  Rejected Entry ID: 6356615
      P623




                      exhibitsticker.com
    SFFA v. Harvard                                             White                                         Asian American                                    African American                                      Hispanic                                         All Applicants
                                                                                                                                                                                                                                                               (Including All Races/Ethnicities)
                         ADMITTED                            REJECTED           TOTAL           ADMITTED         REJECTED           TOTAL           ADMITTED        REJECTED           TOTAL           ADMITTED        REJECTED          TOTAL           ADMITTED         REJECTED           TOTAL
                      Number Share                        Number Share      Number Share     Number Share     Number Share      Number Share     Number Share    Number Share      Number Share     Number Share    Number Share     Number Share     Number Share     Number Share      Number Share

Overall           1                        38    0.91%      0       0%       38     0.06%     34     1.45%       0      0%       34     0.08%      10   0.79%      0       0%        10    0.06%      8    0.65%      0      0%        8     0.04%     104    1.06%      0        0%       104     0.07%
Rating            2             2,422            58.00%    973     1.69%    3,395   5.51%    1,426   60.89%     682    1.76%    2,108   5.12%     743   58.60%    133     0.91%     876    5.49%     608   49.47%    146    0.85%     754    4.12%    5,644   57.45%   2,121    1.53%     7,765    5.22%
                  3              1,707           40.88% 42,221 73.45% 43,928 71.25%           882    37.66% 29,671 76.47% 30,553 74.26%           515   40.62%    6,250   42.54%   6,765   42.39%    613   49.88%   9,523   55.71% 10,136 55.32%      4,067   41.39%   96,007   69.10% 100,074 67.27%
                 ≥4                         9    0.22%    14,287 24.86% 14,296 23.19%          0      0%       8,447   21.77%   8,447   20.53%     0     0%       8,308   56.55%   8,308   52.06%     0     0%      7,424   43.43%   7,424   40.52%     10    0.10%    40,816 29.38% 40,826 27.44%

Academic          1                        157   3.76%     48      0.08%     205    0.33%     242    10.33%     141    0.36%     383    0.93%      2    0.16%      1      0.01%      3     0.02%      7    0.57%      1     0.01%      8     0.04%     463    4.71%     209     0.15%      672     0.45%
Rating            2             3,408            81.61% 24,682 42.94% 28,090 45.56%          1,945   83.05% 22,465 57.90% 24,410 59.33%           738   58.20%    743     5.06%    1,481   9.28%     803   65.34%   2,343   13.71%   3,146   17.17%   7,514   76.48% 55,335     39.83% 62,849 42.25%
                  3                        600   14.37% 26,863 46.73% 27,463 44.54%           155    6.62%    12,928 33.32% 13,083 31.80%         527   41.56%    5,899   40.15%   6,426   40.27%    419   34.09%   8,341   48.80%   8,760   47.81%   1,832   18.65% 58,486     42.09%    60,318   40.54%
                 ≥4                        11    0.26%    5,888    10.24%   5,899   9.57%      0      0%       3,266   8.42%    3,266   7.94%      1    0.08%     8,048   54.78%   8,049   50.44%     0     0%      6,408   37.49%   6,408   34.97%     16    0.16%    24,914   17.93%    24,930   16.76%

Extra             1                        99    2.38%     102     0.18%     201    0.33%      80    3.42%      77     0.20%     157    0.38%      7    0.56%      11     0.08%     18     0.11%     13    1.07%     11     0.07%     24     0.13%     228    2.33%     236     0.17%      464     0.31%
curricular        2              2,716           65.37% 12,578 22.03% 15,294 24.97%          1,705   72.96%    9,823   25.41% 11,528 28.12%       655   51.94%    1,852   12.76%   2,507   15.89%    675   55.51%   2,436   14.40%   3,111   17.15%   6,281   64.25% 29,240 21.19% 35,521 24.04%
Rating
                  3             1,332            32.06% 42,615 74.64% 43,947 71.75%           552    23.62% 28,092 72.66% 28,644 69.87%           595   47.18% 11,633 80.14% 12,228 77.51%           525   43.17% 13,606 80.41% 14,131 77.91%         3,249   33.23% 103,863 75.27% 107,112 72.49%
                  4                         8    0.19%    1,796    3.15%    1,804   2.95%      0      0%        669    1.73%     669    1.63%      4    0.32%     1,019   7.02%    1,023   6.48%      3    0.25%     868    5.13%     871    4.80%     18     0.18%    4,656    3.37%     4,674    3.16%

Athletic          1                         –      –        –           –     –       –        –       –         –       –        –       –        –      –         –       –        –       –        –      –        –       –        –       –        –       –        –         –        –        –
Rating            2                        970   24.23%   7,286    12.99%   8,256   13.74%    198    8.84%     1,853   4.87%    2,051   5.09%     192   15.84%    924     6.59%    1,116   7.32%     198   17.14%   1,215   7.37%    1,413   8.01%    1,706   18.15% 12,343     9.12%     14,049   9.71%
                  3             1,914            47.80% 30,727 54.78% 32,641 54.31%          1,048   46.76% 18,628 48.97% 19,676 48.84%           610   50.33%    7,271   51.84%   7,881   51.72%    535   46.32%   8,399   50.94%   8,934   50.63%   4,473   47.59%   70,503   52.12%    74,976 51.82%
                  4             1,120            27.97% 18,081 32.23% 19,201 31.95%           995    44.40% 17,562 46.16% 18,557 46.07%           410   33.83%    5,830   41.57%   6,240   40.95%    422   36.54%   6,875   41.69%   7,297   41.36%   3,221   34.27% 52,434     38.76% 55,655      38.47%

Personal          1                        23    0.55%      8      0.01%     31     0.05%      3     0.13%       1      0%        4     0.01%      1    0.08%      3      0.02%      4     0.03%      2    0.16%      1     0.01%      3     0.02%     32     0.33%      14     0.01%       46     0.03%
Rating            2              3,290           78.78% 10,594 18.43% 13,884 22.52%          1,678   71.65%    5,705   14.70%   7,383   17.95%    947   74.68%    2,147   14.61%   3,094   19.39%    938   76.32%   2,552   14.93%   3,490   19.05%   7,419   75.51% 22,789 16.40%        30,208   20.31%
                  3                        861   20.62% 46,623 81.11% 47,484 77.01%           661    28.22% 32,898 84.79% 33,559 81.57%           320   25.24% 12,466 84.85% 12,786 80.12%           289   23.52% 14,452 84.55% 14,741 80.46%         2,372   24.14% 115,460 83.10% 117,832 79.20%
                 ≥4                         2    0.05%     256     0.45%     258    0.42%      0      0%        196    0.51%     196    0.48%      0     0%        75     0.51%      75    0.47%      0     0%       88     0.51%     88     0.48%      2     0.02%     681     0.49%      683     0.46%




  JA4530
Teacher 1         1                        562   13.46%   1,164    2.08%    1,726   2.88%     346    14.78%     720    1.90%    1,066   2.65%      63   4.97%      87     0.66%     150    1.04%      86   7.00%     154    0.98%     240    1.42%    1,149   11.70%   2,335    1.75%     3,484    2.44%
Rating            2             2,462            58.96% 14,930 26.74% 17,392 28.98%          1,362   58.18% 10,293 27.16% 11,655 28.97%           697   54.97%    1,919   14.62%   2,616   18.17%    673   54.76%   3,078   19.57%   3,751   22.12%   5,643   57.45% 32,952     24.75% 38,595      27.00%
                  3             1,152            27.59% 39,419 70.61% 40,571 67.61%           633    27.04% 26,690 70.43% 27,323 67.90%           508   40.06% 10,977 83.61% 11,485 79.77%           470   38.24% 12,355 78.55% 12,825 75.63%         3,031   30.86%   96,979   72.85% 100,010 69.96%
                 ≥4                         0     0%       316     0.57%     316    0.53%      0      0%        194    0.51%     194    0.48%      0     0%       146     1.11%     146    1.01%      0     0%       141    0.90%     141    0.83%      0      0%       856     0.64%      856     0.60%

Teacher 2         1                        548   13.65%    980     2.09%    1,528   3.00%     312    13.86%     572    1.74%     884    2.52%      74   6.14%      73     0.73%     147    1.31%     82    6.95%     124    0.99%     206    1.50%    1,105   11.73%   1,905    1.71%     3,010    2.49%
Rating            2             2,338            58.22% 13,241 28.19% 15,579 30.56%          1,340   59.53%    9,127   27.79% 10,467 29.82%       629   52.20%    1,611   16.03%   2,240   19.90%    695   58.90%   2,599   20.67%   3,294   23.95%   5,437   57.70%   29,024   26.02% 34,461      28.49%
                  3             1,128            28.09% 32,519 69.24% 33,647 66.00%           598    26.57% 22,983 69.97% 23,581 67.19%           502   41.66%    8,285   82.43%   8,787   78.07%    403   34.15%   9,748   77.53% 10,151 73.81%      2,878   30.54% 80,003     71.72% 82,881 68.51%
                 ≥4                         2    0.05%     223     0.47%     225    0.44%      1     0.04%      165    0.50%     166    0.47%      0     0%        82     0.82%     82     0.73%      0     0%       102    0.81%     102    0.74%      3     0.03%     613     0.55%      616     0.51%

Counselor         1                        352   8.51%     606     1.11%     958    1.63%     277    11.91%     448    1.21%     725    1.84%     48    3.81%      51     0.39%      99    0.69%      75   6.19%     83     0.53%     158    0.94%     836    8.59%    1,300    1.00%     2,136    1.52%
Rating            2             2,631            63.61% 12,478 22.88% 15,109 25.75%          1,410   60.65%    8,285   22.29%   9,695   24.54%    686   54.49%    1,459   11.22%   2,145   15.04%    645   53.22%   2,287   14.74%   2,932   17.53%   5,829   59.89%   26,722   20.47% 32,551 23.21%
                  3             1,153            27.88% 41,107 75.39% 42,260 72.04%           638    27.44% 28,208 75.87% 28,846 73.02%           525   41.70% 11,235 86.42% 11,760 82.47%           492   40.59% 12,948 83.45% 13,440 80.35%         3,068   31.52% 101,414 77.69% 104,482 74.49%
                 ≥4                         0     0%       338     0.62%     338    0.58%      0      0%        236    0.63%     236    0.60%      0     0%       256     1.97%     256    1.80%      0     0%       197    1.27%     197    1.18%      0      0%      1,102    0.84%     1,102    0.79%

Alumni            1             1,585            38.97%   7,097    15.68%   8,682   17.60%    953    41.38%    4,779   15.39%   5,732   17.18%    456   36.74%    1,432   13.26%   1,888   15.68%    498   41.36%   1,651   13.69%   2,149   16.21%   3,813   39.68%   16,303 15.12% 20,116 17.13%
Personal          2              2,106           51.78% 20,724 45.80% 22,830 46.29%          1,178   51.15% 13,930 44.86% 15,108 45.29%           651   52.46%    4,368   40.46%   5,019   41.70%    623   51.74%   4,906   40.69%   5,529   41.69%   4,947   51.48% 47,826 44.37% 52,773          44.95%
Rating
                  3                        346   8.51%    14,126 31.22% 14,472 29.34%         159    6.90%     9,780   31.49%   9,939   29.79%    120   9.67%     3,864   35.79%   3,984   33.10%     78   6.48%    4,275   35.46%   4,353   32.83%    785    8.17%    34,761 32.25% 35,546 30.28%
                 ≥4                        30    0.74%    3,303    7.30%    3,333   6.76%     13     0.56%     2,566   8.26%    2,579   7.73%     14    1.13%     1,132   10.49%   1,146   9.52%      5    0.42%    1,225   10.16%   1,230   9.28%      64    0.67%    8,900    8.26%     8,964    7.64%

Alumni            1             1,272            31.34%   4,025    9.00%    5,297   10.85%    974    42.37%    3,703   12.06%   4,677   14.18%    262   21.18%    447     4.27%     709    6.06%     342   28.43%    699    5.95%    1,041   8.03%    3,112   32.45%   9,775    9.21%    12,887 11.13%
Overall           2             2,171            53.49% 15,800 35.31% 17,971 36.83%          1,112   48.37% 11,145 36.31% 12,257 37.15%           661   53.44%    2,006   19.17%   2,667   22.79%    643   53.45%   2,743   23.33%   3,386   26.13%   5,002   52.15% 34,725     32.70%    39,727 34.31%
Rating
                  3                        562   13.85% 16,727 37.39% 17,289 35.43%           194    8.44%     10,660 34.73% 10,854 32.90%        284   22.96%    3,717   35.52%   4,001   34.19%    197   16.38%   4,337   36.89%   4,534   34.99%   1,343   14.00% 38,521     36.28% 39,864 34.43%
                 ≥4                        54    1.33%    8,190    18.30%   8,244   16.89%     19    0.83%     5,186   16.90%   5,205   15.78%     30   2.43%     4,294   41.04%   4,324   36.95%    21    1.75%    3,977   33.83%   3,998   30.85%    134    1.40%    23,163 21.81% 23,297 20.12%

Expanded Dataset
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                           Number and Share of Applicants by Academic Index

                               White             Asian American         African American             Hispanic                  Total
                         Number      Share       Number      Share       Number      Share       Number      Share       Number      Share
      Academic          Applicants Applicants   Applicants Applicants   Applicants Applicants   Applicants Applicants   Applicants Applicants
    Index Range
    236.0 – 240.0         4,963      8.64%       7,225      17.92%        132        0.85%        380       2.12%        13,989       9.83%

    232.8 – 235.8         5,717      9.95%       6,532      16.21%        196        1.26%        539       3.01%        14,303      10.05%

    229.9 – 232.5         6,478     11.28%       5,316      13.19%        326        2.09%        820       4.57%        14,253      10.01%

    226.8 – 229.5         7,053     12.28%       4,527      11.23%        445        2.85%        949       5.29%        14,145       9.94%




  JA4531
    223.3 – 226.5         5,924     10.31%       3,614      8.97%         508        3.26%       1,077      6.01%        12,110       8.51%

    218.8 – 223.0         7,658     13.33%       3,874      9.61%         897        5.75%       1,719      9.59%        15,426      10.84%

    213.3 – 218.5         6,359     11.07%       3,020      7.49%        1,285       8.24%       2,182      12.17%       13,865       9.74%

    205.8 – 213.0         6,073     10.57%       2,644      6.56%        2,291      14.68%       2,926      16.32%       15,014      10.55%

    193.8 – 205.5         4,404      7.67%       2,045      5.07%        3,600      23.08%       3,755      20.94%       14,658      10.30%

    100.0 – 193.5         2,822      4.91%       1,511      3.75%        5,921      37.95%       3,583      19.98%       14,593      10.25%

                                                                                                                           TRIAL EXHIBIT

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                           Number and Share of Applicants by Academic Index



                               White             Asian American         African American             Hispanic                  Total
                         Number      Share       Number      Share       Number      Share       Number      Share       Number      Share
      Academic          Applicants Applicants   Applicants Applicants   Applicants Applicants   Applicants Applicants   Applicants Applicants
    Index Range

           ≥220          36,054     62.76%       30,248     75.04%       2,259      14.48%       5,011      27.95%       80,647      56.65%


           <220          21,397     37.24%       10,060     24.96%       13,342     85.52%       12,919     72.05%       61,709      43.35%




  JA4532
                                                                                                                           TRIAL EXHIBIT

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                           Number and Share of Applicants by Academic Index

                               White             Asian American         African American             Hispanic                  Total
                         Number      Share       Number      Share       Number      Share       Number      Share       Number      Share
      Academic          Applicants Applicants   Applicants Applicants   Applicants Applicants   Applicants Applicants   Applicants Applicants
    Index Range
    236.0 – 240.0         5,303      8.62%       7,321      17.84%        138        0.87%        401       2.19%        14,512       9.78%

    232.8 – 235.8         6,160     10.01%       6,631      16.16%        197        1.24%        564       3.09%        14,939      10.07%

    229.9 – 232.5         6,940     11.28%       5,406      13.17%        330        2.08%        850       4.65%        14,891      10.03%

    226.8 – 229.5         7,556     12.28%       4,613      11.24%        462        2.91%        984       5.38%        14,843      10.00%




  JA4533
    223.3 – 226.5         6,421     10.44%       3,698      9.01%         519        3.26%       1,118      6.12%        12,818       8.64%

    218.8 – 223.0         8,196     13.32%       3,968      9.67%         944        5.94%       1,764      9.65%        16,224      10.93%

    213.3 – 218.5         6,832     11.11%       3,087      7.52%        1,315       8.27%       2,228      12.19%       14,556       9.81%

    205.8 – 213.0         6,475     10.52%       2,696      6.57%        2,335      14.69%       2,974      16.27%       15,632      10.53%

    193.8 – 205.5         4,690      7.62%       2,087      5.09%        3,659      23.02%       3,799      20.78%       15,130      10.20%

    100.0 – 193.5         2,948      4.79%       1,528      3.72%        5,997      37.73%       3,600      19.69%       14,847      10.01%

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      Number and Share of Applicants Receiving a 2 or Higher on Personal Rating

                                White            Asian American         African American              Hispanic                  Total
                         Number      Share       Number      Share       Number      Share        Number      Share       Number      Share
      Academic          Applicants Applicants   Applicants Applicants   Applicants Applicants    Applicants Applicants   Applicants Applicants
    Index Range
    236.0 – 240.0         1,470     29.62%       1,604      22.20%           62       46.97%       130       34.21%       3,562       25.46%

    232.8 – 235.8         1,614     28.23%       1,363      20.87%           79       40.31%       163       30.24%       3,539       24.74%

    229.9 – 232.5         1,691     26.10%        953       17.93%        129         39.57%       264       32.20%       3,306       23.20%

    226.8 – 229.5         1,593     22.59%        820       18.11%        178         40.00%       285       30.03%       3,114       22.01%




  JA4534
    223.3 – 226.5         1,346     22.72%        595       16.46%        178         35.04%       306       28.41%       2,627       21.69%

    218.8 – 223.0         1,562     20.40%        608       15.69%        304         33.89%       440       25.60%       3,171       20.56%

    213.3 – 218.5         1,184     18.62%        430       14.24%        372         28.95%       445       20.39%       2,622       18.91%

    205.8 – 213.0         987       16.25%        356       13.46%        535         23.35%       520       17.77%       2,576       17.16%

    193.8 – 205.5         554       12.58%        264       12.91%        567         15.75%       494       13.16%       1,989       13.57%

    100.0 – 193.5         229        8.11%        121       8.01%         562          9.49%       304       8.48%        1,285        8.81%

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                   Share of Applicants Receiving a 2 or Higher on Personal Rating

               Academic                              Asian             African
             Index Range             White          American          American            Hispanic                Total

             236.0 – 240.0           29.62%           22.20%           46.97%              34.21%                25.46%

             232.8 – 235.8           28.23%           20.87%           40.31%              30.24%                24.74%

             229.9 – 232.5           26.10%           17.93%           39.57%              32.20%                23.20%

             226.8 – 229.5           22.59%           18.11%            40.00%             30.03%                22.01%

             223.3 – 226.5           22.72%           16.46%           35.04%              28.41%                21.69%




  JA4535
             218.8 – 223.0           20.40%           15.69%           33.89%              25.60%                20.56%

             213.3 – 218.5           18.62%           14.24%           28.95%              20.39%                18.91%

             205.8 – 213.0           16.25%           13.46%           23.35%              17.77%                17.16%

             193.8 – 205.5           12.58%           12.91%           15.75%              13.16%                13.57%

             100.0 – 193.5           8.11%            8.01%             9.49%                  8.48%             8.81%

                                                                                                               TRIAL EXHIBIT

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     Number and Share of Applicants Receiving a 2 or Higher on Personal Rating

                                White            Asian American         African American              Hispanic                  Total
                         Number      Share       Number      Share       Number      Share        Number      Share       Number      Share
      Academic          Applicants Applicants   Applicants Applicants   Applicants Applicants    Applicants Applicants   Applicants Applicants
    Index Range
    236.0 – 240.0         1,623     30.61%       1,647      22.50%           67       48.55%       146       36.41%       3,805       26.22%

    232.8 – 235.8         1,833     29.76%       1,413      21.31%           80       40.61%       173       30.67%       3,846       25.74%

    229.9 – 232.5         1,911     27.54%        995       18.41%        132         40.00%       275       32.35%       3,603       24.20%

    226.8 – 229.5         1,822     24.11%        849       18.40%        188         40.69%       303       30.79%       3,421       23.05%




  JA4536
    223.3 – 226.5         1,555     24.22%        628       16.98%        183         35.26%       320       28.62%       2,921       22.79%

    218.8 – 223.0         1,787     21.80%        628       15.83%        330         34.96%       460       26.08%       3,493       21.53%

    213.3 – 218.5         1,377     20.16%        450       14.58%        387         29.43%       466       20.92%       2,896       19.90%

    205.8 – 213.0         1,107     17.10%        369       13.69%        553         23.68%       530       17.82%       2,762       17.67%

    193.8 – 205.5         629       13.41%        268       12.84%        584         15.96%       509       13.40%       2,109       13.94%

    100.0 – 193.5         249        8.45%        125       8.18%         582          9.70%       306       8.50%        1,339        9.02%

                                                                                                                           TRIAL EXHIBIT

                                                                                                                                P630
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                                                                                                                              SFFA v. Harvard
Expanded Dataset
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                   Share of Applicants Receiving a 2 or Higher on Personal Rating

              Academic                               Asian             African
            Index Range              White          American          American            Hispanic                Total

            236.0 – 240.0            30.61%           22.50%           48.55%              36.41%                26.22%

            232.8 – 235.8            29.76%           21.31%           40.61%              30.67%                25.74%

            229.9 – 232.5            27.54%           18.41%            40.00%             32.35%                24.20%

            226.8 – 229.5            24.11%           18.40%           40.69%              30.79%                23.05%

            223.3 – 226.5            24.22%           16.98%           35.26%              28.62%                22.79%




  JA4537
            218.8 – 223.0            21.80%           15.83%           34.96%              26.08%                21.53%

            213.3 – 218.5            20.16%           14.58%           29.43%              20.92%                19.90%

            205.8 – 213.0            17.10%           13.69%           23.68%              17.82%                17.67%

            193.8 – 205.5            13.41%           12.84%           15.96%              13.40%                13.94%

            100.0 – 193.5            8.45%            8.18%             9.70%                  8.50%             9.02%


                                                                                                               TRIAL EXHIBIT

                                                                                                                      P631
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                                                                                                                  SFFA v. Harvard
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                                                                                                                         exhibitsticker.com
       Reading Procedures - Class of 2023                                                                P633
                                                                                                       SFFA v. Harvard

           I.      SUMMARY SHEET APPLICATION DATA

       The Summary Sheet captures information as supplied on the application and can be updated
       as new information is added. Late information can change the likelihood of admission and
       updates can be provided later for those initially considered less competitive. If any
       information is missing or incorrect for competitive candidates, changes should be made on
       the First Reader Rating Form and noted with prose in the reader comments or “Notes for
       Summary Sheet” box. This prose will feed onto the Summary Sheet when the rating form is
       submitted.
       One exception: School code changes are NOT made on the First Reader Rating Form; see
       instructions below on how to do this.

       PLEASE NOTE: The accuracy of our citizenship coding is CRUCIAL. Miscoding affects
       many of the important statistics we are required to compile, and we need to keep careful track
       of who needs a visa to study in the United States.

           x    SCHOOL CODE: If an applicant is coded to the wrong school, please use the
                Admin Problems update form and route this to the Admin Problems bin immediately
                so that the operations team can ensure that the interview is reassigned to the
                appropriate club and group.

           x    GENDER: Occasionally the gender designation reported on the application is coded
                incorrectly in our system. This should be corrected by submitting the Admin
                Problems form and routing the file to the Admin Problems bin.
           x    RACE/ETHNICITY: We report exactly what the applicant reports as ethnicity on
                the application. The ethnic codes on the Summary Sheet come from the demographic
                fields the candidate checked on the application. Note that foreign citizens are listed
                as such. If they opted to check an identifying ethnic code it will appear but is not
                used for statistics and reporting.


       x   CITIZENSHIP CODE / COUNTRY OF CITIZENSHIP: There are four options on
           the application that can be checked: (1) U.S. Citizenship, (2) U.S. Dual Citizenship, (3)
           U.S. permanent resident and (4) “Other” or foreign citizen.

           The applicant holds only American citizenship:
           APP: Citizenship status will be “US Citizen or US National” and no other country of
           citizenship will be listed.
           SUMMARY SHEET: Should read “Citizenship: United States”

           The applicant is a dual U.S. citizen (a citizen of both the U.S. and another country).
           APP: Citizenship status will be “Dual US Citizen” Other citizenships will show a country
           (e.g. Sweden)
           SUMMARY SHEET: Should read “Citizenship: United States/<other country>”

           The applicant is a U.S. Permanent Resident.
           APP: Citizenship status will be “U.S. Permanent Resident or Refugee” and Other
                                                   JA4538
 CONFIDENTIAL                                                                                   HARV00097936
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         Citizenships will list one or more countries checked with another country listed.
         SUMMARY SHEET: Should read “Citizenship: PR / <other country>”

         Caveat: If an applicant has checked the U.S. Permanent Resident box but notes that his
         or her application for permanent residency (or “green card”) is pending, that applicant
         should be recoded as “Other citizenship.” Request this change by using the Admin
         Problems update form. We must prepare an I-20 form if the applicant is admitted and the
         application for residency is still pending, and the citizenship code is the only way we
         know to do this.

         The applicant is a foreign citizen:
         APP: Citizenship status will be “Other (Non-US)”. Other citizenship will show a country
         (e.g. Poland)
         SUMMARY SHEET: Should read “Citizenship: <other country>

         x   LINEAGE: This flag appears if the applicant included Harvard College in the
             education field for at least one parent/guardian. The folder should be read by WRF
             (“4th” bin) following the normal reading process if appropriate or if another reading
             might be helpful. Errors in coding should be noted with specific details about the
             error using the Admin Problems Form and routed to the Admin Problems bin.

         x   ATHLETE: Be sure the appropriate sport is listed as the first extracurricular activity.
             Changes can be made on the App Update tab on the Student Record. DO NOT
             CHANGE ANY PRE-CODED ATHLETE.

         x   INDICATORS FOR ECONOMIC STATUS: It has long been a priority for
             Harvard to seek talented students from all backgrounds, including those extraordinary
             individuals who are able to transcend economic disadvantages and achieve unusual
             academic distinction. We utilize several indicators to understand the economic
             background of applicants. They are:
                 o Low Income Predictor (Low Inc on Summary Sheet): A value between 0 and 1
                    based on application information that predicts how likely a student is to be low
                    income and have a $0 parent contribution. The higher the value (closer to 1)
                    the more likely the student will be low income.
                 o IM Pell Estimate (IMP-Est on Summary Sheet): An indication if the student is
                    likely to qualify for a Pell Grant, based solely on IM data. This information
                    will only be available if a student has submitted CSS Profile, allowing
                    Financial Aid to estimate whether the student may be eligible for a Pell Grant.
                 o FH info (“Yes, Likely, Unlikely, No” on the summary sheet): After
                    subcommittee meetings, if information is available, a simple indication of a
                    student’s possible eligibility for the Harvard Financial Aid Initiative (HFAI)
                    may be present on the summary sheet.
                 o FEE STATUS: An indicator of whether the applicant received a fee waiver for
                    their application.

         x   SCORES: By checking their Applicant Status website applicants can see whether
             their scores requirement has been fulfilled though not all scores will be listed. They
             can report scores (which will be marked 'self-reported’ in the student record) as they
             like. You can check scores by looking under the “Scores” tab in each Student Record
                                                   JA4539
 CONFIDENTIAL                                                                                  HARV00097937
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                of an applicant. The Summary Sheet will reflect the highest verified or self-reported
                scores.

          Matriculating students will be responsible for changing 'unofficial' scores to 'official.'
          Only scores sent to us directly from the testing services electronically are considered
          official. Paper copies of scores sent via fax, email attachment or U.S. mail are not
          considered official.

          We receive secure web downloads of scores, so we do not have to wait for the scores to
          be mailed to us. Applicants are told not to use 'rush reports,’ but if they do, they will
          arrive electronically as soon as they are scored.



          II.       Reader Rating Forms

       When a file in in your queue, you will be able to select the “First Reader Form” or the
       “Chair Form” depending on the file’s bin. The form includes the following fields:

       Reader ratings: All readers must code a preliminary overall rating and a profile (using the
       codes below and pluses and minuses) for all candidates. Writing prose comments is left to the
       discretion of the reader and should generally be done only for competitive candidates, those
       who might become competitive later, or those who might be of interest to the Committee.

       For all categories, use “+” and “- “primarily in the 2 and 3 range to indicate relative strength.
       A rating of 2+ or 3+ is stronger and very different from a 2- or 3- respectively. Readers
       should take many factors into account as they assign ratings. E.g, students who have taken a
       strong academic program and/or present other positive evidence of academic achievement
       should receive higher academic ratings: an applicant with low 700 scores could be rated a 2-
       rather than a 3+ in some instances especially if there is academic strength in a particular field.
       However, readers should not take an applicant’s race or ethnicity into account in making any
       of the ratings other than the Overall rating, as discussed further below.


       Overall
          1. Tops for admission: Exceptional – a clear admit with very strong objective and
              subjective support
          2. Very strong credentials but not an inevitable admit
          3. Solid contender: An applicant with good credentials and support
          3- Somewhat Neutral: Respectable credentials
          4. Neutral: Generally respectable credentials
          5. Negative: Credentials are generally below those of other candidates

          In assigning the Overall rating, readers may consider whether a student’s background,
          including his or her race or ethnicity, may contribute to the educational benefits of
          diversity at Harvard College. The consideration of race or ethnicity may be considered
          only as one factor among many.

       Academic

          1. A potential major academic contributor; Summa potential. Genuine scholar; near-
             perfect scores and grades (in most cases combined with unusual creativity and
                                                   JA4540
 CONFIDENTIAL                                                                                    HARV00097938
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                possible evidence of original scholarship, often substantiated by our faculty or other
                academic mentors.) Possible national or international level recognition in academic
                competitions.
          2.    Magna potential. Excellent student with top grades and,
                    a. SAT and SAT Subject tests: mid 700 scores and up
                    b. 33+ ACT
                    c. Possible local, regional or national level recognition in academic competitions
          3.    Solid academic potential; Cum laude potential: Very good student with excellent
                grades and
                    a. SAT and SAT Subject tests: mid-600 through low-700 scores
                    b. 29 to 32 ACT
          4.    Adequate preparation. Respectable grades and low-to mid-600 scores on SAT and
                subject tests or 26 to 29 ACT.
          5.    Marginal potential. Modest grades and 500 scores on SAT and subject tests (25 and
                below ACT).


       Extracurricular, Community Employment, Family Commitments

          1. Unusual strength in one or more areas. Possible national-level achievement or
             professional experience. A potential major contributor at Harvard. Truly unusual
             achievement.
          2. Strong secondary school contribution in one or more areas such as class president,
             newspaper editor, concertmaster etc. and/or significant involvement in organizations
             outside of school. Possible local or regional recognition; major accomplishment(s)
             that have had an impact outside of the classroom. Can include significant term-time
             work or family responsibilities coupled with extracurricular engagement.
          3. Solid participation but without special distinction. (Upgrade 3+ to 2- in some cases if
             the e/c is particularly extensive and substantive.)
          4. Little or no participation.
          5. Substantial commitment outside of conventional EC participation such as family
             obligations, term-time work or a significant commute (Important: should be included
             with other e/c to boost the rating or left as a “5” if that is more representative of the
             student’s commitment).
          6 Special circumstances limit or prevent participation (e.g. a physical condition, gap
             year(s), compulsory service of some kind).

       Athletic

            Please note: to determine whether an activity should be considered a sport or an
       extracurricular activity, readers should defer to the student’s characterization of the activity
       on his or her application. Those activities the student lists as “sports” should be considered as
       part of the athletic rating.

          1. Unusually strong prospect for varsity sports at Harvard, possibly desired by Harvard
             coaches or recognition for individual athletic achievement/championships at the
             national, international or Olympic level.
          2. Strong and long-standing (3-4 years) of secondary school and/or travel team
             contribution in one or more sports; leadership role(s) such as captain or co-captain;
             possible individual recognition at the state or regional level; possible walk-on to a
                                                   JA4541
 CONFIDENTIAL                                                                                    HARV00097939
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             varsity team; has an IRF of a 4 from a Harvard coach
          3. Active participation, possibly some leadership and/or recognition for individual
             accomplishments at the local or conference level.
          4. Little or no participation (this is not a negative).
          5. Substantial commitment outside of conventional extracurricular activities such as
             family obligations or term-time work (should be included with other e/c to boost the
             rating or left as a “5” if it is more representative of the student’s commitment).
          6. Physical condition or other special circumstances prevent significant activity.

       Personal

       The Personal rating should be an assessment made by the readers of what kind of effect the
       student might have on others at Harvard and beyond. It should be based on an assessment of
       what kind of positive effect this person might have throughout his or her life based on what
       we have seen so far in the student’s application materials. This should include such
       considerations as what kind of contribution would the person make to the dining hall
       conversation, to study groups, and to society as a whole after graduation. In assigning the
       personal rating, readers should consider information we receive from teachers, counselors,
       applicants, other recommenders, interviewers, and others as well as the applicant’s essays,
       extracurricular activities, and other items in the application file—what the applicant shows us
       about him or herself and what the applicant has done or accomplished for others. It is
       important to keep in mind that characteristics not always synonymous with extroversion are
       similarly valued. Applicants who seem to be particularly reflective, insightful and/or
       dedicated should receive higher personal ratings as well

       As noted above, though, an applicant’s race or ethnicity should not be considered in
       assigning the personal rating.

       We understand that students are multidimensional and ever evolving. Many applicants have
       grown enormously between the time when they apply in the fall or winter or their senior year
       and when they arrive in Cambridge the following September. Additionally, we are aware that
       we work with incomplete information.


          1. Truly outstanding qualities of character; student may display enormous courage in the
              face of seemingly insurmountable obstacles in life. Student may demonstrate a
              singular ability to lead or inspire those around them. Student may exhibit
              extraordinary concern or compassion for others. Student receives unqualified and
              unwavering support from their recommenders.
          2. Very strong qualities of character; student may demonstrate strong leadership. Student
              may exhibit a level of maturity beyond their years. Student may exhibit uncommon
              genuineness, selflessness or humility in their dealings with others. Students may
              possess strong resiliency. Student receives very strong support from their
              recommenders.
          3+ Above average qualities of character; Student may demonstrate leadership. Student
          may exhibit commitment, good judgment, and positive citizenship. Student may exercise
          a spirit and camaraderie with peers. Student receives positive support from their
          recommenders.

          3. Generally positive, perhaps somewhat neutral qualities of character

          4. Questionable or worrisome qualities of character
                                                  JA4542
 CONFIDENTIAL                                                                                  HARV00097940
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       School Support
          1. Strikingly unusual support. "The best of a career,” “one of the best in many years,”
              truly over the top.
          2. Very strong support. "One of the best” or “the best this year."
          3+ Well above average, consistently positive
          3. Generally positive, perhaps somewhat neutral or generic
          3- Somewhat neutral or slightly negative.
          4. Negative or worrisome report.
          6. For teacher reports: prose is not in the file.
          8. Placeholder for teacher reports.
          9. For secondary school report: transcript is in the file but there is no SSR prose.

       PLEASE NOTE: School support ratings for teacher one, teacher two and a counselor are
       mandatory ratings for competitive candidates. Teacher three and teacher four are optional, if
       applicable.


       BRIEF ANNOTATIONS FOR SUMMARY SHEET:

       You may choose to insert information about a case – a maximum of three lines – which will
       appear on the second page of the summary sheet at the top and on the printed docket (unlike
       prose comments below). These notes should be informational only and not evaluative. They
       can aid in your preparation of cases. Examples could be: PE on grandmother, Harvard Book,
       or international credentials not easily captured elsewhere (A level est, Physics A, Math A, Lit
       A – etc.).

       PROSE COMMENTS:
       When making prose comments, first readers should note the important academic and
       extracurricular accomplishments that are particularly pertinent to the case. It is also helpful
       to reference teacher reports or other items that may be crucial to our evaluation. In addition
       to numerical ratings, readers should try to summarize the strengths and weaknesses of the
       folder in brief paragraphs or comments. Avoid slang and jargon and REMEMBER - your
       comments may be open to public view later.

       INTERVIEW PROFILE (IVP):
       Below is the language for uniform implementation of the Interview Profile number (IVP) for
       use with all Schools and Scholarship Chairs. The IVP will serve as a guide for chairs to know
       when our office needs the reports, and therefore how quickly they need to be assigned. All
       interviewers will be told that they should submit their interview report no later than two
       weeks after receiving the interview assignment.

          1. An applicant for whom the committee needs more information to reach a decision -
             please have interview report in as soon as possible.
          2. An applicant for whom more information would be very helpful during our
             deliberations - please have interview report in by the sub-committee deadline.
          3. Please have interview report in by December 1 (EA) or March 1 (RA).
          4. Based on the materials currently available, the committee needs no additional
             information at this time.


                                                   JA4543
 CONFIDENTIAL                                                                                   HARV00097941
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       This language has been distributed to the S&S chairs via email and can also be found in the
       updated handbook and website instructions. (Please ask Bryce Gilfillian if you need help
       accessing the site). Please have a conversation with your chairs to determine if you wish
       to use the IVP, and please make clear that this information should not be shared with
       other interviewers or applicants. If your chairs have additional clerical or operational
       questions about the IVP, please direct them to email Bryce/alum assistant at
       SSinfo@fas.harvard.edu.

       When reading, please input your IVP code on the First Reader Rating Form. You should
       input an IVP for all cases for clubs that use this system or if the coding could be helpful for
       your own interview tracking purposes. Continue to pass on the folder to your chair and/or
       code out to Committee Review bin.

          x     FIRST-GEN: First readers should check this box on the first reader rating form if the
                student is of the first generation in the family to graduate from a four-year higher
                education institution. If first readers do not, chairs should do so on the chair rating
                form.

          x STAFF DISADVANTAGED
          After reviewing the file, if the reader has evidence that the applicant may be from a
          modest economic background, please check “Yes” under Staff Disadvantaged on the
          Reader Rating Form. In the past, admitted students who has been identified as
          “Disadvantaged=Y” were found to be economically needy 78% of the time.

          x     FACULTY, STAFF: Code ONLY children of professors at the Faculty of Arts and
                Sciences as an "F"; children of faculty from other parts of the University as well as
                children of administrative staff should be coded "S". If an update is needed, use the
                First Reader rating form. Please be careful to apply faculty and staff coding where
                appropriate as we need to keep accurate statistics on these applicants. All “F”
                and “S” folders should be routed to the “4th bin” (WRF) after the normal
                reading process has been completed.

          x     ACCESSIBLE EDUCATION OFFICE (AEO) REFERRALS: Code all applicants
                who may require special accommodations due to disabilities or special needs with the
                AEO flag in the Student record. We can then work with the AEO and DOS when
                appropriate. As you know, a student’s disability may not be considered in connection
                with his or her application. Anyone for whom the AEO flag is used should also be
                flagged for an advising form.


          x     FYRE: Use this to indicate a student whom you think might benefit from the First
                Year Retreat and Experience (FYRE), a no cost pre-orientation program designed to
                introduce students to Harvard’s resources and give them a solid foundation on which
                to begin their college careers.

       ASTAT: If, after reviewing an application you feel that the student may be of interest to one
       of our athletic teams, but is not a recruited athlete, you can use this flag to indicate to a coach
       that this student could be a recruit for their sport. Please use a “7” in these cases.

       GPA and GPA Scale:
       We must try to report an Academic Index to the IVY League for EVERY matriculant.
       If grades are available, please report a GPA and GPA Scale for your strongest candidates.
                                                    JA4544
 CONFIDENTIAL                                                                                      HARV00097942
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        The Academic Index is calculated using GPA and GPA Scale. These will be converted
        automatically to the 20 to 80 scale in Slate.

        Here are the rules according to the AI instructions provided by the Ivy League and sent to
        staff separately:

                  ACADEMIC INDEX CALCULATIONS: CGS

                  1. GPAs generally: As noted in ¶B-7 above, the secondary school GPA should
                      be taken as presented on the secondary school transcript; when both
                      unweighted and weighted GPAs are presented, the unweighted GPA should
                      be used. (If there is a question as to whether the school is using an
                      unweighted or weighted system, the scale should be defined as unweighted,
                      based on what the A grade earns in a regular course.) Other questions in
                      providing the GPA are addressed in this section.

                  2. GPA scales and conversions from Table II: Table II, the “CGS General
                      Conversion Tables” should be used for the GPA scales shown (100-points,
                      11.0/12.0, 7.0, 6.0, 4.0, A-
                      D) even if the transcript or secondary school profile provides a conversion to a
                      Table II scale.

                      x   The “4.0 Weighted” scale applies to any 4.0 based GPA that is weighted.
                          It should be used only when Unweighted GPA is not available.
                      x   The” 4.0 Unweighted Scale” applies to any 4.0 based GPA that is
                          unweighted.
                      x   Note Table II includes a scale to use to convert International
                          Baccalaureate GPAs to a CGS.

                  3. Scales not provided on Table II: Given the relatively small number of
                      admitted and matriculated students for whom Table II scales are not
                      provided, it is preferable not to create new scales if possible. In such cases,
                      a GPA on a 4.0 scale should be calculated using the following formula, and
                      a CGS then derived using the 4.0 scale on Table II: HSGPA/HSGPA scale =
                      “x”/4.0, where “x” becomes the value from which the CGS is derived. For
                      example, if on a 5.0 scale a student has a 4.8 GPA (whether the scale’s top
                      grade is A or A+), the formula is 4.8/5.0 = x/4.0, x-3.84 and the CGS = 73.

                  4. Calculating GPA when not provided by the secondary school: When the
                      secondary school does not calculate/report a GPA, the institution should
                      calculate an unweighted GPA based on the secondary school’s grading
                      scale, using all courses for which grades and credit hours are provided, and
                      weighting semester grades as one-half full-year grades.
                              NOTE: the following grade scale is used to convert grades on a non-
                              traditional scale to a 4.0 Unweighted Scale: HH- 4.0, H- 3.5, HP- 2.5,
                              P- 1.5, U- 0

                  5. GPA period: GPA data always should be for more than one year, including
                      10th and 11th grades, 9th grade when available, and official trimester or
                      semester grades (as opposed to term grades) in the student’s current year if
                      available at the time the athlete’s decision is made. If “official” grades from
                                                  JA4545
 CONFIDENTIAL                                                                                    HARV00097943
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                   the current year are available but not counted in the school’s cumulative
                   GPA, they should be added to the cumulative GPA and weighted
                   appropriately: e.g., grades for first semester or trimester of senior year would
                   be weighted as one-half or one-third year.

                6. GPAs from multiple schools and repeat years: When a student has attended
                   multiple secondary schools (including a post-graduate year), all GPAs
                   provided by the schools should be used to the extent possible and weighted as
                   in #5 above. If the institution believes this result is not logical and fair, it
                   should describe what approach it believes is better, subject to the Admissions
                   Committee’s agreement.

                7. Transfer students: CGS should be calculated using 50% secondary
                   school GPA and 50% college GPA




                                                    JA4546
 CONFIDENTIAL                                                                                         HARV00097944
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                INTERNATIONAL-SYSTEM GPA CALCULATIONS

            1. Generally: Each school should calculate GPAs from international schools
                using the attached Appendix of International Calculations. If an international
                country is not listed on the Appendix, we should calculate an AI as it seems
                most appropriate. (In this circumstance, we should default to the Committee,
                using the NCAA International Standards as a reference point, but not
                necessarily a policy.)

            2. Canadian systems: Table IIA, for establishing value of CGS of Canadian
                Students should be used to determine CGS based on the Province of the
                secondary school. Provinces where a passing grade is 50% use the first
                column on Table II A (Alberta, British Columbia, Manitoba, Newfoundland,
                NW Territories, Nova Scotia, Nunavut, Ontario, Prince Edward Island,
                Saskatchawan, Yukon); Provinces where a passing grade is 60% use the
                second column on Table IIA (New Brunswick, Quebec).

            1. British systems:


                Count all GCSE (= O Level), AS and A level results in order to
                calculate a GPA:
                A* (same as A+) = 4.3
                A = 4.0
                B = 3.0
                C = 2.0
                D = 1.0
                     • If the applicant is taking a gap year, actual A-Level results should be
                         used.
                     x      A Level scores are given double the weight of AS and GCSE scores.
                     x      Internal grades are usually not available and should not be used if
                            they are.
                     x      Predicted A-Level scores should be used when available.
                     x All courses should be included in calculating the GPA, including
                        physical education courses if the student receives a grade and
                        credit for the course.

            2. Pre-U:


                The scale for Pre-U were decided on as follows, for Principal Subjects only:

                   D1 = A+/4.3
                   D2 = A+/4.3
                   D3 = A/4.0
                   M1 =
                   B+/3.3 M2
                   = B/3.0 M3
                   = B-/2.7 P1
                   = C-/1.7 P2
                   = D/1.0 P3
                   = D-/0.7
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                     5. International Baccalaureate systems:


                         Average grades from the last two years of the IB program are preferred to
                         calculate a GPA:
                         7 = A+ = 4.3
                         6 = A = 4.0
                         5 = B = 3.0
                         4 = C = 2.0
                         3 = D = 1.0
                         x If the applicant is still in school, use one year for Early applicants and one
                             year plus one term for Regular applicants.
                         x If the applicant is taking a gap year, actual two-year IB results are used.
                         x Use IB predicted grades if available, and only if not available use internal
                             grades.
                         x For IB schools in the U.S., use the course values given on the transcript;
                             for IB schools outside the U.S., double the weight for Higher Level
                             courses (as opposed to the Subsidiary Level courses).
                         x All Higher Level/Subsidiary Level courses will be counted from
                             international schools.
                         x Scales: When IB predictions give split results, use the average of the split
                             (i.e., 5/6 is given, use 5.5 for calculation).


                     6.Notes on Selected Countries (added fall 2010):


        Australia – Require schools to provide a transcript of some sort, but if all else fails and they
        give the state final exam result or prediction (ex: UAI for NSW, OP for Queensland, usually
        out of 99.95) use that.

        New Zealand –The scale for NZ is as follows…but ONLY for courses in which there is the
        possibility to get more than Achieved (Achieved/Not Achieved is basically Pass/Fail so we
        won’t count those courses):
                             [E] Excellent =
                             A/4.0 [M] Merit =
                             B/3.0 [A]
                             Achieved = C/2.0
                             [N] Not Achieved = F/0

        Singapore – for schools using standard Junior College grading conventions – Include
        H1(General Paper, Project, etc.) & H2 predictions on a 4.0 scale to calculate GPA. Double
        weight for H2 marks.

        For H3, the scale is:
                                Distinction =
                                A/4.0 Merit =
                                B/3.0 Pass =
                                C/2.0 Double
                                H3s as well.

        If provided, include O Level/GCSE marks in calculation of GPA with a single weight like we
        do with the British System.
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       General notes – For all national curriculums, the general rule of thumb is to include all
       courses as part of the GPA calculations.
        ‘

                   7.Additional International Scales for Relevant Countries


       For GPA scales of other countries, Table III has been sent separately and is included in the
       Ivy League Academic Index Memo. Please see CGM if you need a copy.




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                                  TABLE II: For establishing value of CGS
                                           APPROVED SEPTEMBER 2016


                                                                                Grade
     Percentage      11.0/12.0                               4.0 Weighted     Equivalent   4.0
       Average             Scale         6.0        5.0             GPA         to 4.0        Unweighted     CGS
   98.00 and above   12.00 and        6.5 and    6.00 and      4.30 and above     A+        4.0 and above   80
    97.00 - 97.99     11.70 -           6.30 -      5.70 -       4.20 - 4.29                  3.91 - 3.99   79
    96.00 - 96.99     11.40 -           6.15 -      5.40 -       4.10 - 4.19                  3.81 - 3.90   78
    95.00 - 95.99     11.00 -           6.00 -      5.00 -       4.00 - 4.09      A           3.72 - 3.80   77
    94.00 - 94.99     10.70 -           5.85 -      4.90 -       3.90 - 3.99                  3.63 - 3.71   75
    93.00 - 93.99     10.40 -           5.70 -      4.80 -       3.80 - 3.89                  3.53 - 3.62   73
    92.00 - 92.99     10.00 -           5.55 -      4.70 -       3.70 - 3.79      A-          3.44 - 3.52   71
    91.00 - 91.99       9.80 -          5.40 -      4.60 -       3.60 - 3.69                  3.35 - 3.43   70
    90.00 - 90.99       9.50 -          5.25 -      4.50 -       3.50 - 3.59                  3.26 - 3.34   69
    89.00 - 89.99       9.30 -          5.10 -      4.40 -       3.40 - 3.49                  3.16 - 3.25   68
    88.00 - 88.99       9.00 -          4.95 -      4.30 -       3.30 - 3.39      B+          3.07 - 3.15   67
    87.00 - 87.99       8.70 -          4.80 -      4.20 -       3.20 - 3.29                   2.98 -3.06   66
    86.00 - 86.99       8.40 -          4.65 -      4.10 -       3.10 - 3.19                  2.88 - 2.97   65
    85.00 - 85.99       8.00 -          4.50 -      4.00 -       3.00 - 3.09      B           2.79 - 2.87   63
    84.00 - 84.99       7.70 -          4.35 -      3.90 -       2.90 - 2.99                  2.70 - 2.78   61
    83.00 - 83.99       7.40 -          4.20 -      3.80 -       2.80 - 2.89                  2.61 - 2.69   59
    82.00 - 82.99       7.00 -          4.05 -      3.70 -       2.70 -2.79       B-          2.51 - 2.60   57
    81.00 - 81.99       6.75 -          3.90 -      3.60 -       2.60 - 2.69                  2.42 - 2.50   55
    80.00 - 80.99       6.50 -          3.75 -      3.50 -       2.50 - 2.59                  2.33 - 2.41   53
    79.00 - 79.99       6.25 -          3.60 -      3.40 -       2.40 - 2.49                  2.23 - 2.32   51
    78.00 - 78.99       6.00 -          3.45 -      3.30 -       2.30 - 2.39      C+          2.14 - 2.22   49
    77.00 - 77.99       5.70 -          3.30 -      3.20 -       2.20 - 2.29                  2.05 - 2.13   48
    76.00 - 76.99       5.40 -          3.15 -      3.10 -       2.10 - 2.19                  1.95 - 2.04   47
    75.00 - 75.99       5.00 -          3.00 -      3.00 -       2.00 - 2.09       C          1.86 - 1.94   46
    74.00 - 74.99       4.70 -          2.85 -      2.90 -       1.90 - 1.99                  1.77 - 1.85   45
    73.00 - 73.99       4.40 -          2.70 -      2.80 -       1.80 - 1.89                  1.67 - 1.76   44
    72.00 - 72.99       4.00 -          2.55 -      2.70 -       1.70 - 1.79      C-          1.58 - 1.66   42
    71.00 - 71.99        3.5 - 3.99     2.40 -      2.60 -       1.60 - 1.69                  1.49 - 1.57   40
    70.00 - 70.99        2.5 - 3.49     2.25 -      2.50 -       1.50 - 1.59      D+          1.40 - 1.56   38
     Below 70.00        Below 2.5       Below       Below         Below 1.5       D            Below 1.4    35




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                              Table IIA- CGS Canadian Conversion Table


                TABLE II-A: For establishing value of CGS of Canadian Students
                                          Revised May 2015


                                           Canada Where           CanadaWhere
       United States 100   Letter Grade   passing grade is       passing grade is
          Point Scale       Equivalent         50% 1                  60% 2           CGS
        98.00 and above         A+        90.00 and above        88.00 and above       80
         97.00 - 97.99                     88.00 - 89.99          87.00 - 87.99        79
         96.00 - 96.99                     86.00 - 87.99          86.00 - 86.99        78
         95.00 - 95.99          A          84.00 - 85.99          85.00 - 85.99        77
         94.00 - 94.99                     82.00 - 83.99          84.00 - 84.99        75
         93.00 - 93.99                     80.00 - 81.99          83.00 - 83.99        73
         92.00 - 92.99          A-         79.00 - 79.99          82.00 - 82.99        71
         91.00 - 91.99                     78.00 - 78.99          81.00 - 81.99        70
         90.00 - 90.99                     77.00 - 77.99          80.00 - 80.99        69
         89.00 - 89.99                     76.00 - 76.99          79.00 - 79.99        68
         88.00 - 88.99         B+          75.00 - 75.99          78.00 - 78.99        67
         87.00 - 87.99                     74.00 - 74.99          77.00 - 77.99        66
         86.00 - 86.99                     73.00 - 73.99          76.00 - 76.99        65
         85.00 - 85.99          B          72.00 - 72.99          75.00 - 75.99        63
         84.00 - 84.99                     71.00 - 71.99          74.00 - 74.99        61
         83.00 - 83.99                     70.00 - 70.99          73.00 - 73.99        59
         82.00 - 82.99          B-         69.00 - 69.99          72.00 - 72.99        57
         81.00 - 81.99                     68.00 - 68.99          71.00 - 71.99        55
         80.00 - 80.99                     67.00 - 67.99          70.00 - 70.99        53
         79.00 - 79.99                     66.00 - 66.99          69.00 - 69.99        51
         78.00 - 78.99         C+          65.00 - 65.99          68.00 - 68.99        49
         77.00 - 77.99                     64.00 - 64.99          67.00 - 67.99        48
         76.00 - 76.99                     63.00 - 63.99          66.00 - 66.99        47
         75.00 - 75.99          C          62.00 - 62.99          65.00 - 65.99        46
         74.00 - 74.99                     61.00 - 61..99         64.00 - 64.99        45
         73.00 - 73.99                     60.00 - 60.99          63.00 - 63.99        44
         72.00 - 72.99          C-         Below 60.00            62.00 - 62.99        42
         71.00 - 71.99                                            61.00 - 61..99       40
         70.00 - 70.99         D+                                 60.00 - 60.99        38
          Below 70.00          D                                   Below 60.00         35

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          1
           Passing grade is 50% for the following Provinces: Alberta, British Columbia, Manitoba,
          Newfoundland, NW Territories, Nova Scotia, Nunavut, Ontario, Prince Edward
          Island, Saskatchawan, Yukon
          2
              Passing grade is 60% for the following Provinces: New Brunswick, Quebec




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         III.   FILE ROUTING

      INADVERTENTLY CLEARED FILES: Occasionally, files will be mistakenly “cleared”
      (considered complete) and placed in your first read bin. Open the Admin Problems Form, note
      the issue and to which bin the folder should be routed when the problem is solved. Then route
      the file to the Admin Problems bin.

      FILES SHOULD BE READ AND PASSED IN A TIMELY FASHION: Readers should take
      care not to allow files to pile up. First readers need to read files from all assigned dockets as
      they clear, not just those whose subcommittee meets first. However, because all files will clear
      regardless of round, readers should read early action files first, as soon as possible. Regular
      action files can generally wait until after December 1st, but you can read them prior to that if you
      are able to. This is important, and we will monitor reading progress centrally. If you need help
      keeping up for whatever reason, let us know immediately. Readers should code out files to the
      Committee Review bin or pass to the docket chair. First-time readers will use the Optional
      Additional bin for their first 50-100 files during Early Action. Those files will be redistributed to
      experiences readers by the operations staff.


      SECOND READERS (OPTIONAL ADDITIONAL READER): Except for new readers (for
      whom special routing instructions are provided below), second readings should be used only in
      the rarest of instances:

         A) If three readings are needed for a complex case.

         B) If the case raises issues of policy.

         C) If the case would be greatly helped by a second reading from the former area person or
            someone with special knowledge of an area or type of case.

      No second reader will ordinarily be assigned. If you want/need a second reading, consult the
      enclosed docket assignment sheet to identify other readers on your docket. Try not to burden one
      person inordinately. You should choose “Optional Additional Reader” as the next bin and enter
      the name of that person which will place the file in their queue. You can add a note for the
      second reader such as “Please give V docket context” You should also send an email to special
      second readers to alert them to your requested reading. If you have received a file as a second
      read for a new reader, please read it as quickly as possible and put it back in the queue of the new
      reader.


      FIRST-TIME READERS: New readers should have their first fifty to one hundred Early
      Action files passed to the Optional Additional Reader bin or to the chair bin, based on relative
      strength. Some chairs may wish to use different approaches for first year readers.

      GENERAL ROUTING RULES:

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      1) A file should be passed directly to the chair:

         x   If the first reader rates a file a "2-" or better (i.e. a case the first reader thinks has a very
             good chance of being admitted)

         x   If the case will likely (or almost certainly) be discussed in Committee.

         x   If you want the docket chair’s opinion or want simply to have the docket chair informed
             about the case.

         If the first reader has a significant degree of uncertainty about how to proceed with the
         case, he or she should consult the docket chair.

      2) A case rated a 3+ overall may be passed to the chair or routed straight to the Committee
         Review bin. The first reader should consider carefully the likelihood that additional
         anticipated information (e.g., a superior music rating) will make the case more compelling, in
         which case the folder should be passed to the chair. If there is no further information
         anticipated and the case is qualitatively a 3+ (a strong case but like many others), an
         experienced first reader does not need to pass it on.

      3) Typically, a case rated a 3 or lower with no particular attribute that would make it
         competitive can be routed directly to the Committee Review bin. Obviously late information
         or school context could change this initial evaluation. The first reader, as an advocate, must
         be certain to check all late information that might make a difference to the case prior to the
         Committee meetings. This is particularly important for candidates whose outstanding
         personal qualities become evident once we have the alumni/ae interview.

      Readers new to a docket should discuss with the docket chair any special guidelines about which
      files should be passed on and which files should not.

      BINS
      In Slate, various “bins” are used to track an application file’s progress through the application
      cycle. Bins are used for ease of day-to-day work - they do not represent final decisions. The
      layout of bins can be viewed in the Slate Reader using the Browse tab (Note: the “Freshman
      Only” preset filter in Reader displays all freshman applicants and previous admits in the current
      application period).

      Each bin column represents a different phase of the application cycle, and generally, work flows
      from left to right:
         x Pre-Review: Folders are incomplete, incorrectly coded, or withdrawn
         x Reads: Folders are complete (“cleared”) and ready for review by readers
         x Committee: Folders are ready for discussion by committee



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         x  Working Decision: Folders have been discussed by the committee and a decision has
            been recommended
         x Final Decision: Decisions have been checked and confirmed; ready for decision release
         (Note: Files should only be moved to final decision bins on Decision Day by the Slate
         team. Prior to Decision Day, files should remain in Working Decision bins.


      CHANGING BIN ASSIGNMENTS
      Readers normally change a folder’s bin assignment during the reading process using the Review
      Form in the Slate Reader. Occasionally it will be necessary to change a folder’s bin assignment
      after the Review Form has been submitted. In these cases, the bin assignment can be changed in
      the Student Record. To edit a bin assignment in the Student Record, click the “Edit Application
      Details” tab on the right, and select the desired bin from the Bin dropdown menu.


      CLEARING INCOMPLETES
      Readers should be sure to check the “Not Cleared” bin before each of their subcommittee
      code-out deadlines and then periodically before decisions are final to check for any cases
      that could be read with the materials in the file. Sometimes, transcripts may be in various
      tabs aside from the “SSR” tab. Readers should use their discretion or consult with their
      chairs but in general, a file that has an application and a transcript can be read and
      evaluated.

      SPECIAL READINGS

         x   WRF should see cases that could be particularly sensitive or controversial or that raise
             issues of fundamental policy. When in doubt, send the file on by routing to the 4th reader
             bin.

         x   Folders of competitive candidates who attended secondary school outside the U.S. and
             Canada may be passed on to the appropriate U, V or W docket area person or RMW if
             help in assessing foreign credentials is needed. Be selective- don’t pass on a case unless
             you are sure the applicant is competitive or has some unusual attributes.

         x   A faculty readings memorandum will be distributed later regarding specific procedures.

         x   Supplemental music/art/dance/academic materials of clearly competitive candidates with
             an unusually strong talent may be assessed through a supplementary process - through
             Slideroom (for music and dance) or through the faculty read process (for art or academic
             work). Handling of this material will be addressed through memoranda over the course of
             the fall.




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         IV. OTHER ITEMS

         x   Slate is made up of data downloaded from the application and supplemental forms. We
             currently do not have the ability to enter all the information by hand for those applicants
             who do not submit their forms on-line. However, the data entry staff will enter the most
             critical bio/demo information as they have in the past. This means that the dockets will
             be correct, but the summary sheets for these applicants will be primarily blank. You
             should double-check the data that is important - i.e. parent education, ethnicity, aid status,
             etc. - basically every field that’s on the summary sheet. About 1% of all our applicants
             will fall into this category.

         x   Acknowledgments to guidance counselors, teachers, and others: The area person may
             occasionally feel it worthwhile to acknowledge unusually helpful TRs and SSRs by
             writing a note to the author. The note should acknowledge that the candidate may or may
             not be admitted. Supplementary letters of recommendation may have already been
             acknowledged with a card or letter, but if not, particularly with recommenders who
             are alumni or others about whom Harvard might be concerned, you should call the
             letter to the attention of MEM or WRF and an acknowledgment will be sent. This is
             important!

         x   Support Materials: ALL manually submitted support material should be dropped into the
             appropriate basket in the mailroom for sorting and scanning.

         x   Misfiled and Missing materials: If a teacher report, school report or any other material
             that would be helpful to a competitive candidate is missing, first readers should request a
             copy be re-sent. Files should be sent on to other readers unless the missing pieces are
             crucial. In such cases, first readers should hold onto the file by routing the file to the
             “Area Person Follow Up” bin. Detailed instructions on how to add new materials to an
             applicant’s file can be found in the “Documentation” tab of the Slate welcome page.

         x   File items that require attention: Unanswered letters should be handled by first readers
             where appropriate or others including MEM or WRF.



         V. SCANNING AND INDEXING

      There is a basket in the mailroom to collect and sort hard-copy documents received. The forms
      collected in these baskets should have content that is *specific* to the admission decision of the
      applicant and are marked as such - for example, mailed applications or supplements, letters of
      support, teacher reports, Harvard evaluation, (coach, arts, music, Harvard faculty), midyear
      reports, SSR’s etc. We will scan almost everything. If that is not possible, an “oversized
      support” form will be scanned and added to the file to let you know there is material sitting in the
      bookcase in Conference Room 5.


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      Relevant emails to officers from applicants or about an applicant should be saved as a PDF file
      and indexed directly into the applicant file by the officer. To do so, go into the student record in
      Slate select the current round tab and scroll down to the “Materials” header. Click to add new
      material and make the appropriate selection from the drop-down menu. If you receive materials
      both electronically and in paper, you do not need to have the paper material scanned.

      Documents displayed in the Reader are named by the document type that follows the menu down
      the left side of the Slate e-reader.
          x Application (and supplement)
          x SSR
          x TRs
          x Interviews
          x Additional academic (additional transcripts, etc.)
          x Midyear
          x Final Report (potentially greyed out until admitted)
          x Ratings Forms (includes IRFs)
          x Miscellaneous (notes from family/friends, alums, correspondence, noting of oversized
               support, etc.)
          x Waitlist
          x Previous App
          x Portfolio (NOTE: a tab in Slate we do not use at this time).




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                                              White                     Asian American                    African American                          Hispanic
                                  Number      Number    Admit    Number      Number      Admit     Number      Number        Admit      Number      Number        Admit
                                 Applicants   Admits     Rate   Applicants   Admits       Rate    Applicants   Admits         Rate     Applicants   Admits         Rate



   Athlete                         927         817     88.13%     114         101     88.60%        145         124     85.52%            69          57        82.61%


   Legacy                         3061        1079     35.25%     463         163     35.21%        233         67      28.76%           281          97        34.52%

   Child of Faculty
                                   167         80      47.9%       81         39      48.15%          9          2      22.22%            19           8        42.11%
   or Staff




  JA4558
   Dean or Director’s
                                  1625         700     43.08%     279         133     47.67%         85         29      34.12%           154          66        42.86%
   Interest List



   All ALDC’s                     5002        2179 43.56%         841        371      44.11%        440        205      46.59%           462         191       41.34%




                                                                                                                                                        TRIAL EXHIBIT

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Expanded Dataset Plus Athletes
                                                                                                                                                             SFFA v. Harvard
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                                                                                                      TRIAL EXHIBIT




                                                                                                                          exhibitsticker.com
  Message

                                                                                                             P657
  From:         Mascolo, Christine Collette [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP           SFFA v. Harvard
               (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=C61C8C86863F4A311311D8B77004113093-MASCOLO]
  Sent:        8/20/2018 2:27:56 PM
  To:           Fitzsimmons, William R.[/o=ExchangeLabsiou=Exchange Administrative Group
               (FYDIBOHF23SPDLT)/cn=Recipients/cn=7c9507805d49473598925d032af30d42-User_e3990d]; McGrath, Marlyn E.
               [/o=ExchangeLabsiou=Exchange Administrative Group
               (FYDIBOHF23SPDLT)/cn=Recipients/cn=ebe4f7eb9f69460199e54e5cdf63552c-mmcg]
  Subject:      FW: Message from "RNP002673BF8318"
  Attachments: 20180820104022848.pdf



  Hi Fitz and Marlyn,
  Attached you will find updates to the reading instructions, thanks to Tim and Jessica, along with the
  l anguage from last year to compare.
  I can al so leave copies in your mailboxes if that would be helpful.
  Thank you!
  Christine



       Original Message
  From: Scan.Admissions@fas.harvard.edu <Scan.Admissions@fas.harvard.edu>
  Sent: Monday, August 20, 2018 10:40 AM
  To: Mascolo, Christine Collette <mascolo@fas.harvard.edu>
  Subject: Message from "RNP0026736F8318"

  This E-mail was sent from "RNP0026736F8318" (MP 2554)

  Scan Date: 08.20.2018 10:40:22 (-0400)
  Queries to: scan.Admi ssi ons@fas.harvard .edu




                                                      JA4561
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                                                                                                       TRIAL EXHIBIT




                                                                                                                          exhibitsticker.com
  Message

                                                                                                             P659
  From:         Mascolo, Christine Collette [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP           SFFA v. Harvard
               (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=C61C8C86863F4A311311D8B7700418093-MASCOLO]
  Sent:        9/12/2018 6:33:31 PM
  To:           Fitzsimmons, William R.[/o=ExchangeLabsiou=Exchange Administrative Group
               (FYDIBOHF23SPDLT)/cn=Recipients/cn=7c9507805d49473598925d032af30d42-User_e3990d]; McGrath, Marlyn E.
               [/o=ExchangeLabsiou=Exchange Administrative Group
               (FYDIBOHF23SPDLT)/cn=Recipients/cn=ebe4f7eb9f69460199e54e5cdf63552c-mmcg]
  CC:           Gershengorn, Ara [/o=ExchangeLabs/ou=Exchange Administrative Group
               (FYDIBOHF23SPDLT)/cn=Recipients/cn=9a0cb8cff09f4879bfb563d076abc882-abg290]
  Subject:      Reading instructions
  Attachments: Reading Procedures2018.19DRAFT9.11.18.docx



  Hi everyone,
  Input from all previous drafts is captured in this document. The only new line everyone should look at is on
  page 5, in red.
  Thank you,
  Christine




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CONFIDENTIAL                                                                                              HARV00098058
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                                                                                                   TRIAL EXHIBIT




                                                                                                                         exhibitsticker.com
  Message
                                                                                                         P696
  From:         Mascolo, Christine Collette [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP          SFFA v. Harvard
               (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=C61C8C86863F4A31B11D8B770041B093-MASCOLO]
  Sent:        6/12/2018 5:55:51 PM
  To:          Jessica Bryan [jessica.r.clark@gmail.com]
  Subject:     All staff retreat follow-up



  Hi Jess and Tim,

  Thank you again for leading the discussion about the personal qualities rating last week and for presenting on
  behalf of your group. It seemed like you had a very good conversation, but like much of what we do,there are
  lots of"it depends!"
  I'm hoping that you will get us started on recommendations(if any)for changes in the reading instructions for
  the EC section. Then I would suggest sending a draft to your whole group so they can weigh in before
  producing a final recommendation by July 9. Then, these will go to WRF,MEM and others, including OGC,
  and we will see where we land. I have pasted what we currently say for overall coding and for the academic
  rating below. If you are comfortable using track changes that would be great since I think it is particularly
  helpful for OGC to view things this way.

             CODING GUIDELINES FOR SUMMARY SHEETS
  All readers must code a preliminary overall rating and a profile (using the codes below and pluses and minuses)
  for all candidates. Writing prose comments is left to the discretion ofthe reader and should generally be done
  only for competitive candidates, those who might become competitive later, or those who might be of interest to
  the Committee.

  For all categories, use"+" and "-" primarily in the 2 and 3 range to indicate relative strength. A rating of2+ or
  3+ is stronger and very different from a 2- or 3- respectively. Readers should take all factors into account as
  they assign ratings. E.g, students who have taken a strong academic program and/or present other positive
  evidence of academic achievement should receive higher academic ratings: an applicant with low 700 scores
  could be rated a"2-" rather than a"3+" in some instances especially if there is academic strength in a particular
  field.

  Personal
  1. Rare personal appeal and character
  2+ or 2 Extremely strong personal appeal and character
  2- Very strong personal appeal and character
  3+ Above average personal appeal and character; positive
  3. Generally positive, perhaps somewhat neutral
  3- Slightly negative impression
  4. Distinctly poor impression; questionable or worrisome

  Thank you both so much, and please let me know ifI can help,
  Christine




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  Message
                                                                                                                         P705
  From:         Mascolo, Christine Collette [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP                        SFFA v. Harvard
               (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=C61C8C86863F4A311311D8B7700418093-MASCOLO]
  Sent:         7/23/2018 5:30:49 PM
  To:           Fitzsimmons, William R.[/o=ExchangeLabsiou=Exchange Administrative Group
               (FYDIBOHF23SPDLT)/cn=Recipients/cn=7c9507805d49473598925d032af30d42-User_e3990d]; McGrath, Marlyn E.
               [/o=ExchangeLabsiou=Exchange Administrative Group
               (FYDIBOHF23SPDLT)/cn=Recipients/cn=ebe4f7eb9f69460199e54e5cdf63552c-mmcg]
  CC:           Balian, Andrea [/o=ExchangeLabs/ou=Exchange Administrative Group
               (FYDIBOHF23SPDLT)/cn=Recipients/cn=c7673844b4cc4dbd866edbdf53db2041-balian]; Pacholok, Olesia
               [/o=ExchangeLabs/ou=Exchange Administrative Group
               (FYDIBOHF23SPDLT)/cn=Recipients/cn=c61540411ce64f4e86fc6be998d563e8-pacholok]
  Subject:      Potential changes to reading instructions
  Attachments: Academic Coding Guidelines suggested edits 2018 v2.docx; EC guideline suggestions (2).docx; athletic ratings
                proposal.docx



  Hi Fitz and Marlyn,
  Attached you will find suggested revisions to the reading instructions born out of our retreat in early June.
  These include the academic, EC and athletics sections only. There will be no suggested changes for PQs and
  support at this time. My plan is to share with both of you for any edits/thoughts you may have and then to share
  with Ara of course as I do every year.
  I asked people to use track changes so you could easily compare these suggestions with what was written in last
  year's instructions. The group which considered the academic rating section also posed a few questions we may
  or may not want to consider which you will see at the bottom of that document.
  I can print as well (though a color printer may be better for this).
  Please let me know if you have any questions.
  Thank you!
  C




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  Message

  From:         Mascolo, Christine Collette [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                                                                                                         P720
                                                                                                       SFFA v. Harvard
               (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=C61C8C86863F4A311311D8B770041B093-MASCOLO]
  Sent:        9/19/2018 1:28:45 PM
  To:          admfao_officers-list@lists.fas.harvard.edu
  Subject:      Reading instructions
  Attachments: Reading Procedures2018.19DRAFT9.11.18.docx



  Hi everyone,
  Attached please find the updated reading instructions for the year. The middle of the document is taken directly
 from the Ivy League annual memo which will not come out for another week or so you can skip pages 8-14
 (starting at "Here are the rules according to the Al instructions provided by the Ivy League and sent to staff
  separately).
  That said, please make sure you read the rest of the document thoroughly as there are several
  updates/additions. Many thanks to all of you who helped in the editing process.
 Please let me know if you have any questions.
  Christine




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                                                                                                                           exhibitsticker.com
          Reading Procedures - Class of 2023                                                               P721
                                                                                                         SFFA v. Harvard
                I.     SUMMARY SHEET APPLICATION DATA

          The Summary Sheet captures information as supplied on the application and can be updated
          as new information is added. Late information can change the likelihood of admission and
          updates can be provided later for those initially considered less competitive. If any
          information is missing or incorrect for competitive candidates, changes should be made on
          the First Reader Rating Form and noted with prose in the reader comments or "Notes for
          Summary Sheet" box. This prose will feed onto the Summary Sheet when the rating form is
          submitted.
          One exception: School code changes are NOT made on the First Reader Rating Form; see
          instructions below on how to do this.

          PLEASE NOTE: The accuracy of our citizenship coding is CRUCIAL. Miscoding affects
          many ofthe important statistics we are required to compile, and we need to keep careful track
          of who needs a visa to study in the United States.

               • SCHOOL CODE: If an applicant is coded to the wrong school, please use the
                 Admin Problems update form and route this to the Admin Problems bin immediately
                 so that the operations team can ensure that the interview is reassigned to the
                 appropriate club and group.

               • GENDER: Occasionally the gender designation reported on the application is coded
                 incorrectly in our system. This should be corrected by submitting the Admin
                 Problems form and routing the file to the Admin Problems bin.
               • RACE/ETHNICITY: We report exactly what the applicant reports as ethnicity on
                 the application. The ethnic codes on the Summary Sheet come from the demographic
                 fields the candidate checked on the application. Note that foreign citizens are listed
                 as such. If they opted to check an identifying ethnic code it will appear but is not
                 used for statistics and reporting.


          • CITIZENSHIP CODE / COUNTRY OF CITIZENSHIP: There are four options on
            the application that can be checked:(1)U.S. Citizenship,(2)U.S. Dual Citizenship,(3)
            U.S. permanent resident and(4)"Other" or foreign citizen.

                The applicant holds only American citizenship:
                APP: Citizenship status will be"US Citizen or US National" and no other country of
                citizenship will be listed.
                SUMMARYSHEET: Should read "Citizenship: United States"

                The applicant is a dual U.S. citizen (a citizen of both the U.S. and another country).
                APP: Citizenship status will be "Dual US Citizen"-Other citizenships will show a country
               (e.g. Sweden)
                SUMMARYSHEET: Should read "Citizenship: United Statesi<other country>"

                The applicant is a U.S. Permanent Resident.


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                APP: Citizenship status will be "U.S. Permanent Resident or Refugee" and Other
                Citizenships will list one or more countries checked with another country listed.
                SUWARYSHEET: Should read "Citizenship: PR / <other country>"

                Caveat: If an applicant has checked the U.S. Permanent Resident box but notes that his
                or her application for permanent residency(or "green card")is pending, that applicant
                should be recoded as "Other citizenship." Request this change by using the Admin
                Problems update form. We must prepare an 1-20 form if the applicant is admitted and the
                application for residency is still pending, and the citizenship code is the only way we
                know to do this.

                The applicant is a foreign citizen:
                APP: Citizenship status will be "Other(Non-US)". Other citizenship will show a country
               (e.g. Poland)
                SUMMARYSHEET: Should read "Citizenship: <other country>

               • LINEAGE: This flag appears if the applicant included Harvard College in the
                 education field for at least one parent/guardian. The folder should be read by WRF
                ("41"bin)following the normal reading process if appropriate or if another reading
                 might be helpful. Errors in coding should be noted with specific details about the
                 error using the Admin Problems Form and routed to the Admin Problems bin.

               • ATHLETE:Be sure the appropriate sport is listed as the first extracurricular activity.
                 Changes can be made on the App Update tab on the Student Record. DO NOT
                 CHANGE ANY PRE-CODED ATHLETE.

               • INDICATORS FOR ECONOMIC STATUS: It has long been a priority for
                 Harvard to seek talented students from all backgrounds, including those extraordinary
                 individuals who are able to transcend economic disadvantages and achieve unusual
                 academic distinction. We utilize several indicators to understand the economic
                 background of applicants. They are:
                     o Low Income Predictor(Low Inc on Summary Sheet): A value between 0 and 1
                        based on application information that predicts how likely a student is to be low
                        income and have a $0 parent contribution. The higher the value (closer to 1)
                        the more likely the student will be low income.
                     o IM Pell Estimate(IMP-Est on Summary Sheet): An indication if the student is
                        likely to qualify for a Pell Grant, based solely on IM data. This information
                        will only be available if a student has submitted CSS Profile, allowing
                        Financial Aid to estimate whether the student may be eligible for a Pell Grant.
                     o FH info("Yes, Likely, Unlikely, No" on the summary sheet): After
                        subcommittee meetings, if information is available, a simple indication of a
                        student's possible eligibility for the Harvard Financial Aid Initiative(HFAI)
                        may be present on the summary sheet.
                     o FEE STATUS: An indicator of whether the applicant received a fee waiver for
                        their application.

               • SCORES:By checking their Applicant Status website applicants can see whether
                 their scores requirement has been fulfilled though not all scores will be listed. They
                 can report scores(which will be marked 'self-reported' in the student record) as they

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                  like. You can check scores by looking under the "Scores" tab in each Student Record
                  of an applicant. The Summary Sheet will reflect the highest verified or self-reported
                  scores.

               Matriculating students will be responsible for changing 'unofficial' scores to 'official.'
               Only scores sent to us directly from the testing services electronically are considered
               official. Paper copies ofscores sent via fax, email attachment or U.S. mail are not
               considered official.

               We receive secure web downloads of scores, so we do not have to wait for the scores to
               be mailed to us. Applicants are told not to use 'rush reports,' but if they do, they will
               arrive electronically as soon as they are scored.



                       Reader Rating Forms

          When a file in in your queue, you will be able to select the "First Reader Form" or the
          "Chair Form" depending on the file's bin. The form includes the following fields:

          Reader ratings: All readers must code a preliminary overall rating and a profile (using the
          codes below and pluses and minuses)for all candidates. Writing prose comments is left to the
          discretion ofthe reader and should generally be done only for competitive candidates, those
          who might become competitive later, or those who might be of interest to the Committee.

          For all categories, use "+" and "- "primarily in the 2 and 3 range to indicate relative strength.
          A rating of2+ or 3+ is stronger and very different from a 2- or 3- respectively. Readers
          should take many factors into account as they assign ratings. E.g, students who have taken a
          strong academic program and/or present other positive evidence of academic achievement
          should receive higher academic ratings: an applicant with low 700 scores could be rated a 2-
          rather than a 3+ in some instances especially if there is academic strength in a particular field.
          However, readers should not take an applicant's race or ethnicity into account in making any
          ofthe ratings other than the Overall rating, as discussed further below.


          Overall
             1. Tops for admission: Exceptional — a clear admit with very strong objective and
                 subjective support.
             2. Very strong credentials but not an inevitable admit.
             3. Solid contender: An applicant with good credentials and support.
             3- Somewhat Neutral: Respectable credentials.
             4. Neutral: Generally respectable credentials.
             5. Negative: Credentials are generally below those of other candidates.

               In assigning the Overall rating, readers may consider whether a student's background,
               including his or her race or ethnicity, may contribute to the educational benefits of
               diversity at Harvard College. The consideration of race or ethnicity may be considered
               only as one factor among many. In addition, the consideration of race or ethnicity should
               be in connection with the application's discussion ofthe effect an applicant's race or
               ethnicity has had on the applicant, not simply the fact alone that an applicant has
               identified as a member of a particular race or ethnicity.

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          Academic

               1. A potential major academic contributor; Summa potential. Genuine scholar; near-
                  perfect scores and grades (in most cases combined with unusual creativity and
                  possible evidence of original scholarship, often substantiated by our faculty or other
                  academic mentors.)Possible national or international level recognition in academic
                  competitions.
               2. Magna potential. Excellent student with top grades and,
                      a. SAT and SAT Subject tests: mid 700 scores and up
                      b. 33+ ACT
                      c. Possible local, regional or national level recognition in academic competitions
               3. Solid academic potential; Cum laude potential: Very good student with excellent
                  grades and
                      a. SAT and SAT Subject tests: mid-600 through low-700 scores
                      b. 29 to 32 ACT
               4. Adequate preparation. Respectable grades and low-to mid-600 scores on SAT and
                  subject tests or 26 to 29 ACT.
               5. Marginal potential. Modest grades and 500 scores on SAT and subject tests(25 and
                  below ACT).


          Extracurricular, Community Employment, Family Commitments

               1. Unusual strength in one or more areas. Possible national-level achievement or
                  professional experience. A potential major contributor at Harvard. Truly unusual
                  achievement.
               2. Strong secondary school contribution in one or more areas such as class president,
                  newspaper editor, concertmaster etc. and/or significant involvement in organizations
                  outside of school. Possible local or regional recognition; major accomplishment(s)
                  that have had an impact outside of the classroom. Can include significant term-time
                  work or family responsibilities coupled with extracurricular engagement.
               3. Solid participation but without special distinction.(Upgrade 3+ to 2- in some cases if
                  the e/c is particularly extensive and substantive.)
               4. Little or no participation.
               5. Substantial commitment outside of conventional EC participation such as family
                  obligations, term-time work or a significant commute(Important: should be included
                  with other e/c to boost the rating or left as a"5"if that is more representative ofthe
                  student's commitment).
               6 Special circumstances limit or prevent participation (e.g. a physical condition, gap
                  year(s), compulsory service ofsome kind).

          Athletic

               Please note: to determine whether an activity should be considered a sport or an
          extracurricular activity, readers should defer to the student's characterization ofthe activity
          on his or her application. Those activities the student lists as "sports" should be considered as
          part ofthe athletic rating.

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               1. Unusually strong prospect for varsity sports at Harvard, possibly desired by Harvard
                  coaches or recognition for individual athletic achievement/championships at the
                  national, international or Olympic level.
               2. Strong and long-standing(3-4 years) of secondary school and/or travel team
                  contribution in one or more sports; leadership role(s) such as captain or co-captain;
                  possible individual recognition at the state or regional level; possible walk-on to a
                  varsity team; has an RIF of a 4 from a Harvard coach
               3. Active participation, possibly some leadership and/or recognition for individual
                  accomplishments at the local or conference level.
               4. Little or no participation (this is not a negative).
               5. Substantial commitment outside of conventional extracurricular activities such as
                  family obligations or term-time work (should be included with other e/c to boost the
                  rating or left as a "5" if it is more representative ofthe student's commitment).
               6. Physical condition or other special circumstances prevent significant activity.

          Personal

          The Personal rating should be an assessment made by the readers of what kind of effect the
          student might have on others at Harvard and beyond. It should be based on an assessment of
          what kind of positive effect this person might have throughout his or her life based on what
          we have seen so far in the student's application materials. This should include such
          considerations as what kind of contribution would the person make to the dining hall
          conversation, to study groups, and to society as a whole after graduation. In assigning the
          personal rating, readers should consider information we receive from teachers, counselors,
          applicants, other recommenders, interviewers, and others as well as the applicant's essays,
          extracurricular activities, and other items in the application file—what the applicant shows us
          about him or herself and what the applicant has done or accomplished for others. It is
          important to keep in mind that characteristics not always synonymous with extroversion are
          similarly valued. Applicants who seem to be particularly reflective, insightful and/or
          dedicated should receive higher personal ratings as well

          As noted above, though, an applicant's race or ethnicity should not be considered in
          assigning the personal rating.

          We understand that students are multidimensional and ever evolving. Many applicants have
          grown enormously between the time when they apply in the fall or winter or their senior year
          and when they arrive in Cambridge the following September. Additionally, we are aware that
          we work with incomplete information.


               1. Truly outstanding qualities of character; student may display enormous courage in the
                  face of seemingly insurmountable obstacles in life. Student may demonstrate a
                  singular ability to lead or inspire those around them. Student may exhibit
                  extraordinary concern or compassion for others. Student receives unqualified and
                  unwavering support from their recommenders.
               2. Very strong qualities of character; student may demonstrate strong leadership. Student
                  may exhibit a level of maturity beyond their years. Student may exhibit uncommon
                  genuineness, selflessness or humility in their dealings with others. Students may
                  possess strong resiliency. Student receives very strong support from their
                  recommenders.


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               3+ Above average qualities of character; Student may demonstrate leadership. Student
               may exhibit commitment, good judgment, and positive citizenship. Student may exercise
               a spirit and camaraderie with peers. Student receives positive support from their
               recommenders.

               3. Generally positive, perhaps somewhat neutral qualities of character

               4. Questionable or worrisome qualities of character



          School Support
             1. Strikingly unusual support. "The best of a career,""one ofthe best in many years,"
                 truly over the top.
             2. Very strong support. "One ofthe best" or "the best this year."
             3+ Well above average, consistently positive
             3. Generally positive, perhaps somewhat neutral or generic
             3- Somewhat neutral or slightly negative.
             4. Negative or worrisome report.
             6. For teacher reports: prose is not in the file.
             8. Placeholder for teacher reports.
             9. For secondary school report: transcript is in the file but there is no SSR prose.

          PLEASE NOTE: School support ratings for teacher one,teacher two and a counselor are
          mandatory ratings for competitive candidates. Teacher three and teacher four are optional, if
          applicable.


          BRIEF ANNOTATIONS FOR SUMMARY SHEET:

          You may choose to insert information about a case — a maximum ofthree lines — which will
          appear on the second page ofthe summary sheet at the top and on the printed docket(unlike
          prose comments below). These notes should be informational only and not evaluative. They
          can aid in your preparation of cases. Examples could be: PE on grandmother, Harvard Book,
          or international credentials not easily captured elsewhere(A level est, Physics A, Math A,Lit
          A — etc.).

          PROSE COMMENTS:
          When making prose comments, first readers should note the important academic and
          extracurricular accomplishments that are particularly pertinent to the case. It is also helpful
          to reference teacher reports or other items that may be crucial to our evaluation. In addition
          to numerical ratings, readers should try to summarize the strengths and weaknesses ofthe
          folder in brief paragraphs or comments. Avoid slang and jargon and REMEMBER - your
          comments may be open to public view later.

          INTERVIEW PROFILE(IVP):
          Below is the language for uniform implementation of the Interview Profile number(IW)for
          use with all Schools and Scholarship Chairs. The IVP will serve as a guide for chairs to know
          when our office needs the reports, and therefore how quickly they need to be assigned. All
          interviewers will be told that they should submit their interview report no later than two
          weeks after receiving the interview assignment.

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               1. An applicant for whom the committee needs more information to reach a decision -
                  please have interview report in as soon as possible.
               2. An applicant for whom more information would be very helpful during our
                  deliberations - please have interview report in by the sub-committee deadline.
               3. Please have interview report in by December 1(EA)or March 1 (RA).
               4. Based on the materials currently available, the committee needs no additional
                  information at this time.

          This language has been distributed to the S&S chairs via email and can also be found in the
          updated handbook and website instructions.(Please ask Bryce Gilfillian if you need help
          accessing the site). Please have a conversation with your chairs to determine if you wish
          to use the IVP,and please make clear that this information should not be shared with
          other interviewers or applicants. If your chairs have additional clerical or operational
          questions about the IVP, please direct them to email Bryce/alum assistant at HYPERLINK
          "mailto:SSinfo@fas.harvard.edu" }.

          When reading, please input your IVP code on the First Reader Rating Form. You should
          input an IVP for all cases for clubs that use this system or if the coding could be helpful for
          your own interview tracking purposes. Continue to pass on the folder to your chair and/or
          code out to Committee Review bin.

               • FIRST-GEN: First readers should check this box on the first reader rating form if the
                 student is ofthe first generation in the family to graduate from a four-year higher
                 education institution. If first readers do not, chairs should do so on the chair rating
                 form.

               • STAFF DISADVANTAGED
               After reviewing the file, if the reader has evidence that the applicant may be from a
               modest economic background, please check "Yes" under Staff Disadvantaged on the
               Reader Rating Form. In the past, admitted students who has been identified as
               "Disadvantaged=Y" were found to be economically needy 78% ofthe time.

               • FACULTY,STAFF: Code ONLY children of professors at the Faculty of Arts and
                 Sciences as an "F"; children of faculty from other parts ofthe University as well as
                 children of administrative staff should be coded "S". If an update is needed, use the
                 First Reader rating form. Please be careful to apply faculty and staff coding where
                 appropriate as we need to keep accurate statistics on these applicants. All "F"
                 and "S"folders should be routed to the"4th bin"(VVRF)after the normal
                 reading process has been completed.

               • ACCESSIBLE EDUCATION OFFICE(AEO)REFERRALS: Code all applicants
                 who may require special accommodations due to disabilities or special needs with the
                 AEO flag on the First Reader Rating Form. We can then provide a list to assist the
                 AEO and DOS in providing accommodations when appropriate. As you know, a
                 student's disability may not be considered in connection with his or her application.


               • FYRE: Use this to indicate a student whom you think might benefit from the First
                 Year Retreat and Experience(FYRE), a no cost pre-orientation program designed to


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                 introduce students to Harvard's resources and give them a solid foundation on which
                 to begin their college careers.

          ASTAT: If, after reviewing an application you feel that the student may be of interest to one
          of our athletic teams, but is not a recruited athlete, you can use this flag to indicate to a coach
          that this student could be a recruit for their sport Please use a"7" in these cases.

          GPA and GPA Scale:
          We must try to report an Academic Index to the IVY League for EVERY matriculant.
          If grades are available, please report a GPA and GPA Scale for your strongest candidates.

          The Academic Index is calculated using GPA and GPA Scale. These will be converted
          automatically to the 20 to 80 scale in Slate.


          Here are the rules according to the Al instructions provided by the Ivy League and sent to
          staff separately:

                 A. ACADEMIC INDEX CALCULATIONS: CGS

                    1. GPAs generally: The secondary school GPA should be taken as
                       presented on the secondary school transcript; when both unweighted and
                       weighted GPAs are presented, the unweighted GPA should be used. (If
                       there is a question as to whether the school is using an unweighted or
                      'what the A grade earns in a regular course.*not a complete sentence —
                       check that new Ivy memo language is ok) Other questions in providing
                       the GPA are addressed in this section.

                    2.   GPA scales and conversions from Table II: Table II, the"CGS General
                         Conversion Tables" should be used for the GPA scales shown(100-
                         points, 11.0/12.0, 7.0,6.0, 4.0, A-D)even if the transcript or secondary
                         school profile provides a conversion to a Table 11 scale.

                         •   The"4.0 Weighted"scale applies to any 4.0 based GPA that is weighted.It
                             should be used only when Unweighted GPA is not available.
                         •   The"4.0 Unweighted Scale" applies to any 4.0 based GPA that is unweighted.
                         •   Note Table H includes a scale to use to convertInternational Baccalaureate
                             GPAs to a CGS.


                    3.   Scales not provided on Table II: Given the relatively small number of
                         admitted and matriculated students for whom Table II scales are not
                         provided, it is preferable not to create new scales if possible. In such
                         cases, a GPA on a 4.0 scale should be calculated using the following
                         formula, and a CGS then derived using the 4.0 scale on Table II:
                         HSGPA/HSGPA scale ="x"/4.0, where"x" becomes the value from
                         which the CGS is derived. For example, if on a 5.0 scale a student has a
                         4.8 GPA (whether the scale's top grade is A or A+),the formula is
                         4.8/5.0 = x/4.0, x-3.84 and the CGS = 73.

                    4.   Calculating GPA when not provided by the secondary school: When


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                        the secondary school does not calculate/report a GPA,the institution
                        should calculate an unweighted GPA based on the secondary school's
                        grading scale, using all courses for which grades and credit hours are
                        provided, and weighting semester grades as one-halffull-year grades.
                               NOTE: the following gracti*e is used to convert grade
                               scale to a 4.0 Unweighted$cale: HH- 4.0, H- 3.5,HP-

                   5.   GPA period: GPA data always should be for more than one year,
                        including 10th and 11th grades, 9th grade when available, and official
                        trimester or semester grades(as opposed to term grades)in the student's
                        current year if available at the time the athlete's decision is made. If
                        "official" grades from the current year are available but not counted in
                        the school's cumulative GPA,they should be added to the cumulative
                        GPA and weighted appropriately: e.g., grades for first semester or
                        trimester ofsenior year would be weighted as one-half or one-third year.

                  6.    GPAs from multiple schools and repeat years: When a student has
                        attended multiple secondary schools(including a post-graduate year), all
                        GPAs provided by the schools should be used to the extent possible and
                        weighted as in #5 above. Ifthe institution believes this result is not
                        logical and fair, it should describe what approach it believes is better,
                        subject to the Admissions Committee's agreement.

                   7.   Transfer students: CGS should be calculated using 50% secondary
                        school GPA and 50% college GPA.




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                 B. INTERNATIONAL-SYSTEM               GPA CALCULATIONS

                 1. Generally: Each school should calculate GPAs from international schools
                    using the attached Appendix ofInternational Calculations. Ifan
                    international country is not listed on the Appendix, we should calculate an
                    AI as it seems most appropriate.(In this circumstance, we should default to
                    the Committee, using the NCAA International Standards as a reference
                    point, but not necessarily a policy.)

                 2. Canadian systems: Table IIA,for establishing value of CGS of Canadian Students should
                    be used to determine CGS based on the Province ofthe secondary school. Provinces
                    where a passing grade is SO% use the first column on Table II A (Alberta, British
                    Columbia,Manitoba,Newfoundland,NW Territories, Nova Scotia, Nunavut,Ontario,
                    Prince Edward Island,Saskatchawan,Yukon); Provinces where a passing grade is 60%
                    use the second column on Table IIA(New Brunswick, Quebec).


                 1. British systems:

                      Count all GCSE(=0 Level), AS and A level results in order to
                      calculate a GPA: A*(same as A+)= 4.3
                      A = 4:0
                      B = 3.0
                      C = 2.0
                      D = LO

                         . Ifthe applicant is taking a gap year, actual A-Level results should be
                           used.
                         • A Level scores are given double the weight of AS and GCSE scores.
                         • Internal grades are usually not available, and should not be used ifthey
                           are.
                         . Predicted A-Level scores should be used when available.
                         • All courses should be included in calculating the GPA,including
                           physical education courses ifthe student receives a grade and
                           credit for the course.

                 2.   Pre-U:

                      The scale for Pre-U were decided on as follows, for Principal Subjects
                      only:
                      Dl = A+/4.3
                      D2= A+/4.3
                      D3 = AJ4.0
                      M1 = B/3.0
                      M2 — B/3.0

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                       M3 = B42.7
                       P1 —C-/1.7
                       P2 — D/1.0
                       P3 —D-I0.7


                     5. International   Baccalaureate systems:

                        Average grades from the last two years ofthe III program are preferred to
                        calculate a GPA:
                        7= A+ = 4.3
                        6= A= 4.0
                        5 = B = 3.0
                        4 = C = 2.0
                        3 = D = 1.0
                        • Ifthe applicant is still in school, use one year for Early applicants and
                           one year plus one term for Regular applicants.
                        •  If the applicant is taking a gap year, actual two-year 1:13 results are used.
                        • Use IB predicted grades if available, and only if not available use
                           internal grades.
                        • For II3 schools in the U.S., use the course values given on the
                           transcript; for liB schools outside the U.S., double the weight for
                           Higher Level courses(as opposed to the Subsidiary Level courses).
                        • All Higher Level/Subsidiary Level courses will be counted from
                           international schools.
                        • Scales: When TB predictions give split results, use the average ofthe
                           split(i.e., 5/6 is given, use 5.5 for calculation).


                     6.Notes on Selected Countries(added fall 2010):

         Australia — Require schools to provide a transcript ofsome sort, but if all else fails and
         they give the state final exam result or prediction(ex: UAI for NSW,OP for
         Queensland, usually out of99.95)use that.

         New Zealand —The scale for NZ is as follows...but ONLY for courses in which there is
         the possibility to get more than Achieved(Achieved/Not Achieved is basically Pass/Fail
         so we won't count those courses):
                       [E]Excellent = A/4.0
                       [M]Merit = B/3.0
                       [A]Achieved = C/2.0
                       [N]Not Achieved = F/O

         Singapore — for schools using standard Junior College grading conventions — Include
         HI(General Paper,Project, etc.)& H2 predictions on a 4.0 scale to calculate GPA.
         Double weight for H2 marks.

         For H3,the scale is:


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                       Distinction = A/4.0
                       Merit = B/3.0
                       Pass — C/2.0
                       Double H3s as well


         If provided, include0Level/GCSE marks in calculation of GPA with a single weight
         like we do with the British System.

         General notes — For all national curriculums, the general rule ofthumb is to include all
         courses as part ofthe GPA calculations.


                     7.Additional International Scales for Relevant Countries

         For GPA scales of other countries Table Ill has been sent separately and is include in the
         Ivy League Academic Index Memo. Please see CGM if you need a copy.




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                                                       TABLE It: For establishing value ofCGS
                                                         Revised May 2015/UPDATED AUGUST 2016



              Percentage          International                                                        Letter Grade   4.0 Scale                     CGS
                                                  11.0/12.0 Scale           5.0/6.0 Scale    4.0 Scale
               Average            Baccalaureate                                                         Equivalent U NIWEIGHTED
                                                        USE FOR                USEFOR       WEIGHTED
                                                                                                          to 4.0
                                                   WEIGHTED AND            WEIGHTED AND USE ONLY WHEN
                                                     UN WEIGHTED            UN WEIGHTED    UN WEIGHTED
                                                   CPAS WHEREA=            GPAS WHEREA= NOTAVAILABLE
                                                  1 1.0 AND A+ >11.0       5.0 AND    >5.0
                                                              ,
            98.00 and above            7           12.00 and above         6.00 and above       4.30 and above   j      A+           4.0        I   80
             97.00- 97.99             6/7           11.70- 11.99             5.70 - 5.99          4.20 - 4.29                     3.91 - 3.99       79
             96.00 - 96.99                          11.40 - 11.69            5.40- 5.69           4.10 - 4.19                     3.81 - 3.90       78
             95.00- 95.99              6            11.00- 11.39             5.00 - 5.39          4.00 - 4.09        11, A        3,72
             94.00 - 94.99
             93.00- 93.99
             92.00 - 92.99            5/6
                                                    10.70- 10.99
                                                    10.40- 10.69
                                                    10.00- 10.39
                                                                             4.90 - 4.99
                                                                             4.80- 4.89
                                                                             4.70 - 4.79
                                                                                                  3.90- 3.99
                                                                                                  3.80- 3.89
                                                                                                  3.70 - 3.79    I      A-
                                                                                                                             I
                                                                                                                             I
                                                                                                                                  3.63 - 3.71
                                                                                                                                  3.53- 3.62
                                                                                                                                  3.44 - 3.52   I
                                                                                                                                                    75
                                                                                                                                                    73
                                                                                                                                                    71
                                                                                                                                                          1




        1
             91.00 - 91.99                           9.80- 9.99              4.60 - 4.69          3.60 3.69                       3.35 - 3.43       70
             90.00 - 90.99                           9.50- 9.79              4.50 - 4.59          3.50- 3.59                      3.26 - 3.34       69
             89.00- 89.99                            9.30- 9.49              4.40 - 4.49          3.40- 3.49                 I    3.16 - 3.25       68
             88.00 - 88.99                           9.00- 9.29              4.30 - 4.39          3.30- 3.39                      3.07 - 3.15       67
             87.00 - 87.99
             86.00 - 86.99
             85.00- 85.99              5
                                                     8.70 - 8.99
                                                     8.40 - 8.69
                                                     8.00- 8.39
                                                                       I     4.20 - 4.29
                                                                             4.10- 4.19
                                                                             4.00 - 4.09
                                                                                                  3.20 - 3.29
                                                                                                  3.10- 3.19
                                                                                                  3.00- 3.09
                                                                                                                                  2.98 -3.06
                                                                                                                                  2.88 - 2.97
                                                                                                                                 2.79 -2.87
                                                                                                                                                I   66
                                                                                                                                                    65
                                                                                                                                                    63
             84.00 - 84.99                           7.70- 7.99              3.90 - 3.99          2.90 - 2.99                    2.70 - 2.78        61
             83.00- 83.99                            7.40- 7.69              3.80 - 3.89          2.80 - 2.89                     2.61 - 2.69       59
             82.00- 82.99                            '7.00 -                 3.70 - 3.79          2.70 12:79            B-        2.51 - 2.60       57
             81.00- 81.99                            6.75- 6.99              3.60- 3.69           2.60 - 2.69                     2.42 - 2.50   1   55
             80.00 - 80.99                           6.50- 6.74              3.50- 3.59           2.50-259                        2.33 - 2.41       53
             79.00- 79.99                            6.25 - 6.49             3.40- 3.49           2.40 - 2.49                     2.23 - 2.32       51
             78.00 - 78.99                           6.00 - 6.24             3.30 - 3.39          2.30 - 2.39           C+        2:14 - 2.22       49'
             77.00 - 77.99
             76.00 - 76.99
             75.00- 75.99
                              1                      5.70- 5.99
                                                     5.40- 5.69
                                                     5.00- 5.39
                                                                             3.20- 3.29
                                                                             3.10 - 3.19
                                                                             3:00 -' 09
                                                                                                  2.20 - 2.29
                                                                                                  2.10-2.19
                                                                                                  2.00- 2.09
                                                                                                                                  2.05 - 2.13
                                                                                                                                  1.95 - 2.04
                                                                                                                                  1.86- 1.94
                                                                                                                                                1   48
                                                                                                                                                    47
                                                                                                                                                    46
             74.00 - 74.99                           4.70 - 4.99             2.90 - 2.99    I     1.90- 1.99     I                1.77 - 1.85       45
             73.00 - 73.99                           4.40 - 4.69             2.80 - 2.89          1.80 - 1.89                     1.67 - 1.76       44
             72.00- 72.99             3/4            4.00 - 4.39             2.70- 2.79           1.70 - 1.79           C-        1.58- 1.66        42
             71.00- 71.99
             70.00- 70.99
             Below 70.00               3
                                                      3.5- 3.99
                                                      2.5- 3.49
                                                    \.gefo
                                                        ‘
                                                               N.
                                                                       I     2.60 - 2.69
                                                                             2.50 - 2.59
                                                                             Below 2.5
                                                                                                  1.60- 1.69
                                                                                                  1.50- 1.59
                                                                                                  Below 1.5
                                                                                                                        D+
                                                                                                                             I
                                                                                                                                  1.49 - 1.57
                                                                                                                                  1.40- 1.56
                                                                                                                                  BelblA71:4 I
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                                                                                                                                                    38
                                                                                                                                                    35




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                     TABLE 11A: For establishing value of CGS of Canadian Students

                               Revised May 2015,Effective for Class Entering Fall 2017



                                                    Canada Where          CanadaWhere
           United States 100     Letter Grade                                                  CGS
                                                    passing grade is      passing grade is
              Point Scale         Equivalent
                                                         50%'                 60% 2
            98.00 and above           A+            90.00 and above      88.00 and above        80
             97.00--- 97.99                          88.00--- 89.99       87.00--- 87.99        79
             96.00 --- 96.99                         86.00 --- 87.99      86.00 --- 86.99       78
             95.00---95.99             A             84.00 --- 85.99      85.00 --- 85.99       77
             94.00 --- 94.99                         82.00 --- 83.99      84.00 --- 84.99       75
             93.00--- 93.99                          80.00--- 81.99       83.00--- 83.99        73
             92.00- 92.99             A---           79.00 --- 79.99      82.00-82.99           71
             91.00 --- 91.99                         78.00-- 78.99        81.00--- 81.99        70
             90.00 --- 90.99                         77.00 --- 77.99      80.00 --- 80.99       69
             89.00 --- 89.99                         76.00--- 76.99        79.00--- 79.99       68
            '88.00-88.99              B+             75.00 --- 75.99      78.00 --- 78.99       67
             87.00--- 87.99                          74.00--- 74.99        77.00--- 77.99       66
             86.00 --- 86.99                         73.00 --- 73.99      76.00 --- 76.99       65
             85.00 --- 85.99           13            72.00 --- 72.99      75.00 --- 75,99       63
             84.00--- 84.99                          71.00--- 71.99        74.00--- 74.99       61
             83.00 --- 83.99                         70.00 --- 70.99      73.00 --- 73.99       59
             82.00- 82.99             13---          69.00--- 69.99       72.00--- 72.99        57
             81.00 --- 81.99                         68.00 --- 68.99       71.00 --- 71.99      55
             80.00 --- 80.99                         67.00 --- 67.99      70.00 --- 70.99       53
             79.00 --- 79.99                         66.00--- 66.99       69.00 --- 69.99       51
             78.00-78.99-             C+             65.00 --- 65.99      68.00 ---68.99 s      4
             77.00--- 77.99                          64.00--- 64.99       67.00--- 67.99        48
             76.00 --- 76.99                         63.00 --- 63.99      66.00 --- 66.99       47
             7500-75.99              _ C             6200-62.99'          6500 6599 65.99       46
             74.00 --- 74.99                         61.00 --- 61..99     64.00 --- 64.99       45
             73.00--- 73.99                          60.00--- 60.99       63.00--- 63.99        44
             72.00--- 72.99           C---            Below 60.00         62.00 --- 62.99       42
             71.00---71.99                                                61.00 --- 61..99      40
             70.00 --- 70.99          D+                                  60.00 --- 60.99       38
              Below 70.00              D                                   Below 60.00          35



        'Passing grade is 50% for the following Provinces: Alberta, British Columbia,
         Manitoba, Newfoundland, NW Territories, Nova Scotia, Nunavut, Ontario, Prince
        Edward Island, Saskatchawan,Yukon
        'Passing grade is60%for the following Provinces: New Brunswick,Quebec


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           III.   FILE ROUTING

        INADVERTENTLY CLEARED FILES: Occasionally, files will be mistakenly "cleared"
       (considered complete) and placed in your first read bin. Open the Admin Problems Form, note
        the issue and to which bin the folder should be routed when the problem is solved. Then route
        the file to the Admin Problems bin.

        FILES SHOULD BE READ AND PASSED IN A TIMELY FASHION: Readers should take
        care not to allow files to pile up. First readers need to read files from all assigned dockets as
        they clear, notjust those whose subcommittee meets first. However, because all files will clear
        regardless of round, readers should read early action files first, as soon as possible. Regular
        action files can generally wait until after December 1st, but you can read them prior to that if you
        are able to. This is important, and we will monitor reading progress centrally. If you need help
        keeping up for whatever reason, let us know immediately. Readers should code out files to the
        Committee Review bin or pass to the docket chair. First-time readers will use the Optional
        Additional bin for their first 50-100 files during Early Action. Those files will be redistributed to
        experiences readers by the operations staff.


        SECOND READERS(OPTIONAL ADDITIONAL READER): Except for new readers (for
        whom special routing instructions are provided below), second readings should be used only in
        the rarest of instances:

            A)If three readings are needed for a complex case.

           B)If the case raises issues of policy.

           C)If the case would be greatly helped by a second reading from the former area person or
             someone with special knowledge of an area or type of case.

        No second reader will ordinarily be assigned. If you want/need a second reading, consult the
        enclosed docket assignment sheet to identify other readers on your docket. Try not to burden one
        person inordinately. You should choose "Optional Additional Reader" as the next bin and enter
        the name ofthat person which will place the file in their queue. You can add a note for the
        second reader such as "Please give V docket context" You should also send an email to special
        second readers to alert them to your requested reading. If you have received a file as a second
        read for a new reader, please read it as quickly as possible and put it back in the queue ofthe new
        reader.


        FIRST-TIME READERS: New readers should have their first fifty to one hundred Early
        Action files passed to the Optional Additional Reader bin or to the chair bin, based on relative
        strength. Some chairs may wish to use different approaches for first year readers.

        GENERAL ROUTING RULES:

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        1) A file should be passed directly to the chair:

           • Ifthe first reader rates a file a "2-" or better (i.e. a case the first reader thinks has a very
             good chance of being admitted)

           • Ifthe case will likely (or almost certainly) be discussed in Committee.

           • If you want the docket chair's opinion or want simply to have the docket chair informed
             about the case.

           If the first reader has a significant degree of uncertainty about how to proceed          with the
           case, he or she should consult the docket chair.

        2) A case rated a 3+ overall may be passed to the chair or routed straight to the Committee
          Review bin. The first reader should consider carefully the likelihood that additional
           anticipated information (e.g., a superior music rating) will make the case more compelling, in
           which case the folder should be passed to the chair. If there is no further information
           anticipated and the case is qualitatively a 3+(a strong case but like many others), an
          experienced first reader does not need to pass it on.

        3) Typically, a case rated a 3 or lower with no particular attribute that would make it
           competitive can be routed directly to the Committee Review bin. Obviously late information
           or school context could change this initial evaluation. The first reader, as an advocate, must
           be certain to check all late information that might make a difference to the case prior to the
           Committee meetings. This is particularly important for candidates whose outstanding
           personal qualities become evident once we have the alumni/ae interview.

        Readers new to a docket should discuss with the docket chair any special guidelines about which
        files should be passed on and which files should not.

        BINS
        In Slate, various "bins" are used to track an application file's progress through the application
        cycle. Bins are used for ease of day-to-day work - they do not represent final decisions. The
        layout of bins can be viewed in the Slate Reader using the Browse tab (Note: the "Freshman
        Only" preset filter in Reader displays all freshman applicants and previous admits in the current
        application period).

        Each bin column represents a different phase ofthe application cycle, and generally, work flows
        from left to right:
           • Pre-Review: Folders are incomplete, incorrectly coded, or withdrawn
           • Reads: Folders are complete ("cleared") and ready for review by readers
           • Committee: Folders are ready for discussion by committee


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          • Working Decision: Folders have been discussed by the committee and a decision has
              been recommended
          • Final Decision: Decisions have been checked and confirmed; ready for decision release
          (Note: Files should only be moved to final decision bins on Decision Day by the Slate
           team.Prior to Decision Day,files should remain in Working Decision bins.


        CHANGING BIN ASSIGNMENTS
        Readers normally change a folder's bin assignment during the reading process using the Review
        Form in the Slate Reader. Occasionally it will be necessary to change a folder's bin assignment
        after the Review Form has been submitted. In these cases, the bin assignment can be changed in
        the Student Record. To edit a bin assignment in the Student Record, click the"Edit Application
        Details" tab on the right, and select the desired bin from the Bin dropdown menu.


        CLEARING INCOMPLETES
        Readers should be sure to check the "Not Cleared" bin before each of their subcommittee
        code-out deadlines and then periodically before decisions are final to check for any cases
        that could be read with the materials in the file. Sometimes,transcripts may be in various
        tabs aside from the "SSR" tab. Readers should use their discretion or consult with their
        chairs but in general, a file that has an application and a transcript can be read and
        evaluated.

        SPECIAL READINGS

           • WRF should see cases that could be particularly sensitive or controversial or that raise
             issues offundamental policy. When in doubt, send the file on by routing to the 41 reader
             bin.

           • Folders of competitive candidates who attended secondary school outside the U.S. and
             Canada may be passed on to the appropriate U, V or W docket area person or RMW if
             help in assessing foreign credentials is needed. Be selective- don't pass on a case unless
             you are sure the applicant is competitive or has some unusual attributes.

           ▪     A faculty readings memorandum will be distributed later regarding specific procedures.

           • Supplemental music/art/dance/academic materials of clearly competitive candidates with
             an unusually strong talent may be assessed through a supplementary process - through
             Slideroom (for music and dance) or through the faculty read process(for art or academic
             work). Handling ofthis material will be addressed through memoranda over the course of
             the fall.


           IV. OTHER ITEMS


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           • Slate is made up of data downloaded from the application and supplemental forms. We
             currently do not have the ability to enter all the information by hand for those applicants
             who do not submit their forms on-line. However, the data entry staff will enter the most
             critical bio/demo information as they have in the past. This means that the dockets will
             be correct, but the summary sheets for these applicants will be primarily blank. You
             should double-check the data that is important - i.e. parent education, ethnicity, aid status,
             etc. - basically every field that's on the summary sheet. About 1% of all our applicants
             will fall into this category.

           • Acknowledgments to guidance counselors, teachers, and others: The area person may
             occasionally feel it worthwhile to acknowledge unusually helpful TRs and SSRs by
             writing a note to the author. The note should acknowledge that the candidate may or may
             not be admitted. Supplementary letters of recommendation may have already been
             acknowledged with a card or letter, but if not, particularly with recommenders who
             are alumni or others about whom Harvard might be concerned, you should call the
             letter to the attention of MEM or WRF and an acknowledgment will be sent. This is
             important!

           • Support Materials: ALL manually submitted support material should be dropped into the
             appropriate basket in the mailroom for sorting and scanning.

           • Misfiled and Missing materials: If a teacher report, school report or any other material
             that would be helpful to a competitive candidate is missing, first readers should request a
             copy be re-sent. Files should be sent on to other readers unless the missing pieces are
             crucial. In such cases, first readers should hold onto the file by routing the file to the
             "Area Person Follow Up" bin. Detailed instructions on how to add new materials to an
             applicant's file can be found in the"Documentation" tab ofthe Slate welcome page.

           • File items that require attention: Unanswered letters should be handled by first readers
             where appropriate or others including MEM or WRF.



            V.SCANNING AND INDEXING

        There is a basket in the mailroom to collect and sort hard-copy documents received. The forms
        collected in these baskets should have content that is *specific* to the admission decision ofthe
        applicant and are marked as such - for example, mailed applications or supplements, letters of
        support, teacher reports, Harvard evaluation,(coach, arts, music, Harvard faculty), midyear
        reports, SSR's etc. We will scan almost everything. If that is not possible, an "oversized
        support" form will be scanned and added to the file to let you know there is material sitting in the
        bookcase in Conference Room 5.



                                                     [PAGE]




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        Relevant emails to officers from applicants or about an applicant should be saved as a PDF file
        and indexed directly into the applicant file by the officer. To do so, go into the student record in
        Slate select the current round tab and scroll down to the "Materials" header. Click to add new
        material and make the appropriate selection from the drop-down menu. If you receive materials
        both electronically and in paper, you do not need to have the paper material scanned.

        Documents displayed in the Reader are named by the document type that follows the menu down
        the left side ofthe Slate e-reader.
           • Application(and supplement)
           • SSR
           • TRs
           • Interviews
           • Additional academic(additional transcripts, etc.)
           • Midyear
           • Final Report(potentially greyed out until admitted)
           • Ratings Forms(includes 1RFs)
           • Miscellaneous(notes from family/friends, alums, correspondence, noting of oversized
                 support, etc.)
           • Waitlist
           • Previous App
           • Portfolio(NOTE: a tab in Slate we do not use at this time).




                                                      [PAGE]




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                                                                                                  TRIAL EXHIBIT




                                                                                                                       exhibitsticker.com
  Message
                                                                                                       P722
  From:         Mascolo, Christine Collette [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP        SFFA v. Harvard
               (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=C61C8C86863F4A311311D8B7700418093-MASCOLO]
  Sent:        10/5/2018 7:06:10 PM
  To:          admfao_officers-list@lists.fas.harvard.edu
  Subject:      Updated reading instructions
  Attachments: Reading Procedures2018.19FINAL.docx



  Attached.
  Moving forward, please use this versions and disregard all previous versions.




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                                                                                                   TRIAL EXHIBIT




                                                                                                                           exhibitsticker.com
          Reading Procedures - Class of 2023                                                               P723
                                                                                                         SFFA v. Harvard

                I.     SUMMARY SHEET APPLICATION DATA

          The Summary Sheet captures information as supplied on the application and can be updated
          as new information is added. Late information can change the likelihood of admission and
          updates can be provided later for those initially considered less competitive. If any
          information is missing or incorrect for competitive candidates, changes should be made on
          the First Reader Rating Form and noted with prose in the reader comments or "Notes for
          Summary Sheet" box. This prose will feed onto the Summary Sheet when the rating form is
          submitted.
          One exception: School code changes are NOT made on the First Reader Rating Form; see
          instructions below on how to do this.

          PLEASE NOTE: The accuracy of our citizenship coding is CRUCIAL. Miscoding affects
          many ofthe important statistics we are required to compile, and we need to keep careful track
          of who needs a visa to study in the United States.

               • SCHOOL CODE: If an applicant is coded to the wrong school, please use the
                 Admin Problems update form and route this to the Admin Problems bin immediately
                 so that the operations team can ensure that the interview is reassigned to the
                 appropriate club and group.

               • GENDER: Occasionally the gender designation reported on the application is coded
                 incorrectly in our system. This should be corrected by submitting the Admin
                 Problems form and routing the file to the Admin Problems bin.
               • RACE/ETHNICITY: We report exactly what the applicant reports as ethnicity on
                 the application. The ethnic codes on the Summary Sheet come from the demographic
                 fields the candidate checked on the application. Note that foreign citizens are listed
                 as such. If they opted to check an identifying ethnic code it will appear but is not
                 used for statistics and reporting.


          • CITIZENSHIP CODE / COUNTRY OF CITIZENSHIP: There are four options on
            the application that can be checked:(1)U.S. Citizenship,(2)U.S. Dual Citizenship,(3)
            U.S. permanent resident and (4)"Other" or foreign citizen.

                The applicant holds only American citizenship:
                APP: Citizenship status will be"US Citizen or US National- and no other country of
                citizenship will be listed.
                SUMMARY SHEET: Should read "Citizenship: United States"

                The applicant is a dual U.S. citizen (a citizen of both the U.S. and another country).
                APP: Citizenship status will be "Dual US Citizen"-Other citizenships will show a country
               (e.g. Sweden)
                SUMMARYSHEET: Should read "Citizenship: United States/<other country>"

                The applicant is a U.S. Permanent Resident.
                APP: Citizenship status will be "U.S. Permanent Resident or Refugee" and Other
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                Citizenships will list one or more countries checked with another country listed.
                SUMMARY SHEET: Should read "Citizenship: PR / <other country>"

                Caveat: If an applicant has checked the U.S. Permanent Resident box but notes that his
                or her application for permanent residency(or "green card")is pending, that applicant
                should be recoded as "Other citizenship." Request this change by using the Admin
                Problems update form. We must prepare an 1-20 form if the applicant is admitted and the
                application for residency is still pending, and the citizenship code is the only way we
                know to do this.

                The applicant is a foreign citizen:
                APP: Citizenship status will be "Other(Non-US)". Other citizenship will show a country
               (e.g. Poland)
                SUMMARY SHEET: Should read "Citizenship: <other country>

               • LINEAGE: This flag appears if the applicant included Harvard College in the
                 education field for at least one parent/guardian. The folder should be read by WRF
                 Num bin)following the normal reading process if appropriate or if another reading
                 might be helpful. Errors in coding should be noted with specific details about the
                 error using the Admin Problems Form and routed to the Admin Problems bin.

               • ATHLETE:Be sure the appropriate sport is listed as the first extracurricular activity.
                 Changes can be made on the App Update tab on the Student Record. DO NOT
                 CHANGE ANY PRE-CODED ATHLETE.

               • INDICATORS FOR ECONOMIC STATUS: It has long been a priority for
                 Harvard to seek talented students from all backgrounds,including those extraordinary
                 individuals who are able to transcend economic disadvantages and achieve unusual
                 academic distinction. We utilize several indicators to understand the economic
                 background of applicants. They are:
                     o Low Income Predictor(Low Inc on Summary Sheet): A value between 0 and 1
                        based on application information that predicts how likely a student is to be low
                        income and have a $0 parent contribution. The higher the value (closer to 1)
                        the more likely the student will be low income.
                     o IM Pell Estimate(IMP-Est on Summary Sheet): An indication if the student is
                        likely to qualify for a Pell Grant, based solely on IM data. This information
                        will only be available if a student has submitted CSS Profile, allowing
                        Financial Aid to estimate whether the student may be eligible for a Pell Grant.
                     o FH info("Yes, Likely, Unlikely, No" on the summary sheet): After
                        subcommittee meetings, if information is available, a simple indication of a
                        student's possible eligibility for the Harvard Financial Aid Initiative(HFM)
                        may be present on the summary sheet.
                     o FEE STATUS: An indicator of whether the applicant received a fee waiver for
                        their application.

               • SCORES:By checking their Applicant Status website applicants can see whether
                 their scores requirement has been fulfilled though not all scores will be listed. They
                 can report scores(which will be marked 'self-reported' in the student record) as they
                 like. You can check scores by looking under the "Scores" tab in each Student Record

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                  of an applicant. The Summary Sheet will reflect the highest verified or self-reported
                  scores.

               Matriculating students will be responsible for changing 'unofficial' scores to 'official.'
               Only scores sent to us directly from the testing services electronically are considered
               official. Paper copies ofscores sent via fax, email attachment or U.S. mail are not
               considered official.

               We receive secure web downloads of scores, so we do not have to wait for the scores to
               be mailed to us. Applicants are told not to use 'rush reports,' but if they do, they will
               arrive electronically as soon as they are scored.



                       Reader Rating Forms

          When a file in in your queue, you will be able to select the "First Reader Form" or the
          "Chair Form" depending on the file's bin. The form includes the following fields:

          Reader ratings: All readers must code a preliminary overall rating and a profile (using the
          codes below and pluses and minuses)for all candidates. Writing prose comments is left to the
          discretion ofthe reader and should generally be done only for competitive candidates, those
          who might become competitive later, or those who might be ofinterest to the Committee.

          For all categories, use "+" and "-"primarily in the 2 and 3 range to indicate relative strength.
          A rating of2+ or 3+ is stronger and very different from a 2- or 3- respectively. Readers
          should take many factors into account as they assign ratings. E.g, students who have taken a
          strong academic program and/or present other positive evidence of academic achievement
          should receive higher academic ratings: an applicant with low 700 scores could be rated a 2-
          rather than a 3+ in some instances especially if there is academic strength in a particular field.
          However, readers should not take an applicant's race or ethnicity into account in making any
          ofthe ratings other than the Overall rating, as discussed further below.


          Overall
             1. Tops for admission: Exceptional — a clear admit with very strong objective and
                 subjective support
             2. Very strong credentials but not an inevitable admit
             3. Solid contender: An applicant with good credentials and support
             3- Somewhat Neutral: Respectable credentials
             4. Neutral: Generally respectable credentials
             5. Negative: Credentials are generally below those of other candidates

               In assigning the Overall rating, readers may consider whether a student's background,
               including his or her race or ethnicity, may contribute to the educational benefits of
               diversity at Harvard College. The consideration of race or ethnicity may be considered
               only as one factor among many.

          Academic

                   A potential major academic contributor; Summa potential. Genuine scholar; near-
                   perfect scores and grades(in most cases combined with unusual creativity and
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                    possible evidence of original scholarship, often substantiated by our faculty or other
                    academic mentors.)Possible national or international level recognition in academic
                    competitions.
               2.   Magna potential. Excellent student with top grades and,
                        a. SAT and SAT Subject tests: mid 700 scores and up
                        b. 33+ ACT
                        c. Possible local, regional or national level recognition in academic competitions
               3.   Solid academic potential; Cum laude potential: Very good student with excellent
                    grades and
                        a. SAT and SAT Subject tests: mid-600 through low-700 scores
                        b. 29 to 32 ACT
               4.   Adequate preparation. Respectable grades and low-to mid-600 scores on SAT and
                    subject tests or 26 to 29 ACT.
               5.   Marginal potential. Modest grades and 500 scores on SAT and subject tests(25 and
                    below ACT).


          Extracurricular, Community Employment, Family Commitments

               1. Unusual strength in one or more areas. Possible national-level achievement or
                  professional experience. A potential major contributor at Harvard. Truly unusual
                  achievement.
               2. Strong secondary school contribution in one or more areas such as class president,
                  newspaper editor, concertmaster etc. and/or significant involvement in organizations
                  outside of school. Possible local or regional recognition; major accomplishment(s)
                  that have had an impact outside of the classroom. Can include significant term-time
                  work or family responsibilities coupled with extracurricular engagement.
               3. Solid participation but without special distinction.(Upgrade 3+ to 2- in some cases if
                  the e/c is particularly extensive and substantive.)
               4. Little or no participation.
               5. Substantial commitment outside of conventional EC participation such as family
                  obligations, term-time work or a significant commute(Important: should be included
                  with other e/c to boost the rating or left as a"5"if that is more representative ofthe
                  student's commitment).
               6 Special circumstances limit or prevent participation (e.g. a physical condition, gap
                  year(s), compulsory service ofsome kind).

          Athletic

               Please note: to determine whether an activity should be considered a sport or an
          extracurricular activity, readers should defer to the student's characterization ofthe activity
          on his or her application. Those activities the student lists as "sports" should be considered as
          part ofthe athletic rating.

               1. Unusually strong prospect for varsity sports at Harvard, possibly desired by Harvard
                  coaches or recognition for individual athletic achievement/championships at the
                  national, international or Olympic level.
               2. Strong and long-standing(3-4 years) of secondary school and/or travel team
                  contribution in one or more sports; leadership role(s) such as captain or co-captain;
                  possible individual recognition at the state or regional level; possible walk-on to a
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                  varsity team; has an IRF of a 4 from a Harvard coach
               3. Active participation, possibly some leadership and/or recognition for individual
                  accomplishments at the local or conference level.
               4. Little or no participation (this is not a negative).
               5. Substantial commitment outside of conventional extracurricular activities such as
                  family obligations or term-time work (should be included with other e/c to boost the
                  rating or left as a "5" if it is more representative ofthe student's commitment).
               6. Physical condition or other special circumstances prevent significant activity.

          Personal

          The Personal rating should be an assessment made by the readers of what kind of effect the
          student might have on others at Harvard and beyond. It should be based on an assessment of
          what kind of positive effect this person might have throughout his or her life based on what
          we have seen so far in the student's application materials. This should include such
          considerations as what kind of contribution would the person make to the dining hall
          conversation, to study groups, and to society as a whole after graduation. In assigning the
          personal rating, readers should consider information we receive from teachers, counselors,
          applicants, other recommenders, interviewers, and others as well as the applicant's essays,
          extracurricular activities, and other items in the application file—what the applicant shows us
          about him or herself and what the applicant has done or accomplished for others. It is
          important to keep in mind that characteristics not always synonymous with extroversion are
          similarly valued. Applicants who seem to be particularly reflective, insightful and/or
          dedicated should receive higher personal ratings as well

          As noted above, though, an applicant's race or ethnicity should not be considered in
          assigning the personal rating.

          We understand that students are multidimensional and ever evolving. Many applicants have
          grown enormously between the time when they apply in the fall or winter or their senior year
          and when they arrive in Cambridge the following September. Additionally, we are aware that
          we work with incomplete information.


               1. Truly outstanding qualities of character; student may display enormous courage in the
                   face of seemingly insurmountable obstacles in life. Student may demonstrate a
                   singular ability to lead or inspire those around them. Student may exhibit
                   extraordinary concern or compassion for others. Student receives unqualified and
                   unwavering support from their recommenders.
               2. Very strong qualities of character; student may demonstrate strong leadership. Student
                   may exhibit a level of maturity beyond their years. Student may exhibit uncommon
                   genuineness, selflessness or humility in their dealings with others. Students may
                   possess strong resiliency. Student receives very strong support from their
                   recommenders.
               3+ Above average qualities of character; Student may demonstrate leadership. Student
               may exhibit commitment, good judgment, and positive citizenship. Student may exercise
               a spirit and camaraderie with peers. Student receives positive support from their
               recommenders.

               3. Generally positive, perhaps somewhat neutral qualities of character

               4. Questionable or worrisome qualities of character
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          School Support
             1. Strikingly unusual support. "The best of a career,""one ofthe best in many years,"
                 truly over the top.
             2. Very strong support. "One ofthe best" or "the best this year."
             3+ Well above average, consistently positive
             3. Generally positive, perhaps somewhat neutral or generic
             3- Somewhat neutral or slightly negative.
             4. Negative or worrisome report.
             6. For teacher reports: prose is not in the file.
             8. Placeholder for teacher reports.
             9. For secondary school report: transcript is in the file but there is no SSR prose.

          PLEASE NOTE: School support ratings for teacher one,teacher two and a counselor are
          mandatory ratings for competitive candidates. Teacher three and teacher four are optional, if
          applicable.


          BRIEF ANNOTATIONS FOR SUMMARY SHEET:

          You may choose to insert information about a case — a maximum ofthree lines — which will
          appear on the second page ofthe summary sheet at the top and on the printed docket(unlike
          prose comments below). These notes should be informational only and not evaluative. They
          can aid in your preparation of cases. Examples could be: PE on grandmother, Harvard Book,
          or international credentials not easily captured elsewhere(A level est, Physics A, Math A,Lit
          A — etc.).

          PROSE COMMENTS:
          When making prose comments, first readers should note the important academic and
          extracurricular accomplishments that are particularly pertinent to the case. It is also helpful
          to reference teacher reports or other items that may be crucial to our evaluation. In addition
          to numerical ratings, readers should try to summarize the strengths and weaknesses ofthe
          folder in brief paragraphs or comments. Avoid slang and jargon and REMEMBER - your
          comments may be open to public view later.

          INTERVIEW PROFILE(IVP):
          Below is the language for uniform implementation ofthe Interview Profile number(IVP)for
          use with all Schools and Scholarship Chairs. The IW will serve as a guide for chairs to know
          when our office needs the reports, and therefore how quickly they need to be assigned. All
          interviewers will be told that they should submit their interview report no later than two
          weeks after receiving the interview assignment.

               1. An applicant for whom the committee needs more information to reach a decision -
                  please have interview report in as soon as possible.
               2. An applicant for whom more information would be very helpful during our
                  deliberations - please have interview report in by the sub-committee deadline.
               3. Please have interview report in by December 1(EA)or March 1 (RA).
               4. Based on the materials currently available, the committee needs no additional
                  information at this time.

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          This language has been distributed to the S&S chairs via email and can also be found in the
          updated handbook and website instructions.(Please ask Bryce Gilfillian if you need help
          accessing the site). Please have a conversation with your chairs to determine if you wish
          to use the IVP,and please make clear that this information should not be shared with
          other interviewers or applicants. If your chairs have additional clerical or operational
          questions about the IVP, please direct them to email Bryce/alum assistant at{HYPERLINK
          "mailto:SSinfo@fas.harvard.edu" }.

          When reading, please input your IVP code on the First Reader Rating Form. You should
          input an IVP for all cases for clubs that use this system or if the coding could be helpful for
          your own interview tracking purposes. Continue to pass on the folder to your chair and/or
          code out to Committee Review bin.

               • FIRST-GEN: First readers should check this box on the first reader rating form if the
                 student is ofthe first generation in the family to graduate from a four-year higher
                 education institution. If first readers do not, chairs should do so on the chair rating
                 form

               • STAFF DISADVANTAGED
               After reviewing the file, if the reader has evidence that the applicant may be from a
               modest economic background, please check "Yes" under Staff Disadvantaged on the
               Reader Rating Form. In the past, admitted students who has been identified as
               "Disadvantaged=Y" were found to be economically needy 78% ofthe time.

               • FACULTY,STAFF: Code ONLY children of professors at the Faculty of Arts and
                 Sciences as an "F"; children of faculty from other parts ofthe University as well as
                 children of administrative staff should be coded "S". If an update is needed, use the
                 First Reader rating form. Please be careful to apply faculty and staff coding where
                 appropriate as we need to keep accurate statistics on these applicants. All "F"
                 and "S"folders should be routed to the 664th bin,'(VVRF)after the normal
                 reading process has been completed.

               • ACCESSIBLE EDUCATION OFFICE(AEO)REFERRALS: Code all applicants
                 who may require special accommodations due to disabilities or special needs with the
                 AEO flag in the Student record. We can then work with the AEO and DOS when
                 appropriate. As you know, a student's disability may not be considered in connection
                 with his or her application. Anyone for whom the AEO flag is used should also be
                 flagged for an advising form.


               • FYRE: Use this to indicate a student whom you think might benefit from the First
                 Year Retreat and Experience(FYRE), a no cost pre-orientation program designed to
                 introduce students to Harvard's resources and give them a solid foundation on which
                 to begin their college careers.

          ASTAT: If, after reviewing an application you feel that the student may be of interest to one
          of our athletic teams, but is not a recruited athlete, you can use this flag to indicate to a coach
          that this student could be a recruit for their sport. Please use a"7" in these cases.

          GPA and GPA Scale:
          We must try to report an Academic Index to the IVY League for EVERY matriculant.
          If grades are available, please report a GPA and GPA Scale for your strongest candidates.
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          The Academic Index is calculated using GPA and GPA Scale. These will be converted
          automatically to the 20 to 80 scale in Slate.

          Here are the rules according to the Al instructions provided by the Ivy League and sent to
          staff separately:

                    ACADEMIC INDEX CALCULATIONS: CGS

                    1. GPAs generally: As noted in TB-7 above,the secondary school GPA should
                       be taken as presented on the secondary school transcript; when both
                       unweighted and weighted GPAs are presented,the unweighted GPA should
                       be used. (Ifthere is a question as to whether the school is using an
                       unweighted or weighted system,the scale should be defined as unweighted,
                       based on what the A grade earns in a regular course.) Other questions in
                       providing the GPA are addressed in this section.

                    2.   GPA scales and conversions from Table II: Table II, the"CGS General
                         Conversion Tables" should be used for the GPA scales shown(100-points,
                         11.0/12.0, 7.0, 6.0,4.0, A-
                         D)even ifthe transcript or secondary school profile provides a conversion to a
                         Table II scale.

                         • The "4.0 Weighted" scale applies to any 4.0 based GPA that is weighted.
                           It should be used only when Unweighted GPA is not available.
                         • The" 4.0 Unweighted Scale" applies to any 4.0 based GPA that is
                           unweighted.
                         • Note Table II includes a scale to use to convert International
                           Baccalaureate GPAs to a CGS.

                    3.   Scales not provided on Table II: Given the relatively small number of
                         admitted and matriculated students for whom Table II scales are not
                         provided, it is preferable not to create new scales if possible. In such cases,
                         a GPA on a 4.0 scale should be calculated using the following formula, and
                         a CGS then derived using the 4.0 scale on Table II: HSGPA/HSGPA scale =
                         "x"/4.0, where"x" becomes the value from which the CGS is derived. For
                         example,if on a 5.0 scale a student has a 4.8 GPA (whether the scale's top
                         grade is A or A+), the formula is 4.8/5.0 = x/4.0, x-3.84 and the CGS = 73.

                    4.   Calculating GPA when not provided by the secondary school: When the
                         secondary school does not calculate/report a GPA,the institution should
                         calculate an unweighted GPA based on the secondary school's grading
                         scale, using all courses for which grades and credit hours are provided, and
                         weighting semester grades as one-halffull-year grades.
                                 NOTE: the following grade scale is used to convert grades on a non-
                                 traditional scale to a 4.0 Unweighted Scale: HEI- 4.0, H- 3.5, HP- 2.5,
                                 P- 1.5, U- 0

                    5.   GPA period: GPA data always should be for more than one year,including
                         10th and 11th grades, 9th grade when available, and official trimester or
                         semester grades(as opposed to term grades)in the student's current year if
                         available at the time the athlete's decision is made. If"official" grades from
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                        the current year are available but not counted in the school's cumulative
                        GPA,they should be added to the cumulative GPA and weighted
                        appropriately: e.g., grades for first semester or trimester ofsenior year would
                        be weighted as one-half or one-third year.

                  6.    GPAs from multiple schools and repeat years: When a student has attended
                        multiple secondary schools(including a post-graduate year), all GPAs
                        provided by the schools should be used to the extent possible and weighted as
                        in #5 above. If the institution believes this result is not logical and fair, it
                        should describe what approach it believes is better, subject to the Admissions
                        Committee's agreement.

                   7.   Transfer students: CGS should be calculated using 50% secondary
                        school GPA and 50% college GPA




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                        INTERNATIONAL-SYSTEM GPA CALCULATIONS

                   1. Generally: Each school should calculate GPAs from international schools
                      using the attached Appendix ofInternational Calculations. If an international
                      country is not listed on the Appendix, we should calculate an AT as it seems
                      most appropriate.(In this circumstance, we should default to the Committee,
                      using the NCAA International Standards as a reference point, but not
                      necessarily a policy.)

                   2.   Canadian systems: Table IIA,for establishing value of CGS of Canadian
                        Students should be used to determine CGS based on the Province ofthe
                        secondary school. Provinces where a passing grade is 50% use the first
                        column on Table II A (Alberta, British Columbia,Manitoba,Newfoundland,
                        NW Territories, Nova Scotia, Nunavut, Ontario, Prince Edward Island,
                        Saskatchawan, Yukon);Provinces where a passing grade is 60% use the
                        second column on Table IIA(New Brunswick, Quebec).

                   1. British systems:

                        Count all GCSE(=0Level), AS and A level results in order to
                        calculate a GPA:
                        A*(same as A+)= 4.3
                        A =4.0
                        B =3.0
                        C =2.0
                        D = 1.0
                            • Ifthe applicant is taking a gap year, actual A-Level results should be
                                 used.
                            •       A Level scores are given double the weight of AS and GCSE scores.
                            •       Internal grades are usually not available and should not be used if
                                    they are.
                            •       Predicted A-Level scores should be used when available.
                            • All courses should be included in calculating the GPA,including
                                physical education courses ifthe student receives a grade and
                               credit for the course.

                   2.   Pre-U:

                        The scale for Pre-U were decided on as follows,for Principal Subjects only:

                           D1 = A+/4.3
                           D2= A+/4.3
                           D3 =A14.0
                           M1 =
                           B+/3.3 M2
                           = B/3.0 M3
                           = B-/2.7 P1
                           = C-/1.7 P2
                           = D/1.0 P3
                           = D-/0.7

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                     5.   International Baccalaureate systems:

                          Average grades from the last two years ofthe D3 program are preferred to
                          calculate a GPA:
                          7=A+=4.3
                          6= A= 4.0
                          5 = B = 3.0
                          4 = C = 2.0
                          3 = D = 1.0
                          • If the applicant is still in school, use one year for Early applicants and one
                              year plus one term for Regular applicants.
                          • Ifthe applicant is taking a gap year, actual two-year IB results are used.
                          • Use D3 predicted grades if available, and only if not available use internal
                              grades.
                          • For D3 schools in the U.S., use the course values given on the transcript;
                             for D3 schools outside the U.S., double the weight for Higher Level
                              courses(as opposed to the Subsidiary Level courses).
                          • All Higher Level/Subsidiary Level courses will be counted from
                              international schools.
                          • Scales: When D3 predictions give split results, use the average of the split
                            (i.e., 5/6 is given, use 5.5 for calculation).


                     6.Notes on Selected Countries (added fall 2010):

         Australia — Require schools to provide a transcript ofsome sort, but if all else fails and they
         give the state final exam result or prediction (ex: UAIfor NSW,OP for Queensland, usually
         out of99.95)use that.

         New Zealand —The scale for NZ is as follows...but ONLY for courses in which there is the
         possibility to get more than Achieved (Achieved/Not Achieved is basically Pass/Fail so we
         won't count those courses):
                              [E]Excellent =
                               A/4.0 [M]Merit =
                              B/3.0 [A]
                               Achieved = C/2.0
                              [N]Not Achieved = F/O

         Singapore — for schools using standard Junior College grading conventions — Include
         H1(General Paper,Project, etc.)& H2 predictions on a 4.0 scale to calculate GPA.Double
         weight for H2 marks.

         For H3,the scale is:
                             Distinction =
                             A/4.0 Merit=
                             B/3.0 Pass=
                             C/2.0 Double
                             H3s as well.

         If provided, include0Level/GCSE marks in calculation of GPA with a single weight like we
         do with the British System.
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         General notes — For all national curriculums,the general rule ofthumb is to include all
         courses as part ofthe GPA calculations.


                     7.Additional International Scales for Relevant Countries

         For GPA scales of other countries, Table III has been sent separately and is included in the
         Ivy League Academic Index Memo. Please see CGM if you need a copy.




                                                   JA4597
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                                              " RPBOVEDSEPTEMBER2016

   _                                                        -          -
                                                                                      Grade
         Percentage      11.0/12.0                                4.0 Weighted      Equivalent 4.0
           Average              Scale        6.0        5.0              GPA          to 4.0      Unweighted      CGS
       98.00 and above   12.00 and        6.5 and    6.00 and       4.30 and above      A+      4.0 and above    80
        97.00 - 97.99      11.70 -          6.30 -     5.70 -          4.20 - 4.29                3.91 - 3.99    79
        96.00 - 96.99      11.40 -          6.15 -     5.40 -          4.10 - 4.19                3.81 - 3.90    78
        95.00 - 95.99'-    11.00 -         -6.00      -5.00-         -4.00 - 4.09       A         3.72, 3.80--   77
        94.00 - 94.99      10.70 -          5.85 -     4.90 -          3.90 - 3.99                3.63 - 3.71    75
        93.00 - 93.99      10.40 -          5.70 -     4.80 -          3.80 - 3.89                3.53 - 3.62    73
        92.00 - 92.99      10'.0O•-         5.55-      4.70-           3.70 - 3.79      A-        3.44 ,- 3.52   II
        91.00 - 91.99       9.80 -          5.40 -     4.60 -          3.60 - 3.69                3.35 - 3.43    70
        90.00 - 90.99       9.50 -          5.25 -     4.50 -          3.50 - 3.59                3.26 - 3.34    69
        89.00 - 89.99       9.30 -          5.10 -     4.40 -          3.40 - 3.49                3.16 - 3.25    68
        88.00 - 88.99      -9.00 -         -4.9 ', s, 4.8 ‘,...      ...3.30- 1.39-      +      - 3.07 - 3.15    67
        87.00 - 87.99       8.70 -          4.80 -     4.20 -          3.20 - 3.29                2.98 -3.06     66
        86.00 - 86.99       8.40 -          4.65 -     4.10 -          3.10 - 3.19                2.88 - 2.97    65
        85.00 - 85.99       8.00 -          4.50 -     4.00 -          3.00 - 3.09      B         2.79 - 2.87    63
        84.00 - 84.99       7.70 -          4.35 -     3.90 -          2.90 - 2.99                2.70 - 2.78    61
        83.00 - 83.99       7.40 -          4.20 -     3.80 -          2.80 - 2.89                2.61 - 2.69    59
        82.00 - 82.99       7.00 -          4.05 -     3.70 -          2.70 -2.79       B-        2.51 - 2.60    57
        81.00 - 81.99       6.75 -          3.90 -     3.60 -          2.60 - 2.69                2.42 - 2.50    55
        80.00 - 80.99       6.50 -          3.75 -     3.50 -          2.50 - 2.59                2.33 - 2.41    53
        79.00 - 79.99       6.25 -          3.60 -     3.40 -          2.40 - 2.49                2.23 - 2.32    51
        78.00 - 78.99      -6.00-         -3.45.- \-3.30-               .'- 2.39        C+        2.14 - 2.22    49
        77.00 - 77.99       5.70 -          3.30 -     3.20 -          2.20 - 2.29                2.05 - 2.13    48
        76.00 - 76.99       5.40 -          3.15 -     3.10 -          2.10 - 2.19                1.95 - 2.04    47
        75.00 - 75.99       5.00 -          3.00 -     3.00 -          2.00 - 2.09       C        1.86 - 1.94    46
        74.00 - 74.99       4.70 -          2.85 -     2.90 -          1.90 - 1.99                1.77 - 1.85    45
        73.00 - 73.99       4.40 -          2.70 -     2.80 -          1.80 - 1.89                1.67 - 1.76    44
        7200, 7 72.99 ..    4,00-           255 ,,Z70-.
                                                   7O-, 170-'1.79: s                   -     ,..• 4,59.71 0      \4Z-
        71.00 - 71.99        3.5 - 3.99    2.40 -       2.60 -        1.60 - 1.69                1.49 - 1.57      40
        70.00 - 70.99        2.5 - 3.49    2.25 -       2.50 -        1.50 - 1.59     D+         1.40 - 1.56      38
         Below 70.00         Below 2.5     Below        Below         Below 1.5       D          Below 1.4        35




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                                       Table HA- CGS Canadian Conversion Table


                     TABLE II-A: For establishing value of CGS of Canadian Students

                                                      Revised May 2015


                                                       Canada Where       Canada Where
          United States 100 Letter Grade              passing grade is   passing grade is
             Point Scale      Equivalent                  50% 1                60% 2             CGS
           98.00 and above          A+                90.00 and above     88.00 and aboAie"      '88
            97.00 - 97.99                              88.00 - 89.99       87.00 - 87.99          79
            96.00 - 96.99                              86.00 - 87.99       86.00 - 86.99          78
            9 •'.06,,,95.§9          A                 84.00 - 85.99       85.00 - 85.99 -      - 77 •
            94.00 - 94.99                              82.00 - 83.99       84.00 - 84.99          75
            93.00 - 93.99                              80.00 - 81.99       83.00 - 83.99          73
            92.00 - 92.99           A-                 79.00 - 79.99       82.00 - 82.99          7
            91.00 - 91.99                              78.00 - 78.99       81.00- 81.99           70
            90.00 - 90.99                              77.00 - 77.99       80.00 - 80.99          69
            89.00 - 89.99                              76.00 - 76.99       79.00 - 79.99          68
            88.00 - 88.99           B+                 75.00 - 75.99       78.00 - 78.99        - 67
            87.00 - 87.99                              74.00 - 74.99       77.00 - 77.99          66
            86.00 - 86.99                              73.00 - 73.99       76.00 - 76.99          65
            85.00 - 85.99            B                 72.00 -72.99        75.00 -75.99           63
            84.00 - 84.99                              71.00- 71.99        74.00- 74.99           61
            83.00 - 83.99                              70.00 - 70.99       73.00 - 73.99          59
            82.00 - 82.99           B-                 69.00 - 69.99       72.00 - 72.99          57
            81.00 -81.99                               68.00 -68.99        71.00 -71.99           55
            80.00 - 80.99                              67.00 - 67.99       70.00 - 70.99          53
            79.00 - 79.99                              66.00 - 66.99       69.00- 69.99           51
            78.00 - 78.99                                    -65.99        68.00 - 68.99          49
            77.00 - 77.99                              64.00 - 64.99       67.00 - 67.99          48
            76.00 - 76.99                              63.00 - 63.99       66.00 - 66.99          47
                                     C                 62.00 - 62.99       65.00- 65.99           46
            74.00- 74.99                               61.00- 61..99       64.00- 64.99           45
            73.00 - 73.99                              60.00 - 60.99       63.00 - 63.99          44
            72.0842.99,     . \--v... 7:,.....,.,..     Below60.00         6200
                                                                              . - 62.99           4
            71.00 - 71.99                                                  61.00 - 61..99         40
            70.00 - 70.99           D+                                     60.00 - 60.99          38
             Below 70.00             D                                      Below 60.00           35


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         'Passing grade is 50% for the following Provinces: Alberta, British Columbia, Manitoba,
         Newfoundland, NW Territories, Nova Scotia, Nunavut,Ontario, Prince Edward
         Island, Saskatchawan, Yukon
          2   Passing grade is 60% for the following Provinces: New Brunswick,Quebec




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           III. FILE ROUTING

        INADVERTENTLY CLEARED FILES: Occasionally, files will be mistakenly "cleared"
       (considered complete) and placed in your first read bin. Open the Admin Problems Form, note
        the issue and to which bin the folder should be routed when the problem is solved. Then route
        the file to the Admin Problems bin.

        FILES SHOULD BE READ AND PASSED IN A TIMELY FASHION: Readers should take
        care not to allow files to pile up. First readers need to read files from all assigned dockets as
        they clear, notjust those whose subcommittee meets first. However, because all files will clear
        regardless of round, readers should read early action files first, as soon as possible. Regular
        action files can generally wait until after December 1st, but you can read them prior to that if you
        are able to. This is important, and we will monitor reading progress centrally. If you need help
        keeping up for whatever reason, let us know immediately. Readers should code out files to the
        Committee Review bin or pass to the docket chair. First-time readers will use the Optional
        Additional bin for their first 50-100 files during Early Action. Those files will be redistributed to
        experiences readers by the operations staff.


        SECOND READERS(OPTIONAL ADDITIONAL READER): Except for new readers (for
        whom special routing instructions are provided below), second readings should be used only in
        the rarest of instances:

            A)If three readings are needed for a complex case.

           B)If the case raises issues of policy.

           C)If the case would be greatly helped by a second reading from the former area person or
             someone with special knowledge of an area or type of case.

        No second reader will ordinarily be assigned. If you want/need a second reading, consult the
        enclosed docket assignment sheet to identify other readers on your docket. Try not to burden one
        person inordinately. You should choose "Optional Additional Reader" as the next bin and enter
        the name ofthat person which will place the file in their queue. You can add a note for the
        second reader such as "Please give V docket context" You should also send an email to special
        second readers to alert them to your requested reading. If you have received a file as a second
        read for a new reader, please read it as quickly as possible and put it back in the queue ofthe new
        reader.


        FIRST-TIME READERS: New readers should have their first fifty to one hundred Early
        Action files passed to the Optional Additional Reader bin or to the chair bin, based on relative
        strength. Some chairs may wish to use different approaches for first year readers.

        GENERAL ROUTING RULES:

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        1) A file should be passed directly to the chair:

           • Ifthe first reader rates a file a "2-" or better (i.e. a case the first reader thinks has a very
             good chance of being admitted)

           • Ifthe case will likely (or almost certainly) be discussed in Committee.

           • If you want the docket chair's opinion or want simply to have the docket chair informed
             about the case.

           If the first reader has a significant degree of uncertainty about how to proceed          with the
           case, he or she should consult the docket chair.

        2) A case rated a 3+ overall may be passed to the chair or routed straight to the Committee
          Review bin. The first reader should consider carefully the likelihood that additional
           anticipated information (e.g., a superior music rating) will make the case more compelling, in
           which case the folder should be passed to the chair. If there is no further information
           anticipated and the case is qualitatively a 3+(a strong case but like many others), an
          experienced first reader does not need to pass it on.

        3) Typically, a case rated a 3 or lower with no particular attribute that would make it
           competitive can be routed directly to the Committee Review bin. Obviously late information
           or school context could change this initial evaluation. The first reader, as an advocate, must
           be certain to check all late information that might make a difference to the case prior to the
           Committee meetings. This is particularly important for candidates whose outstanding
           personal qualities become evident once we have the alumni/ae interview.

        Readers new to a docket should discuss with the docket chair any special guidelines about which
        files should be passed on and which files should not.

        BINS
        In Slate, various "bins" are used to track an application file's progress through the application
        cycle. Bins are used for ease of day-to-day work - they do not represent final decisions. The
        layout of bins can be viewed in the Slate Reader using the Browse tab (Note: the "Freshman
        Only" preset filter in Reader displays all freshman applicants and previous admits in the current
        application period).

        Each bin column represents a different phase ofthe application cycle, and generally, work flows
        from left to right:
           • Pre-Review: Folders are incomplete, incorrectly coded, or withdrawn
           • Reads: Folders are complete ("cleared") and ready for review by readers
           • Committee: Folders are ready for discussion by committee


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          • Working Decision: Folders have been discussed by the committee and a decision has
              been recommended
          • Final Decision: Decisions have been checked and confirmed; ready for decision release
          (Note: Files should only be moved to final decision bins on Decision Day by the Slate
           team.Prior to Decision Day,files should remain in Working Decision bins.


        CHANGING BIN ASSIGNMENTS
        Readers normally change a folder's bin assignment during the reading process using the Review
        Form in the Slate Reader. Occasionally it will be necessary to change a folder's bin assignment
        after the Review Form has been submitted. In these cases, the bin assignment can be changed in
        the Student Record. To edit a bin assignment in the Student Record, click the"Edit Application
        Details" tab on the right, and select the desired bin from the Bin dropdown menu.


        CLEARING INCOMPLETES
        Readers should be sure to check the "Not Cleared" bin before each of their subcommittee
        code-out deadlines and then periodically before decisions are final to check for any cases
        that could be read with the materials in the file. Sometimes,transcripts may be in various
        tabs aside from the "SSR" tab. Readers should use their discretion or consult with their
        chairs but in general, a file that has an application and a transcript can be read and
        evaluated.

        SPECIAL READINGS

           • WRF should see cases that could be particularly sensitive or controversial or that raise
             issues offundamental policy. When in doubt, send the file on by routing to the 41 reader
             bin.

           • Folders of competitive candidates who attended secondary school outside the U.S. and
             Canada may be passed on to the appropriate U, V or W docket area person or RMW if
             help in assessing foreign credentials is needed. Be selective- don't pass on a case unless
             you are sure the applicant is competitive or has some unusual attributes.

           ▪     A faculty readings memorandum will be distributed later regarding specific procedures.

           • Supplemental music/art/dance/academic materials of clearly competitive candidates with
             an unusually strong talent may be assessed through a supplementary process - through
             Slideroom (for music and dance) or through the faculty read process(for art or academic
             work). Handling ofthis material will be addressed through memoranda over the course of
             the fall.




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           IV. OTHER ITEMS

           • Slate is made up of data downloaded from the application and supplemental forms. We
             currently do not have the ability to enter all the information by hand for those applicants
             who do not submit their forms on-line. However, the data entry staff will enter the most
             critical bio/demo information as they have in the past. This means that the dockets will
             be correct, but the summary sheets for these applicants will be primarily blank. You
             should double-check the data that is important - i.e. parent education, ethnicity, aid status,
             etc. - basically every field that's on the summary sheet. About 1% of all our applicants
             will fall into this category.

           • Acknowledgments to guidance counselors, teachers, and others: The area person may
             occasionally feel it worthwhile to acknowledge unusually helpful TRs and SSRs by
             writing a note to the author. The note should acknowledge that the candidate may or may
             not be admitted. Supplementary letters of recommendation may have already been
             acknowledged with a card or letter, but if not, particularly with recommenders who
             are alumni or others about whom Harvard might be concerned, you should call the
             letter to the attention of MEM or WRF and an acknowledgment will be sent. This is
             important!

           • Support Materials: ALL manually submitted support material should be dropped into the
             appropriate basket in the mailroom for sorting and scanning.

           • Misfiled and Missing materials: If a teacher report, school report or any other material
             that would be helpful to a competitive candidate is missing, first readers should request a
             copy be re-sent. Files should be sent on to other readers unless the missing pieces are
             crucial. In such cases, first readers should hold onto the file by routing the file to the
             "Area Person Follow Up" bin. Detailed instructions on how to add new materials to an
             applicant's file can be found in the"Documentation" tab ofthe Slate welcome page.

           • File items that require attention: Unanswered letters should be handled by first readers
             where appropriate or others including MEM or WRF.



           V.SCANNING AND INDEXING

        There is a basket in the mailroom to collect and sort hard-copy documents received. The forms
        collected in these baskets should have content that is *specific* to the admission decision ofthe
        applicant and are marked as such - for example, mailed applications or supplements, letters of
        support, teacher reports, Harvard evaluation,(coach, arts, music, Harvard faculty), midyear
        reports, SSR's etc. We will scan almost everything. If that is not possible, an "oversized
        support" form will be scanned and added to the file to let you know there is material sitting in the
        bookcase in Conference Room 5.


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        Relevant emails to officers from applicants or about an applicant should be saved as a PDF file
        and indexed directly into the applicant file by the officer. To do so, go into the student record in
        Slate select the current round tab and scroll down to the "Materials" header. Click to add new
        material and make the appropriate selection from the drop-down menu. If you receive materials
        both electronically and in paper, you do not need to have the paper material scanned.

        Documents displayed in the Reader are named by the document type that follows the menu down
        the left side ofthe Slate e-reader.
           • Application(and supplement)
           • SSR
           • TRs
           • Interviews
           • Additional academic(additional transcripts, etc.)
           • Midyear
           • Final Report(potentially greyed out until admitted)
           • Ratings Forms(includes 1RFs)
           • Miscellaneous(notes from family/friends, alums, correspondence, noting of oversized
                 support, etc.)
           • Waitlist
           • Previous App
           • Portfolio(NOTE: a tab in Slate we do not use at this time).




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                                                                                                          TRIAL EXHIBIT




                                                                                                                            exhibitsticker.com
  Message

  From:          McGrath, Marlyn E.[/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP                            P741
                (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=EBE4F7EB9F69460199E54E5CDF63552C-MMCG]              SFFA v. Harvard
  Sent:         9/12/2018 7:24:54 PM
  To:            Mascolo, Christine Collette [/o=ExchangeLabsiou=Exchange Administrative Group
                (FYDIBOHF23SPDLT)/cn=Recipients/cn=c61c8c86863f4a3lbild8b770041b093-mascolo]
  CC:            Fitzsimmons, William R.[/o=ExchangeLabs/ou=Exchange Administrative Group
                (FYDIBOHF23SPDLT)/cn=Recipients/cn=7c9507805d49473598925d032af30d42-User_e3990d]; Gershengorn, Ara
                [/o=ExchangeLabs/ou=Exchange Administrative Group
                (FYDIBOHF23SPDLT)/cn=Recipients/cn=9a0cb8cff09f4879bfb563d076abc882-abg290]
  Subject:       Re: Reading instructions



  Thank you!

  Sent from my iPhone

  On Sep 12, 2018, at 2:33 PM, Mascolo, Christine Collette <mascolo@fas.harvard.edu> wrote:

  Hi everyone,
  Input from all previous drafts is captured in this document. The only new line everyone should look at is on page 5, in
  red.
  Thank you,
  Christine




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                                                                        TRIAL EXHIBIT




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                                                                                    P749
                                                                                 SFFA v. Harvard




       Reading Procedures - Class of 2023

          I.      SUMMARY SHEET APPLICATION DATA

       The Summary Sheet captures information as supplied on the application and can be updated
       as new information is added. Late information can change the likelihood ofadmission and
       updates can be provided later for those initially considered less competitive. If any
       information is missing or incorrect for competitive candidates, changes should be made on
       the First Reader Rating Form and noted with prose in the reader comments or"Notes for
       Summary Sheet" box. This prose will feed onto the Summary Sheet when the rating form is
       submitted.
       One exception: School code changes are NOT made on the First Reader Rating Form; see
       instructions below on how to do this.

       PLEASE NOTE: The accuracy ofour citizenship coding is CRUCIAL. Miscoding affects
       many ofthe important statistics we are required to compile, and we need to keep careful track
       of who needs a visa to study in the United States.

          • SCHOOL CODE: If an applicant is coded to the wrong school, please use the
            Admin Problems update form and route this to the Admin Problems bin immediately
            so that the operations team can ensure that the interview is reassigned to the
            appropriate club and group.

         • GENDER: Occasionally the gender es ,ation reported on the application is coded
           incorrectly in our system. Such a co     error should be corrected by submitting the
           Admin Problems form and routing the file to the Admin Problems bin.
         • RACE/ETHNICITY: We report exactly what the applicant reports as ethnicity on
           the application. The ethnic codes on the Summary Shee901 come from the
           demographic fields the candidate checked on the application. Note that foreign
           citizens are listed as such. Ifthey opted to check an identifying ethnic code it will
           appear but is not used for statistics and reporting.


      • CITIZENSHIP CODE / COUNTRY OF CITIZENSHIP: There are four options on
        the application that can be checked:(I)U.S. Citizenship,(2)U.S. Dual Citizenship,(3)
        U.S. permanent resident and(4)"Other" or foreign citizen.

          The applicant holds only American citizenship:
          APP: Citizenship status will be"US Citizen or US National" and no other country of
          citizenship will be listed.
          SUMMARYSHEET: Should read "Citizenship: United States"

          The applicant is a dual U.S. citizen(a citizen of both the U.S. and another country).
          APP: Citizenship status will be "Dual US Citizen"-Other citizenships will show a country
         (e.g. Sweden)
          SUMMARY SHEET: Should read "Citizenship: United Statesi<other country>"

          The applicant is a U.S. Permanent Resident.




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          APP: Citizenship status will be"U.S. Permanent Resident or Refugee" and Other
          Citizenships will list one or more countries checked with another country listed.
         SUMMARYSHEET: Should read "Citizenship: PR / <other country>"

         Caveat: If an applicant has checked the U.S. Permanent Resident box but notes that his
         or her application for permanent residency(or"green card")is pending, that applicant
         should be recoded as"Other citizenship." Request this change by using the Admin
         Problems update form. We must prepare an 1-20 form if the applicant is admitted and the
         application for residency is still pending, and the citizenship code is the only way we
         know to do this.

         The a    ic t     forei n citizen:
         APP: Citizenship status will be"Other(Non-US)". Other citizenship will show a country
        (e.g. Poland)
         SUMMARYSHEET: Should read "Citizenship: <other country>

         • LINEAGE: This flag appears if the applicant included Harvard College in the
           education field for at least one parent/guardian. The folder should be read by WRF
          ("0"bin) following the normal reading process if appropriate or if another reading
           might be helpful. Errors in coding should be noted with specifi etails about the
           error using the Admin Problems Form and routed to the Admi           blems bin.

         • ATHLETE: Be sure the appropriate sport is listed as the first extracurricular activity.
           Changes can be made on the App Update tab on the Student Record. DO NOT
           CHANGE ANY PRE-CODED ATHLETE.

         • INDICATORS FOR ECONOMIC STATUS: It has long been a priority for
           Harvard to seek talented students from all backgrounds, including those extraordinary
           individuals who are able to transcend economic disadvantages and achieve unusual
           academic distinction. We utilize several indicators to understand the economic
           background of applicants. They are:
               o Low Income Predictor(Low Inc on Summary Sheet): A value between 0 and 1
                  based on application information that predicts how likely a student is to be low
                  income and have a $0 parent contribution. The higher the value (closer to I)
                  the more likely the student will be low income.
               o Pell Grant(P on Summary Sheet): An indication if the student is likely to
                  qualify for a Pell Grant. This information will only be available ifa student
                  has submitted a CSS profile, allowing Financial Aid staff to estimate whether
                  the student may be eligible to receive a Pell grant.
               o FH info("Yes, Likely, Unlikely, No"on the summary sheet): After
                  subcommittee meetings, if information i a            a simple indication of a
                  student's possible eligibility for the I;IF          may be present on the
                  summary sheet.
               o FEE STATUS: An indicator of whether the app icant received a fee waiver for
                  their application.

         • SCORES:
                                                                                      evrik ieAs
                                                checking their Applicant Status websitirhether
           their scores requirement has been fulfilled though not all scores will be listed. They
           can report scores(which will be marked 'self-reported' in the student record) as they

                                                    2




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               like. You can check scores by looking under the "Scores" tab in each Student Record
               ofan applicant. The Summary Sheet will reflect the highest verified or self-reported
               scores.
                      D"imp                                                   SOP(465
           Matriculating students will be responsible for changing 'unofficial'to 'official,..     y        OM'Strie=0 4V-4/1--
                                                            T. Paper copies ofscores sent via fax,
           email attachment or U.S. mail are not considered official.
                                                                                                                   )
                                                                                                             14Argar
           We receive secure web downloads of scores, so we do not have to wait for the scores to
           be mailed to us. Applicants are told not to use 'rush reports,' but if they do, they will
           arrive electronically as soon as they are scored.
                                                                                                                  or UT
                                                                                                                      t ric.I
                   Reader Rating Forms

      When a file in in your queue, you will be able to select the "First Reader Form" or the
      "Chair Form" depending on the file's bin. The form includes the following fields:

       Reader ratings: All readers must code a preliminary overall rating and a profile(using the
       codes below and pluses and minuses)for all candidates. Writing prose comments is left to the
       discretion ofthe reader and should generally be done only for competitive candidates, those
       who might become competitive later, or those who might be of interest to the Committee.

       For all categories, use "+"and "- "primarily in the 2 and 3 range to indicate relative strength.
       A rating of2+ or 3+ is stronger and very different from a 2- or 3- respectively. Readers
       should take many factors into account as they assign ratings. E.g,students who have taken a
       strong academic program and/or present other positive evidence ofacademic achievement
       should receive higher academic ratings: an applicant with low 700 scores could be rated a 2-
       rather than a 3+ in some instances especially if there is academic strength in a particular field.
       However, readers should not bear% an applicant's race or ethnicity into account in making
       any ofthe ratings other than the Overall rating, as discussed further below.
                                          "
                                          IC
       Overall
          I. Tops for admission: Exceptional — a clear admit with very strong objective and
              subjective support.
          2. Very strong credentials but not an inevitable admit.
          3. Solid contender: An applicant with good credentials and support.
          3- Somewhat Neutral: Respectable credentials.
          4. Neutral: Generally respectable credentials.
          5. Negative: Credentials are generally below those ofother candidates.

          In assigning the Overall rating, readers may consider whether a student's background,
          including his or her race or ethnicity, may contribute to the educational benefits of
          diversity at Harvard College. The consideration of race or ethnicity may be considered
          may as one factor among many. In addition,the consideration of race or ethnicity should
          be in connection with the application's discussion ofthe effect an applicant's race or
          ethnicity has had on the applicant, not simply the fact alone that an applicant has
          identified as a member ofa particular race or ethnicity.


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       Academic

            I. Summa potential. Genuine scholar; near-perfect scores and grades (in most cases
               combined with unusual creativity and possible evidence of original scholarship, often
               substantiated by our faculty.)
           2. Magna potential. Excellent student with top grades and,
                      SAT and SAT Subject tests: mid 700 scores and up
                   a.

                  b. 33+ ACT

           3. Cum laude potential: Very good student with excellent grades and,
                a. SAT and SAT Subject tests: mid-600 through low-700 scores

                  b. 29 to 32 ACT
           4. Adequate preparation. Respectable grades and low-to mid-600 scores on SAT and
              subject tests or 26 to 29 ACT.
           5. Marginal potential. Modest grades and 500 scores on SAT and subject tests(25 and
              below ACT).


       Extracurricular, Community Employment, Family Commitments

           1. Unusual strength in one or more areas. Possible national-level achievement or
              professional experience. A potential major contributor at Harvard. Truly unusual
              achievement.
          2. Strong secondary school contribution in one or more areas such as class president,
              newspaper editor, concertmaster etc. and/or significant involvement in organizations
              outside of school. Possible local or regional recognition; major accomplishment(s)
              that have had an impact outside ofthe classroom. Can include significant term-time
              work or family responsibilities coupled with extracurriculars.
          3. Solid participation but without special distinction.(Upgrade 3+ to 2- in some cases if
              the ek is particularly extensive and substantive.)
          4. Little or no participation.
          5. Substantial activity outside of conventional EC participation such as family
              commitments,term-time work or a significant commute(Important: should be
              included with other e/c to boost the rating or left as a"5" ifthat is more
              representative of the student's commitment).
          6 Special circumstances limit or prevent participation (e.g. a physical condition,gap
              year(s), compulsory service ofsome kind).

       Athletic
          I. Unusually strong prospect for varsity sports at Harvard, desired by Harvard coaches.
          2. Strong secondary school and/or travel team contribution in one or more sports;
              leadership role(s) such as captain or co-captain; possible walk-on to a varsity team;
              potentially has an IRF of a 4 from a Harvard coach
          3. Active participation, possible leadership role.
          4. Little or no participation (this is not a negative).


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           5. Substantial activity outside of conventional EC participation such as family
              commitments or term-time work (could be included with other e/c to boost the rating
              or left as a"5" if it is more representative ofthe student's commitment).
           6. Physical condition or other special circumstances prevent significant activity.

       Personal
       The Personal rating should be an assessment made by the readers of what kind of effect the
       student might have on others at Harvard and beyond. It should he based on an assessment of
       what kind of positive effect this person might have throughout his or her life based on what
       we have seen so far in the student's application materials. This should include such
       considerations as what kind ofcontribution would the person make to the dining hall
       conversation,to study groups, and to society as a whole after graduation. In assigning the
       personal rating, readers should consider information we receive from teachers,counselors,
       applicants, other recommenders,interviewers, and others as well as the applicant's essays,
       extracurricular activities, and other items in the application file—what the applicant shows us
       about him or herself and what the applicant has done or accomplished for others. As noted
       above, though,an applicant's race or ethnicity should not be considered in assigning the
       personal rating.


            I.   Rare personal appeal and character
           2+ or 2 Extremely strong personal appeal and character
           2-    Very strong personal appeal and character
           3+ Above average personal appeal and character; positive
           3.    Generally positive, perhaps somewhat neutral
           3-    Slightly negative impression
           4.    Distinctly poor impression; questionable or worrisome personal qualities



       School Support
           1. Strikingly unusual support. "The best ever,""one of the best in many years," truly
              over the top.
          2. Very strong support. "One ofthe best" or "the best this year."
          3+ Well above average, consistently positive
          3. Generally positive, perhaps somewhat neutral or generic
          3- Somewhat neutral or slightly negative.
          4. Negative or worrisome report.
          6. For teacher reports: prose is not in the file.
          8. Placeholder for teacher reports.
          9. For secondary school report: transcript is in the file but there is no SSR prose.

       PLEASE NOTE: School support ratings for teacher one, teacher two and a counselor are
       mandatory ratings for competitive candidates. Teacher three and teacher four are optional, if
       applicable.


       BRIEF ANNOTATIONS FOR SUMMARY SHEET:

       You may choose to insert information about a case — a maximum ofthree lines — which will
       appear on the second page ofthe summary sheet at the top and on the printed docket(unlike

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       prose comments below). These notes should be informational only and not evaluative. They
       can aid in your preparation ofcases. Examples could be: PE on grandmother, Harvard Book,
       or international credentials not easily captured elsewhere(A level est, Physics A,Math A, Lit
       A — etc.).

       PROSE COMMENTS:
       When making prose comments, first readers should note the important academic and
       extracurricular accomplishments that are particularly pertinent to the case. It is also helpful
       to reference teacher reports or other items that may be crucial to our evaluation. In addition
       to numerical ratings, readers should try to summarize the strengths and weaknesses ofthe
       folder in brief paragraphs or comments. Avoid slang and jargon and REMEMBER - your
       comments may be open to public view later.

       INTERVIEW PROFILE(IVP):
       Below is the language for uniform implementation of the Interview Profile number(IVP)for
       use with all Schools and Scholarship Chairs. The IVP will serve as a guide foVehairs to
       know when our office needs the reports, and therefore how quickly they need to be assigned.
       All interviewers will be told that they should submit their interview report no later than two
       weeks after receiving the interview assignment.

          I. An applicant for whom the committee needs more information to reach a decision -
             please have interview report in as soon as possible.
          2. An applicant for whom more information would be very helpful during our
             deliberations - please have interview report in by the sub-committee deadline.
          3. Please have interview report in by December 1 (EA)or March I (RA).
          4. Based on the materials currently available, the committee needs no additional
             information at this time.

       This language has been distributed to the S&S chairs via email and can also be found in the
       updated handbook and website instructions.(Please ask Bryce Gilfillian if you need help
       accessing the site). Please have a conversation with your chairs to determine if you wish
       to use the IVP,and please make clear that this information should not be shared with
       other interviewers or applicants. If your chairs have additional clerical or operational
       questions about the IVP, please direct them to email Bryce/alum assistant at
       SSinfo(fas.harvard.edu.

       When reading, please input your IVP code on the First Reader Rating Form. You should
       input an IVP for all cases for clubs that use this system or ifthe coding could be helpful for
       your own interview tracking purposes. Continue to pass on the folder to your chair and/or
       code out to Committee Review bin.

          • FIRST-GEN: First readers should check this box on the first reader rating form ifthe
            student is of the first generation in the family to graduate from a four-year higher
            education institution. Iffirst readers do not, chairs should do so on the chair rating
            form•

         • STAFF DISADVANTAGED
         After reviewing the file, ifthe reader has evidence that the applicant may be from a
         modest economic background, please check "Yes" under Staff Disadvantaged on the
         Reader Rating Form.jn the past, admitted students who has been identified as
         "Disadvantaged=Y tere found to be economically needy 78% ofthe time.

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          • FACULTY,STAFF: Code ONLY children of professors at the Faculty of Arts and
            Sciences as an "F"; children offaculty from other parts ofthe University as well as
            children ofadministrative staff should be coded "S". If an update is needed, use the
            First Reader rating form. Please be careful to apply faculty and staff coding where
            appropriate as we need to keep accurate statistics on these applicants. All "F"
            and "S" folders should be routed to the "4111 bin"(WRF)after the normal
            reading process has been completed.

          • ACCESSIBLE EDUCATION OFFICE(AEO)REFERRALS: Code all applicants
            who may require special accommodations due to disabilities or special needs with the
            AEO flag on the First Reader Rating Form. We can then provide a list to assist the
            AEO and DOS in providing accommodations when appropriate. As you know,a
            student's disability may not be considered in connection with his or her application.


          • FYRE: Use this to indicate a student whom you think might benefit from the First
            Year Retreat and Experience(FYRE),a no cost pre-orientation program designed to
            introduce students to Harvard's resources and give them a solid foundation on which
            to begin their college careers.

       ASTAT: If, after reviewing an application.ayou feel that the student may be of interest to one
       ofour athletic teamsipbut is not a recruited athlete, you can use this flag to indicate that this
       student could be a recruit for their particular sport.
                                                           "     b.f 4/164, WA,                    "       41"4,.ss        c#4,
       GPA and GPA Scale:
       We must try to report an Academic Index to the IVY League for EVERY matriculant.
       Ifgrades are available, please report a GPA and GPA Scale for your strongest candidates.

       The Academic Index is calculated using GPA and GPA Scale. These will be converted
       automatically to the 20 to 80 scale in Slate.


       Here are the rules according to the Al instructions provided by the Ivy League and sent to
       staff separately:

             A. ACADEMIC INDEX CALCULATIONS: CGS

                 1. CPAs aenerallv: The secondary school GPA should be taken as
                    presented on the secondary school transcript; when both unweighted and
                    weighted GPAs are presented,the unweighted GPA should be used. (If
                    there is a question as to whether the school is using an unweighted or
                    'what the A grade earns in a regular course.*not a complete sentence —
                    check that new Ivy memo language is ok) Other questions in providing
                    the GPA are addressed in this section.

                 2. GPA scales and conversions from Table II: Table II, the"CGS General
                    Conversion Tables"should be used for the GPA scales shown(100-
                    points, 11.0/12.0, 7.0,6.0,4.0, A-D)even ifthe transcript or secondary
                    school profile provides a conversion to a Table II scale.

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                    • The"4.0 Weighted"scale applies to any 4.0 based GPA that is weighted.It
                      should be used only when Unweighted GPA is not available.
                    • The'4.0 Unweighted Scale"applies to any 4.0 based GPA that is unweighted.
                    • Note Table II includes a scale to use to convert International Baccalaureate
                      GPAs to a CGS.


               3.   Scales not provided on Table II: Given the relatively small number of
                    admitted and matriculated students for whom Table II scales are not
                    provided,it is preferable not to create new scales if possible. In such
                    cases, a GPA on a 4.0 scale should be calculated using the following
                    formula,and a CGS then derived using the 4.0 scale on Table II:
                    HSGPA/HSGPA scale ="x"/4.0, where"x" becomes the value from
                    which the CGS is derived. For example,ifon a 5.0 scale a student has a
                    4.8 GPA (whether the scale's top grade is A or A+),the formula is
                    4.8/5.0 = x/4.0, x-3.84 and the CGS = 73.

               4. Calculating GPA when not provided by the secondary school: When
                  the secondary school does not calculate/report a GPA,the institution
                  should calculate an unweighted GPA based on the secondary school's
                  grading scale, using all courses for which grades and credit hours are
                  provided,and weighting semester grades as one-halffull-year grades.
                           NOTE: the following grade scale is used to convert grades on a non-traditional
                           scale to a 4.0 Unweighted Scale: H H- 4.0, H- 3.5, HP- 2.5,P.1.5, U- 0

               s. GPA period: GPA data always should be for more than one year,
                  including 1 0,h and 11" grades, 9th grade when available, and official
                  trimester or semester grades(as opposed to term grades)in the student's
                  current year ifavailable at the time the athlete's decision is made. If
                 "official" grades from the current year are available but not counted in
                  the school's cumulative GPA,they should be added to the cumulative
                  GPA and weighted appropriately: e.g., grades for first semester or
                  trimester ofsenior year would be weighted as one-halfor one-third year.

               6.   GPAs from multiple schools and repeat years: When a student has
                    attended multiple secondary schools(including a post-graduate year),all
                    GPAs provided by the schools should be used to the extent possible and
                    weighted as in #5 above. Ifthe institution believes this result is not
                    logical and fair, it should describe what approach it believes is better,
                    subject to the Admissions Committee's agreement.

               7.   Transfer students: CGS should be calculated using 50% secondary
                    school GPA and 50% college CPA.




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               B. INTERNATIONAL-SYSTEM              GPA CALCULATIONS

               I. Generally: Each school should calculate GPAs from international schools
                  using the attached Appendix ofInternational Calculations. Ifan
                  international country is not listed on the Appendix,we should calculate an
                  Al as it seems most appropriate.(In this circumstance, we should default to
                  the Committee,using the NCAA International Standards as a reference
                  point, but not necessarily a policy.)

               2. Canadian systems: Table IIA,for establishing value ofCGS ofCanadian Students should
                  be used to determine CGS based on the Province ofthe secondary school. Provinces
                  where a passing grade is SO% use the firstcolumn on Table II A(Alberta,British
                  Columbia,Manitoba,Newfoundland,NW Territories,Nova Scotia,Nunavut,Ontario,
                  Prince Edward Island,Saskatchawan,Yukon);Provinces where a passing grade is60%
                  use the second column on Table IIA(New Brunswick,Quebec).


               1. British systems:

                    Count all GCSE(=0 Level), AS and A level results in order to
                    calculate a GPA: A*(same as A+)= 4.3
                    A =4:0
                    B =3.0
                    C =2.0
                    D = 1.0

                       • If the applicant is taking a gap year, actual A-Level results should be
                         used.
                       • A Level scores are given double the weight ofAS and GCSE scores.
                       • Internal grades are usually not available, and should not be used ifthey
                         are.
                       • Predicted A-Level scores should be used when available.
                       • All courses should be included in calculating the GPA,including
                         physical education courses ifthe student receives a grate and
                         credit for the course.

               2.   Pre-U:

                    The scale for Pre-U were decided on as follows, for Principal Subjects
                    only:
                    Dl =A+/4.3
                    D2= A+/4.3
                    D3 = A/4.0
                    M l =B/3.0
                    M2 — B/3.0

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                    M3= B42.7
                    PI — C41.7
                    P2— D/1.0
                    P3 — D40.7


                   s. International Baccalaureate systems:

                      Average grades from the last two years ofthe IB program are preferred to
                      calculate a GPA:
                      7= A+= 4.3
                      6= A = 4.0
                      5 = B = 3.0
                      4 = C = 2.0
                      3= D = 1.0
                      • Ifthe applicant is still in school, use one year for Early applicants and
                         one year plus one term for Regular applicants.
                      • Ifthe applicant is taking a gap year, actual two-year IB results are used.
                      • Use IS predicted grades ifavailable,and only ifnot available use
                         internal grades.
                      • For IB schools in the U.S., use the course values given on the
                         transcript; for IB schools outside the U.S.,double the weight for
                         Higher Level courses(as opposed to the Subsidiary Level courses).
                      • All Higher Level/Subsidiary Level courses will be counted from
                         international schools.
                      • Scales: When IB predictions give split results, use the average ofthe
                         split(i.e., 5/6 is given,use 5.5 for calculation).


                  6.Notes on Selected Countries(added fall 2010):

     A ustralia — Require schools to provide a transcript ofsome sort, but if all else fails and
     they give the state final exam result or prediction (ex: UAI for NSW,OP for
     Queensland, usually out of99.95)use that.

     New Zealand —The scale for NZ is as follows...but ONLY for courses in which there is
     the possibility to get more than Achieved (Achieved/Not Achieved is basically Pass/Fail
     so we won't count those courses):
                  [El Excellent = A/4.0
                  [M]Merit= B/3.0
                  [A)Achieved = C/2.0
                  [NJ Not Achieved = F/0

     Singapore for schools using standard Junior College grading conventions — Include
     H I(General Paper,Project, etc.)& H2 predictions on a 4.0 scale to calculate GPA.
     Double weight for H2 marks.

     For I-13, the scale is:

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                    Distinction = A/4.0
                    Merit = B/3.0
                    Pass — C/2.0
                    Double H3s as well


      Ifprovided,include0Level/GCSE marks in calculation ofGPA with a single weight
      like we do with the British System.

      General notes — For all national curriculums,the general rule ofthumb is to include all
      courses as part ofthe GPA calculations.


                 7.Additional International Scales for Relevant Countries

      For GPA scales ofother countries Table III has been sent separately and is include in the
      Ivy League Academic Index Memo. Please see CGM if you need a copy.




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                                            TABLE II: For establishing value ofCGS

                                               Revised May 2015/UPDATED AUGUST 2016



        Percentage      International                                                  Letter Grade  4.0 Scale     CGS
                                         11.0/12.0 Scale   5.0/6.0 Scale     4.0 Scale
         Average        Baccalaureate                                                   Equivalent UN WEIGHTED
                                             USE FOR          USE. FOR      WEIGHTED
                                                                                          t o 4.0
                                          WEIGHTED AND WEIGHTED AND USEONLY WHEN
                                          UN WEIGHTED      UNWEIGIITED     UNWEIGHTED
                                         GPAS WHERE A= GPAS WHERE A= NOTAVA ILAPLE
                                        21.0 AND At >11.0 5.0 AND A,- >5.0
      98.00 and above        7          12.00 and above   6.00 and above   4.30 and above   A+           4.0       80
       97.00- 97.99         6/7           11.70- 11.99      5.70 - 5.99      4.20- 4.29              3.91 - 3.99   79
       96.00 • 96.99                      11.40 - 11.69     5.40 • 3.69      4.10 - 4.19             3.81 - 3.90   78
       95.00 - 95.99         6           11.00 - 11.39      5.00- 5.39       4.00 - 4.09    A        3.72 - 3.80   77
       94.00 - 94.99                      10.70 - 10.99     4.90 - 4.99      3.90 - 3.99             3.63 - 3.71   75
       93.00 - 93.99                      10.40 - 10.69     4.80- 4.89       3.80 - 3.89             3.53 - 3.62   73
       92.00 - 92.99        5/6          10.00 - 10.39      4.70-4.79        3.70 - 3.79    A-       3.44 - 3.52   71
       91.00 - 91.99                       9.90 - 9.99      4.60- 4.69       3.60 - 3.69             3.35 - 3.43   70
       90.00 - 90.99                       9.50 -9.79       4.50 -459        3.50 - 3.59             3.26 - 3.34   69
       89.00 - 09.99                      9.30 - 9.49       4.40 - 4.49      3.40 - 3.49             3.16 - 3.25   68
       88.00 - 88.99                      9.00 - 9.29       4.30 - 4.39      3.30 - 3.39    13+      3.07 - 3.15   67
       87.00 - 87.99                      8.70 - 8.99       4.20 - 4.29      3.20 - 3.29             2.98 -3.06    66
       86.00 -86.99                       8.40 -8.69        4.10 • 4.19      3.10 - 3.19             2.88 - 2.97   65
       85.00 - 85.99         5            8.00 - 8.39       4.00 - 4.09     3.00 - 3.09     B        2.79 -2.87    63
       84.00 - 84.99                      7.70 - 7.99       3.90 - 3.99      2.90 - 2.99             2.70 -2.78    61
       83.00 - 83.99                      7.40 - 7.69       3.80 - 3.89     2.80 - 2.89              2.61 -2.69    59
       82.00 - 82.99        4/5           7.00 - 7.39       3.70 - 3.79     2.70 -2.79      0-       2.51 - 2.60   57
       81.00 - 81.99                      6.75 - 6.99       3.60 - 3.69     2.60 - 2.69              2.42 - 2.50   55
       80.00 - 80.99                      6.50 - 6.74       3.50 - 3.59     2.50 - 2.59              2.33 - 2.41   53
       79.00 - 79.99                      6.25 - 6.49       3.40 - 3.49     2.40 • 2.49              2.23 - 2.32   51
       78.00 - 78.99                      6.00 - 6.24       3.30 - 3.39     2.30 - 2.39     C+       2.14 - 2.22   49
       77.00 - 77.99                      5.70 - 5.99       3.20 - 3.29     2.20 - 2.29              2.05 -2.13    48
       76.00 - 76.99                      5.40 - 5.69       3.10 - 3.19     2.10 - 2.19              1.95 - 2.04   47
       75.00 • 75.99         4            5.00 - 5.39       3.00 - 3.09     2.00 - 2.09     C        1.86 - 1.94   46
       74.00 - 74.99                      4.70 - 4.99       2.90 - 2.99     1.90- 1.99               1.77 - 1.85   45
       73.00 - 73.99                      4.40 - 4.69      2.80 - 2.89      1.80 - 1.89              1.67 - 1.76   44.
       72.00 - 72,99        3/4           4.00 - 4.39      2.70 - 2.79      1.70 - 1.79     C-       1.58 - 1.66   42
       71.00 - 71.99                       3.5 - 3.99      2.60 - 2.69      1.60 - 1.69              1.49 - 1.57   40
       70.00 - 70.99                       2.5 - 3.49      2.50 - 2.59      1.50 - 1.59     D+       1.40 - 1.56   38
       Below 70.00           3             Below 2.5        Below 2.5        Below 1.5      D        Below 1.4     35




                                                          12




                                                                             JA4618
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                  TABLE HA: For establishing value of CGS of Canadian Students

                            Revised May 2015,Effective for Class Entering Fall 2017



                                               Canada Where          CanadaWhere
       U nited States 100     Letter Grade                                                   CGS
                                               passing grade is      passing grade is
           Point Scale         Equivalent
                                                   50%'                  60% 2
        98.00 and above            A+         90.00 and above        88.00 and above          80
         97.00---97.99                         88.00---89.99          87.00 --- 87.99         79
         96.00 --- 96.99                       86.00--- 87.99         86.00-86.99             78
         95.00--- 95.99             A          84.00--- 85.99         85.00--- 85.99          77
         94.00---94.99                         82.00 --- 83.99        84.00 --- 84.99         75
         93.00-93.99                           80.00---81.99          83.00-83.99             73
         92.00---92.99                         79.00---79.99          82.00---82.99           71
         91.00-91.99                           78.00---78.99          81.00 --- 81.99         70
         90.00 --- 90.99                       77.00--- 77.99         80.00--- 80.99          69
         89.00---89.99                         76.00 --- 76.99        79.00 --- 79.99         68
         88.00--- 88.99            B+          75.00--- 75.99         78.00--- 78.99          67
         87.00-87.99                           74.00 --- 74.99        77.00---77.99           66
         86.00 --- 86.99                       73.00 --- 73.99        76.00 --- 76.99         65
         85.00--- 85.99             B          72.00--- 72.99         75.00--- 75.99          63
         84.00 --- 84.99                       71.00 --- 71.99        74.00 --- 74.99         61
         83.00 --- 83.99                       70.00 --- 70.99        73.00--- 73.99          59
         82.00-82.99               B---        69.00---69.99          72.00---72.99           57
         81.00--- 81.99                        68.00--- 68.99         71.00--- 71.99          55
         80.00--- 80.99                        67.00--- 67.99         70.00 --- 70.99         53
         79.00 --- 79.99                       66.00 --- 66.99        69.00 ---69.99          51
         78.00 --- 78.99           C+          65.00-65.99            68.00 --- 68.99         49
         77.00 --- 77.99                       64.00 ---64.99         67.00-67.99             48
         76.00--- 76.99                        63.00 --- 63.99        66.00--- 66.99          47
         75.00- 75.99               C          62.00---62.99          65.00---65.99           46
         74.00---74.99                         61.00 --- 61..99       64.00 --- 64.99         45
         73.00-73.99                           60.00 --- 60.99        63.00---63.99           44
         72.00---72.99             C---         Below 60.00           62.00-62.99             42
         71.00 --- 71.99                                              61.00 --- 61..99        40
         70.00--- 70.99            D+                                 60.00--- 60.99          38
         Below 70.00               D                                   Below 60.00            35



       Passing grade is 50% for the following Provinces: Alberta, British Columbia,
      Manitoba. Newfoundland, NW Territories, Nova Scotia, Nunavut,Ontario, Prince
      Edward Island, Saskatchawan,Yukon
      Passing grade is60% for the following Provinces: New Brunswick,Quebec


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         III.   FILE ROUTING

      INADVERTENTLY CLEARED FILES: Occasionally, files will be mistakenly "cleared"
     (considered complete)and placed in your first read bin. Open the Admin Problems Form, note
      the issue and to which bin the folder should be routed when the problem is solved. Then route
      the file to the Admin Problems bin.

     FILES SHOULD BE READ AND PASSED IN A TIMELY FASHION: Readers should take
     care not to allow files to pile up. First readers need to read files from all assigned dockets as
     they clear, not just those whose subcommittee meets first. However, because all files will clear
     regardless of roundireaderlitould read early action files first, as soon as possible. Regular action
     files can generall9Tvait ur after December 1st but you can read them prior to that if you are
     able to. This is important. and we will monitor reading progress centrally. If you need help
     keeping up for whatever reason, let us know immediately. Readers should code out files to the
       ommittee Review bin or pass to thsChair. First-time readers will use the Optional Additional
     bin for their first 50-100 files during early Action. Those files will be redistributed to
     experiences readers by the operations staff.

                                                                             TeX
     SECOND READERS(OPTIONAL ADDITIONAL READER): Exceptly new readers (for
     whom special routing instructions are provided below), second readings should be used only in
     the rarest of instances:

         A)Ifthree readings are needed for a complex case.

         B)Ifthe case raises issues of policy.

         C)Ifthe case would be greatly helped by a second reading from the former area person or
           someone with special knowledge ofan area or type of case.

     No second reader will ordinarily be assigned. If you want/need a second reading, consult the
     eamieseehdocket assignment sheet to identify other readers on your docket. Try not to burden one
     person inordinately. You should choose "Optional Additional Reader" as the next bin and enter
     the name ofthat person which will place the file in their queue. You can add a note for the
     second reader such as "Please give V docket context" You should also send an email to special
     second readers to alert them to your requested reading. If you have received a file as a second
     read for a new reader, please read it as quickly as possible and put it back in the queue ofthe new
     reader.


     FIRST-TIME READERS: New readers should have their first fifty to one hundred Early
     Action files passed to the Optional Additional Reader bin or to the chair bin, based on relative
     strength. Some chairs may wish to use different approaches for first year readers.

     GENERAL ROUTING RULES:

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      I) A file should be passed directly to the chair:

        • Ifthe first reader rates a file a "2-" or better (i.e. a case the first reader thinks has a very
          good chance of being admitted)

        • Ifthe case will likely(or almost certainly) be discussed in Committee.

         • If you want the docket chair's opinion or want simply to have the docket chair informed
           about the case.

        If the first reader has a significant degree of uncertainty about how to proceed with the
        case, he or she should consult the docket chair.
                             401104.11A
     2) A case rated a 3+ may be passed to the chair or routed straight to the Committee Review bin.
       The first reader should consider carefully the likelihood that additional anticipated
        information (e.g., a superior music rating) will make the case more compelling, in which case
        the folder should be passed to the chair. Ifthere is no further information anticipated and the
        case is qualitatively a 3+(a strong case but like many others),an experienced first reader
        does not need to pass it on.

     3) Typically, a case rated a 3 or lower with no particular attribute that would make it
        competitive can be routed directly to the Committee Review bin. Obviously late information
        or school context could change this initial evaluation. The first reader, as an advocate, must
        beslOry certain to check all late information that might make a difference to the case prior
        to the Committee meetings. This is particularly important for candidates whose outstanding
        personal qualities become evident once we have the alumni/ac interview.

     Readers new to a docket should discuss with the docket chair any special guidelines about which
     files should be passed on and which files should not.

     BINS
     In Slate, various "bins" are used to track an application file's progress through the application
     cycle. Bins are used for ease ofday-to-day work - they do not represent final decisions. The
     layout of bins can be viewed in the Slate Reader using the Browse tab (Note: the "Freshman
     Only" preset filter in Reader displays all freshman applicants and previous admits in the current
     application period).

     Each bin column represents a different phase ofthe application cycle, and generally, work flows
     from left to right:
        • Pre-Review: Folders are incomplete, incorrectly coded, or withdrawn
        • Reads: Folders are complete("cleared")and ready for review by readers
        • Committee: Folders are ready for discussion by committee



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        • Working Decision: Folders have been discussed by the committee and a decision has
            been recommended
        • Final Decision: Decisions have been checked and confirmed; ready for decision release
        (Note: Files should only be moved to final decision bins on Decision Day by the Slate
         team. Prior to Decision Day,files should remain in Working Decision bins.


      CHANGING BIN ASSIGNMENTS
      Readers normally change a folder's bin assignment during the reading process using the Review
      Form in the Slate Reader. Occasionally it will be necessary to change a folder's bin assignment
      after the Review Form has been submitted. In these cases,the bin assignment can be changed in
      the Student Record. To edit a bin assignment in the Student Record,click the "Edit Application
      Details" tab on the right, and select the desired bin from the Bin dropdown menu.


     CLEARING INCOMPLETES                                                                                  net
     Readers should be sure to check the "Not Cleared" bin before each of their subcommittee/
     and then periodically before decisions are final to check for any cases that could be read
     with the materials in the file. Sometimes,transcripts may be in various tabs aside from the
     "SSR" tab. Readers should use their discretion or consult with their chairs but in general, a
     file that has an application and a transcript can be read and evaluated.

     SPECIAL READINGS

        • WRF should see cases that could be particularly sensitive or controversial or that raise
          issues of fundamental policy. When in doubt,send the file on by routing to the 4th reader
          bin.

        • Folders of competitive candidates who attended secondary school outside the U.S. and
          Canada may be passed on to the appropriate U, V or W docket area person or RMW if
          help in assessing foreign credentials is needed. Be selective- don't pass on a case unless
          you are sure the applicant is competitive or has some unusual attributes.

        • A faculty readings memorandum will be distributed later regarding specific procedures.

        • Supplemental music/art/dance/academic materials ofclearly competitive candidates with
          an unusually strong talent may be assessed through a supplementary process - through
          Slideroom (for music and dance) or through the faculty read process(for art or academic
          work). Handling ofthis material will be addressed through memoranda over the course of
          the fall.


         IV.OTHER ITEMS



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         • Slate is made up of data downloaded from the application and supplemental forms.
           We currently do not have the ability to enter all the information by hand for those
           applicants who do not submit their forms on-line. However,the data entry staff will
           enter the most critical bio/demo information as they have in the past. This means
           that the dockets will be correct, but the summary sheets for these applicants will be
           primarily blank. You should double-check the data that is important - i.e. parent
           education,ethnicity, aid status, etc. - basically every field that's on the summary
           sheet. About 1% of all our applicants will fall into this category.

         • Acknowledgments to guidance counselors, teachers, and others: The area person may
           occasionally feel it worthwhile to acknowledge unusually helpful TRs and SSRs by
           writing a note to the author. The note should acknowledge that the candidate may or may
           not be admitted. Supplementary letters of recommendation may have already been
           acknowledged with a card or letter, but if not, particularly with recommenders who
           are alumni or others about whom Harvard might be concerned, you should call the
           letter to the attention of MEM or WRF and an acknowledgment will be sent. This is
           important!

         • Support Materials: ALL manually submitted support material should be dropped into the
           ap ropriate basket in the mailroom for sorting and scanning.

         • Misfile.     d Missin materials: If a teacher report, school report or any other material
                        be helpful to a competitive candidate is missing, first readers should request a
                       -sent. Files should be sent on to other readers unless the missing pieces are
            crucial. In such cases, first readers should hold onto the file by routing the file to the
            "Area Person Follow Up" bin. Detailed instructions on how to add new materials to an
            applicant's file can be found in the "Documentation" tab ofthe Slate welcome page.

         • File items that require attention: Unanswered letters should be handled by first readers
           where appropriate or others including MEM or WRF.



          V.SCANNING AND INDEXING

      There is a basket in the mailroom to collect and sort hard-copy documents received. The forms
      collected in these baskets shouldh4h e content that is *specific* to the admission decision ofthe
      applicant and are marked as suc      r example, mailed applications or supplements, letters of
      support, teacher reports, Harvard evaluation,(coach,arts, music, Harvard faculty), midyear
      reports, SSR's etc. We will scan almost everything. Ifthat/not possible,an "oversized support"
      form will be scanned and added to the file to let you know there is material sitting in the
      bookcase in Conference Room 5.
      Relevant emails to officers from applicants or about an applicant should be saved as a PDF file
      and indexed directly into the applicant file by the officer. Tool° so, go into the student record in

                                                                   /
                                                                   )4
                                                       17




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      Slate select the current round tab and scroll down to the "Materials" header. Click to add new
      material and make the appropriate selection from the drop-down menu. If you receive materials
      both electronically and in paper, you do not need to have the paper material scanned.

      Documents displayed in the Reader are named by the document type that follows the menu down
      the left side of the Slate e-reader.
         • Application (and supplement)
         • SSR
         • TRs
         • Interviews
         • Additional academic(additional transcripts, etc)
         • Midyear
         • Final Report(potentially greyed out until admitted)
         • Ratings Forms(includes IRFs)
         • Miscellaneous(notes from family/friends, alums, correspondence, noting of oversized
              support, etc)
         • Waitlist
         • Previous App
         • Portfolio(NOTE: a tab in Slate we do not use at this time).




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                                                                                 SFFA v. Harvard




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                                                                              TRIAL EXHIBIT




                                                                                                   exhibitsticker.com
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                                                                                 SFFA v. Harvard




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                                                           United States District Court
                                                            District of Massachusetts

                                                                    DX 2
                                                     Case No.     1:14-cv-14176 (ADB)
                                                     Date Entered
                                                     By
                                                                   Deputy Clerk


                                        JA4628
                                        DX002.0001
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                                        JA4629
                                        DX002.0002
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                                        JA4630
                                        DX002.0003
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                                        JA4631
                                        DX002.0004
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                                        JA4632
                                        DX002.0005
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                                        JA4633
                                        DX002.0006
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                                        JA4634
                                        DX002.0007
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                                        JA4635
                                        DX002.0008
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                                        JA4636
                                        DX002.0009
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                                        JA4637
                                        DX002.0010
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                                        JA4638
                                        DX002.0011
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                                        JA4639
                                        DX002.0012
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                                        JA4640
                                        DX002.0013
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                                        JA4641
                                        DX002.0014
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                                        JA4642
                                        DX002.0015
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                                        JA4643
                                        DX002.0016
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                                        JA4644
                                        DX002.0017
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                                        JA4645
                                        DX002.0018
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                                        JA4646
                                        DX002.0019
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                                        JA4647
                                        DX002.0020
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                                        JA4648
                                        DX002.0021
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                                        JA4649
                                        DX002.0022
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                                        JA4650
                                        DX002.0023
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                                        JA4651
                                        DX002.0024
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                                        JA4652
                                        DX002.0025
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                                        JA4653
                                        DX002.0026
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                                        JA4654
                                        DX002.0027
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                                        JA4655
                                        DX002.0028
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                                        JA4656
                                        DX002.0029
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                                        JA4657
                                        DX002.0030
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                                        JA4658
                                        DX002.0031
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                                        JA4659
                                        DX002.0032
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                                        JA4660
                                        DX002.0033
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                                        JA4661
                                        DX002.0034
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                                        JA4662
                                        DX002.0035
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                                        JA4663
                                        DX002.0036
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                                        JA4664
                                        DX002.0037
Case: 19-2005   Document: 00117622242   Page: 227    Date Filed: 07/30/2020   Entry ID: 6356615




                                        JA4665
                                        DX002.0038
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                                        JA4666
                                        DX002.0039
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                                        JA4667
                                        DX002.0040
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                                        JA4668
                                        DX002.0041
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                                        JA4669
                                        DX002.0042
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                                        JA4670
                                        DX002.0043
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                                        JA4671
                                        DX002.0044
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                                        JA4672
                                        DX002.0045
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                                        JA4673
                                        DX002.0046
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                                        JA4674
                                        DX002.0047
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                                        JA4675
                                        DX002.0048
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                                        JA4676
                                        DX002.0049
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                                        JA4677
                                        DX002.0050
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                                        JA4678
                                        DX002.0051
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                                        JA4679
                                        DX002.0052
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                                        JA4680
                                        DX002.0053
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                                        JA4681
                                        DX002.0054
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                                        JA4682
                                        DX002.0055
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                                        JA4683
                                        DX002.0056
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                                        JA4684
                                        DX002.0057
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                                        JA4685
                                        DX002.0058
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                                        JA4686
                                        DX002.0059
Case: 19-2005   Document: 00117622242   Page: 249    Date Filed: 07/30/2020   Entry ID: 6356615




                                        JA4687
                                        DX002.0060
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                                        JA4688
                                        DX002.0061
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                                        JA4689
                                        DX002.0062
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                                        DX002.0063
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                                        DX002.0064
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                                        DX002.0065
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                                        DX002.0066
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                                        DX002.0067
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                                        DX002.0068
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                                        DX002.0069
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                                        DX002.0070
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                                        JA4698
                                        DX002.0071
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                                        DX002.0072
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                                        DX002.0073
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                                        DX002.0074
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                                        DX002.0075
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                                        DX002.0076
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                                        DX002.0077
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                                        DX002.0078
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                                        DX002.0079
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                                        DX002.0080
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                                        DX002.0082
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                                        DX002.0085
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                                        DX002.0086
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                                        JA4716
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                                        DX002.0092
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                                        JA4721
                                        DX002.0094
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                                        DX002.0095
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                                        DX002.0096
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                                        DX002.0097
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                                        DX002.0099
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                                        JA4733
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                                        JA4734
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                                        JA4735
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                                        JA4736
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                                        DX003.0006
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                                        JA4746
                                        DX003.0009
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                                        DX003.0010
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                                        DX003.0011
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                                        DX003.0012
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                                        DX003.0021
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                                        JA4751
                                        DX003.0022
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                                        DX003.0023
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                                        DX003.0024
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                                        JA4754
                                        DX003.0025
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                                        JA4755
                                        DX003.0026
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                                        JA4756
                                        DX003.0027
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                                        JA4757
                                        DX003.0028
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                                        JA4758
                                        DX003.0035
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                                        JA4759
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                                        JA4760
                                        DX003.0050
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                                        JA4761
                                        DX003.0051
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                                        JA4762
                                        DX003.0052
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                                        JA4763
                                        DX003.0053
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                                        JA4764
                                        DX003.0054
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                                        JA4765
                                        DX003.0055
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                                        JA4766
                                        DX003.0056
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                                        JA4767
                                        DX003.0057
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                                        JA4768
                                        DX003.0058
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                                        DX003.0059
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                                        JA4770
                                        DX003.0060
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                                        JA4771
                                        DX003.0061
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                                        JA4772
                                        DX003.0062
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                                        JA4773
                                        DX003.0063
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                                        JA4774
                                        DX003.0064
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                                        JA4775
                                        DX003.0065
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                                        JA4776
                                        DX003.0066
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                                        JA4777
                                        DX003.0067
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                                        JA4778
                                        DX003.0068
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                                        JA4779
                                        DX003.0069
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                                        JA4780
                                        DX003.0070
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                                        JA4781
                                        DX003.0071
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                                        JA4782
                                        DX003.0072
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                                        JA4783
                                        DX003.0073
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                                        JA4784
                                        DX003.0074
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                                        JA4785
                                        DX003.0075
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                                        JA4786
                                        DX003.0076
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                                        JA4787
                                        DX003.0081
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                                        JA4788
                                        DX003.0090
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                                        JA4789
                                        DX003.0091
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                                        JA4790
                                        DX003.0092
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                                        JA4791
                                        DX003.0093
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                                        JA4792
                                        DX003.0094
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                                        JA4793
                                        DX003.0095
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                                        JA4794
                                        DX003.0096
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                                        JA4795
                                        DX003.0097
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                                        JA4796
                                        DX003.0098
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                                        JA4797
                                        DX003.0099
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                                        JA4798
                                        DX003.0100
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                                        JA4799
                                        DX003.0101
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                                        JA4800
                                        DX003.0102
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                                        JA4801
                                        DX003.0103
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                                        JA4802
                                        DX003.0104
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                                        JA4803
                                        DX003.0105
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                                        JA4804
                                        DX003.0106
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                                        JA4805
                                        DX003.0107
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                                        JA4806
                                        DX003.0108
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                                        JA4807
                                        DX003.0109
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                                        JA4808
                                        DX003.0110
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                                        JA4809
                                        DX003.0111
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                                        JA4810
                                        DX003.0112
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                                        JA4811
                                        DX003.0113
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                                        JA4812
                                        DX003.0114
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                                        JA4813
                                        DX003.0115
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                                        JA4814
                                        DX003.0116
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                                        JA4815
                                        DX003.0117
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                                        JA4816
                                        DX003.0118
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                                        JA4817
                                        DX003.0119
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                                        JA4818
                                        DX003.0120
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                                        JA4819
                                        DX003.0121
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                                        JA4820
                                        DX003.0122
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                                        JA4821
                                        DX003.0123
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                                        JA4822
                                        DX003.0124
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                                        JA4823
                                        DX003.0125
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                                        JA4824
                                        DX003.0127
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                                        JA4825
                                        DX003.0128
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                                        JA4826
                                        DX003.0129
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                                        JA4827
                                        DX003.0130
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                                        JA4828
                                        DX003.0131
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                                        JA4829
                                        DX003.0132
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                                        JA4830
                                        DX003.0133
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                                        JA4831
                                        DX003.0134
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                                        JA4832
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                                        JA4833
                                        DX003.0152
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                                        JA4834
                                        DX003.0153
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                                        JA4835
                                        DX003.0154
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                                        JA4836
                                        DX003.0155
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                                        JA4837
                                        DX003.0172
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                                        JA4838
                                        DX003.0179
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                                        JA4839
                                        DX003.0180
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                                        JA4840
                                        DX003.0181
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                                        JA4841
                                        DX003.0182
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                                        JA4842
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                                                          United States District Court
                                                           District of Massachusetts

                                                                   DX 4
                                                    Case No.     1:14-cv-14176 (ADB)
                                                    Date Entered
                                                    By
                                                                  Deputy Clerk



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                       Interviewer Handbook

                                   2013 - 2014


                                                                                         Harvard Co/Lege
                                                                Office ifAdmissions and Financial Aid
                                                                                         86 Brattle Street
                                                                                  Cambridge, AfA 02138
                                                                                     Revised fiall if 2013


                                                   United States District Court
                                                    District of Massachusetts

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                 I Ielen Vendler kindly wrote this little essay for us. As a former member of the Faculty Standing
                 Committee on Admissions, she wrote it to inspire us, and to help us be particularly alert to those
                 candidates whose creative sensibilities would be valuable assets to a Harvard class, and would help
                 them support the cultural life of our communities in decades to come. We hope you will find it as
                 enlightening as our Committee does.


                                                Valuing the Creative and Reflective

                           Anyone who has seen application folders knows the talents of our potential undergraduates,
                 as well as the difficulties overcome by many of them. And anyone who teaches our undergraduates,
                 as I have done for almost thirty years, knows the delight of encountering them. Each of us has
                 responded warmly to many sorts of undergraduates: I've encountered the top Eagle Scout in the
                 country, a violinist who is now part of a young professional quartet, a student who backpacked solo
                 through Tierra del Puego, and other memorable writers, pre-meds, theater devotees, Lampoon
                 contributors on their way to Hollywood, and more. They have come from both private and public
                 schools and from foreign countries.
                           We hear from all sides about "leadership," "service," "scientific passion," and various other
                 desirable qualities that bring about change in the world. Fields receiving the most media attention
                 (economics, biology, psychology, occasionally history) occupy the public mind more than fields-
                 perhaps more influential in the long run-in the humanities: poetry, philosophy, foreign languages,
                 drama. Auden famously said-after seeing the Spanish Civil War-that "poetry makes nothing
                 happen." And it doesn't., when the "something" desired is the end of hostilities, a government coup,
                 an airlift, or an election victory. But those "somethings" are narrowly conceived. The cultural
                 resonance of Greek epic and tragic roles-Achilles, Oedipus, Antigone-and the crises of
                 consciousness they embody-have been felt long after the culture that gave them birth has
                 disappeared. Gandhi's thought has penetrated far beyond his own country, beyond his own century.
                 Music makes nothing happen, either, in the world of reportable events (which is the media world);
                 but the permanence of Beethoven in revolutionary consciousness has not been shaken. We would
                 know less of~ew England without Emily Dickinson's "seeing New Englandly," as she put it. Books
                 are still considering Lincoln's speeches-the Gettysburg Address, the Second Inaugural-long after
                 the events that prompted them vanished into the past. Nobody would remember the siege of Troy if
                 Homer had not sung it, or Guernica if Picasso had not painted it. The Harlem Renaissance would
                 not have occurred as it did without the stimulus of A.lain Locke, Harvard's first Rhodes Scholar.
                 Modem philosophy of mind would not exist as it does without the rigors of Wittgenstein's
                 Philosophical Investigations, nor would our idea of women's rights v.1.thout Woolf's claim for a
                 room of her own.
                           We are eager to harbor the next Homer, the next Kant, or the next Dickinson. There is no
                 reason why we shouldn't expect such a student to spend his or her university years with us. Emerson
                 did; Wallace Stevens did; Robert Frost did; Frank O'I Iara and John Ashbery and Fairfield Porter and
                 Adrienne Rich did; and had universities harbored women in residence when Dickinson came of age,
                 she might have been glad to be here. She and Woolf could be the writers they were because their
                 fathers had extensive private libraries; women without such resources were deprived of the chance
                 to be all they could be. It is important to recall that the makers of culture last longer in public
                 memory than members of Parliament, representatives and senators; they modify the mind of their
                 century more, in general, than elected officials. They make the reputation of a country. ~chelangelo
                 outlasts the Medici and the Popes in our idea ofltaly; and, as one French poet said, "le buste/ Survit
                 a la cite": art outlives the cities that gave it birth.
                                                                   2




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                          In the future, ·will the United States he remembered with admiration? Will we he thanked for
                 our stock market and its investors? For our wars and their consequences? For our depletion of
                 natural resources? For our failure at criminal rehabilitation? Certainly not. Future cultures will
                 certainly be gTateful to us for many aspects of scientific discovery, and for our progress (such as it
                 has been) in more humane laws. We can be proud of those of our graduates who have gone out in
                 the world as devoted investigators of the natural world, or as just judges, or as ministers to the
                 marginalized. But science, the law, and even ethics are moving fields, constantly surpassing
                 themselves. To future generations our medicine will seem primitive, our laws backward, even our
                 ethical convictions narrow.
                          "I tried each thing; only some were immortal and free," wrote our graduate John Ashbery.
                 He decided on the immortal and free things, art and thought, and became a notable poet. Most art,
                 past or present, does not have the stamina to last; but many of our graduates, like the ones
                 mentioned above, have produced a level of art above the transient. The critical question for Harvard
                 is not whether we are admitting a large number of future doctors and scientists and lawyers and
                 businessmen (even future philanthropists): we are. The question is whether we can attract as many as
                 possible of the future Emersons and Dickinsons. How would we identify them? What should we ask
                 them in interviews? How would we make them want to come to us?
                          The truth is that many future poets, novelists, and screenwriters are not likely to be straight-
                 A students, either in high school or in college. The arts through which they will discover themselves
                 prize creativity, originality, and intensity above academic performance; they value introspection
                 above extroversion, insight above rote lean1ing. Yet such unusual students may be, in the long run,
                 the graduates of whom we will be most proud. Do we have room for the reflective introvert as well
                 as for the future leader? Will we enjoy the student who manages to do respectably but not brilliantly
                 in all her subjects but one-but at that one surpasses all her companions? Will we welcome eagerly
                 the person who has in high school been completely uninterested in public service or sports-but
                 who may be tl1e next Wallace Stevens? Can we preach the doctrine of excellence in an art; the
                 doctrine of intellectual absorption in a field of study; even the doctrine of unsociability; even the
                 doctrine of indifference to money? (Wittgenstein, who was rich, gave all his money away as a
                 distraction; Emily Dickinson, who was rich, appears not to have spent money, personally, on
                 anything except for an occasional dress, and paper and ink.) Can frugality seem as desirable to our
                 undergraduates as affluence-provided it is a frugality that nonetheless allows them enough leisure
                 to think and write? Can we preach a doctrine of vocation in lieu of the doctrine of competitiveness
                 and worldly achievement?
                          These are crucial questions for Harvard. But there are also other questions we need to ask
                 ourselves: Do we value mostly students who resemble us in talent and personality and choice of
                 interests? Do we remind ourselves to ask, before conversing ,vi.th a student v.>ith artistic or creative
                 interests, what sort of questions will reveal the next' l'.S. Eliot? (Do we ever ask, "Who is the poet
                 you have most enjoyed reading?" Eliot would have had an interesting answer to that.) Do we ask
                 students who have done well in English which aspects of the English language or a foreign language
                 they have enjoyed learning about, or what books they have read that most touched them? Do we ask
                 students who have won prizes in art whether they ever go to museums? Do we ask in which
                 medium they have felt themselves freest? Do we inquire whether students have artists (writers,
                 composers, sculptors) in their family? Do we ask an introverted student what issues most occupy his
                 mind, or suggest something Qustice and injustice in her high school) for her to discuss? Will we
                 believe a recommendation saying, "This student is the most gifted writer I have ever taught," when
                 the student exhibits, on his transcript, C's in chemistry and mathematics, and has absolutely no high-
                 school record of group activity? Can we see ourselves admitting such a student (which may entail
                 not admitting someone else, who may have been a valedictorian)?

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                          President Drew Faust's new initiative in the arts will make Harvard an immensely attractive
                 place to students ·with artistic talent of any sort. It remains for us to identify them when they
                 apply-to make sure they can do well enough to gain a deg-ree, yes, but not to expect them to be
                 well-rounded, or to become leaders. Some people in the arts do of course become leaders (they
                 conduct as well as sing, or found public-service organizations to increase literacy, or work for the
                 reinstatement of the arts in schools). But one can't quite picture Baudelaire pursuing public service,
                 or Mozart spending time perfecting his mathematics. We need to be deeply attracted by the one-
                 sided as well as the many-sided. Some day the world will be glad we were hospitable to future artists.
                 Of course most of them will not end up as Yo-Yo Ma or Adrienne Rich; but they will be the people
                 who keep the arts alive in our culture. "To have great poets," as Whitman said, "there must be great
                 audiences too." The matrix of culture ,v-ill become impoverished if there are not enough gifted
                 artists and thinkers produced: and since universities are the main producers for all the professions,
                 they cannot neglect the professions of art and reflection.
                          And four years at Harvard can certainly nurture an artist as a conservatory-education cannot.
                 It remains true that great writers have often been deeply (if eccentrically) learned, that they have
                 been bilingual or trilingual, or have had a consuming interest in another art (as Whitman loved vocal
                 music, as .i\1.ichelangelo wrote sonnets). At Harvard, writers and artists will encounter not only the
                 riches of the course catalogue but also numerous others like themselves; such encounters are a
                 prerequisite for the creation of self-confidence in an art. It is no accident that many of our writers
                 have come out of our literary magazine the Advocate, where they found a collective home. We need
                 comparable student homes for the other arts.
                          Once we have our potential philosophers, writers, and composers, how will we prepare them
                 for their passage into the wider society? Our excellent students are intensely recruited by business
                 and finance in the fall of their senior year-sometimes even earlier than that. Humanities
                 organizations (foundations, schools, government bureaus) do not have the resources to fly students
                 around the world, or even around the United States, for interviews, nor do their budgets allow for
                 recruiters and their travel expenses. Perhaps money could be found to pay for recruiting trips in the
                 early fall for representatives of humanities organizations. Perhaps we can find a way to convey to
                 our juniors that there are places to go other than Wall Street, and great satisfaction to be found
                 when they follow their own passions, rather than a passion for a high salary. But if we are to be
                 believed when we inform them of such opportunities, we need, T think, to mute our praise for
                 achievement and leadership at least to the extent that we pronounce equal praise for inner
                 happiness, reflectiveness, and creativity; and we need to make being actively recruited as available to
                 students of the humanities as it now is to others.
                          With a larger supply of creative and reflective admittees on campus, fellow-students will
                 benefit not only from seeing their style of life and attending their exhibits or plays or readings, but
                 also from their intellectual conversation. America will, in the end, be grateful to us for giving her
                 original philosophers, critics, and artists; and we can let the world see that just as we prize physicians
                 and scientists and lav,;yers and judges and economists, we also are proud of our future philosophers,
                 novelists, composers, and critics, who, although they must follow a rather lonely and highly
                 individual path, are also indispensable contributors to our nation's history and reputation.


                                                           Helen V endler, Arthur Kingsley Porter University Professor




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                                                           Introduction

                          Each year, members of our Schools & Scholarships Committees recruit and evaluate
                 applicants to Harvard College. In the process, they cultivate critical relationships with parents,
                 guidance counselors, other alumni/ ae, and the general public. As the competition among colleges
                 for the best students increases, so does our need for your help. We are grateful you have volunteered
                 to join our efforts. You will likely find the work personally rewarding, intellectually stimulating, and
                 occasionally perplexing.
                          This document addresses four subjects: 1) "Admissions Standards" describes the structure of
                 the Admissions and Financial Aid offices. 2) "How the Committee Selects a Class" explains our
                 criteria and procedures for recmiting students, evaluating them, and voting on their admission. 3)
                 "How Schools Committees Recruit Students" describes recruitment you can do. The most critical
                 and practical part of this handbook is 4) "Interviewing Applicants," an overview of how to
                 schedule and conduct a personal interview and evaluate students in written reports. In
                 section 5) "Sample Interview Reports," you will find examples of actual interview reports with our
                 comments describing what was particularly well done and what the interviewer could have improved
                 to make the report more helpful to the Committee.
                          The Committee has developed these practices over four decades of work with alumni/ ae.
                 Please read this document and consult our website (http://www.admissions.college.harvard.edu),
                 which includes an overview of the College. In addition, the publications and web sites referred to
                 below will keep you current on Harvard's academic, extracurricular, and other resources. The
                 Admissions Office's own site is atwww.admissions.college.harvard.edu. As always, feel free to
                 contact us (617.495.1551) if we can be of further assistance in this important work. Once again,
                 thank you for all of your help!


                 Recommended Reading and Harvard Websites

                 Primacy: sowces

                 SEAS outlines programs in the School of Engineering and Applied Sciences (www.seas.harvard.edu)

                 Virtual Tour (www.news.harvard.edu/tour) will guide you around and about Harvard Yard.

                 Admissions Video (http://www.admissions.college.harvard.edu/about/video/index.html)

                 Electronic newsletters are sent to all alumni/ae interviewers, usually 2-3 times a year.

                 Freshman Seminar Program (v.,ww.fas.harvard.edu/seminars) describes current seminars.

                 Practice and Performance Office for the Arts (www.fas.harvard.edu/-pand~.\ lists the facilities,
                        programs, and organizations at Harvard in dance, music, theater, and the visual arts.

                 Accessible Education Office Resources for students with disabilities (www.aeo.fas.harvard.edu)




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                 Secondacy: sources
                 These publications, offered by other sources, can also help:

                 Courses of Instruction (\vww.reg-istrar.fas.harvard.edu/Courses) is the Faculty of Arts and Sciences
                       course catalog.

                 Handbook for Students and Fields of Concentration
                      (htt;p: //handbook.fas.harvard.edu/icb/icb.do )
                      describes degree requirements and general regulations.

                 The Crimson (www.thecrimson.com) is the daily student-run newspaper.

                 Religious Life at Harvard features a United ~nistry directory; call 617.495.5529 or consult
                        (http://chaplains.harvard.edu/)

                        Harvard University Gazette (http://news.harvard.edu/gazette) is published weekly by the
                        "Cniversity News Office during the academic term and three times over the summer. In
                        addition, an update of Harvard happenings is sent via e-mail each weekday to subscribers.
                        Alumni can register for these e-mail updates on the Gazette's website.

                 Office of Career Services (www.ocs.fas.harvard.edu) offers information about jobs and internships.

                 Harvard Magazine (www.harvard-magazine.com) sends all alumni/ae copies every other month.

                 Harvard College Program in General Education
                 (http: //www.generaleducation.fas.haryard.edu/icb/icb.do) offers information about the categories
                 of the new program and the courses offered.

                 GoCrimson.com provides information about Varsity Division I and recreational athletics on
                 Harvard's campus.

                 Samuel Eliot Morison's Three Centuries ofHarvard (1986) is perhaps the best one-volume history
                        of Harvard.

                 Henry Rosovsky's The University: An Owner's Manual (1991) offers a primer on college
                       admissions and the mission of liberal arts colleges.

                 University President Neil Rudenstine's 1993-95 Report, "Diversity and Learning," surveys Harvard's
                        practice of and commitment to recruiting distinguished students of all backgrounds.




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                 Eligibility for Schools Committee Work

                         Participation in School Committee work is open to alumni/ ae of Harvard College and our
                 graduate schools. Important prerequisites include broad knowledge of the College, enthusiasm for
                 your experience as a student at Harvard, and sincerity of purpose in working with prospective
                 college students, their families, schools, and the general public.

                 Potential Conflicts of Interest as a Member of a Schools Committee

                         As a member of your local Schools Committee, you become a voluntary-but no less
                 official-representative of Harvard University. Accordingly, it is critical to avoid circumstances that
                 might suggest an appearance of inappropriate or duplicitous conduct. For example, alumni/ ae who
                 offer college counseling services for a fee are not allowed to participate in Schools Committee work.
                 Interviewers whose children are planning to apply to Harvard are obligated to refrain from doing
                 Schools Committee work for a year, or a least through the full completion of the admissions cycle.
                 (Committee members should alert their Schools Committee Chair to this possibility during the
                 summer before their child's senior year of high school.) We similarly request that individuals refrain
                 from interviewing for Harvard and another undergraduate institution. In addition, of course, you
                 should accept all interviewing assignments with total objectivity, while applying appropriate
                 sensitivity to personal, business or other connections to candidates for admissions.
                          Should you have any questions about a possible breach of good faith about your role as a
                 volunteer for the Harvard Admissions Office, please contact the Admissions Office to speak with
                 your staff representative.

                 Confidentiality

                         Never discuss what you know about students with anyone, even with school officials. (There
                 is one exception to this rule that can also raise potential problems of confidentiality: holding a
                 ranking meeting or othenvise sharing information about any candidate within a particular Schools
                 Committee. See page 34.) Confidentiality is especially important when working with the general
                 public. Even well-intentioned comments can reveal-sometimes disastrously-more than was
                 intended. For instance, a principal or counselor asking why the Committee denied a student
                 admission needs only to hear that the applicant "was not well supported" to go after teachers.




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                                                       1. Admissions Standards

                          Harvard's admission officers are not dealing with disembodied abstractions but with thousands of very
                          real and very human individuals whose qualities are rarely scientifically measured and labeled unmixed

                                                                                                                            Wilb11r J. Bender
                                                                                                      Dean ofAdmissions and I'inan,ia/ Aid
                                                                                                           Report tlJ the Presiden~ 1959-60



                 The Committee on Admissions and Financial Aid

                         The I Iarvard College Dean of Admissions and Financial Aid oversees the Admissions
                 Office, the Financial Aid Office, and the Student Employment Office, all of which are located at 86
                 Brattle Street, Cambridge, MA 02138. The Dean chairs the Standing Committee on Admissions and
                 flinancial Aid of the flaculty, which includes more than 25 members of the flaculty of Arts and
                 Sciences (FAS). The Dean and the Standing Committee, acting on behalf of FAS, implement
                 policies on admissions and financial aid. Members of the Standing Committee also review cases that
                 are representative of the entire pool, present strong scholarly credentials, demonstrate exceptional
                 creativity in the arts, or raise questions of admissions policy. Working under the guidelines
                 established by the Standing Committee, the Admissions Committee makes decisions on individual
                 applicants. The Admissions Committee is composed of the Standing Committee of the Faculty and
                 about 40 members from the thtee offices the Dean supervises.
                         The Financial Aid Office administers financial aid to eligible students who attend the
                 College. Harvard remains need blind in the admissions process, and Harvard awards financial aid
                 based strictly on need. That is, the Committee makes each admission decision without regard to
                 whether a student has applied for aid, whether a student qualifies for financial aid, and regardless of
                 the amount of financial aid for which a student qualifies. Harvard awards financial aid strictly on the
                 basis of a family's need; we do not award merit scholarships. Thanks to the strong commitment of
                 the Faculty of Arts and Sciences and the continuing generosity of donors, we are committed to
                 providing the financial aid resources necessary to make the College fully accessible to students of
                 prorruse.


                 The Search for ''Distinguishing Excellences" 1

                         Our goal is to attract the best students to the College. Part of the general public believes
                 "best" ought to be defined by standardized tests, grades, and class rank. It is easy to understand why.
                 In his 19 59-1960 Report to the President, Harvard Dean of Admissions and Financial Aid Wilbur J.
                 Bender wrote that "[fJor a harassed admission officer [such a policy] has great appeal because it has


                 1 This section represents extensive statistical analysis of the Committee's actions and represents accurately the way in

                 which the Committee approaches each case. Our analyses have demonstrated that personal attributes-as represented by
                 the alumni/ ae interview, extracurricular rating, and personal rating----are factors in our decision-making that are as
                 significant as academic ability-as represented by rank in class; rigor of high school curriculum; SAT, ACT, and AP /IB
                 scores; and teacher and guidance counselor recommendations.


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                 the merits of apparent simplicity, objectivity, relative administrative cheapness in time and money
                 and worry, a clear logical basis and therefore easy applicability and defensibility."
                         The Admissions Committee values objective criteria, but holds a more expansive view of
                 excellence. Test scores and grades indicate students' academic aptitude and achievement. The
                 Committee also scrutinizes applications for extracurricular distinction and personal qualities.
                 Students' intellectual imagination, strength of character, and their ability to exercise good
                 judgment-these are other, critical factors in the admissions process, and they are revealed not by
                 test scores but by students' activity outside the classroom, the testimony of teachers and guidance
                 counselors, and by alumni/ ae interview reports. Seeking evidence of these three criteria-academic
                 excellence, extracurricular distinction, and personal qualities-the Committee reads ,vith care all the
                 components of each applicant's file: the high school transcript, standardized test scores,
                 extracurricular activities, personal statement, teacher and secondary school recommendations, and
                 the personal interview report.
                         Attempts to define and to identify precise elements of character, and to determine how
                 much weight they should be given in the admissions process, require discretion and judiciousness.
                 But the Committee believes that the "best" freshman class is more likely to result if we bring
                 evaluation of character and personality into decisions than if we do not. We believe that a diversity
                 of backgrounds, academic interests, extracurricular talents, and career goals among students who live
                 and learn together affects the quality of education as much as a great faculty or vast material
                 resources.
                         The Committee appreciates the degree to which many admissions decisions hinge on
                 judgment calls. In 2011-2012, 34,285 applicants competed for about 1,600 spots in the entering
                 class. Perhaps 85 percent of our applicants are academically qualified. A significant portion also
                 presents strong personal and extracurricular credentials. When considering an applicant, then, the
                 Committee asks, "What makes him or her distinctive?" The Committee identifies certain broad
                 factors that generally carry weight in this process. These "distinguishing excellences" might "tip"
                 into the class an applicant who presents the Committee solid evidence of academic excellence,
                 extracurricular accomplishment, and strong personal qualities. Tips come into play only at a high
                 level of merit; the Committee never gives enough of a tip to admit an average candidate at the
                 expense of a first-rate one. These are among the most common "tips" by which applicants,
                 presenting distinguished academic and extracurricular records, might distinguish themselves for
                 admission:
                          Outstanding and unusual intellectual ability. Harvard is likely to admit brilliant students
                 of sound character who offer substantial evidence of intelligence at the most elevated level. More
                 than presenting the Committee with superior testing and strong academic records in competitive
                 secondary school classrooms, the applicant admitted primarily for unusual intelligence also presents
                 compelling evidence of creativity and originality.
                          Unusually appealing personal qualities. In certain cases, teacher recommendations, the
                 secondary school report, personal statement, and the alumni/ ae interview report offer consistent
                 testimony of an applicant's unusual effervescence, charity, maturity, or strength of character in
                 addition to academic and extracurricular accomplishment. A residential community with strong
                 emphasis on extracurricular participation, Harvard prizes these qualities.
                          Outstanding capacity for leadership. Harvard aims to educate individuals to have broad
                 vision who will be leaders in their chosen fields. Evidence of ability to lead others in positive ways
                 can distinguish an applicant for admission.
                          Creative ability. The Harvard Supplement to the Common Application encourages
                 students "with exceptional talents or interests" to send the Committee music CDs, compositions,
                 dance DVDs, slides of artwork, or selected samples of academic work (including creative writing)

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                 for faculty evaluation, which can inform admissions decisions. Students' artistic participation and
                 performance help enrich life at Harvard and beyond.
                         Athletic ability. The College has a long tradition of athletic excellence-in competition ·with
                 our intercollegiate rivals and among our freshman and House communities. Harvard enrolls students
                 who are among the most active in recreational athletics, and we lead all undergraduate institutions in
                 the number of NCAA Division I athletic teams (41). Evidence of a candidate's ability to contribute
                 to one of these teams, and of solid personal qualities and academic abilities, can distinguish a
                 candidate for admission.
                          Harvard and Radcliffe parentage. Among a group of similarly distinguished applicants,
                 the Committee is more likely to admit the sons and daughters of Harvard and Radcliffe alumni/ ae
                 than students without these institutional ties when all other factors are equal. Children of alumni/ ae
                 generally prove to be highly competitive candidates even ,vithout a lineage tip. Their academic
                 credentials - test scores and grades - are nearly identical to those of the entering class as a whole.
                          Geographic, ethnic, and economic factors. The excellence and diversity of our students
                 remain salient attractions for many prospective students. Undergraduates come from every state and
                 more than 80 foreign countries. They have attended public, private, and parochial schools; represent
                 all economic, ethnic, and religious backgrounds; and possess a wide range of academic interests and
                 extracurricular talents. "Such diversity is not an end in itself, or a pleasant but dispensable
                 accessory," University President Neil Rudenstine wrote in his 1993-95 Report, "Diversity and
                 Learning." "It is the substance from which much human learning, understanding, and wisdom
                 derive. It offers one of the most powerful ways of creating the intellectual energy and robustness
                 that lead to greater knowledge, as well as the tolerance and mutual respect that are so essential to the
                 maintenance of our civil society."
                         These factors are guidelines that are neither comprehensive nor absolute. Some successful
                 candidates present a number of these qualities in their applications and are, in other words, well
                 rounded. Other applicants are successful because they are well lopsided-they demonstrate
                 exceptional distinction in one of these areas. Yet the Admissions Committee denies and offers
                 admission to students who might fit either description.
                          Our success depends on our ability to at.tract students of different personalities, academic
                 interests, and extracurricular talents to Harvard. We proceed with care, discretion, and humility
                 because we know we are working with imperfect information, and that no one can predict with
                 certainty what an individual will accomplish during college or beyond. The Committee appreciates
                 the element of subjectivity involved in assessing a candidate's distinction in any one of these
                 categories and in identifying some of the personal qualities we believe these distinctions
                 demonstrate. And, by giving importance to human judgment, by admitting more than just "safe
                 bets," we are aware our decisions become harder to explain with precision. By developing familiarity
                 with the admissions process, you can help us address the public's concerns and misconceptions
                 about recruitment and evaluation at Harvard.

                 Academic Credentials

                         Applicants often ask about the role rank-in-class and standardized tests play in admissions
                 decisions. These comments should inform your responses.
                         Rank-in-class. Rank-in-class (or deciles, quintiles, percentages, etc.) is a helpful, important
                 gauge of academic achievement. Few successful candidates rank below the top 10 to 15 percent of
                 their high school classes, except in the cases of applicants applying from secondary schools that send
                 significant percentages of their graduates to selective four-year colleges. Reassure applicants that


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                 they will not be denied admission solely on the basis of a few places in rank; the overall pattern of
                 students' academic performance and the quality of their courses are far more important than their
                 rank. Even when assessing applicants within a high-ranking range, the Committee's decisions might
                 be unrelated to an applicant's class standing because of the weight given other factors.
                           Standardized testing. Harvard requires all applicants to submit the results of the SAT or
                 ACT (with the enhanced writing portion) and the results of two SAT Subject Tests (previously
                 known as the SAT Achievement Tests or SAT II exams). Harvard does not have clearly defined,
                 required minimum scores, but students admitted to the College represent a range of scores from
                 roughly 600 to 800 on each section of the SAT and on the SAT Subject Tests.
                           Candidates with scores lower than 600 (or a 27 ACT composite) are less likely to be offered
                 admission unless they provide compelling evidence of other unusual talents or accomplishments. At
                 the same time, the Committee does not admit hundreds of applicants who have 700+ scores and
                 fine secondary school records because other candidates appeared stronger in other important ways.
                 Once the Committee determines that an individual is capable of thriving academically at Harvard-a
                 judgment made considering test scores, grades, and recommendations-we are most interested in
                 the person behind the scores.
                           Re-centering of College Board scores. The College Board adjusted the scoring scale of
                 the SAT and SAT Subject Tests in April 1995. Before this change, the national averages for the SAT
                 verbal and math tests were, respectively, 76 and 22 points below the "500 midpoint." The College
                 Board believes it is important that this midpoint be the actual mean for all tests, and they cite a small
                 initial sample of test-takers in 1941 to explain the previously skewed scale. Scores have thus risen
                 considerably; a 420 Verbal has become a "re-centered" 500. Please consider this change when you
                 assess candidates. Re-centering has lowered the floor for an 800 score-on both the SAT and the
                 SAT Subject Tests. ~That was a "pre-re-centered" 730 verbal SAT became an 800; a "pre-re-
                 centered" 780 math SAT is now 800. Students' expectations for admission might be raised simply
                 because of large increases in the number of "perfect'' scores.




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                                            2. How the Committee Selects a Class

                 Recruiting Prospective Students

                         Ivfany people often ask why, given the thousands of applications Harvard receives every year,
                 we must invest such time, effort, and resources to recruit talented students. 2 Vigorous recruitment,
                 however, has been instrumental to our success. It has broadened Harvard's appeal to a national and
                 international base, and enhanced the College's accessibility. As Bender noted in his first Report to
                 the President (1951-52),

                          That the College is engaged [... ] in a vigorous recmitment program and that there is a large and growing
                          surplus of qualified applicants confront the Committee on Admission with new problems of fundamen1-,,i.l
                          policy. For the first time we can, within limits-and we have to--consciously shape the make-up of our
                          student body instead of allowing natural selection or laisse2 faire to determine it.

                 Active recruitment helps sustain the critical opportunity to "consciously shape the make-up of our
                 student body" as colleges compete intensely for the best students.
                          Direct mail. Virtually all college-bound students take the PSA'l' by their junior year. High
                 school juniors and seniors also take SATs and the ACT, which survey students about their academic
                 experiences and interests. With students' permission, the College Board and the American College
                 Testing Company sell colleges this information. Ilarvard has identified accomplished students with
                 these searches for many years. We send letters and viewbooks to searched students, and we share
                 Student Search Lists v.rith Schools Committee chairs to craft recruitment plans and to identify
                 students to invite to local presentations. Our research shows that students who qualify for this
                 search are about twice as likely to be admitted as other applicants. Of course, these search lists do
                 not include the names of every student who might be admitted to the College.
                          Joint travel/Exploring College Options. To respond to the increasingly early interest
                 students express in college admissions, the Admissions Committee is concentrating more on spring
                 recruitment. M:a.ny officers recruit applicants through joint travel. A group of five admissions
                 representatives-representing Harvard and four other colleges-travels to five cities in five days,
                 speaking in the evening with students and parents and in the morning with guidance counselors. In
                 the last several years, we have traveled with representatives from Duke, Georgetown, MIT, Stanford,
                 the University of Pennsylvania, Princeton, University of Virginia, and Yale, among others. We
                 enhance outreach through well-planned joint travel, which exposes Harvard to a broader audience
                 than do individual school visits. Audiences learn about Ilarvard even if they attend the session to
                 learn about another college. And by cooperating with other colleges, we enhance the cost-
                 effectiveness of travel. Through spring and fall trips, we visit 130 cities in all 50 states and some
                 international territories and reach approximately 35,000 students and parents, as well as 2000 high
                 school counselors.

                 2A little more than 40 years ago, Harvard College received 7,762 applications and selected an entering class of 1,134
                 men. The Offices of Admissions at Harvard College and at Radcliffe College merged in 197 5-76, increasing the number
                 of total spots in tl1e entering class for men and women to 1,600. Applications grew to between 12,000 to 13,000 until
                 1993-94, when 15,259 students applied to the College. Meanwhile, students admitted to Harvard and Radcliffe have
                 matriculated at higher rates, driving down the raw number of students the Admissions Committee can admit.
                           With Radcliffe and Harvard's historic announcement in 1999 that Radcliffe would merge with Harvard---=d
                 establish the Radcliffe Institute for Advanced Study as an integral part of Harvard University-all applicants from the
                 1999-2000 admissions cycle on, women as well as men, apply to tl1e fully coeducational Harvard College.

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                          Undergraduate Admissions Council (UAC). The UAC, working closely with members
                 of the Admissions Committee, offers extensive personal outreach to prospective students. About
                 300 undergraduates volunteer their time to the UAC to coordinate overnight, on-campus housing
                 for visiting high school seniors throughout the academic year and during our annual April Visiting
                 Program for admitted students. Their efforts can persuade admitted students to matriculate.
                 Through telephone contact, email outreach, student blogs, and visits to hometown high schools, the
                 UAC addresses prospective students' concems and refers them to other appropriate sources.
                          Undergraduate Minority Recruitment Program (UMRP). The Admissions Office
                 established the UMRP in 1974 to consolidate individual outreach programs to minority students,
                 and this student organization has been part of our successful student recruitment ever since.
                 Ul\ffi.P's more than 20 undergraduates conduct personal outreach to minority students through on-
                 campus hosting and by extensive telephone, mail, and e-mail contact during the application process
                 and following the Committee's decisions. UMRP members also volunteer a week of their own time
                 to visit high schools and some junior high schools across the country with large concentrations of
                 minority students in order to encourage all students in these areas to apply to college.
                 Undergraduates craft their itineraries through consultation with the appropriate area admissions
                 officer.
                          Harvard Financial Aid Initiative (HFAI). Established during the summer of 2004, the
                 Admissions Office and Financial Aid Office have implemented a coordinated effort to conduct
                 personal outreach to students who may fall within the parameters of the new program. Their work
                 was modeled after the work of the UMRP; accordingly, their recruitment strategies are similar to
                 (and often conducted in concert with) those of the U:i'\1RP.
                          Interviews and information sessions in Agassiz. The Admissions Office runs year-round
                 recruitment in Cambridge. From the first week in June to Thanksgiving (with a break in early
                 September as students settle into their high school routines), we offer optional campus interviews to
                 high school seniors. We add interview reports generated here to applicants' files but Cambridge
                 interviews do not substitute for the alumni/ae interview. We also offer student-led tours and group
                 information sessions throughout the year. Open to the public, the information sessions allow
                 students and their families to ask an admissions officer and current undergraduates questions about
                 life at Harvard and the admissions process. Please visit our website or call us at 617.49 5.1551 for
                 additional information, including up-to-date schedules and locations.

                 The Common Application or the Universal College Application

                          Harvard adopted the Common Application in 1994-1995 and the Universal Application in
                 2007-2008. More than 400 colleges and universities use these standardized fom1s, which we hope
                 benefit applicants and secondary schools. Applicants can focus more time on their academic,
                 extracurricular, and personal lives than on filling out multiple applications. Teachers and counselors
                 can devote more time to writing a single recommendation (and to counseling) and less to redundant
                 paperwork. The Common Application is available free online (www.commonapp.org) and our
                 website); the Universal College Application may be obtained at www.universalcollegeapp.com . In
                 addition to the Common Application or the Universal College Application, we require applicants to
                 complete a short supplement to indicate their interest, and its depth, in a field of study, career, and
                 extracurricular activities-and to submit AP and IB results, an optional additional essay, or tapes,
                 slides, and papers for faculty evaluation.




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                 Application Deadlines and Decision Dates

                 Mid-October, 2013

                 The Admissions Office begins processing applications for Early Action candidates; interview
                 requests sent to School Committee chairs

                 :N"oveinberl,2013

                 Deadline for all Early Action application materials. Students applying for Early Action should
                 submit scores by the October series, although scores from the November series should reach us in
                 time for consideration.

                 Early Deceinber, 2013
                 We nil/ begin our careful evaluation process for Regular Decision candidates at this time, reading applications in the
                 order in which thry are completed.

                 We have asked that candidates send at least the Common Application or Universal Application as
                 soon as possible to allow time for them to begin the interviewing process in areas where this is
                 possible. We recognize that students, secondary school teachers, and counselors have many
                 commitments that may preclude early submission of admission materials by this date. Candidates
                 ·will not be penalized in anyway if materials are submitted before the January 1 deadline.

                 January 1, 2014
                 Final deadline far application materials for Regular Dedsion applicants.

                 Candidates can complete testing requirements by using the January SAT or February ACT dates, but
                 we hope that they will have their testing completed by the December date.

                 Date Decisions Are Sent
                       • Early Action decisions are mailed/ e-mailed on December 14, 2012.
                       • Regular Action decisions are mailed/ e-mailed on March 28, 2013.
                       • Common Reply Date, by which applicants in the Early Action and Regular Decision
                           processes must accept or decline the offer of admission, is May 1, 2013. No deposit is
                           required.

                 Early Action

                          Harvard College has restored nonbinding early action as part of its admissions process and
                 significantly enhanced its recruiting program to assist talented students from modest economic
                 backgrounds in navigating the admissions process. Harvard has also increased its investment in
                 undergraduate financial aid to more than $160 million. Currently, more than 60 percent of Harvard
                 College students receive scholarship aid, and the average grant is about $38,000.
                          In 2007, Harvard eliminated its nonbinding early action program on a trial basis and moved
                 to a single admissions deadline, announcing at the time that it would evaluate the impact of the
                 change after several years.


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                           "We piloted the elimination of early action out of concern that college admissions had
                 become too complex and pressured for all students, and out of particular concern for students at
                 under-resourced high schools who might not be able to access the early admissions process," said
                 Harvard President Drew Faust. "Over the past several years, however, interest in early admissions
                 has increased, as students and families from across the economic spectrum seek certainty about
                 college choices and financing. Our goal now is to reinstitute an early-action program consistent 'With
                 our bedrock commitment to access, affordability, and excellence!'
                           "We looked carefully at trends in Harvard admissions these past years and saw that many
                 highly talented students, including some of the best-prepared low-income and underrepresented
                 minority students, were choosing programs with an early-action option, and therefore were missing
                 out on the opportunity to consider Harvard. We have decided that the College and our students will
                 be best served by restoring an early option," said Dean Ivlichael J. Smith of the Faculty of Arts and
                 Sciences.
                           Harvard's concerns about equity and transparency will continue to guide the structure of its
                 admission program. It will maintain a nonhinding approach, which maximizes freedom and
                 flexibility for students. As in the past, students can apply under the single-choice, early-action
                 program by Nov. 1 and will be notified by Dec. 15, at which point students completing financial aid
                 applications will receive notice of their awards. Regular decision will continue to operate as usual,
                 "'.ith applications due on Jan. 1 and notification on April 1. All students, whether admitted under
                 early action or regular decision, will have until May 1 to decide whether to attend.
                          To ensure that the retun1 to early action serves Harvard's conunitment to access and
                 diversity across many dimensions, the change in admissions policy has been accompanied by
                 enhancements in the College's recruiting program, including a new program promoting transparency
                 in college admissions, greater outreach, and targeted staff visits to schools where few students apply
                 early to college; increased involvement of Harvard undergraduates throughout the year in three
                 major recruiting efforts - the I Iarvard Financial Aid Initiative, the Undergraduate Minority
                 Recruitment Program, and the Undergraduate Admissions Council's Return to High School
                 Program; and enhanced web features providing families with the ability to calculate the likely net
                 cost of sending a child to Harvard, and perspectives from financial aid students on life at Harvard.
                           "The commitment to including first-generation, low-income, and historically disadvantaged
                 minority students in the full spectrum of admissions options is a key feature of this new early-action
                 option," said Harvard College Dean Evelynn Hammonds. ''We have made significant gains in
                 recent years in recruiting larger numbers of these students and in supporting them for success once
                 here. l am very pleased that we are able to re-conceive early action, consistent with these goals, and
                 to work with students based on whatever timetable best meets their needs."
                           "We continue to be concerned about the pressures on students today, including those
                 associated with college admission," said Harvard College Dean of Admissions and Financial Aid
                 William R. Fitzsimmons. "In all of our work, we will do everything possible to level the playing field
                 in admissions and encourage all students to make thoughtful choices about how they can best
                 contribute to society."

                 The Committee Process

                         The "Docket." Each member of the Admissions Committee represents specific geographic
                 areas, and so we refer to officers as "area representatives." A "docket"-which we also refer to as a
                 "subcommittee"-is a geographical region, designed to be roughly equivalent to each of the other
                 dockets in the number of applicants considered there. There are 20 dockets or subcommittees. Each

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                 officer sits on at least two dockets to inform comparisons made among candidates across vast
                 geographical lines. Each subcommittee varies in size, but generally includes three to six area
                 representatives, a docket chair (a senior admissions officer), and the docket's faculty readers.
                          Who reads folders. The area person reads all the folders from his or her area-a folder's
                 first read. The first reader records all data, contacts the applicant or his or her school for materials
                 missing from the folder, and comments on the folder's strengths and weaknesses. Reading every
                 folder from their areas enables area persons to present an overview of the relative strengths
                 presented by the applicants there. Second and third readers check factual data recorded on the
                 reader sheet and, more importantly, offer additional interpretations of the folder. 'lhe third reader
                 records all evaluations for entry into our database. Folders might receive additional evaluations,
                 whether by other admissions officers or by members of the Faculty Standing Committee. These
                 other evaluations offer more commentary on the strengths of applicants who present special
                 attributes such as those described in section 2.
                          Subcommittee meetings. Once folders have been read, subcommittees meet. The area
                 person, as advocate for each case he or she has read, summarizes to the subcommittee the strengths
                 and weaknesses in each component of each candidate's file. Subcommittee members discuss the
                 case, and then vote on what recommendation to offer the full Committee. The subcommittee
                 examines the entire docket several times, extensively reviewing decisions-and in many cases
                 changing them-to ensure standard scrutiny for all applicants, whether they are presented first or
                 last on a docket. After surveying the docket's breadth of quality, the subcommittee can identify with
                 greater confidence those applicants who appear strongest. Majorities rule, but the degree of support
                 expressed for candidates is always noted-both for candidates the subcommittee ·will and will not
                 recommend for admission. By identifying applicants this way-"clear admits," "strong rejects,"
                 etc-subcommittees can compare candidates with similarly assessed applicants on other dockets.
                          Subcommittees then present and defend their recommendations to the full Committee.
                 While looking at or listening to the summary of any case, any Committee member may raise
                 questions about the proposed decision and request a full review of the case. Tviany candidates are re-
                 presented in full Committee. The Committee compares all candidates across all dockets, and
                 therefore across geographical lines.
                          This rigorous comparative process strives to be deliberate, meticulous, and fair. It is also
                 labor intensive. But it permits extraordinary flexibility and the possibility of changing decisions
                 virtually until the day the Admissions Committee mails them. TI1is is especially important since the
                 Committee is always receiving new information on candidates. Please convey to applicants the time
                 and care the Committee takes 'w..ith each individual application.


                 The Importance of Timely Interview Reports

                         Your insights are most valuable if we have them for subcommittee~a case's first hearing.
                 We would, of course, love to read interview reports as we first read applicants' files. But many
                 students still wait to apply by the final deadline, making it virtually impossible for their reports to be
                 here for a folder's first read. W:ben possible, please contact the student, complete the
                 interview, and .ile the interview report within two weeks ofreceiving the interview
                 assignment. Waiting an extended period before writing the interview report can disadvantage the
                 student, as impressions and important details from the conversation can fade as time passes. As
                 such, a delayed report may fail to accurately capture the student interviewed.



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                           The committee process works best and most efficiently, then, when we have reports for
                 subcommittee. Subcommittees may discuss a single case for half an hour or even more before voting
                 on a recommendation to offer the full Committee. These conversations are more tentative when
                 critical items are missing-whether they are teacher recommendations or interview reports. And
                 while the full Committee will take just as much time as the subcommittees do discussing a single
                 case, these discussions take more time the more new information we must add to case re-
                 presentations. Subcommittees begin meeting in November for the Early Action process and for
                 three- to four-day shifts in late January until the end of February for the Regular Decision process.
                           Please consult with your Schools Committee chair about the exact dates of subcommittees
                 for the area in which you will be interviewing. Specific dates for subcommittee meetings depend on
                 several factors. Since each staff member sits on at least two subcommittees, we try to ensure staff
                 members do not have insuperable conflicts. We attempt to make interview requests as early as
                 possible, yet we know there will be some requests we make for interviews after subcommittees have
                 met. Occasionally, applicants' files complete as late as late-November for Early Action and February
                 for Regular Decision. This results, most often, from unavoidable logistical factors. Mail sometimes
                 arrives late. Occasionally, we are overwhelmed with mail to open, materials to enter into our
                 database, and reams of paper to file. Nevertheless, we hope you can fulfill each interview request as
                 quickly as possible so that your Cambridge subcommittee has the benefit of your interviewers'
                 personal insights.
                           The last opportunitv for the vast majority of cases to be heard is during full Committee. The
                 Admissions Committee must have all interview reports in hand for full Committee. As you know
                 from reading above, the entire Committee convenes in one room to review all the contenders for
                 admission. Many candidates are re-presented in foll Committee, which again may consider a single
                 case for a half hour or more. Full Committee generally meets during the first week of December for
                 Early Action candidates and from the end of the first week of "March to the end of the third week of
                 1farch for Regular Decision candidates.
                           We are grateful that you do all you can to send us interview reports as early as possible.
                 Clearly, it is vital that we have all interview reports by the full Committee stage. We hope this outline
                 helps you understand that it is critical to complete your interview and report as soon as possible
                 ideallv "'ithin two weeks of receiving the assignment from your Schools Committee chair.


                 Ivy League Early Evaluation Program

                          As determined by each institution, admissions offices may advise applicants before the
                 common notification date, in writing, of the probability of admission (e.g. likely, possible, unlikely).
                 If the student is a recruited student-athlete, such notifications may only be made from October 1
                 through March 15, per Ivy League regulations.
                           Institutions may issue official "probabilistic" communications only in writing, from the
                 office of admission. Such letters will have the effect of letters of admission, to be confirmed on the
                 common notification date, subject to revocation only on the same terms as letters of admission.
                 (Such communications given by coaches, whether orally or in writing, do not constitute binding
                 institutional commitments.) An applicant who receives one or more such written communications
                 and who has made a decision to matriculate at one institution is encouraged (but not required) to
                 notify all other institutions, and to 11,ithdraw all other applications, as promptly as possible.
                          Such early evaluations are often precipitated by pressure on student-athletes from other
                 institutions requiring an early commitment. In some instances, students are given very little time to


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                 respond to these offers. Such candidates bring excellences of all kinds in addition to athletics, and
                 the Admissions Committee can vote to notify them that they are likely to be admitted - rather than
                 lose them to other institutions. Alumni/ ae Schools and Scholarship Chairs will be informed about
                 such candidates by the staff area person and will be requested to interview them if time allows.


                 The Wait List

                          The Committee places a number of accomplished applicants on the wait list each year. The
                 wait list includes the strongest applicants whom the Committee was not able to admit but might still
                 wish to consider for admission if spots in the entering class open later. Wait-listed students should
                 make definite plans to attend a college to which they have been admitted, since the number of
                 students the Committee has been able to admit from the wait list varies from year to year. ln some
                 years, we have admitted no one from the wait list; in others, we have admitted more than 100
                 candidates from the wait list
                          Admitted students have until May 1 to accept or forfeit their spots in the entering class.
                 Should there be spots left in the entering class after the ?\fay 1 deadline, the Committee may then
                 select students who have decided to remain on the wait list to fill these spots. The wait list is not
                 ranked. We meet some time after 1\fay 1 to select students from the wait list through a rigorous
                 comparative process very similar to the full committee meetings described above.


                 Transfer Applications

                         After a two-year suspension, the transfer admissions program was reinstated during the
                 2010-2011 admissions cycle. Just under 1500 sh1dents applied for 12 transfer spaces. Sh1dents
                 interested in applying during the 2012-2013 cycle should check Harvard's website or call the transfer
                 office (617.495.5309) in the fall to verify the stahls of transfer admissions for this academic year.
                 The application deadline for the transfer process is March 1, 2013, with notification by June 1.
                         In the transfer process, Harvard considers applications in the spring from students who wish
                 to transfer to Harvard after completing at least one year (and not more than two) of full-time study
                 at another college or university. The Committee selects transfer applicants through a rigorous
                 comparative process and on the basis of their record of academic achievement, the strength of
                 recommendations they receive from college faculty members, and their overall promise. Only the
                 very strongest transfer candidates are selected for alumni interviews; you will be contacted directly
                 by your committee chairperson should we need your help interviewing a candidate for transfer
                 admissions.




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                               3. How Schools Committees Can Recruit Students

                          Admissions involves "salesmanship," politics in the broad sense of the word, hwnan and institutional
                       relationships. lt is a matter of who works for you and how they work, of whom you select and whom you
                         reject, of the public image or images of Harvard, which are affected by everything you do or don't do.

                                                                                                                       Wilbur J. Bender
                                                                                                    Dean ofAdmissions and Financial Aid
                                                                                                         &port w the President, 1959-60

                            Through your recruitment efforts, you add an indispensable human dimension to what can
                  seem an impersonal process. You also can combat myths about the College, its mission, and its
                  students-myths that can dissuade talented students from applying. This human dimension-and
                 the simple but important fact that you live near the candidates you interview-has become even
                 more important given that we no longer have the financial resources to make a second visit to most
                 areas beyond Joint Travel.
                            Schools Committee members recruit students as well as interview them-but there is an
                 important distinction between the two. When recruiting, alumni/ae should introduce students to
                 and inform them about the College and the admissions process. They should not act in the capacity
                 of interviewers, who inform applicants about the College and evaluate them for admission.
                 Recruitment efforts should not be performed--or perceived to be performed-as a preliminary
                  screening of prospective or actual applicants. Nevertheless, alumni/ae should use the information
                 presented in section 2 to inform their advice to students.
                            In most settings in which you recruit students-the college fair or a school visit, for
                 instance-there is little you will know about individual students, except that they are interested in
                 learning more about Harvard. At this introductory stage, then, the task is essentially to present facts
                 about opportunities at the College and to dispel misconceptions students and their families have
                 about it. The Admissions Committee believes strongly that our staff student workers and
                 alumni/ae should never disparage another college.
                            Informal contact occasionally does yield information about an individual that is pertinent to
                 the admissions process. For instance, students sometimes volunteer SAT scores, grade point
                 averages, and class ranks to enable you to assess whether they are "in Harvard's range." No matter
                 how experienced a recruiter or interviewer is, do not make any predictions or impressions, positive
                 or negative, about a student's chance of admission. Admissions officers often parry this question
                 by saying, honestly, that they cannot estimate a student's chances until they have read a completed
                 application and can assess the year's competition. And this analysis can only be accomplished with
                 full access to all the material in an applicant's file and through the extensive discussions shared and
                 comparisons made through the full Committee process.
                            When prospective students do ask about their chances of admission, it can be helpful to
                 describe factually Harvard's selectivity-as well as the selectivity of other liberal arts schools-and
                 the importance of applying to a range of schools. When expressed without unusual emphasis and
                 '"vi.th a helpful, considerate tone, this advice can help manage better students' and their families'
                 expectations in the increasingly competitive world of college admissions.




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                 College Fairs

                         We receive hundreds of notices from secondary schools, educational consortiums,
                 community organizations, and other colleges soliciting our participation in college fairs. Schools
                 Committee chairs receive copies of these notices and attempt to staff as many of these local events
                 as possible -with their alumni/ ae members. College fairs vary in format and audience. Some are
                 smorgasbords convening community colleges, technical schools, military academies, state schools of
                 every stripe, and liberal arts colleges in order to address every sh1dent interested in any sort of post-
                 secondary education. Other college fairs invite colleges that share many qualities.
                         College fairs can test your endurance (fairs often run for three hours or more) and versatility.
                 Attending college fairs, for some families, substitutes for studying dm:ens of college guidebooks. For
                 other families, the college fair is an opportunity to discuss in greater detail with a college
                 representative what they have read in guidebooks and heard from friends. ln a given evening, you
                 might be asked everything from, "\v'here is Harvard?" to "\v'hat success do Harvard students have
                 in medical school admissions?"-and you might be asked these questions many times over. This
                 should re-emphasize the importance of being familiar with the College's current resources.
                         Under the section "Forms/ documents" of the alumni interviewer website, you will find
                 resources for alumni attending college fairs, including a "how-to" guide "''.ith answers to common
                 questions, a list of new initiatives at Harvard, and a college fair materials request form.


                 Acting as Secondary School Liaisons

                          Acting as a secondary school liaison may be one of the most valuable ways to identify and
                 recruit talented students and to build positive relationships and good will with their families and
                 school officials. Place a call yourself to the guidance department to introduce yourself and to explain
                 your role in the Harvard admissions process---or drop a note with information about how people
                 can contact you. You should tell guidance and other school officials that you arc an alumnus/ a
                 member of the local Schools Committee, which works closely with the Admissions Committee in
                 Cambridge. While you should apprise schools of the recruitment work Schools Committees do,
                 describe explicitly how you wish to work with the school. Be clear that your mission is to introduce
                 students to the College and to serve as an informational resource. Confirm that the school
                 understands that your desired role is not one of evaluation, assessment, or screening of prospective
                 applicants. This approach can encourage school officials to direct students to you without the fear
                 that contact might affect a final admissions decision.
                          Depending on the secondary school's own policies, you might have wide latitude in working
                 with schools. Some liaisons allow students to take the initiative in contacting them. They share with
                 school guidance offices their names, addresses, and telephone numbers, and ask the counselors to
                 invite students to contact them to talk about Harvard. Other liaisons visit their schools once or
                 twice each year (usually in the fall and spring). Alnmni/ae often also interview applicants from their
                 schools, although they divide interv'.iewing responsibilities "''.ith other Schools Committee members if
                 the load is too great for one person. Whatever approach yon adopt through consultation with your
                 Schools Committee chair, schools should know whom to call when they have a question about
                 Harvard, and they should feel comfortable contacting yon. Open communication will best allow you
                 to introduce a secondary school to the College, describe what the Admissions Committee seeks in
                 strong applicants, and invite the school to identify strong and promising candidates.



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                          Setting up a school visit. School policies on college representatives and their presence on
                 campus vary. Some schools designate specific visitation times; others prohibit visitation. Guidance
                 staffs are often overworked and have to deal ·with many college representatives. Untimely or
                 unreasonable demands of their or of students' time should be avoided. No preferential treatment for
                 Harvard should be expected. For these reasons, you will probably find it enormously helpful to
                 speak first with the admissions officer assigned to your region before attempting to schedule visits.
                 He or she can provide advice about what is and is not allowed or expected at certain high schools
                 and introduce you to guidance counselors with whom we have established relationships.
                          lf you wish to visit a school to talk with students, call the guidance department yourself to
                 schedule a time and date to visit that will be mutually convenient for you, the guidance department,
                 and the students. Guidance departments will often help secure a quiet and accessible place on school
                 grounds for you to meet with students. Be explicit with guidance counselors that you welcome any
                 and all students interested in speaking with you about Harvard. Some alumni/ae meet with guidance
                 counselors before or after talking ·with students or even in place of talking with students. Guidance
                 staff can, in this way, help you to identify students to recruit.


                 Early Recruitment

                         Early awareness. Traditional recruitment strategies are now being expanded to increase the
                 pool of qualified high school students-at once helping ourselves and, more importantly, raising
                 sh1dents' educational aspirations, whether those aspirations include Harvard or not. Insights we can
                 offer students about those qualities the admissions process values-academic achievement in
                 rigorous curricula; distinction, leadership, or special talent in extracurricular pursuits-is most
                 helpful when shared with students before or at the start of high school. There are many reasons why
                 Schools Committees are well equipped to undertake efforts to raise educational aspirations. We are
                 acquainted ·with many secondary schools and counselors and therefore have established lines of
                 contact tu junior high schools. We have access tu recent college graduates, who often make the must
                 effective role models, and to undergraduates who may have attended the very schools we might
                 target for early awareness outreach. Indeed, volunteers for the Undergraduate :Minority Recruitment
                 Program (U:MRP) include at least two visits to junior high schools in their recruitment travel for the
                 College.
                          Schools Committees interested in early awareness projects should design programs
                 appropriate for their own settings. In general, however, any outreach should: encourage improved
                 educational achievement in high school, impart greater awareness of different kinds of college
                 opportunities and knowledge about how to prepare for them, and provide sh1dents with some
                 understanding of college admissions and financial aid policies.
                         It is important to include school personnel in the planning stages of any early awareness
                 program, lest our work be perceived as an intrusion by outsiders who do not understand students'
                 needs. Schools Committees interested in establishing early awareness efforts should make a long-
                 term commitment but begin by targeting only one or two schools to fine-tune a feasible program.
                 Schools Committees may~i.sh to combine their resources witl1 those of other college alumni/ae
                 groups-to attract more volunteers and to broaden the program's appeal.
                         Early awareness efforts should not focus solely on the most gifted students; the program
                 should enhance all students' appreciation for higher education. Moreover, early awareness
                 conducted by Schools Committee members should not give the impression that shldents'
                 participation in a "Harvard-sponsored" program might improve students' admissions prospects at


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                 the College. Contact your area representative for more information about starting (or expanding)
                 early awareness. We have a variety of publications and a video that might help your planning.
                          The Harvard Book Prize. Since 1910, the Harvard Book Prize has been an important and
                 effective way of attracting the attention of talented young people to opportunities at the College.
                 That the Book Prize now also represents, in more than 1,900 schools, one of the highest awards a
                 school can give to a student in the junior class is a tribute to the effectiveness of the Book Prize
                 Committee, which is part of the Harvard Alumni Association. Indeed, many Harvard Book Prize
                 winners choose to apply to Harvard. To help maintain Harvard's tradition of diversity, it is
                 important to reach schools outside traditionally covered areas. An expanded Harvard Book Prize
                 Program can strengthen relations between Harvard and secondary schools and encourage talented
                 students to consider attending Harvard. Should you have any questions about this program, please
                 call the IIAA Clubs Office at 617.495.5732 or 800.654.6494.


                 Recruiting to Enhance Harvard's Visibility

                           I believe that student diversity contributes powerfully and directly to the quality of education in colleges and
                 universities. For more than a century, Harvard has placed a very rugh value on the creation of a residential community
                 that brings together people with a wide range of backgrounds and experiences. TI1e breadth of views and voices in our
                 university challenges each of us to think harder, to see the different sides of any issue, to confront our own assumptions
                 and preconceptions, and to develop the kind of understanding that can come only when we are willing to test our ideas
                 and arguments in the company of people with very different perspectives. It also gives us the chance to come to know,
                 understand, and respect a remarkable variety of men and women whom we might not otherwise have the opportunity to
                 l = from or even to meet.

                                                                                                                               Neil Rudenstinc
                                                                                                                     ''Diversity and Leaming"
                                                                                                                  President's Report, 1993-95

                          One of the Admissions Committee's recruiting priorities is making Harvard accessible to
                 students from diverse backgrounds. Here are some of our recruitment methods and objectives.
                          Recruiting minority students. National competition for talented minority students has
                 escalated since the early 1970s, when Harvard expanded minority recruitment efforts. A Better
                 Chance, Upward Bound, the National Scholarship Service and Fund for Negro Students, and the
                 Association of Black Admission and Financial Aid Officers of the Ivy League and Sister Schools-
                 all of these groups work to improve opportunities for minority students. The College also relies on
                 the assertive contributions of alumni/ae. Please apprise students ofU:MRP and l:AC outreach.
                          Harvard has long recognized the importance of reaching community organizations through
                 which we can inform minority students of our interest and of the admissions process. Contact with
                 school officials, community educational organizations, churches, social clubs, and groups such as the
                 Urban League, the NAACP, and Tribal Councils can be fruitful. Alumni/ae often recruit students
                 through these organizations in a fashion similar to the "school liaison."
                          It is important for you to know about minority life at the College, but discussions with
                 minority students-whether in the context of recruitment or the personal interview-should not
                 forns on the topic of "being a minority." Alumni/ ae should respond to students' questions about
                 multicultural activity at the College, for instance, but should not ask questions that suggest students
                 are being ethnically screened or go through a "special" admissions process.




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                          Ivfinority recruitment offers perhaps the greatest contemporary challenge and opportunity
                 for creative admissions recruiting. Our success in this area depends heavily on your enthusiasm and
                 effort.
                          Recruiting economically disadvantaged students. The cost of a Harvard education and
                 lack of awareness of our financial aid programs dissuades many outstanding candidates from
                 applying. The Committee seeks to attract these students because of how much a Harvard education
                 might change an individual's life-and the life of our society-for the better. Accomplished students
                 from economically disadvantaged backgrounds have often distinguished themselves ·without the
                 benefit of the resources enjoyed by more affluent students. High achievement attained without such
                 resources can suggest that a student possesses an unusual degree of motivation and potential to
                 contribute significantly to our community.
                          Outreach akin to that described for attracting minority students can be constructive in
                 recruiting economically disadvantaged students: visiting schools outside affluent neighborhoods,
                 cultivating relationships "-ith school officials, attending broad-based college fairs, and enlisting
                 HPAI, UAC and UMRP assistance. familiarity with the College's policies of need-blind admissions
                 policy and need-based financial aid is also critical.
                          Recruiting students from sparse country. Harvard wishes to draw students from all areas
                 of the country-a challenge in sparsely populated areas. The Student Search List and infomiation
                 gleaned from school officials and local newspapers can help you identify potential candidates. A
                 friendly note or phone call to introduce the candidate from sparse country to Harvard can be an
                 in1portant first step. Alumni/ ae might also wish to request HFAI, U AC and UMRP assistance.


                 Recruiting Athletes

                          Organized athletics, intercollegiate and intramural, play an important role at the College. A
                 large number of our students participate in intramural athletics, and many Harvard athletes and
                 teams have in the last several years competed for the highest championships in their sports. Most
                 importantly, however, Harvard strives to prm-ide a meaningful athletic experience for those students
                 who elect to matriculate here-not to develop a program for men and women whose sole interest in
                 the College is athletics. From this premise it follows that athletes on campus should be
                 representative of the College in general-representative in their academic qualifications, their
                 academic and professional interests, and representative in their general performance and
                 participation in the life of the College. Such a policy does not in any way mean that excellence in
                 sports is not or should not be a factor in our admissions policy. Extracurricular excellence of all
                 kinds has been and will continue to be extremely important in selecting students from among a large
                 group of qualified applicants.
                          Harvard works within the regulations of several intercollegiate athletic organizations: the Ivy
                 League, the Eastern College Athletic Conference (ECAC), and the NCAA. As part of the Ivy
                 League, Harvard does not offer athletic scholarships. All financial aid is based solely on need.
                 NCJ\.J\. rules are complex and occasionally inconsistent with our philosophy of athletics and, in
                 particular, financial aid. While the College challenges rules inimical to our interests, Harvard makes
                 every effort to live within the spirit of the rules, particularly those concerning recruiting. Due to the
                 evolving nature of athletic regulations, we keep alumni/ ae informed with annual "update" mailings
                 regarding rule changes and additions.
                          Alumni/ae may not have contact with athletes that differs in any way from normal Club
                 contact with non-athletic applicants. One point cannot he stressed enough: any violation of the


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                 principles policies rules and regulations stated herein and in suhsequem mailings invites the most
                 severe penalties for Harvard and our student-athletes. Questions or concerns in this area should be
                 directed to: William R. Fitzsimmons, Dean of Admissions and Financial Aid, 86 Brattle Street,
                 Cambridge, MA 02138, 617.495.1557; or to Robert Scalise, Director of Athletics, Murr Center, 65
                 North Harvard Street, Boston, ]\,fA 02163; 617.495.2204.
                          If you are likely to have any contact with athletes, please study the basic rules of Harvard, the
                 NCAA, ECAC, and Ivy Group Institutions and specific regulation changes by carefully reading
                 athletic updates from both the Athletic and Admissions Offices. What follows is a primer on NCAA
                 rules (individual rules appearing in bold type):
                          All recruiting of prospective student-athletes must be done by institutional staff
                 members. You are considered a representative of Harvard's athletic interests as an alumnus/a,
                 friend, or donor. This means that any contact you have ,v:ith current or prospective student-athletes
                 at Harvard can affect the eligibility of :individual student-athletes and teams to compete in NCA_A
                 and Ivy competition. A "prospect" is any student who has started classes for ninth grade. This
                 means that recruiting a student who has started classes for the ninth grade is subject to NCAA rules.
                          Representatives of an institution's athletic interests are prohibited from having any
                 contact with prospective student-athletes. You may not have contact with a prospect or his or
                 her parents, on or off campus, in person, by telephone or in writing; however, student-athletes do
                 not have to be treated differently from other applicants in the admissions process. If you are
                 assigned to interview students who arc also athletes by your Schools Committee chair, you may
                 contact the student for these purposes only. Schools Committee members may not have contact
                 ,vith prospects whom they are not assigned to interview. If a family friend or neighbor is a
                 "prospect," then you may continue to maintain this relationship; however, you may never have a
                 recruiting conversation.
                          Prospective and enrolled student-athletes may not be given extra benefits. An "extra
                 benefit" includes the provision of any transportation, meals, housing, clothes, service, entertainment,
                 or other benefit not available to all students who are not athletes. Under no circumstances may you
                 provide an individual prospect or enrolled student-athlete these benefits. Teams visiting your area
                 for competition may be provided with meals while on a team trip, but you may never take an
                 individual or small group of athletes or prospects to a restaurant for a meal. However, enrolled
                 student-athletes unable to travel home for holidays may be invited for a meal in your home, but not
                 a restaurant. Yon may not provide transportation for their trip to your home, and this may be done
                 only infrequently and on special occasions. Make sure you have the Athletic Director's permission
                 before extending an invitation. Prospects' trips to campus must be financed by the Athletic
                 Department under specific guidelines, and invitations for such trips may only be made by coaches.
                 Contact the Athletic Director if you would like to contribute to a fund used for this purpose.


                 Recruiting Admitted Students

                         Schools Committees host receptions in April for all admitted students, and often in
                 December as well for Early Action admits. These informal gatherings, which often include parents,
                 should focus on Harvard and students' and their families' questions and concerns about attending
                 the College. One of the most effective recruiting tools is the conscientious avoidance of even slightly
                 disparaging comments about other colleges. Pressure tactics often backfire. Alumni/ ae should call to
                 invite admitted students they interviewed to join them at such gatherings. This second meeting can
                 extend the personal outreach alumni/ae offer that has proven so successful to our recruitment


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                 efforts. If you cannot attend a reception for admitted students in your area, or if you live in an area
                 that does not host such events, we hope you -will nevertheless call and/ or write to any students you
                 interviewed who were admitted in order to congratulate them and to offer to provide support during
                 the student's college decision-making process.




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                                                  4. Interviewing Applicants

                         The interview is perhaps our most important recruiting tool. In recent years, the Admissions
                 Committee has been able to admit only about one of every seventeen applicants to the College, and
                 so alumni/ ae interviewers may be the only personal contact applicants have with the Harvard
                 admissions process. Ensuring that the interview experience is positive, comfortable, and helpful is
                 the cornerstone of the critical personal outreach you, as an alumni/ ae interviewer and official
                 admissions representative, provide to applicants.
                         That applicants feel that they have been treated v.rith respect is another expectation the
                 Admissions Office has of the interview. The Committee also relies on your ability to make
                 recommendations for applicants' admission based on these factors: the criteria outlined in section 2,
                 your own perceptions of the student's "match" with the College, and your assessment of how well
                 he or she has taken advantage of available opportunities. Blessed with so many accomplished
                 applicants-many more that we have room to admit-the Committee often makes fine distinctions
                 among candidates. l\fany of these decisions hinge on intangible factors that alumni/ ae can
                 substantiate with interview reports that breathe life into applicants' folders.


                 Scheduling the Interview

                          Receiving assignments. To expedite interview assignments, you v.rill receive basic
                 information about each applicant you are to interview: name, address, telephone number, high
                 school. Chairs assign interviews based on interviewer availability and accessibility, among other
                 pragmatic factors. You and your chair should talk about your availability---e.g., in what areas you
                 would prefer to interview applicants, when, and how many-before you commit to Schools
                 Committee work. ~ e the Admissions Committee appreciates the effort it takes to interview even
                 a single applicant, we believe alumni/ ae offer more valuable individual assessments by interviewing
                 at least four to si..x applicants each year. Interviewing several applicants can eJs.1)and your perspective
                 of individual candidates, the applicant pool, and the admissions process.
                          Matching applicants with interviewers. The Admissions Committee does not
                 recommend a conscious policy of matching interviewers and applicants-by ethnicity, academic or
                 extracurricular interest, or any other factor. Some applicants have reported that they felt they were
                 being "specially screened" by meeting with an alumnus/ a of similar ethnicity, for example, and that
                 their racial identity was under scrutiny more than their academic achievements, extracurricular
                 passions, and personal qualities. "Matches" will of course occur in the normal process of assigning
                 interviews, and such assignments should proceed.
                          Contacting the applicant. Pkase ca/L the applicantyourself.· We realize that our alumni/ ae are
                 often busy and make time for interviewing among many important commitments. Sometimes, for
                 these reasons, alumni/ ae have a surrogate contact students. Yet students who describe their
                 interviews as constructive cite the personal interest alumni/ ae took in them. A jiiendfy, casual and
                 personalphone call can be the.first step to apositive interview experience. Be sure the student has your name
                 and contact information in case there is a change. At the end of the call, slowly repeat your name
                 and the best way to reach you.
                          ~ e contacting a student via email can be useful, often the logistics can be ironed out more
                 easily in one brief conversation. Be sure to check your email frequently if you do reach out via
                 email, as your message might get misdirected to an applicant's junk folder; follow up with a phone

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                 call if you do not receive a timely response. No need to persist if two emails and two calls do not
                 produce a response, though please note your effort on the interview form and submit online.
                          Be clear about family involvement. Families are often eager to play a role in their children's
                 interviews. For instance, many parents ·will want to arrange the details of the interview with you. The
                 Committee prefers thatyou set up your interviews directfy uith students. Students-not parents-will be
                 negotiating the day-to-day details of college. Students are often surprised when their parents
                 schedule an interview without consultation. If you have no other option than to schedule the
                 interview with parents, ask them to have the applicant call to confirm the details of your meeting.
                 Parents might also accompany children to interviews. While you should indicate to applicants that
                 their parents are welcome to ask questions after you complete the interview, ensure that parents
                 know not to join you in the interview.
                          You may also need to reassure parents who are suspicious about the time and the place of
                 the interview. For instance, the Admissions Office receives calls from concerned parents wondering
                 why an alumnus/ a has called their daughter to come to his/her apartment in the early evening for a
                 personal interview - please continue to use your good judgment in arranging the time and place for
                 the interview. If a candidate or their parent(s) wish to confirm your affiliation with Harvard,
                 encourage them to call our office (617-495-1551) and we will be happy to do so.
                           Selecting setting and time. When scheduling an interview with an applicant, negotiate a
                 time that is mutually convenient and a place most free of distractions - typically a public place that is
                 quiet, safe, and mutually convenient, like the public library or a quiet coffee shop. Please ask whether
                 a student has adequate transportation to and from the interview. This can affect your arrangements
                 dramatically. While it is generous to offer to provide transportation to an applicant to and from the
                 interview location, we would advise against this arrangement. Instead, give the applicant the
                 opportunity to suggest a location.
                          Ideally, you should examine your calendar and select those days and times you know you will
                 be available to conduct an interview. Then, on the telephone, you can give the student several
                 options; be sure to ask what is best for them, as well. Generally, the Admissions Committee does
                 not recommend scheduling an interview that will occur during school hours or last beyond 9 p.m.
                 Let the applicant know you plan to spend no more than 60 minutes in a single meeting with them.
                          If you and the applicant have significant difficulty agreeing to a time and place, it is probably
                 best to have your Schools Committee chair re-assign the interview. Some alumni/ ae have thought
                 scheduling complications biased them against a candidate, and others worried that---even if they
                 were not bothered by scheduling difficulties-the student might perceive such bias.
                          The Committee knows that alumni/ ae can, and have, successfully interviewed students in a
                 variety of settings. The candidate will want to make the best impression possible and the interviewer
                 should help provide the setting for him/her to shine. Please be sensitive to the perceptions of
                 "being alone" in a stranger's home (i.e. the interviewer's home): any of the candidate's concerns
                 should be addressed at the time of the initial contact and any worries l)Ut to rest. That said, we
                 encourage interviewers to conduct interviews in a public place that is quiet, safe, and
                 mutually convenient.
                          Of course, adhering to local norms and social customs in your area should be considered
                 and you know best what these might be. While a "Starbucks" locale may serve to be an easy choice
                 in certain areas of the country, this setting could be less than ideal in others. Again, we value your
                 good judgment in your interviews and have every confidence that you will display the same in
                 advance of arranging the interview. Alumni/ae should be aware, however, of the possible
                 drawbacks of holding interviews in particular locations especially with regard to interviewing in an
                 interviewer's home.


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                          Interviewing on "neutral ground." Some alumni/ ae interview on "neutral ground," e.g.
                 the applicant's school or the local public library. This approach usually minimizes transportation
                 complications and appeals to alumni/ ae who live with their parents or who have small children.
                 Should you wish to interview a sh1dent at school, do not schedule your interview at a time that
                 interrupts the student's class schedule or that requires the student to be at school at an unreasonable
                 time. If an applicant is amenable to meeting you at school, call the guidance department to reserve a
                 LJuiet place to talk. Remember, school policies about the visitation of college representatives vary.
                          Some Schools Committees arrange for several alumni/ ae to interview students one-on-one
                 at a local school on a Saturday morning. With sufficient notice, a school will open the building and
                 reserve rooms for as many interviews as will be taking place at one time, ~-ith an additional room
                 reserved for parents and the second round of applicants. Alumni/ ae often add certain amenities
                 (e.g., coffee, juice, donuts) for parents and applicants in the waiting room.
                          Interviewing in your home. Some alumni/ ae invite students to interview in their homes, a
                 practice the Admissions Office has increasingly come to discourage. Please note that some students
                 and parents may express discomfort at the prospect of being interviewed in the home of someone
                 they do not know. In fact, some high school guidance counselors explicitly instruct their students to
                 reject offers to meet alumni in their homes. In these cases you should happily suggest an alternative
                 meeting location on neutral ground.
                          The Admissions Office suggests that interviewers select locations other than their
                 own homes for interviews when possible. However, we acknowledge that sometimes it is helpful
                 or necessary to arrange interviews at the interviewer's home, and under these circumstances, it is
                 important to bear in mind several important considerations. Be aware that interviewing in your
                 home may present travel complications. If you do interview a student in your home and send away
                 parents after they have dropped the student off, he or she might nervously watch the clock to make
                 sure parents are not freezing at the curb as they wait for the interview to end. The spouses of some
                 alumni/ ae have been incredibly accommodating by entertaining parents over coffee while their
                 children are being interviewed. The Admissions Committee appreciates, but does not expect, such
                 graciousness. We suggest instead that you tell parents to return in forty-five minutes. Beyond
                 considering possible transportation complications, please he aware that a grand house might seem so
                 impressive to a student as to be intimidating. Be conscious, too, of possible distractions, such as the
                 telephone and young children.
                          Interviewing in your office. Many alumni/ ae interview applicants at work. But like a
                 beautiful house, the boardroom of a major corporation or firm can be intimidating. Keep
                 distractions at a minimum by letting colleagues know you will not be available for the duration of
                 your interview. Hold your calls or have them directed to your voice mail.
                          Interviewing in a local restaurant or coffee shop. Some alumni/ ae interview applicants in
                 these settings, which is fine assuming the applicant agrees. The alumni/ ae interview can make many
                 applicants self-conscious, so be aware that some applicants are more self-conscious if they are aware
                 that strangers-and their alumni/ae interviewers-are scrutinizing them.
                          We do not recommend interviewing students in their own homes. Some students
                 interviewed in their own homes have reported they have felt as if their "family was on trial."
                 Interviewing students at their homes also diminishes the control you would otherwise have over
                 time and possible distractions. In the case of one alumnus who interviewed an applicant in her
                 home, the applicant's mother stayed through most of the meeting and became so involved in
                 conversation that she asked her daughter to answer a ringing phone.
                          What applicants should wear to an interview. Your initial conversation should touch on
                 other issues of protocol and logistics. If applicants ask you what to wear, tell them the Admissions


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                 Committee has no policy about how students should dress for interviews, but that we hope
                 applicants wear whatever will help them feel comfortable.
                          On asking applicants to bring resumes and other materials. Some alumni/ ae
                 interviewers ask students to bring copies of their extracurricular resumes to the interview. Others
                 give students pre-interview surveys. These materials can be valuable because they yield obvious
                 talking points. But we hope these materials will not be too detailed or burdensome to applicants.
                 Surveys can seem to be redLU1dant forms among so many others over which students have already
                 labored. Students have also reported that it was unclear how the alumnus/ a would use the survey or
                 resume. Interviewers should acknowledge and confirm with students that providing a resume or a
                 survey is voluntacy: and by no means a required part of the admissions process.
                          Staffing the interview. Never interview more than one applicant at a time. One-on-one
                 intervie"ving is most effective. .1\ single interviewer can direct an interview's course and content more
                 efficiently than a panel of interviewers can. Some Schools Committees, however, successfully have
                 pairs of interviewers assess a single applicant. There are two common multiple-interviewer formats.
                 A group of alumni/ ae can simultaneously interview a single applicant or an applicant can interview
                 separately with two alumni/ ae in a single morning or evening.
                          The multiple-interviewer format can offer certain advantages. Post-interview discussions
                 allow alumni/ae of different preferences and temperaments to check their biases when evaluating
                 individual applicants, and these discussions help the alumnus/a writing the interview report to
                 provide a more broadly sympathetic view of the candidate. New Schools Committee members might
                 wish to join a veteran interviewer to develop perspective on the interviewing process. Finally,
                 Schools Committees with a surfeit of interviewers can accommodate the interest of a greater share
                 of their membership by assigning an interview to a group of two or three alumni/ ae.
                          There are pitfalls, too. Being interviewed by more than one person at a time can intimidate
                 students. You must take particular care to set the candidate at ease to prevent the group interview
                 from resembling a polite grilling. The format can also prove a difficult juggling act for interviewers.
                 Interviewers must settle among themselves before the interview begins who will ask which questions
                 when-orchestrations with which single interviewers need not contend. Please consider, too, the
                 efficiency of the multiple-interviewer format for your Committee. Schools Committees with small
                 active memberships might not be able to afford the time it takes two alumni/ ae to interview a single
                 candidate.
                          Whatever approach your Schools Committee adopts, let the applicant know the interview
                 format in advance, and explain why you have chosen it. Each alumnus/ a joining the interview
                 should then introduce himself or herself to the applicant at the start of the interview.


                 Conducting the Interview

                         Length. Let the applicant know you plan to spend no more than 60 minutes in a single
                 meeting ·with them-no matter which interview format your Schools Committee uses. A single
                 meeting, for this length of time, offers sufficient opportunity for you to form an impression of the
                 applicant.
                         Explaining the purpose of the personal interview. Your first priority upon starting an
                 interview should be to set the applicant at ease. Sitting face-to-face with an applicant rather than
                 allowing your desk or a large table to fill the space between you are ways you can help the student
                 feel more comfortable.



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                         Beginning an interview with a short introduction about your role in the admissions process
                 can also relax the applicant. You should tell applicants that, as an interviewer, you work closely with
                 the Admissions Office. Add that although the Admissions Office is interested in your written
                 evaluation-which becomes part of a student's file-it will be read in the context of all the other
                 application components: grades, test scores, extracurricular participation, personal essays, and
                 counselor and teacher recommendations. Many alumni/ae then reveal how little they know about
                 the applicant, and that they do not have access to applications. Students will be less likely, then, to
                 assume you know everything about them, and this can encourage them to talk about themselves
                 more freely. You should also encourage the student to ask you questions about anything pertinent to
                 the College, the admissions process, and even your own experiences as a student here.
                         Note-taking. Note-taking can help you recall details about your conversation that will prove
                 valuable in composing an interview report. Approaches to note-taking vary. Some alumni/ ae do not
                 write anything down that they would not want applicants to see. Others record more evaluative
                 comments and even quotations. Still others place a pad and paper in the open, but spend the first
                 three-fourths of an interview talking with an applicant and not taking notes. Then, telling applicants
                 they wish to record some basic data, they ask applicants to review their current course work or their
                 extracurricular activities.
                         Note-taking, however, can prove distracting to an applicant. Asking for academic credentials
                 can put a candidate on the defensive. Asking about test scores and grades first also puts undue
                 emphasis on "the numbers game." Remember that your objective is not to find out all the facts
                 - the application will disclose them. Again, the particular value of the alumni/ae interview is the
                 personal outreach it offers applicants and the personal dimension interview reports add to
                 applicants' folders. Never record interviews.
                         Asking applicants for academic credentials. It is never necessary to request academic
                 credentials from students if an interviewer prefers not to do so. However, there can be compelling
                 reasons to ask every applicant about his or her grades and scores. Your approach in asking for this
                 information can help put candidates at ease and reassure them that grades and standardized test
                 scores are by no means the only things the Admissions Committee considers in evaluating
                 applications. 1viany interviewers ask for thi<; information near the end of the interview in a casual
                 tone: "So I can make sure that the Admissions Committee has all the information it needs in your
                 file, may I ask for your test scores and grade information?" Others ask for the information at the
                 beginning of the interview and place those notes out of sight, moving quickly into a discussion of
                 other things. You are prohibited, however, from contacting the high school for this information.
                 The information must be shared voluntarily by the applicant during the interview. lfhe or she
                 declines, then please use your best estimate to rank the applicant in the academic category.
                         Questions to structure your conversation. Your conversation should center on an
                 applicant's interests, not yours . ..\1.ost interviewers begin interviews with questions about simple,
                 factual matters that are easy for applicants to answer:

                         •   Describe your school community.
                         •   \Vhat courses are you taking?
                         •   Which courses do you enjoy? Why?
                         •   Wbich do you least enjoy? Why?
                         •   In which activities are you involved? Why? Wbich do you most enjoy? Why?
                         •   W'hat are the important activities in your school? Why?
                         •   \"Xi'hat do you do in the summer?


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                         •   Do you have a favorite book? Or, which book have you recently read? Do you prefer
                             reading online? What blogs or sites do you read regularly?

                 These questions can help you structure the interview and allow the student to volunteer information
                 that will help you assess them. These questions can also help you pinpoint ideas, activities, and
                 passions that are of interest to the candidate, which might lead to more specific discussion about
                 those interests.
                          As you talk about something of importance to the candidate, your questions should point
                 toward discovering motivation, commitment, and level and quality of contribution. Your questions
                 should be open-ended to encourage candidates to provide their own insights and reflections about
                 their experiences. If a student provides merely factual answers, you might wish to draw him or her
                 out by asking, "Why?", "How did you happen to do that?", "Was the result what you expected?"
                 When you talk about an idea or an intellectual concept in a book, play, current event, or research
                 project, encourage the candidate to develop the idea.
                          Be a supportive listener. Regard a candidate's thoughts and feelings with respect and try to
                 appreciate each individual's unique qualities. Hear what is being said and how it is being said, but be
                 wary of trying to guess what is not being said and supplying motive or unsupported insights. It is
                 better to report factually what an applicant said rather than to characterize what they have said. To
                 ,vrite, "The applicant never said more than three words at a time, and she looked down at her hands
                 almost the entire time" is more effective and less open to interpretation than, "He was nervous and
                 I think he would be out of place at Harvard."
                          Avoid prolonged discussions of political and personal issues. Interviewers are not
                 usually judgmental about the content of an applicant's political opinions or family situation. They
                 use the interaction to gauge whether the student's ideas are original and well-reasoned or simply
                 parroted from elsewhere. Conversations about family problems can also be cited to provide
                 evidence of a student's maturity and ability to deal with adversity. The information reported can, in
                 fact, be used to boost a student's chance for admission.
                          Yet students report that prolonged discussions of difficult or sensitive subjects can ruin an
                 interview. Such conversations include probing for opinions on political topics (e.g., welfare, crime,
                 drugs, abortion, capital punishment) or personal issues (e.g., religion, sexuality, family finances,
                 family illness, details of parental relationships and divorces). Students' reflections on these topics can
                 reveal the degree to which they are aware of the world around them, and can yield insights about an
                 applicant's background or personality. But discussing such matters, particularly at length, can
                 reasonably be construed as an invasion of privacy.
                          Be wary of asking, "To which schools are you applying?" Alumni/ ae often wish to
                 know what characteristics students seek in a college to measure how well they know and are a match
                 for Harvard. The best way to start this conversation is to ask, "~'hat are you looking for in a
                 college?" rather than, "To which schools are you applying?"
                          Some colleges make admissions decisions contingent in part on students' perceived
                 commitment to their school. This is not the case at Harvard. Because some students believe they
                 could jeopardize their chances of admission to the College by discussing other schools, the
                 Admissions Committee strongly recommends that your discussions about students' interests in other
                 colleges focus on general characteristics rather than proper names.
                          Do not ask, "Is Harvard your first choice?" The Admissions Committee strongly
                 recommends against asking a student whether Harvard is his or her first choice. The Committee
                 regards a student's application to the College as the most important interest an applicant can express
                 in Harvard. This question puts most applicants in the position of saying Harvard is their first


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                 choice-perhaps in spite of their actual preferences-out of fear that they might jeopardize their
                 chances of admission by telling you that they might not ultimately make the same decision you did.
                         Questions you should ask yourself as you conduct an interview. It can help you write a
                 valuable interview report if you evaluate sh1dents' comments as you interview them by asking
                 yourself these questions:

                        •   Does the candidate have potential?
                        •   Has the candidate reached her maximum growth?
                        •   Has the candidate been stretching himself?
                        •   Has the candidate been working to capacity? In her full-time or part-time employment?
                            In his academic pursuits? In other areas?
                        •   Does the candidate have reserve power to do more?
                        •   How has the candidate used her time?
                        •   Does the candidate have initiative? Is he a self-starter? What motivates her?
                        •   Does the candidate care deeply about anything-intellecrnal? Personal?
                        •   Is the candidate more concerned about intellecmal subjects? Human subjects?
                        •   What has the candidate learned from his interests? What has she done with her interests?
                            How has he achieved results? With what success or failure? Has she learned anything as
                            a result?
                        •   Will the candidate be able to stand up to the pressures and freedoms of Harvard?
                        •   What qualities, strengths, or weaknesses differentiate this candidate from others?
                        •   \v'hat choices has the candidate made for himself? W'hy?
                        •   What is the candidate's intellechial capacity? What has she done with it?
                        •   What is the candidate's personal capacity? What has he done with it?
                        •   \v'hat is the candidate's Harvard motivation? \v'hy and how did she pick Harvard? Wbat
                            effort has the candidate made to inform himself about Harvard?
                        •   Is the candidate a late bloomer?
                        •   \v'hat is the quality of the candidate's activities?
                        •   Does the candidate have a direction yet? What is it? If not, is she exploring many things?
                            Or is he just letting everything happen to him? W'here will the candidate be in one year?
                            Five years? Twenty-five years? Will she contribute something, somewhere, somehow?
                        •   What sort of human being is the candidate now? What sort of human being will she be
                            in the future?
                        •   Will the candidate contribute something to Harvard and to his classmates? Will she
                            benefit from her Harvard experience?
                        •   Would you or other smdents want to room ,vith this applicant, share a meal, be in a
                            seminar together, be teammates, or collaborate in a closely knit extracurricular group?

                 Questions applicants frequently ask interviewers. Sh1dents often ask very specific questions for
                 which you should be prepared either to speak from your own experiences or, if you do not know
                 how to answer their questions, to say so. These are two of the most frequently asked questions:
                        "What's Harvard really like?" This question probably has as many answers as there have
                 been Harvard smdents. Remind smdents that you can only provide one perspective of life at
                 Harvard-your own. Sometimes, this question masks other curiosities, many of them about whether
                 Harvard myths are true. Are there a lot of students at Harvard who attended private secondary

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                 schools? (Two-thirds of llarvard students attended public secondary schools.) Do you have to he
                 rich to go to Harvard? Is Harvard competitive? Will I be able to do well academically and participate
                 in extracurricular activities? These questions should emphasize how important it is for you to be
                 well informed about the current dynamics of the Harvard experience.
                         "What are my chances for admission?" Students often ask for your assessment of their
                 chances of admission during the course of their interviews. Although the previous section addresses
                 this question, it is worth repeating here. It is very in1portant not to create any in1pressions or
                 expectations, positive or ne1::ative, about the student's probabiliJy of admission. Even if you think
                 he or she is under-qualified it is not your place to make suggestions about their college applications.
                 Though well intentioned it is inappropriate for the interview setting. After all, admissions officers
                 often parry this question by saying, honestly, that they cannot guess at a student's chances until they
                 have read a completed application and can assess the year's competition. "i\nd this analysis can only
                 be accomplished with full access to all the material in an applicant's file and through the extensive
                 discussions shared and comparisons made through the Committee process.


                 Writing the Interview Report

                          Your goal in writing a personal interview report should be to help the Committee see the
                 applicant as a human being and to determine whether or not the student has the important
                 intangible strengths that might distinguish him or her in the admissions process and, if admitted, at
                 the College. Here are some pointers:
                           Showing is better than telling. The conclusions expressed by an interviewer can have
                 greater value when the reasons and basis for them arc explained in the interview report-with
                 examples proving your points. Try to supply kinds of infomiation that would otherwise be missing
                 from the folder. Comment on the quality of an applicant's interests and commitments to
                 differentiate a particular candidate from the applicant pool.
                          Cite only facts that are important to the candidate or that support your judgments.
                 Assume the candidate has provided general factual background in her application. This allows the
                 best interpretation of the interview report, particularly since the reader will not always know you and
                 be able to accept automatically your conclusions. The interview report should be more than a
                 recitation of activities or the assertion of a conclusion.
                          Comment on the quality of a student's experiences with evidence proving the point.
                 While the combined evidence of the school record, counselor and teacher reports, and results of
                 standardized tests and AP and IB examinations permit the most complete assessment of academic
                 ability, discussions of the content of a candidate's school work, the way it is accomplished, and the
                 pattern and depth of his or her outside reading can yield helpful information. For example, if a
                 student is interested in science, information about long hours spent working in a hospital emergency
                 ward or building a computer can distinguish the quality of an applicant's interest. Does the student
                 participate in athletics? If so, perhaps you can give us local context to help us assess her prowess and
                 potential to play here. Although we defer to the judgment of Harvard coaches when considering a
                 student's athletic ability, information provided in interview reports can help us alert coaches to
                 students they might have overlooked. If he is a performing artist, do you know about the caliber of
                 the groups with which he performs or exhibits his work? Is it unusual for a student from his high
                 school to participate in the arts (because, for example, sports are the dominant extracurricular
                 activity, or the school lacks serious clubs for students interested in the arts)?



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                           For students to whom you are giving your support, approach writing the report as an
                 opportunity to "make a case" for the candidate. Why should this particular applicant come
                 here? What special contribution might this student make or how might he benefit from the Harvard
                 experience?
                           Write candidly. Interview reports sometimes telegraph impressions out of fear either of
                 quashing a student's chances or of appearing too enthusiastic about them. We hope you consider the
                 global nature of the Committee's assessments; we seek consistency throughout all the materials in a
                 student's folder. By itself, one blemish or even one exceptional quality or credential will neither
                 demand nor prevent admission. ln many instances, the interview confirms other evidence in the
                 applicant's file, and it can certainly make a difference in the ultimate decision. Balance this advice
                 "':ith the following note.
                           Consider your potential audiences as you write. Any number of individuals on the
                 Admissions Committee might read your reports-faculty, admissions staff, and other members of
                 our community. Admitted applicants who enroll at Harvard may read their application files through
                 the Pamily Education Rights and Privacy Act. (Students occasionally do exercise this right.) Be
                 professional in writing about a candidate's strengths and weaknesses. Avoid slang and comments
                 that could be interpreted as derisive.

                           An open-minded inte1'llien1er, a perceptive judge efpeople, someone who is aivare efthe limitations efjudging a
                 per-son on what can be seen in a 60-minute conversation but u1ho is also able to reportjhznkfy on what was seen and
                 u1hether it should strengthen or weaken a student's application is rf imstimable value.

                           Length. Each report should include a summary and indicate whether you feel the student
                 should be admitted or not, and why. Reports should be as brief as possible, but not at the expense
                 of providing helpful information and judgments. Do not feel pressured to polish the prose of a
                 report on a candidate with whom you have not been very :impressed. We are far more concerned
                 "'.ith the content of the report-and your judgments-than the report's style.
                           Be aware of, and suspect, your own biases. Since no one can really be "objective" in
                 attempting to evaluate another person, he aware of your biases. It is easy to feel that a student who
                 shares your values and enthusiasms is a very strong applicant-or that one whose view of the world
                 is greatly at odds with yours is confused. TI1e good interviewer makes allowances for this,
                 appreciates a point of view on its own merits, and evaluates the interview accordingly. Sometimes
                 interviewers call attention to their own preferences: "This is not the sort of person I most enjoy,
                 but ... ," or "l probably favor the student who has had to work hard .... " This approach can help the
                 reader interpret the interview report more accurately.
                           Numerical ratings. The Committee does not expect to achieve anything approaching
                 national consistency ·with the use of numerical ratings, so we use them in the most general way to
                 show whether an interview was favorable or unfavorable. In any case, the Admissions Committee
                 relies more heavily on your prose. Keep in mind that we have recently changed how we ask you to
                 assess candidates. Consider me ranges for all criteria. Interviewers sometimes comment that we do
                 not pay enough attention to ilieir write-ups and numerical ratings. The credibility of your ratings
                 depends on your use of the numerical range when you interview applicants. You diminish the
                 impact of your support if, for instance, you rate everyone a "1" or "2+" across all categories.




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                 Sending Your Reports to Cambridge and to Your Chair

                         After the results of a spring 2008 web use survey were tallied, numerous requests pointed to
                 enhancing web services available to chairs and interviewers. Suggestions included creating an online
                 submission form, stabilizing website availability, allowing chairs to assign interviews online and
                 creating club management tools for chairs. Responding to your requests, we launched a newly
                 designed web portal in the fall of 2008 and have revised and reorganized it substantially the past two
                 admissions seasons.
                         Even before you begin submitting interview reports, please feel free to login using your
                 current access code (PIN) and become familiar ·with the site, download updated information about
                 the College, and generally become familiar with navigating the site. If you don't remember your
                 access code, please use the "Forget your Access Code?" link on the login page in order to have the
                 code sent to your email address on record. As you navigate the site you can be assured that you
                 cannot break anything or accidentally delete yourselfl
                         Please find the site here:

                                https: //admapp.admissions.fas.harvard.edu /hanevo /alumni /haServices .do

                          Please begin by reviewing your profile and editing your contact information accordingly. We
                 encourage you to use your "post.harvard.edu" address, as this will remain constant even if you
                 decide to forward your mail to a different account. As always, if you have any questions or
                 concerns, please feel free to contact the admissions officer assigned to your region with questions or
                 to provide feedback.
                          Whenever possible, you should use the onlinc version of the interview report form. If that is
                 not possible, please keep a copy of your report for your records, send a second to your Schools
                 Committee chair, and send a third copy to the Admissions Office. Sending a copy to your Schools
                 Committee chair alerts him or her that you did the interview and enables him or her to give us a
                 copy of the report should we misplace it and not be able to reach you in a timely fashion. We also
                 have several fax lines by which you can send us reports (see Documents and Forms on the website).
                 Finally, you can send reports by mail and priority mail to the Ilarvard College, Office of Admissions
                 and Financial i\id, 86 Brattle Street, Cambridge, MA 02138. If you choose to file on-line, email, or
                 fax your reports, please remember you do not need to snail-mail them as well. If for some reason
                 they are lost or never arrive, your area representative will contact you.


                 Ranking Meetings

                        After completing all interviews, some Schools Committees hold ranking meetings to
                 compare candidates. These meetings can approximate the Committee process in Cambridge. If the
                 Schools Committee applies roughly the same standard of selectivity as the Admissions Committee,
                 alumni/ ae can better understand the strengths necessary for candidates to distinguish themselves in
                 the admissions process. Alumni/ac also have the opportunity to temper their own judgments of
                 candidates when they hear how other alumni/ ae have evaluated other candidates.
                        Candidate rankings are valuable to us for the input they provide and to Schools Committee
                 members for the information they share. Any Schools Committee member who has had a greater-
                 than-usual share of either strong or weak applicants for the year can also put his or her own



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                 interviewees in perspective and understand better the decisions made in Cambridge. Ranking
                 meetings also provide valuable exposure for new interviewers.
                         There are some caveats to consider before initiating a ranking meeting. They require
                 considerable time and effort. Recommendations from ranking meetings are most valuable if every
                 applicant from a given area is interviewed, if all interviewers have the opportunity to introduce any
                 candidate for the Schools Committee's consideration, and if all of this work can be completed
                 before the area person enters subcommittee meetings in Cambridge. Please keep in mind too that
                 recommendations Schools Committees make for candidates after a 60-minute interview and ranking
                 meeting discussions are additional elements-but not substantially determinative ones-that the
                 Committee weighs in the context of all other information in an applicant's file.


                 Transfer Interviewing

                         We may ask you to interview transfer applicants after the freshman admissions season ends.
                 We understand these interview requests come when people are both busy and exhausted from
                 finishing the admissions process for the new class. But, unlike intervie,ving for freshman admission,
                 alumni/ ae see only pre-screened candidates. Keep in mind that a typical transfer applicant's
                 extracurricular activities are slightly less important than her academic focus and fit with the Harvard
                 curriculum. Since we have less personal information about these students than we have for
                 freshmen, conveying a sense of the person in an interview report is especially critical. Will the
                 student be happy here? How well do you think they will make the transition-academically,
                 socially-from their current schools to Harvard?




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                                                 5. Sample Interview Reports

                                                                   Marcus

                 Academic (2-)
                      Afagna potential. Excellent grades and mid to high-700 SAT scores (3 3 + ACIJ.

                         1\farcus is a top-flight candidate for Harvard. We spent about an hour talking, and I was able
                 to learn quite a bit about this outstanding young man. He is clearly a leader both in the classroom
                 and out. :Marcus is very interested in becoming a doctor and has worked hard to achieve a 3.5 grade
                 point average. He has also taken his college tests and has mid-650s on all. Because of his interest in
                 medicine, Marcus did volunteer work in a hospital this summer. We talked for a while about the
                 pre-med program at Harvard.

                 Extracurricular, Athletic, Community, Employment, Family Commitments (2)
                        Substantial school-wide, regional or state recognition; major contribution/leadership.

                         Extracurricularly, :Marcus is a strong high school contributor who could add a good deal at
                 college as well. He has played the clarinet in the school band for three years, takes part in the public
                 service club, and has rowed on the varsity squad for two years as well.

                 Personal Qualities (1)
                       Rare personal qualities and appeal

                         Fine young man. Very enjoyable conversation.

                 Overall (1)
                       Absolute!J superiorjor admissions; tm!J unusual in the entire applicantpool

                         With this combination of academics and extracurriculars I can't imagine that we could do
                 better. Please hurry and accept this fine young man. He'll make a wonderful alumnus! If you need
                 more information, don't hesitate to call me at the numbers listed below.


                  Comments:

                           The interviewer makes pronouncements without substantiating them. Where is the
                  evidence that Marcus is "a leader both in the classroom and out" or that he is "a strong high school
                  contributor"? What did he do when he volunteered in the hospital? How significant is his
                  contribution to extracurricular activities? Why has he had to work hard to achieve a 3.5 GPA? Is
                  he taking a rigorous academic program? Does he show any signs of intellectual curiosity?
                           'lhe ratings seem inflated by at least a full number, and far from being a "clear admit,"
                  l\farcus does not appear to be a particularly strong candidate, based on the information we have
                  here. If there is stronger evidence for Marcus' admission, it should be included in the report itself,
                  not offered to be made available over the phone. The interviewer seems unaware of the
                  competitiveness of our selection process or the strength of our applicant pool.


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                                                                    Daniel

                 Academic (2)
                      Afagna potential. E:xcellent grades and mid to high-100 SAT scores (3 3 + ACT).

                          Daniel articulates his thoughts and reasoning well, and told me that he's "in the top 5
                 percent'' of his 70-member class at City Prep. His scores, as you know, are almost perfect across the
                 board. He enjoys science (particularly chemistry, "because T love taking a law or technique and
                 applying it to new units and in labs"), English, and history. Although not certain about a career, he
                 is leaning toward medicine. He said he enjoys English but did not seem particularly interested in
                 discussing literature (a particular interest of mine given that I am an English professor), but after
                 talking with him more he came to the conclusion that what really intrigues him about his English
                 classes is the art of composition, rhetoric, and argument. l could tell from the way he speaks that he
                 puts considerable thought into the ideas he puts forth (though he never sounded labored or took
                 large pauses to compose thoughts), so this interest in composition sounds spot-on.


                 Extracurricular, Athletic, Community, Employment, Family Commitments (2-)
                        Substantial school-wide, regional or state recognition ,nryor contribution/ leadership.

                          Daniel's mother teaches in one of the inner-city public high schools, and she is the one
                 Daniel credits for his "sense of duty" to others. He is very active and interested in community
                 service, asked many questions about PBH, and promises that he will lead a Boy Scout troop
                 wherever he ultimately attends college. From his questions and the way he described his
                 involvement, I got the sense that his efforts were real and inspired; he's not merely showing up for a
                 few hours one Saturday a semester to fulfill his school's service requirement (my sons went to City
                 Prep, so I'm quite familiar with their service requirement and most students' perfunctory approach
                 to completing it).
                          Community service is his major interest outside the classroom, followed by Model UN,
                 editing the school paper, and volunteering summers and time during the school year to sundry
                 activities. Daniel is also an Eagle Scout. When I commented that it is unusual to encounter
                 someone his age still involved in scouting, he said there were only four other peers involved and that
                 he feels "duty-bound" to continue his commitment.


                 Personal Qualities (3+)
                       Above average personal q11ali!J and appeal

                          Daniel is more articulate than most young people I have interviewed, and it sounds as if he
                 has had substantial public speaking opportunities through scouting and his work with the Model
                 UN. When we started speaking about the resolutions Daniel had to debate at some simulations, he
                 finally started speaking in a little more animated fashion. For instance, Daniel expressed some
                 emotion when describing his assignment, as a representative from Ireland, to defend a position
                 shared only by the Vatican, whose representative eventually abandoned centuries of church tradition
                 to leave Ireland alone contra contraception. Nevertheless, he soldiered on, though not convincing
                 many others.



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                          Daniel is very interested in sports, but his involvement has been limited as a result of a tom
                 ACL. Daniel brought a copy of the school paper and some other writing he has done. Through this
                 deed and in many words, too, Daniel seemed a bit aggressive in enumerating his accomplishments.
                 Tn the course of the interview, however, it came out that a Harvard alumnus at City Prep coached
                 his sales technique. His "real" personality seemed more in evidence when he asked questions such
                 as, "Do I have a chance to get in to Harvard even though I've never invented anything or won the
                 world chess championship?" And he spoke with general admiration and affection for his mother's
                 work and his commitment to Scouting. I enjoyed speaking with Daniel, especially after he became
                 more relaxed.


                 Overall (2-)
                         Clear admit-one to rermit

                           Daniel, with his abundant ambition, would have no problem fitting it at Harvard, but he is
                 still a bit of an awkward fellow. He is obviously competent in getting things done, articulate, and
                 motivated. He would do well in a large research university.



                 Comments:

                          Two factors distinguish this report as particularly helpful. First, the interviewer cites Daniel's
                 activities to substantiate the interviewer's qualitative comments and to justify the extracurricular
                 rating awarded to Daniel. Contrast this ·with a report that merely lists activities and makes broad
                 conclusions: "Daniel is the strongest applicant for Harvard College I have ever interviewed."
                          Second, the interviewer quotes Daniel directly or paraphrases specific exchanges to justify her
                 assessment of the quality of his extracurricular participation and his personal qualities. This does not
                 make this interviewer's perspective infallible or doom Daniel's chances for admission, but this report
                 conveys clearly the basis of the interviewer's judgments. The overall rating might be a bit generous,
                 but Daniel sounds like a candidate who will receive serious consideration during our deliberations.
                 This interview report will add an important dimension to those discussions.




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                                                                    Evelyn

                 Academic (1)
                      Summa potential Genuine schola,;· near-perfect grades and test scores (tn most cases) combined with evidence
                      of original scholarship

                         Evelyn is the editor-in-chief of her school's literature magazine and enjoys writing poetry.
                 She is also an officer in her school's science league team, which has won the Gray's Anatomy
                 contest in cardiovascular science competition for the last 3 years. She is excited about trying to win
                 the fourth straight competition soon. She also is in her school's Chemistry Charter Club, which
                 teaches seminars for younger students.
                         I liked her methodical approach to her future intellectual pursuits. She is looking for an
                 interdisciplinary experience in school and her career and is currently most interested in
                 Environmental Science and Public Policy.
                         She's really very close to "truly unusual" in intellectual curiosity and originality, which is why
                 I gave her a 1 academic rating.


                 Extracurricular, Athletic, Community, Employment, Family Commitments (2+)
                        Substantial school-wide, regional or state recognition; mqjor contribution/leadership

                         What T really like about Evelyn was that she has a handful of interests outside of school and
                 has focused in on those for which she has a true passion.
                         She has been swimming competitively for many years and is on her high school's varsity
                 team, primarily now doing individual medleys and the backstroke. Her team is apparently very
                 competitive regionally. She also volunteers as a swimming coach for an 8U team on weekends and
                 during the summer.
                         She has several officer positions in extracurricular dubs and activities. She is the editor-in-
                 chief of her school literary magazine and enjoys writing poetry. She is president of the Environment
                 Club. She is an oHicer of her school Science League team, which has won several competitions (see
                 Academic). She is also an officer for Interact, a commuuity service club that does fundraisers and
                 volunteers at shelters and retirement homes. She is also an officer in her school's Chemistry Charter
                 Club, which teaches younger students.
                         Evelyn has also traveled to some interesting places, including her parents' countries of
                 origin, China and Romania, as well as Israel and Greece. She has enjoyed those experiences and
                 feels that they have positively influenced her thinking and approach to different types of people.


                 Personal Qualities (1)
                 Rare personal appeal and character

                         Evelyn ranks very high in all of the example characteristics listed above. She has a uuique
                 blend of poise, confidence, sincerity, and humility in her demeanor. She is thoughtful and expresses
                 her ideas very clearly. More than most students her age, she was able to engage in a two-way
                 discussion on a wide variety of topics; she was very interesting to speak with. I enjoyed the time
                 speaking with her and am completely convinced that she ·will contribute greatly to her college, both
                 in the classroom and through her extracurricular involvement and social interactions.


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                 Overall (2+)
                 Clear admit; one to recruit

                        While I hold the ranking of 1 for a once in a lifetime type of candidate, I must say that
                 Evelyn was probably the best candidate for Harvard that I have met in about 8 years of interviewing.
                 She might not be the absolute best in any given candidate, but I really liked how well row1ded she is
                 and how much she has to offer in every regard.


                 Additional Comments

                          Evelyn visited Harvard's campus and sat in on some classes. She was enthusiastic when
                 telling me about one of the classes. She also has thought carefully about what she is looking for in a
                 school, including the scholastic, community, geographical, and social aspects. When she says that
                 she is looking for a diverse group of students and experiences, I don't think she's memorized it from
                 the Harvard brochure-I think she is truly looking for and ready for what Harvard has to offer. She
                 will be an asset if accepted for admission.



                  Comments:

                           Although the interviewer's academic and extracurricular ratings for Evelyn seem a bit
                  inflated given the accomplishments cited in the report, the thrust of this report is dear: Evelyn is
                  bright, engaged, and engaging, and her interviewer recommends her highly for admission. It would
                  have been helpful to read a few quotes from Evelyn-those things she said that led the interviewer
                  to ,vrite, "She is thoughtful and expresses her ideas clearly." What were some of the many topics
                  about which Evelyn could engage in a two-way conversation? What did she say that made her
                  seem especially intellectually curious?
                           It is helpful to know that Evelyn is the best candidate for Harvard that the interviewer has
                  seen in eight years; it would be even more helpful to know approximately how many candidates the
                  interviewer has seen over this eight-year period (Ten? Forty?).




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                                                                   Melanie

                 Academic (2)
                      Excellent grades and low to mid 100 scores


                 Extracurricular, Athletic, Community, Employment, Family Commitments (3)
                        A hove average activity orparticipation

                         Melanie is involved in a number of sports. She herself admits that she is not great at these
                 sports but she likes being active.


                 Personal Qualities (3)
                       Above average appeal and character

                         Melanie seemed to be interested in a lot of different things but not one or two things in
                 particular. She told me she's very independent, wants to see new places and experience different
                 things. She seems quite mature.


                 Overall (3)
                        Strong candidate

                         I don't feel there was anything that really stood out for Melanie. It's difficult to write a
                 strong review for her. She is definitely a smart young lady but I don't feel that she necessarily stands
                 out relative to other candidates l have interviewed in the past.




                  Comments:
                           Not every interview report will advocate for a candidate's admission, so it is not the
                  interviewer's lack of support for Melanie's case that gives pause to the admissions officer reading
                  this write-up. Rather, it is the lack of any narrative comment about Melanie's academic rating and
                  the seemingly cursory treatment of her extracurricular involvement that stand out.
                           It may be the case that the only activity Melanie is involved in is her sports, but this report
                  does not make that clear. Did Melanie mention any other commitments (family, school, or
                  otherwise) or interests that occupy her time? Did the interviewer ask about other involvements?
                  Later in the report the interviewer notes, "Melanie seemed to be interested in a lot of diHerent
                  things but not one or two things in particular," which seems to indicate that Melanie expressed
                  other interests besides sports. To be a competitive candidate for Harvard, a student need not focus
                  exclusively on one or two pursuits (academic or otherwise), which is the impression gleaned from
                  this short report. An extra sentence or two providing more detail in each section would greatly
                  improve this report.




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                                                                    Anthony

                 Academic (2-)
                      Afagna potential. Excellent grades and mid- to high-100 scores (33+ ACIJ

                          Anthony is the strongest student I've interviewed out of West High (19% to four-year
                 colleges) in at least 10 years.I      Redacted:         !was probably on par ·with Anthony, though she
                 was a humanities-minded student, whereas Anthony is more quantitatively strong. Highpoints are
                 his ACT math and science scores (35 and 36, respectively) and SAT Math II (800). Verbally, too,
                 he's light years ahead of the other students I sec from his high school. If I had to guess I would say
                 that he's a bit of an academic loner at his school since Anthony admitted that "most of my friends
                 don't get as excited about school as I do ... I guess math just comes easy to me, and I like the brain
                 teaser problems the teacher gives us at the end of each class." Anthony will take his first AP tests
                 this year, and he's most excited about calculus and physics, his two favorite classes this year. He was
                 disappointed that West got rid of the AP Chemistry class last year, so he settled for honors. He is
                 also the school's high scorer in the city math league. He was ranked third out of 816 at the end of
                 last year, though he admitted that his class size will probably fall as students continue dropping out
                 throughout the senior year.
                          Anthony's not a one-trick pony academically, though. I always ask West students about their
                 junior theme for honors English, and Anthony's discussion about his paper was the most interesting
                 I've heard in a long time. He's researching water rights disputes in the city's history, and he's trying
                 to find out how different waves of immigration have changed the tone of the debates or affected
                 arguments for or against city expansion. Anthony's having a hard time finding sources and his
                 interviews aren't going the way he planned, but I give him credit for having a hypothesis and
                 gathering the evidence. We talked about some of the courses I took as a History and Lterature
                 concentrator (mostly about France and the U.S.), and he seemed interested in those, too, asking me
                 questions l hadn't thought about since college.


                 Extracurricular, Athletic, Community, Employment, Family Commitments (5)
                        Substantial activity outside of conventional activities such as majo1fami/y commitments or term-time work

                          Anthony works 20+ hours each week at the local K.fl.C., and he doesn't have a lot of time
                 for other activities. He's been working there for almost two years now. He cooks, buses tables, and
                 works the register. The major downside, he says, is "coming home smelling like a bucket of
                 chicken." A lot of the kids l interview at West work part-time, but Anthony works more than most
                 of them and is a better student than almost all of them. I asked him what he spends his money on.
                 He said he tries to save for college but usually ends up helping his mother pay for things around the
                 house, buying all of his own clothing, and paying for everything associated with his car, which he's
                 proud of.
                          Anthony does a few activities at school that he can do during lunchtime meetings or during
                 his study hall (student government, class day committee). I was impressed that he works in the
                 school tutoring center during his free period, because I imagine he could use that time to do his
                 homework. He wants to sing in college or do more community service, possibly tutoring. I was
                 surprised that he had already heard about PBHA. and some of the singing groups on campus. He
                 said he learned about them when a Harvard undergraduate did a presentation in his school last
                 l\farch, and he read more about them on the internet. He sounded excited by the IOP and the


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                 visiting fellows, hut he hadn't heard of it before. Actually, he was excited about everything I Iarvard
                 has to offer, and I think he'd discover lots of other interests when he's actually on a college campus.


                 Personal Qualities (2)
                       Strongpersonal appeal and character

                          I was excited to meet Anthony, and it was fun to talk to someone from West who is so
                 clearly interested in his schoolwork and is doing so well. l could tell that he must be good at his
                 KFC job because he has a real presence about him. He makes a very favorable impression.
                          I do think he was a bit nervous (maybe more excited than nervous?) for the first 15 minutes
                 of our interview, but he loosened up completely by the end, and we ended up talking for more than
                 an hour. He also has a self-deprecating, observant sense of humor that would serve him well at a
                 place like Harvard. A highpoint of our interview was when he told me a very funny story about
                 making "bootleg chicken" after hours at KPC! Apparently there are people who make deals with his
                 manager to cook their own chicken in the KFC fryers for events like family reunions and parties
                 because it's much cheaper than buying it from KFC and much easier than doing it at home. I told
                 him he should write a short story about the experience.


                 Overall (2-)
                        Clear admit-one to recruit

                         I think Harvard could use more students like Anthony. He would probably have a bit of an
                 adjustment to Harvard's academics, but he has raw talent in spades, and he's never been in an
                 environment with other students who were eager to learn. Neither of his parents has an education
                 beyond an associate's degree, so he would be the first in his family to go to college. Mom is a front
                 desk manager at the local Radisson. Dad is out of the picture, from what I could gather. Anthony's
                 a role model for his two younger sisters, and he would be a role model for other students at West
                 and in the city if he were accepted.



                 Comments:
                          This detailed report about Anthony, a high-achieving student of modest means with a
                 substantial term-time work commitment, helps paint a nuanced picture of Anthony as a thoughtful,
                 lively person and excellent student. Ilarvard has long sought to recruit and enroll high achieving
                 students of modest means, and the interviewer helps make a case for why the Committee should
                 consider Anthony's candidacy seriously.
                          The report is especially helpful for telling us what }\nthony's interests are and what he would
                 like to do in College even though he hasn't had time to pursue those interests in high school. From
                 the report it is also clear that the interviewer understands West High School and how exceptional a
                 student like Anthony is coming from the school (at least in terms of applicants to Harvard).




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                                                                          Wilbur

                 Academic (3+)
                      Cum la11de potential Good grades and mid-600 to low-700 scores

                         Wilbur Smith is a young, rather nervous fellow of sixteen Q1e hirns seventeen next month)
                 who used up most of the interview time trying to elicit from me some indication of whether he had
                 a good chance of being admitted to Harvard. No matter how much I tried to steer the conversation
                 to other topics, somehow we always returned to that one. Consequently, my impression of him is a
                 bit vague.
                         It is unclear to me why Wilbur Smith should manifest such insecurity. He is certainly not a
                 poor candidate: his test scores are all in the low 700s, with the exception of a 610 in chemistry.
                 When we came to the subject of history and government, his intended major, he did seem to
                 manifest a genuine interest in the departments here.


                 Extracurricular (3-)
                        Solid participation b11t 11itho11t distinction.

                         At his school he is active in the Speech Club (preparing and delivering them at tournaments),
                 on the soccer team, and on the football team. He elaborated very little about activities, but focused
                 instead on asking questions. He did not mention any significant leadership roles.


                 Personal (4)
                       S ome111ha! ne11tral or slight!] negalive impression.

                         I sensed that Wilbur has absorbed the idea of going to an ambitious college more from his
                 atmosphere than from his internal desires. There was a certain immaturity in his questions and the
                 plethora of them alerted me to the fact that perhaps he felt he had to ask them so that I would not
                 think him apathetic.
                         What struck me though was his nervous manner, his obvious confusion when he blurted out
                 that he had been visiting other colleges, and his embarrassment when he felt that many of his scores,
                 etc., were not up to Harvard's standards. He seemed especially curious about the admissions
                 process, that is, the process behind the scenes.


                 Overall (4)
                       Accepmbfe butperhaps not competitive compared to other applicants.

                         I am puzzled by the impression Wilbur gave during this interview. I am not sure whether it
                 was his youth or tl1e fact that he got lost on the way and arrived quite late or perhaps his confusion
                 as to his own aspirations. In any case, I hope his teachers' reports and his essay give a better sense
                 of what he is really like than I have been able to do here.




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                 Comments:
                 This is an incredibly helpful report, targeting those personal qualities of the candidate that
                 suggest he would not be a good choice for us. The interviewer acknowledges that perhaps she
                 did not see Wilbur at his best, but she also gives us enough concrete information and examples
                 of his behavior that we feel confident in her evaluation of Wilbur. The report certainly gives us
                 a vivid picture of this young man and provides the type of insight we are unlikely to get
                 elsewhere in the application.




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           From:             Faust, Drew Gilpin ( /O= HARVARD UNIVERSITY /OU =FIRST ADMINISTRATIVE
                             GROUP /CN= RECIPIENTS /CN =DG F291]
           Sent:             Tuesday, May 27, 2014 6:29:41 PM
           To:               Ely, Robin J.
           CC:               Ryan, James E.
           BCC:              Drew Faust; Farzan, Ranna L
           Subject:          Invitation to Serve on University -wide Committee
           Attachments:      committee charge.pdf

           Dear Robin,
           I write to seek your help.
           Through our admissions processes, we seek diversity in many facets of our students' lives - their intellectual
           interests, backgrounds and experiences, areas of accomplishment, geography, socio- economic status, race and
           ethnicity.
           We do this because we believe that a diverse student body is fundamental to the educational experience across the
           university. Bringing together students from different backgrounds challenges the ways in which we think about
           ourselves, each other, our beliefs, and the world into which our students will graduate. The result is a deeper and
           more transformative education that better prepares students for the lives they will lead when they leave Harvard --
           as citizens, parents, and potential leaders in their chosen fields.
           The United States Supreme Court has acknowledged the importance of student -body diversity, including racial
           diversity, in higher education. The Court has encouraged universities to articulate a reasoned, principled
           explanation of why diversity matters to them and to evaluate whether they might achieve those benefits through
           alternative approaches. With the Supreme Court decisions as a backdrop, I have asked James E. Ryan, Dean of the
           Harvard Graduate School of Education, to chair a University -wide committee to undertake this important work. A
           copy of the committee's charge is attached. The committee will include representatives from each of the Schools at
           Harvard and will consist of faculty, administrators, and students. Because you would bring an important
           perspective and understanding of Harvard, I hope that you would be willing to serve as a member.
           Dean Ryan is hoping to have the initial meeting of the committee before the summer. I would, therefore, appreciate
           knowing at your earliest convenience whether you would be willing to participate. The committee's work will
           focus on issues fundamental to our institution and I am confident that it, and Harvard, would be better for your
           participation.
           With all best wishes,
           Drew Faust




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                                                                                                                   United States District Court
                                                                                                                    District of Massachusetts

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                 Charge to the Committee

                 Harvard's admissions processes, including the individualized holistic review through which we
                 evaluate applicants, have long been important teatures ot our institution. They are the means by
                 which we have created and maintained a vibrant academic community with students who are
                 talented and diverse in their intellectual interests, backgrounds and experiences, socio-economic
                 status, geography, race and ethnicity, perspectives, and aspirations. Appreciating that our
                 institution may be the first place where many students are exposed to so many others whose
                 backgrounds differ markedly from their own, Harvard seeks students who will broaden and
                 challenge each other not only in our classrooms, but in laboratories and clinics, student
                 organizations and activities, residences and dining halls, on the fields, and on the stage. As a result
                 of their experiences here, we believe that our students leave Harvard better prepared, better
                 educated, and better able to advance knowledge, promote understanding, and serve society.

                 Harvard has repeatedly expressed its belief that diversity of many kinds, including racial diversity,
                 contributes to the achievement of our educational mission. In the Supreme Court's Bakke decision
                 in 1978, Justice Powell's pivotal opinion concluded that the benefits to the educational process
                 flowing from a diverse student body constitute a legally compelling interest sufficient to justify the
                 consideration of race in admissions. Justice Powell specifically pointed to the Harvard College
                 admissions process-then, as now, a highly individualized, holistic review of each application, with
                 an applicant's race potentially considered as one factor among many - as an "illuminating example"
                 of an admissions program that properly advances the compelling educational interest in student
                 diversity. Since that time, the legal framework for evaluating diversity in the context of university
                 admissions has received further attention from the Supreme Court- first, in the 2003 cases
                 involving the University of Michigan (Grutter and Gratz) and in last year's case from the University
                 of Texas at Austin (Fisher). In these decisions, the Court has continued to find that colleges and
                 universities may permissibly consider race as part of an effort to create a diverse student body
                 whose members contribute to one another's educational experience. The Court has asked,
                 however, that universities have a "reasoned, principled explanation for the academic decision"
                 about the educational benefits of diversity and that they evaluate "whether [they] could achieve
                 sufficient diversity without using racial classifications."

                 As part of Harvard's ongoing efforts to consider these issues, and in view of the Supreme Court's
                 precedent on race-conscious admissions in higher education, the committee is asked to consider
                 the following questions:

                     •   How does a diverse student body, including a racially diverse student body, contribute to
                         Harvard's educational objectives and mission'! What influence does the diversity of the
                         student body, including racial diversity, have on how Harvard students learn in the
                         classroom, in extracurricular activities, and in the range of informal interactions that are
                         hallmarks of a principally residential campus? How, if at all, does the exposure of students
                         to diversity while on campus influence their lives after graduation, including in their
                         careers, as active and informed citizens and potential leaders, and in pursuing lives of
                         meaning and of value to society?

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                    •   What are the strengths and limitations of the ways we consider diversity in our current
                        admissions processes? What alternatives - including alternatives that preclude any
                        cunsideraliun of an applicant's race - are there lo the current approach, and would those
                        alternatives as effectively achieve the educational benefits of diversity? Would these
                        alternatives impair Harvard's ability to achieve other important academic, educational, and
                        institutional interests and objectives? Are alternatives practically feasible?

                 In considering these questions, the committee should identify appropriate sources of information
                 that might include qualitative information, anecdotal evidence, studies with measurable objectives,
                 internal research, external research, recent scholarship, or historical information. The committee
                 will also want to determine whose input to seek in considering these questions, including potential
                 outreach to students, faculty, alumni, members of the administration, and others. The committee is
                 asked to make findings regarding Harvard"s current approaches to admissions in keeping with the
                 questions outlined above. The committee also should consider any recommendations for changes
                 tu Harvard's admissions processes and ulher activities lo better achieve our goals.




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         Report of the College Working Group on
                 Diversity and Inclusion




       Harvard University
       November 2015



                                                                                United States District Court
                                                                                 District of Massachusetts

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                                                         Introduction
                            Members of the Working Group on Diversity and Inclusion




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          Endowed Coach for Harvard Men’s               Student Representative '17                       Assistant Dean of Student Life for
        Basketball and Special Assistant to the                                                           Equity, Diversity, and Inclusion
                      President




              Martha Franco
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                                                   of Science; Director of Undergraduate                Government and Professor of African
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       Kimiko Matsuda Lawrence                                   Robert Mitchell
       Student Representative ’16                               Assistant Dean of Diversity Relations
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       The Mission of Harvard College
       Harvard College is committed to a broad-based liberal arts education. A quality, well-
       rounded education combines the best of the philosophical and rhetorical traditions.
       The philosophical tradition, with its emphasis on inquiry and developing critical skills,
       cultivates ways of thinking that can expand knowledge through research and analysis.
       The rhetorical tradition complements the philosophical by fostering an understanding
       of the past and present through literature, art, music, history, religion, and ethics. As a
       leading research as well as teaching university, Harvard derives its mission from our
       motto, Veritas, literally “truth.” Harvard is committed to expanding both knowledge and
       ways of knowing; students not only explore subject areas and acquire fresh insights
       into them but also learn about the ways in which they are part of larger human
       communities of interest and interdependence and how their membership in these
       communities aﬀects how it is that they “know.”

       Thus, Harvard College aims to provide an education that nurtures the whole person
       while fostering the development of civic-minded, socially engaged, creative, and
       critical thinkers in an increasingly interconnected world. Of particular relevance to this
       report, Harvard fosters the ability to see the world through the eyes of others. That
       ability will position Harvard graduates to serve the broader society in many fields of
       human endeavor.

       Harvard cultivates these abilities in its classrooms and residential environments. The
       classroom exposes students to innovative perspectives as well as to both new and
       traditional ways of knowing and understanding. Diverse living environments situate
       students among peers and elders studying in diﬀerent fields, who come from diﬀerent
       walks and stages of life, and whose developing identities interact with others. This sort
       of character formation, nurtured by Harvard’s heterogeneous campus environment and
       pedagogical emphasis on intellectual cross-pollination, is intended to inform the
       choices and habits Harvard graduates will carry into their respective spheres of
       influence. Therefore, Harvard embraces, and must constantly reaﬃrm, the notion that a
       richly diverse student body is essential to its pedagogical objectives and institutional
       mission.

       Harvard College is neither a finishing school nor a luxury good for America’s elites. Its
       primary work does not end with the admissions process but, rather, begins the moment
       its students enter its gates.




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       Historical Context
       A pledge to diversity can be traced to Harvard’s founding. The charter of the President
       and Fellows of Harvard College, authorized by Governor Thomas Dudley in 1650,
       describes the purpose of the institution as “the education of the English and Indian
       [male] youth of this country.” Harvard established its Indian College, where five
       American Indians received their education, in 1655. This reveals that Harvard’s earliest
       commitments were informed by a belief in the transformative power of education, even
       as this education was premised upon what we now recognize as cultural bias regarding
       who and what was “civilized.”

       As such an educational paradox shows, Harvard College’s aspirations have always run
       ahead of its realities, for both cultural and structural reasons. Culturally, Harvard
       College has always been limited by the context and ruling beliefs of its society, even as
       it has continually tried to push and challenge itself and the world. Thus Harvard’s Indian
       College pedagogy reflected an almost universal European belief in cultural hierarchy, as
       well as prejudicial notions to the eﬀect that knowledge was to be transmitted to Indian
       students rather than produced in dialogic exchange. Meanwhile, despite the existence
       and aims of the Indian College, Harvard remained, for three centuries, committed
       primarily to educating the sons of New England’s elite. Although Radcliﬀe College
       traces its origins to 1879, women did not gain full access to Harvard until nearly a
       century later. Under the presidency of Abbott Lawrence Lowell (1909–1933), the
       Harvard administration restricted the numbers of Jewish students and barred the
       handful of African American men at the College from residing in freshman dormitories.
       (Painter 1971) Sexual minorities, in the meantime—whatever their racial or class origins
       —were deemed unfit to be members of the Harvard College community: in the 1920s,
       students believed to have same-sex attraction were tried in secret courts and expelled
       from the College.

       Harvard law professor Randall Kennedy best summarizes the history of Harvard’s
       relationship with students of color when he writes, in Blacks and the Race Question at
       Harvard, “Harvard, too, has been indelibly scarred by slavery, exclusion, segregation,
       and other forms of racist oppression.” The University enrolled few students of color
       before the 1970s, and even those as talented and ultimately accomplished as Clement
       Morgan, W.E.B. Du Bois, Alain Locke, William Monroe Trotter, Countee Cullen, and Eva
       Dykes (among others) experienced isolation and marginalization. As Du Bois described
       his time at Harvard, he was “in it, but not of it.” And it was not until 346 years after Joel
       Iacoome and Caleb Cheeshahteaumuck completed their studies at the Indian College
       that another Wampanoag, Tiﬀany Smalley, graduated from Harvard College, in 2011.




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       Just as Harvard’s culture has been closely linked to its societal context, so have its
       structural inequities. Both survey findings and personal accounts suggest that a gender
       gap deters potential female math concentrators at Harvard, even as women, and
       especially women of color, are underrepresented in STEM fields nationally. (Kim 2015)
       Today’s wealth gap in the United States is the widest in three decades, and most
       wealth gains since the Great Recession of 2007 – 2009 have gone to upper-income
       families. (Fry 2014) As Harvard University’s Robert Putnam argues in Our Kids: The
       American Dream in Crisis, wealth inequality hardens social divisions by diminishing
       opportunities for youth to interact across social lines. Such inequality also concentrates
       educational resources and cultural capital.

       Harvard College is now committed to cutting against the grain of both structural and
       cultural sources of inequality. In an amicus curiae brief submitted when the Supreme
       Court addressed aﬃrmative action in the 1978 case Regents of the University of
       California v. Bakke, Harvard argued that, “A primary value of the liberal education
       should be exposure to new and provocative points of view, at a time in the student’s
       life when he or she has recently left home and is eager for new intellectual
       experiences.” In a subsequent aﬃrmative action case, Grutter v. Bollinger (2003),
       Harvard made a similar argument:

                Diversity helps students confront perspectives other than their own and
                thus to think more rigorously and imaginatively; it helps students learn to
                relate better to people from diﬀerent backgrounds; it helps students to
                become better citizens. The educational benefits of student diversity
                include the discovery that there is a broad range of viewpoints and
                experiences within any given minority community—as well as learning
                that certain imagined diﬀerences at times turn out to be only skin deep.

       Underscoring its commitment to diversity that includes both racial and socio-economic
       background, Harvard, in 2004, launched one of the most generous financial aid
       initiatives in the nation. Students from households earning less than $65,000 per year
       pay nothing toward room and board, and students from households earning $65,000 to
       $150,000 pay ten percent or less of their yearly incomes. Around seventy percent of
       Harvard students receive financial assistance and over twenty percent pay no tuition at
       all. Capacious admission standards that take a range of life experiences and fluid
       identities into consideration, coupled with generous financial aid plans, enable Harvard
       College to expand opportunity for a widening cross section of students. This is
       essential for creating the conditions in which Harvard students can learn to be at home
       in an increasingly interconnected world.



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       The Charge of the Working Group on Diversity and Inclusion
       Mindful of the mission and aspirations described above, the Working Group on
       Diversity and Inclusion, in consultation with the Oﬃce of the Dean of the College,
       drafted a charge in May of 2014. The Working Group was to “assess Harvard College’s
       learning environment in order to ensure that all students benefit equally from its liberal
       arts educational and service mission.” The task included consulting with stakeholders
       across the University, incorporating research at the intersections of race, ethnicity,
       socioeconomic status, and other frames of identity and diﬀerence, and examining
       approaches at peer institutions in order to recommend models that might be applied or
       reimagined on Harvard’s campus.


                                               Findings

       Evaluation of Diversity-Related Practices at Peer Institutions
       Members of the Working Group visited Ivy League campuses between September and
       December 2014. We met with student leaders and administrators at Brown, Columbia,
       Princeton, University of Pennsylvania, and Yale, and with administrators at Cornell and
       Dartmouth. Our goals were to assess pre-orientation programs, mentoring, mental
       health programs, administrative structures, bias reporting procedures, residential
       support, multicultural spaces, curricular oﬀerings, and special initiatives. Our findings in
       these areas provide much food for thought:

       Pre-Orientation
       Pre-orientation programs tend to function in one of three ways, with some overlap.
       They provide academic support and advising (Penn’s Pre-Freshman Program); instill
       cultural capital through campus orientation, fostering relationships with faculty, and
       raising awareness about campus resources for promoting social and academic
       success (Yale’s Cultural Connections); or develop cultural competency (Brown’s Third
       World Transition Program).

       The experiences of these schools show why pre-orientation programs are vital to the
       success of all students. They provide a shared institutional vocabulary and robust
       engagement with issues of diversity and cultures of inclusion. They also enable
       attention to the needs of underrepresented students, especially those who are first
       generation and socio-economically disadvantaged, while fostering community for the
       entire population across lines of diﬀerence.




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       Mentoring and Mental Health Programs
       The peer institutions consulted vary in how they promote student mentoring and
       address issues of mental health, but they share a commitment to sustained attention to
       students’ academic, social, physical, and mental wellbeing. Examples of relevant
       programming and support include:

                •   Diversity Dialogues (Dartmouth);
                •   Peer mentoring programs (Brown’s Women in Science and Engineering);
                •   Leadership and skill development (Penn’s Intercultural Leadership Program);
                •   Integrated academic and mental health advising (Dartmouth’s sociocultural
                    advising via cultural support groups; the partnership between Brown’s Center
                    for Students of Color and its Counseling and Psychological Services).

       Athletics and military aﬀairs often provide models for these initiatives. Time demands
       associated with their sport and NCAA regulations create considerable challenges, and
       Ivy schools have developed an eﬀective system of assistance from coaches, faculty
       mentors, and peer advisers. Similarly, institutions such as Columbia and Brown staﬀ
       veterans aﬀairs oﬃces, since military students are disproportionately from
       underrepresented groups or are nontraditional, and often have distinctive financial
       plans and mental health concerns. Harvard could benefit from analyzing how
       addressing the particular needs of such students encourages success without showing
       partiality or being perceived as alienating or stigmatizing.

       It must also be noted that current trends reveal serious institutional challenges to
       addressing student mental health in underserved populations. The reasons are many,
       but include:

                • lack of staﬀ diversity and perceived diﬃculty among underrepresented
                  groups in relating to staﬀ;
                • limited professional experience with underserved populations;
                • culturally-based stigmas regarding mental health treatment, most significantly
                  in Asian, Latino, African American, and international communities.

       It is clear that the programs having the best impacts make clinical support available to
       students throughout the campus in non-intimidating ways. Such support addresses
       particular cultural needs, and associated stigmas, even in the absence of staﬀ who
       share students’ backgrounds and identities. When mental health providers review
       research and design outreach eﬀorts specific to populations that typically stigmatize
       mental health services and/or have distinct fears and phobias associated with
       behavioral health, their treatment eﬀorts are more eﬀective, regardless of a caregiver’s
       racial/ethnic background.

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       Administrative Structure
       We identified three administrative models that address the concerns and tensions
       associated with a diverse campus environment. They are not mutually exclusive but do
       entail distinct centers of power and governance.

       First, some campuses have a comprehensive oﬃce of diversity, typically led by a vice
       president or vice provost who reports to the president. The oﬃce oversees a variety of
       smaller oﬃces including, but not limited to, disability services, LGBTQ life, military and
       veterans, and religious life. Brown University’s Oﬃce of Institutional Diversity and
       Dartmouth College’s Oﬃce of Institutional Diversity and Equity typify this model.

       Second, some campuses embrace an umbrella model of multiple resource centers
       within a larger administrative entity, typically the Dean of Students or Oﬃce of Student
       Life. The resource centers have considerable autonomy, as they are often responsible
       for programming with little structural oversight. Cornell’s Center for Intercultural
       Dialogue and University of Pennsylvania’s Oﬃce of Equity and Access Programs are
       examples. Within the larger organizational structure, both fall under student life oﬃces:
       the Oﬃce of the Dean of Students and the Division of the Vice Provost for University
       Life, respectively. Both house smaller entities such as the LGBTQ Center, Women’s
       Center, Pan-Asian American Community House, Black Cultural Center, and La Casa
       Latina.

       Third, on some campuses, autonomous cultural centers run their own programs. They
       are run by a director (often an assistant dean) and include paid student counselors and
       peer liaisons. Cultural centers house student organizations and host parties, art
       exhibits, lectures, and conferences. Often they work collaboratively while seeking to
       foster cultural identity and solidarity in engagement with the full campus. Peer liaisons
       are upperclassmen aﬃliated with each center who help to connect freshmen to
       resources of the institution, thereby formalizing the mentoring that often takes place
       among aﬃnity groups. For example, Yale freshmen can identify a student mentor in the
       Afro-American, Asian American, La Casa Latina, or Native American cultural centers, or
       in the oﬃces of LGBTQ Resources, International Students and Scholars, or Chaplain.

        Comprehensive Oﬃces              Umbrella Model with
             of Diversity                 Multiple Resource             Autonomous Cultural
           Brown University                    Centers                        Centers
          Dartmouth College               Columbia University              Yale University
              Princeton                    Cornell University
                                                UPenn




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       Our findings here support a key conclusion in the research on diversity in higher
       education, and one with implications for administrative structures and procedures:
       fostering diverse cultures of inclusion is a multidimensional eﬀort that exists in, and
       makes demands on, many divisions of a university. (Smith 2009) Thus structural
       accountability, robust communication among oﬃces and diﬀuse leadership, and face-
       to-face engagement with students are essential to facilitating a healthy environment.

       Robust interoﬃce communication and structural accountability prevent diversity work
       from taking place within a campus vacuum or through reliance on a single person or
       entity, models that compound problems by exempting critical administrative oﬃces
       from shared responsibility. Moreover, given that students seldom know what kind of
       support they should seek out, let alone what is available or where resources are most
       easily accessed, hyperlinked websites and resources manuals cannot supplant
       ongoing student engagement by dedicated campus professionals.

       Bias Reporting
       We sought to answer four questions with regard to students’ ability to report perceived
       discrimination, bias, insult, and injury: Who receives the report? Who responds? When
       specific procedures exist, how do students learn about these procedures? What is the
       intended outcome of the process?

       We found that bias reporting varies across the Ivy League. Most campuses have an
       online form, yet complaints are handled by diﬀerent entities. Cornell University, for
       instance, has an oﬃcer in the Department of Inclusion and Workforce Diversity and
       bias reporting liaisons in each department and entity on campus to respond to bias
       complaints. This process appears to be driven mainly by Human Resources and
       addresses the concerns of university staﬀ members. Dartmouth College, in contrast,
       has a Bias Incident Response Team, run through the Collis Center for Student
       Involvement, that discusses and adjudicates all bias-related matters. This team seems
       proactive and pedagogical rather than reactive and punitive. As its statement of
       purpose says: “The Achieving Community Together Program – Bias Incident Response
       Team advances the ‘Principles of Community.’ We work together to raise awareness,
       create educational and restorative opportunities for growth and responsibility and
       provide support across our community when incidents of bias are reported.”

       Similarly, Columbia University has a clearly articulated “Bias and Discrimination
       Response Protocol” in the Oﬃce of Undergraduate Student Life, as well as a
       Discrimination/Bias Response team comprised of members from across various arenas
       of student life. After Public Safety files and documents a report, the response team
       decides on the best means of support based on the nature of the incident, the


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       student’s desire for confidentiality, and/or whether the occurrence targeted an
       individual or a group. Support may range from a campus judicial process to the Oﬃce
       of Undergraduate Student Life providing town halls and other community dialogue
       forums.

       Well publicized and understood bias reporting procedures create a culture of safety
       and contribute to an inclusive community of candor regarding acts of discrimination
       and bias. Not only do students know where to go and what support to expect when
       specific micro- or macro-aggressions occur; a transparent bias reporting system can
       inform generative community conversations. It can also foster a campus culture that
       disapproves of behaviors, whether active or passive, motivated by hostility or willful
       indiﬀerence to others’ vulnerabilities in the areas of race, religion, sexual orientation,
       ethnicity, national origin, gender identity and expression, age, ability, or intersections of
       the above.

       Residential Support
       All of our peer institutions share a commitment to ensuring that residential life supports
       broad-based cultures of learning where students with multiple, and often divergent,
       needs can feel safe and supported. Each also provides residential mentoring and
       advising opportunities. Yet the approaches vary. Broadly speaking, residential
       communities in the Ivy League are divided between campuses that provide a
       randomized college or house system and those that oﬀer special interest or aﬃnity
       housing options.

       The college/house system is central to student life and to the fostering of community
       across diﬀerence. In the Ivy League, the number of residential colleges or houses
       ranges from a half a dozen to around a dozen on each campus, and some models
       separate freshmen and upperclassmen. Apart from roommates or a limited suite or
       blocking group, students are randomly assigned to colleges or houses in order to
       foster heterogeneous environments where students live, study, and dine together
       across socially constructed categories. The college/house system model is co-
       curricular insofar as living with and among a diverse group of students is part of the
       educational process.

       Typically, colleges/houses have a faculty master, dean, director of academic advisers,
       and director of social life. In every case, academic advising takes place through the
       residence for at least one year. Resident tutors, academic advisers, resident scholars,
       and peer counselors, who are often field-specific, perform multiple roles as curricular
       and co-curricular advisers.




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       In contrast to colleges/houses, special interest or aﬃnity communities allow students
       with shared interests to reside in a common living environment. The shared interest is
       essential to the purpose and functioning of the residence insofar as the particular
       theme of the residence or floor informs student programming and establishes patterns
       and rules that guide behavior. Special interest houses include foreign language, STEM,
       social justice and activism, and spaces where most programs and events are based on
       the history and culture of a particular group of people. All have a broader vision of
       preparing residents to be global citizens.

       Diman House at Brown University is a special interest house of note. As the Social
       Action Program house on campus, it is the hub for social activism. Students appeal to
       their respective fields of study to strategize and organize eﬀective methods for positive
       social change on the campus, as well as to address pressing social needs through
       working with organizations such as the Food Recovery Network or contributing to relief
       eﬀorts for natural disasters such as Hurricane Sandy.

       The W.E.B. Du Bois House at University of Pennsylvania is an example of an aﬃnity
       house. It is an African American theme-based house that celebrates the history and
       culture of people of the African Diaspora. Du Bois House is the most racially diverse
       house on Penn’s campus—not, according to some students, despite its theme, but
       because of its forty-year history of championing racial diversity and equality. Du Bois
       House has earned the nickname “the U.N. at UPenn.”

       Both types of residential space signify the values of the community. Residential
       programming, mentoring, co-curricular activities, and staﬀ/peer composition must
       convey the institution’s commitment to cultures of inclusion and appreciation of
       diversity. This is particularly true in college/house systems that are randomized, lest the
       historical and cultural defaults of the institution prevail.

                                       College/House System
                                          Cornell University
                                        Princeton University
                                            Yale University

                                    Special Interest Communities
                                                Brown
                                              Columbia
                                              Dartmouth
                                                UPenn




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       Multicultural Spaces
       Many multicultural spaces and themed houses developed in response to student
       protests in the late 1960s and the 1970s. Yale approved its Afro-American Cultural
       Center in 1969; Princeton and Brown universities opened their Third World Centers in
       1971 and 1976, respectively. Several campuses have renamed their centers over the
       past decade to signal their reconsideration of these centers’ purpose and function.
       Examples include Princeton’s Third World Center becoming the Carl Fields Center for
       Equality and Cultural Understanding in 2008, and Brown’s Third World Center
       becoming the Brown Center for Students of Color in 2014. Yale’s cultural centers are
       currently under review

       This rebranding trend raises several interrelated questions. Are such entities cultural
       resource centers for students of color, or programming oﬃces tasked with engaging
       the entire student body? More generally, what is the primary constituency for
       multicultural spaces, and what roles do they play in relation to the larger university? Are
       these spaces co-curricular extensions that promote multicultural engagement across
       all lines of diﬀerence, or social spaces for minoritized students insulated from the
       prevailing mores of campus life?

       Our peer institutions answer these questions diﬀerently. The mission of Dartmouth
       College’s Oﬃce of Pluralism and Leadership is to “advance. . . Dartmouth’s
       commitment to academic success, diversity, inclusion, and wellness by engaging all
       students in the development of identity, community, and leadership.” The director and
       assistant deans of this oﬃce are advisers for racial/ethnic aﬃnity groups such as the
       Pan-Asian student group. Columbia’s Intercultural Resource Center (IRC) is similar.
       Originally the United Minorities Board, the IRC now targets all students on campus
       through educational forums and diversity discussions and trainings. The IRC
       understands its primary goal as “the creation of a just campus community, one which
       celebrates diﬀerences and rejoices in collaboration.” Dartmouth’s Oﬃce of Pluralism
       and Leadership similarly reaches broadly across socially constructed categories to
       promote the value and virtue of diversity and inclusive cultures.

       Individual cultural centers at the University of Pennsylvania, conversely, target
       minoritized communities. The Greenfield Intercultural Center seeks to enhance
       intercultural knowledge, competency, and leadership through targeted advising and
       advocacy on behalf of specific groups. It also supports Native American students and
       Arab, Turkish, and other international students. Makuu: The Black Cultural Center, La
       Casa Latina – Center for Hispanic Excellence, and the Pan-Asian American Community
       House (PAACH) provide resources that promote racial/ethnic solidarity among
       particular subsets of students. In short, while all centers and oﬃces share a


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       commitment to conversations regarding diversity and educational programming, they
       diﬀer in approach.

       Our Working Group finds that cultural centers can have a positive impact on their
       institutions. As campus focal points that foster community, they represent an
       institutional commitment to a diverse environment while holding the larger campus
       accountable to its professed aims. As critical sites for activism, advocacy, and
       mobilization that help to forge alliances based on moral aﬃnity, they are proof against
       the concern that cultural spaces fragment and further marginalize minoritized students.

       Cultural centers can also serve as safe, even therapeutic spaces for underrepresented
       students; students often refer to them as “home away from home” and “one of the few
       safe spaces on campus.” By providing a distinctive aesthetics of physical space and a
       community of faculty, staﬀ, and students with which students can readily identify, such
       centers can counter the implicitly exclusionary messages of the larger campus
       environment that may be sent through campus artwork, prevailing cultural norms, and
       the burdens of being “the one” visible minority in a class.

       In our visits to other campuses, we also identified some concerns about cultural
       centers. One is physical location: when cultural centers are removed from the campus
       core, they send a message to minoritized and other students that diversity is peripheral
       to the university community’s areas of focus. Students at the University of
       Pennsylvania and Princeton University expressed such concerns about the Greenfield
       Intercultural Center and the Carl Fields Center, respectively. In contrast, students utilize
       fully the three cultural centers at the University of Pennsylvania located in the central
       ARCH building (La Casa Latina, Makuu, and PAACH). Since ARCH also houses a
       popular student cafe, classrooms, and multi-use auditoriums, students of all racial and
       ethnic backgrounds appear to have more contact and comfort accessing the resources
       and attending the programs of these centers.

       Limited or disengaged staﬀs are a second concern. The more robust and active
       cultural centers are animated by dedicated staﬀ members who play varied and
       valuable roles ranging from organizing events, advising and advocating for students,
       and identifying resources, to preserving institutional memory across otherwise transient
       student populations. In the absence of dedicated staﬀ, these duties fall upon the
       shoulders of undergraduates. During the course of our work, for instance, students and
       alumni of Yale University began circulating a petition to remove the director of their
       Afro-Cultural Center. According to the petition, “The Afro-American Cultural Center is
       no longer fulfilling its historic mission of serving as a cultural, social, and academic




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       space for Black students. The apathy and disengagement of the Center Director...is at
       the center of the issues we face.” (Stannard 2015)

       Curricular Oﬀerings
       Every Ivy League institution has a department, program, or center dedicated to
       disciplinary oﬀerings in cultural, ethnic, and gender studies. These entities oﬀer
       students at least the chance to earn a certificate, and some provide the option to major
       in a particular curricular oﬀering or confer degrees through standalone departments or
       committees outside of the department, program, or center itself. Uniquely, the
       University of Pennsylvania makes a course in diversity part of its general education
       requirement.

       We found no institutional requirements for faculty and administrators to demonstrate
       competency in cultural diversity and sensitivity around matters of inclusion. Nor is there
       much support in Ivy League schools for requiring a course for students that engages
       concepts of diversity.

       Special Institutional Initiatives
       Each campus has initiated a new diversity eﬀort within the past five years. Some are in
       response to particular events, such as when former New York City Police
       Commissioner Raymond Kelly was shouted down and prevented from lecturing at
       Brown University. Other schools are reassessing diversity eﬀorts from previous
       generations, as is the case at Yale. Cornell, Dartmouth, and Princeton have each
       developed strategic plans and have presidentially-appointed task forces with the goal
       of moving the campus forward in a coordinated eﬀort. Such initiatives include reforms
       of academic pipelines that result in departmental homogeneity, campuswide climate
       assessments, and faculty recruitment and retention initiatives for women and other
       underrepresented groups.

       Experiences of Diversity and Inclusion: Input from Students, Tutors, Proctors, and
       House Masters

       The Working Group held conversations with a wide range of students in order to
       receive their perception of, and experiences with, matters of identity and diﬀerence in
       the College. We understand that many factors can shape a person’s worldview and
       experience, including but not only race, citizenship, gender identity, sexual orientation,
       disability, religion, and socioeconomic status. Harvard students may also identify (or be
       identified with) multiple minoritized groups. Therefore, in order to cast our
       conversational net widely, the Working Group populated focus groups with students
       from a range of co-curricular groups, both those that the College recognizes and those


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       that are oﬃcially unrecognized: for example, race/ethnicity aﬃnity groups, student
       religious organizations, varsity sports teams, the Undergraduate Council, the Institute
       of Politics, finals clubs, and Greek societies.

       Working Group members attended mandatory proctor and tutor training sessions on
       January 21–22, 2015 to discuss diversity matters. We wanted to hear about proctors’
       and tutors’ challenges and opportunities in fostering inclusive and aﬃrming
       environments. Insights from these sessions informed questions for focus groups held
       within the houses. We concluded these conversations at the housemasters’ monthly
       meeting in April, at which we sought views on diversity in the houses and solicited
       assistance in interpreting students’ responses.

       Three topics recurred in these conversations: ongoing, multi-generational
       conversations about diversity; the climate of learning in departments, concentrations
       and classrooms; and balance in residential life experiences. We consider each topic in
       turn.

       The Need for Intentional, Ongoing Conversations
       The proctors and house tutors generally agreed that more frequent and formal
       conversations are needed around issues of campus diversity. All agree that every
       proctor and tutor must assume responsibility for helping students through sometimes
       diﬃcult, yet rewarding, conversations concerning identity and diﬀerence. The “race
       relations” tutor designation, for instance, places an undue burden on the few while
       exempting the majority; few were happy with this model. Nevertheless, several
       proctors and tutors expressed reservations about their own competencies. Many
       regard the diversity training received at orientation as inadequate, and their vocabulary
       as too limited for sustained dialogue with students in light of inevitable questions and
       conflicts throughout the year.

       Similarly, many encouraged more diversity training opportunities for students. As one
       tutor noted, “student training is important . . . [incoming students] are becoming a new
       part of this community. We ought to give them the tools.” A proctor observed,
       “Students want to be led, yet are constantly being asked what they think. They realize
       that they are 18 and not experts. They don’t know basic facts and want to learn more. .
       . . In our rush to reassure them that they are future leaders, we are not leading by
       example.” There is a general sense that students care deeply about these issues and
       want to engage, but fear they will come across as inelegant in expression. This
       hesitancy causes many so-called majority students to opt out, which only reinscribes
       diversity matters as essentially belonging to the minoritized members of the



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       community. Thus, the language of “mandatory” and “required” were recurring
       recommendations from the community.

       Community Conversations provide an example. This one-time event is a facilitator-led
       discussion based on shared readings among freshmen at the outset of the academic
       year. The Oﬃce of Institutional Research found in 2011–12 that nearly seventy percent
       of freshmen students agreed (some “strongly”) that Community Conversations helped
       them to appreciate the diversity of the Harvard community. (Pierce 2015) Nevertheless,
       several participants in Working Group conversations expressed concern about the
       program’s implementation and follow-up. The conversation takes place prior to the
       rigors of college life that challenge students’ conceptions of themselves and
       perceptions of others; perhaps Community Conversations take place too early for
       students to apply their insights to daily experiences at Harvard. Thus most participants
       in Working Group meetings recommended robust administrative follow-up and
       sustained dialogue throughout a student’s academic career. We concur: Community
       Conversations may be a cornerstone for developing the deliberate dialogue needed for
       productive learning across lines of diﬀerence.

       More generally, many proctors, tutors, and undergraduates feel that diversity training
       and ongoing conversations about diﬀerence must not remain at the student level. Staﬀ,
       faculty, and teaching fellows must also learn how to become more sensitive to
       students from a wide array of backgrounds and more cognizant of classroom
       dynamics. All focus group respondents pointed to micro-agressions in the classroom
       that come from peers, teaching fellows, and faculty members. Many feel that teaching
       fellows and professors are ill-equipped to facilitate conversations deemed
       controversial, thus avoiding such subjects or saying simply, “let’s move on” when
       questionable or oﬀensive comments arise.

       Bias in Concentrations
       Proctors, tutors, and students described some departments as less welcoming to
       specific groups than others. The STEM fields were of notable concern to women and
       underrepresented minorities. Our findings suggest implicit and unintentional biases that
       shape requirements for departmental concentrations such as AP courses in high
       school, replication of students and faculty in areas and identities in select fields,
       access to mentors, and study group formations. These dynamics create and codify
       arbitrary notions of “rigor,” “fit,” and “excellence.”

       For instance, pipelines specific to each discipline replicate homogeneity as one
       advances from an undergraduate to a full professor. Graduate admissions, TF hiring,
       junior faculty appointments, and tenure promotions all create and reinforce


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       departmental cultures. Such dynamics contribute to a belief that certain fields privilege
       particular approaches and areas of interest and deem other scholarly pursuits to be
       incompatible or “less rigorous." Unless departments are intentional, and self-critical, in
       promoting a diverse culture, there is little chance of attaining a more diverse student
       body and set of opinions or research agendas.

       Women and underrepresented minorities also told the Working Group about the
       absence of mentors and sponsors to whom they can comfortably relate. This is a direct
       reflection of the paucity of women and people of color in certain fields, especially
       among graduate students. Others spoke bluntly about their diﬃculties in fields such as
       math, statistics, biomedical engineering, and in the social sciences. Female
       upperclassmen in particular concentrations may dissuade incoming freshmen from
       pursuing concentrations perceived as hostile due to “no recognition within the
       department that this [gender bias] is an issue.”1 In short, explicit and implicit messages
       of “you won’t do well” lead to a disproportionate number of students opting out of
       certain concentrations.2 As the research literature on stereotype threat shows, when
       students are unable to overcome implicit harmful messages and regard departments as
       disinclined to disrupt practices deemed exclusionary, avoidance and disengagement
       are common responses. (Aronson 2002)

       In discussions about bias in concentrations, students also raised concerns about lack
       of faculty diversity, curricular exclusion of underrepresented groups in introductory
       courses, and the restrictions administrators impose on course oﬀerings from other
       departments that students argue should count for concentration credit.

       Diﬀerences in the availability of AP courses at various high schools lead to a diﬀerent
       kind of unintended exclusion. Harvard is committed to granting admission to high-
       achieving students who take advantage of all possibilities available to them, as
       opposed to students who simply attend the most elite high schools. This is correct and
       appropriate. Nevertheless, several departments, particularly those in the STEM fields,
       assume that students will have taken advanced placement courses—at least this

       1 One respondent suggested that she is torn about giving such advice since she understands that it will discourage

       or even prevent other women from entering the concentration, but that the responsibility should be put on the
       department to change.

       2A female student told us during a focus group conversation that she went to discuss with her TF how she could do

       better in biomedical engineering and was told “you won’t do well” because of other activities that she was involved
       in on campus. She expressed her frustration about having “someone tell me point blank that I won’t do well, and,
       ‘We know you’re a busy person—it won’t be an insult if you leave the concentration’" and concluded, "So, fine. I
       left.” Social Studies concentrators voiced frustration that courses dealing with racial justice/politics oﬀered by
       faculty members on the Committee have not counted for credit in the concentration.


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       perception is prevalent. AP oﬀerings are very uneven across secondary schools. The
       Working Group believes that all students admitted to Harvard College should have the
       opportunity to concentrate in any field of their choice without being precluded due to
       structural disadvantages. Students can succeed from diﬀerent curricular entry points,
       so it is incumbent on each department, as well as the University, to provide students
       with alternative narratives of success and multiple pathways to fulfilling all
       departmental requirements.

       Residential Life Experiences
       The house and resident tutor model plays a powerful co-curricular role at Harvard
       College. Harvard’s decision, in the spring of 1996, to randomize the house selection
       system to create more diverse environments in the houses followed President Lowell’s
       rationale in creating the house system in the first place: in Lowell’s words, “men
       interested in various fields of thought should be thrown together with a view of
       promoting a broad and humane culture.” The houses were viewed as natural co-
       curricular extensions of the Harvard College learning experience. In describing
       randomization, then Dean Harry Lewis noted, “A certain level of discomfort is part of
       our educational obligation.”

       While this may be the ideal, students we talked to reported levels and kinds of
       discomfort not always in keeping with the professed goals of the house system.
       Repeatedly, students named, or voiced the desire to experience, their houses as “safe
       spaces.” Yet they also consistently pointed to the lack of diversity among resident
       tutors within the house system, and housemasters have expressed the same concern.3
       Since most resident tutors are graduate students and the positions are field-specific,
       the homogeneity of the tutor pool is directly related to the lack of racial and gender
       diversity in particular departments at Harvard. Resident tutors and scholars can be
       mentors and sponsors, so the lack of diversity in their ranks can work to the real
       detriment of underrepresented students.

       Students and tutors also voiced concerns about perceived inequities and imbalances
       among houses. Only some houses have diverse resident tutor pools, resident scholars,
       prestigious named prizes and financial awards for juniors and seniors, and availability
       of, and access to, house social spaces for student groups. Budgets for student
       programming around particular events also vary among houses, as housemasters


       3 One housemaster expressed what appeared to be the sentiment of many when he declared, There are just not

       many diverse candidates out there. We have the same problem in my department.But another housemaster
       pushed back forcefully: They are out there. They may not show up at your door, but we do not have a problem
       identifying a diverse corps of tutors. We go and look for them.


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       allocate the funds in their houses’ budgets. Overall, students sense that house life
       depends on the particular housemasters and established house traditions, which
       invariably leads to inconsistency across the College. Thus the College might want to
       consider stronger systems of transparency and accountability among the houses to
       address real or perceived inequality. Areas of particular note, besides the ones listed
       above, include transparency regarding the system of evaluation for housemasters.

       The judgments expressed above are based on anecdotal rather than systematically
       gathered evidence, and many housemasters disagreed with them. Some housemasters
       perceive inherited cultures that inform each individual house, while others resisted any
       suggestion that they shape the culture of the house. Nonetheless, students express an
       assumption that diversity and inclusion eﬀorts begin and end with housemasters.

       The appointment and role of tutors seems especially charged in the context of
       housemasters’ impact. The process of appointing resident tutors and scholars is
       informal and thus lacks transparency, which leads to mistrust in its integrity. For
       instance, some resident tutors levied a serious charge of discrimination against one set
       of housemasters. (Delwiche 2015) Many resident tutors of color voiced frustration that
       they were burdened with all conflicts stemming from matters of identity and diﬀerence,
       while other tutors could seemingly focus on their academic areas. Other tutors of color
       expressed surprise and dismay that housemasters had designated them as race
       relations tutors without their knowledge or consent. These complaints were common
       among the specialty tutors. One reported that certain housemasters asked him to join
       the community primarily as an LGBTQ as well as a pre-med tutor. He alleges that when
       he resisted, saying that he did not consider himself qualified to be an LGBTQ tutor, the
       housemasters said, “All the other tutors are married. It’s very simple. All you have to do
       is send some emails every now and then.”

       On a diﬀerent note, both resident tutors and students pointed to markers of class
       distinction in life on campus. Programs created to remove financial barriers for
       students who qualify for financial aid may have unintended stigmatizing consequences.
       Consider the Student Events Fund (SEF). This program has the admirable aim of
       aﬀording students the chance to attend up to five campus events each semester at no
       cost. Yet several students (and, at a diﬀerent point, alumni) noted how separate lines
       for SEF ticket pickups marked students to their wealthier classmates; one resident
       tutor remembered jokes about the “welfare line” or the “poor kids line” during his
       undergraduate days.

       Others had similar feelings about the pre-orientation and school year community detail
       program known as dorm crew. Several expressed appreciation for the ability to earn a


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       good wage, as dorm crew is the highest-paying job of any open enrollment option.
       Dorm crew also provides a very flexible schedule. But other factors have caused dorm
       crew to be regarded as a program of “incentivized servitude,” since many students of
       humble means feel that they cannot aﬀord to decline the option. This is particularly the
       case when undergraduates are not respectful of spaces that others are assigned to
       clean. Some also reported that their school meal plan was not yet activated when they
       arrived for pre-orientation dorm crew, leading students, according to reports, to walk to
       the Central Square McDonalds to avoid the higher costs of Harvard Square
       restaurants. One young man captured the choices and frustrations of students who
       otherwise appreciate the dorm crew option:

                I knew Harvard had a meal plan and I knew that I had it. When I found out
                that I didn't qualify until the start of the school year instead of during my
                pre-orientation program, I was a little disheartened. We had the option to
                eat in Annenberg, but to me, 20-something dollars is a lot of money to
                spend on food in one day, and then to have to spend that each day for a
                week . . . I couldn't do that. I chose dorm crew as a pre-orientation
                program to make money, not spend it. I needed money. I could have
                chosen a diﬀerent pre-orientation program like FAP (Freshman Arts
                Program) and my financial aid would have covered it, but I needed
                money. I needed to buy books and not worry as much about spending
                too much during the school year, surrounded by friends with varying
                wealth. Annenberg was asking for about two hours’ pay of my eight-hour
                day. I ended up just buying bagels and Pop Tarts. I ate out a few times. I
                had some Dunkin Donuts gift cards so I ate there too. I wouldn't call it
                healthy eating. I know it wasn't only me who struggled that week. Some
                people decided to just eat out every day, while others decided to eat very
                little. I believe most of the people involved in Fall Clean-Up could really
                use the money and it would be beneficial if Harvard could provide meals
                for the workers (even the bagged lunches they make during the year
                would be amazing).

       Finally, students pointed out that all diversity-focused centers (i.e. the Women’s Center,
       the Oﬃce of BLGTQ Life, and the Harvard Foundation for Intercultural and Race
       Relations) are underground. That these spaces are, in the words of one student, “out of




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       sight and seem inaccessible” sends a message to students about how much the
       College values diversity initiatives.4

       Curricular Oﬀerings at Harvard College
       The Working Group reviewed current course oﬀerings at Harvard to identify those that
       address issues of diversity in a critical and intentional way. We searched for courses
       indexed with a wide variety of terms: ethnic, ethnicity, race, gender, sexual orientation,
       inequality, disability, diversity, diverse, social class, socio-economic status, poor,
       poverty, first generation, African-American, African American, Black, White, Caucasian,
       Asian, Asian-American, Latino, Latina, Hispanic, Native, Native American, Indigenous,
       Indigeneity, and Indian.

       From the resulting long list, we identified courses that address critically the relation of
       the course’s primary subject matter to categories of diﬀerence and relations of power.
       Courses that solely engage a particular community commonly considered as
       underrepresented were not included in the list of diversity oﬀerings. To confirm our
       choices, the subcommittee emailed the instructor(s) of each selected course to report
       that the course was included on the list, and to ask the instructor to advise us if this
       designation was incorrect. We received no requests to remove a course from the list for
       definitional or philosophical reasons.

       The summary charts provide a snapshot of the courses addressing diversity in the
       Harvard curriculum. Although the numbers are necessarily rough, they provide an
       overview that can help us to evaluate our current oﬀerings as part of a broad
       investigation of diversity at Harvard.5 We also include a count of courses in each
       departmental listing in order to show the proportion of diversity courses in the full set
       of a given department’s courses.6

       Administrative Entities Concerned with Supporting the Needs of a Diverse
       Student Body


       4 We note, however, that despite its physical location, the Womens Center feels warm and welcoming to many

       students, both women and men. The nontraditional layout and design enabled many to view it as equally cozy and
       empowering.

       5 We provide a separate listing of courses touching on diversity oﬀered across the Harvard Schools outside of FAS

       in Appendices B, C, and D. We attempted to confirm, but cannot guarantee, that all courses listed here are indeed
       open to undergraduates. Beyond this list, we cannot draw additional conclusions without more detailed knowledge
       of the courses.

       6 In assessing General Education courses, we counted only courses in the front of the book.



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       With regard to co-curricular entities in support of diversity, the Working Group found a
       somewhat inchoate structure. Eﬀorts to respond to the many needs and demands of
       Harvard students have produced many diﬀerent initiatives that simply cannot be
       represented coherently in an organizational chart. Adding major administrative oﬃces
       tasked with matters of campus diversity makes accounting for the institutional
       structure even more complicated.

       We identified relevant oﬃces and programs with two sets of keywords. The first
       focused on function: academic advising; alumni groups; assault and harassment;
       athletics; diversity; employee resource groups; faith-based services; faculty; financial
       services; gender; healthcare, mental health, and disability; international students;
       public service; race and culture; sexuality; standing committees; student life; and
       summer research programs and fellowships. The second step identified diversity-
       related oﬃces and programs with the same keywords used to identify relevant courses.

       In general, Harvard has taken an umbrella approach to campus diversity, with multiple
       resource centers falling under several administrative oﬃces. This model seems to be
       an outgrowth of what was once a comprehensive oﬃce of diversity. Over four decades,
       several umbrellas have developed independently. Now a plethora of programs and
       centers complement, overlap, and compete with one another. They are:

       Oﬃce of the Assistant to the President for Institutional Diversity and Equity
       Director: Chief Diversity Oﬃcer and Special Assistant to the President
       Reporting Line: Executive Vice President and the President
       Key Responsibilities: federal and state compliance concerning protected employment
       categories: i.e., race, disability, veterans, sexual orientation, and gender identity.

       The Oﬃce was established in 1971 to “lead a sustained University-wide eﬀort and to
       develop, coordinate, and advance inclusive excellence, diversity, and equal opportunity
       initiatives, programs, and policies at Harvard University.” It specializes in University
       compliance and promoting staﬀ diversity initiatives through training and innovative
       recruitment eﬀorts. The Harvard University Administrative Fellowship Program is its
       signature initiative. The Fellows Program provides twelve-month opportunities to
       members of underrepresented groups to receive leadership training and exposure at
       Harvard; the goal is to encourage the mentoring of such individuals in preparation for
       careers in administration in higher education.

       Oﬃce for Faculty Development and Diversity
       Director: Senior Vice Provost for Faculty Development and Diversity
       Reporting Line: Provost


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       Key Responsibilities: faculty development, work-life balance, maintaining data on
       faculty hiring practices, promotion, and retention among women and underrepresented
       minorities.

       The Oﬃce was established in 2005, when women were underrepresented on every
       faculty at Harvard other than the Graduate School of Education. It has instituted
       programs to improve the quality of faculty life and assist faculty in developing the skills
       needed for professional success. The oﬃce encourages mentoring, both formal and
       informal, to introduce junior scholars to the requirements for success. By providing
       generous maternity/paternity leaves, financial assistance to oﬀset childcare costs,
       panels to discuss academic publishing, and brown bag lunch conversations that
       address a wide-range of issues in an informal setting, the Oﬃce also aims to provide
       junior faculty members with resources that foster professional growth and
       development.

       The Working Group is uncertain whether the Oﬃce of Faculty Development and
       Diversity assesses institutional culture and practices that may unwittingly aﬀect the
       development of minoritized faculty or undermine their scholarly contributions. Such an
       assessment would require gathering information regarding assumptions that inform the
       practices of departments, and focusing on how those assumptions might help or
       hinder particular areas of scholarship.

       The Harvard Foundation for Intercultural and Race Relations
       Director: Center Director and Assistant Director of the Center
       Reporting Line: The Director reports to the Dean of the College; the Assistant Director
       reports to the Oﬃce of Student Life
       Key Responsibilities: portraiture project, intercultural understanding intern program,
       race-relations advisers/tutors in the houses, and large campus/community events such
       as Cultural Rhythms, the Science Conference, the Humanitarian Award, and the Aloian
       Awards.

       The Foundation was established in 1981 in order to “improve relations among racial
       and ethnic groups within the University and to enhance the quality of our common life.”
       The Foundation grew out of a faculty/student committee commissioned by President
       Derek Bok and chaired by the late Reverend Peter Gomes to identify ways the
       University might improve racial understanding and relations in Harvard’s increasingly
       diverse community. Out of fear of isolating minority students, the committee’s report
       (the Gomes Report) advised against independent cultural centers and theme-based
       houses or spaces based on racial/ethnic identities. Thus, Harvard established the




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       Foundation as an agency to serve the needs of minority students while, according to
       Foundation documents, “integrating them into the College and University as a whole.”

       Most Foundation programming takes place in the houses. The Harvard Foundation has
       emerged as an umbrella organization for cultural organizations and aﬃnity groups on
       campus. Its Student Advisory Committee (SAC) includes up to eighty representatives
       from racial/ethnic aﬃnity groups on campus. The SAC distributes $25,000 from the
       Harvard Foundation student grants program to subsidize student-initiated programs
       and student organizations. In 2005, the House race relations tutors were brought under
       the purview of the Harvard Foundation. Harvard College Dean Benedict Gross
       concluded after a review of the system that the race relations tutors were not well
       organized or eﬀective under the direction of the housemasters. The Foundation also
       organizes the annual race relations tutor orientation sessions.

       The Working Group lacked the time and resources to review the eﬀectiveness of the
       Harvard Foundation. Some members raised concerns about the theoretical framework
       informing the Harvard Foundation’s founding and continuing mission, based on more
       recent research arguing that the umbrella model insuﬃciently acknowledges the
       particular experiences faced by minoritized students across potentially shifting
       categories of identity. That is, the theoretical framework undergirding the Gomes
       Report was based on three assumptions: a) contact among diverse groups equally
       benefits members of both majority and minoritized groups; b) group-specific spaces
       isolate minority students; and c) the integrative model of diversity disrupts
       homogeneous communities and supports full inclusion of minoritized students. In the
       view of the Working Group, most (though not all) recent social scientific research
       shows each of these assumptions to be flawed.

       First, it is true that an increased number of minorities benefits the numerical majority,
       as it increases the likelihood of intergroup contact among the latter. Yet it also benefits
       numerical minorities by providing underrepresented communities a critical mass for
       intragroup support. With regard to the benefits of contact: research shows that the
       eﬀects of stereotype threat and other negative characterizations are reduced when
       those who are negatively stereotyped in a given context have the chance to gather
       together. Peer advising from women in the STEM fields, for instance, can reduce the
       negative associations that may lead women to disengage from certain concentrations.
       Similarly, when Latinx students hear alternative narratives of success from other
       Latinxes, the cultural cues that narrowly define success on campus (e.g., having no
       Latinx professors on the faculty, seeing images only of white men in the departmental
       building, the absence of curricular materials that speak to the histories and
       experiences of Latinxes) are mitigated.


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       With regard to concerns about further isolation of minority students versus the benefits
       of disrupting homogeneous groups of majority students: the assumption that culturally
       specific spaces or aﬃnity-themed housing will isolate minoritized students is a fallacy
       of false equivalence, because it suggests that these students are able to exercise the
       same freedoms (including freedom of association) in the larger society as do members
       of the majority. This is not the case. Providing a safe space for women to come
       together within a larger context where their humanity is measured against a masculinist
       standard is not gender discrimination akin to that exercised by an all-male finals club.
       To the contrary, it can enable women to deal with intellectual, emotional, and social
       challenges.

       Moreover, it is easier for members of a majority to remain siloed within homogeneous
       communities than it is for members of a minority. The latter inevitably associate with
       members of the dominant group due to the demographic composition of the campus.
       For instance, white students can complete their coursework at Harvard without ever
       having a Latinx, Native American, or African American professor, TF, coach,
       housemaster, resident dean, entryway proctor, tutor, or academic adviser. This is not
       true for Latinx, Native American, or African American students who, to the contrary,
       must seek out opportunities for engagement with representatives of their own racial/
       ethnic group. Thus, members of small groups must carry the burden of diversity at all
       times, while members of more privileged groups must search out courses, faculty
       members, and mentors from minoritized groups. In short, the umbrella model of
       integration, as implemented at Harvard, treats minoritized and majority students in
       unequal ways despite its best intentions.

       The problematic assumptions of the umbrella model have led to unintended
       consequences. Harvard College was not able to eﬀectively integrate diversity
       programming into the Harvard House structure as recommended by the Gomes
       Report. As a result, full responsibility was returned to the Harvard Foundation. An oﬃce
       with little more than two full-time staﬀ members and a current programming budget of
       $25,000 was responsible, at least in theory, for all cultural programs, concerns, and
       educational initiatives of Harvard College’s non-white student population.

       Other Positions
       Position: Assistant Dean of Diversity Relations and Communication
       Reporting Line: VP of Administration (FAS) and dotted line to Oﬃce of the Assistant to
       the President for Institutional Diversity and Equity




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       Key Responsibilities: supports all communication eﬀorts for the Harvard Foundation;
       tasked with creating a coherent picture of diversity for all aﬃliated groups and
       organizations.

       Position: Assistant Dean of Student Life for Equity, Diversity, and Inclusion
       Reporting Line: Oﬃce of Student Life
       Key Responsibilities: responsible for campus initiatives regarding gender, sexuality, and
       diversity issues; oversees the Harvard College Women’s Center, Oﬃce of BGLTQ
       Student Life, Undocumented Students Working Group, First Generation College
       Students Working Group, Racial Harassment Hearing Oﬃcer for the College.

       There are two other positions of note: the Assistant Dean of Diversity Relations and
       Communication and the Assistant Dean of Student Life for Equity, Diversity, and
       Inclusion. FAS Dean Michael Smith created the position of Assistant Dean of Diversity
       Relations and Communication in 2008. This person is a member of the FAS Advisory
       Committee on Diversity and is tasked with creating a coherent picture of all diversity
       eﬀorts and initiatives at the College, which include those under the Harvard
       Foundation, Oﬃce of Student Life, and the Oﬃce of the Assistant to the President for
       Institutional Diversity and Equity.

       The Oﬃce of Student Life created the Assistant Dean of Student Life for Equity,
       Diversity, and Inclusion in Fall 2014. Though having the support of the Oﬃce of Student
       Life, this assistant dean has oversight of two centers (Women’s Center and Oﬃce of
       BGLTQ Student Life) that appear to be larger than the actual oﬃce of the assistant
       dean in terms of staﬀ and resources.

                               Summary of Recommendations

       The Working Group on Diversity and Inclusion would like to begin this section by
       thanking University oﬃcials for actions already taken based on interim
       recommendations made during 2014–15. The Oﬃce of Student Life published the
       Working Group’s listing of courses related to equity, diversity, and inclusion. The Oﬃce
       of the Dean of the College funded a pilot program to keep two dining halls open
       through spring break. The latter initiative oﬀsets the food costs incurred by students
       who, for a range of reasons, do not leave campus for the week. (It also, serendipitously,
       gave Working Group members an additional, informal point of contact with members of
       the student body with whom our work was concerned, i.e., international students and/
       or students lacking the financial resources to travel.) The Oﬃce of Financial Aid issued




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       new guidelines concerning SEF tickets, protecting students’ anonymity by forbidding
       ticket lines marked as “SEF.”7

       The Working Group would also like to reaﬃrm our charge and connect it to similar
       eﬀorts taking place throughout the University to change the institution’s culture. Such
       eﬀorts include the University Task Force on the Prevention of Sexual Assault and the
       Working Group on First Generation Students, both of which are addressing challenges
       of distinct populations and aﬃrming their inherent dignity and value to the University.

       We oﬀer two types of recommendations. First, we make recommendations for
       immediate action addressing three aspects of the College: student life, teaching and
       learning, and administrative structures. These targeted interventions can support the
       College’s mission and enhance its culture. Second, the Working Group has identified
       questions and areas of concern that exceed our charge and capacity. We are
       persuaded that creating a healthy, diverse environment requires the coordinated eﬀort
       of all departments, schools, administrative oﬃces, and allies across the University. We
       categorize the long-term interventions we recommend to bring about such a
       coordinated eﬀort with the same rubrics that we use for our immediate
       recommendations, although action on the former will require large amounts of time,
       research, and resources. We urge the constitution of a new committee charged by the
       Oﬃce of the President and engaged over more than one academic year.

                               Recommendations for Immediate Action

       Student Life
       Harvard College has a responsibility to promote a shared vocabulary among students
       around identity and diﬀerence, and to shift the optics of the campus from one that
       privileges particular histories and cultures to one that celebrates the diversity of the
       student body. Tutors, proctors, and students alike have requested communication
       across lines of diﬀerence aimed at empathy, as well as guidance on how to create a
       framework for debate and shared vocabulary.

       What is more, the ambience of physical spaces transmits cultural cues that influence
       the participation of underrepresented groups on college campuses. Physical
       environments serve as signifiers communicating who does or does not belong. Recent
       research reveals, however, that changing objects in a classroom such, as images on


       7Nevertheless, controversy occurred over separate lines at the quad formal in May 2015. This tells us that the Oﬃce

       of Financial Aid, Oﬃce of Student Life, and Harvard Box Oﬃce must remain diligent to ensure that all campus
       entities are aware of and adhere to this new policy.


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       the walls, from those that are conventionally associated with the dominant group to
       objects that minoritized subjects can better relate to is enough to boost participation
       by the latter. (Cheryan 2009)8 The University has made strides in this area in recent
       years. The portraiture project of the Harvard Foundation for Intercultural and Race
       Relations comes to mind. This is important work. The Working Group believes that the
       College must further diversify and update the styles, periods, and mediums of its
       publically displayed artwork to better reflect the diversity of the campus community.

       The Working Group recommends that the College take on the following tasks:

           1. Request that each house and freshman dean design and implement a cohesive
              series of co-curricular activities that address the challenges and benefits
              associated with learning and living in a diverse residential community. The plan
              should include primary coordinators, strategies for sustainability, and evaluation.
              Programming should be based on a collective commitment and use a variety of
              approaches. It might include not just term-time activities but also special winter
              session or spring break excursions, retreats, or conferences that could oﬀer
              more intense and/or more experiential opportunities for learning and personal
              transformation.

           2. Establish the “Alain L. Locke ’07 AB, ’17 PhD Committee on the Arts” to
              commemorate the centennial anniversary of Locke earning his PhD at Harvard in
              1917. The Committee should be tasked with reviewing the art and décor of
              common spaces and classrooms at the College, and developing
              recommendations and implementation proposals for common space design and
              redesign, to create a physical environment in which all members of the
              community can feel they belong and secure Harvard’s role as a leading curator
              of significant artistic achievements in a wide array of traditions. This committee
              would collaborate with departments to ensure that they make eﬀorts to make
              their principal learning spaces feel inclusive, especially for groups that have
              historically been discouraged from, or underrepresented in, their disciplines. In
              collaboration with the Harvard Art Museums, this committee would also
              commission and curate art exhibitions, installations, and performances that


       8Research reveals not only that changing the objects in a classroom to ones to which minoritized students can

       better relate improves the participation of minority students but also that this has no negative impact on the
       dominant group. For example, non-computer science-related images on the walls helped women to feel safer and
       promoted their participation in an otherwise underrepresented field. Yet the change in artwork had no impact on
       male participation. By simply creating what authors describe as ambient belongingfor underrepresented groups,
       they are able to diversify the space without losing any original participants. This is a low cost, win-win
       recommendation.


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                cultivate a more inclusive atmosphere. Finally, the Working Group can imagine
                this committee working with the student population to:

                   a. encourage judged “art challenges,” modeled on the iLab competitions, to
                      encourage Harvard students and alumni to engage with diversity through
                      artistic creation, with projects exhibited in common spaces in the College;
                   b. fund collaborative art projects and initiatives between student groups that
                      have diversity and inclusion as a central theme, with an eye toward house
                      renewal and other campus renovation eﬀorts.

          3. Design cultural competency training for all College student-facing staﬀ—
             including personnel in the Oﬃce of Student Life, OCS, FDO, Ad Board, Honor
             Council, etc.—through a collaborative process with students, faculty and
             teaching staﬀ, and administrative staﬀ.

          4. Address unnecessary markers of social distinction to uphold the dignity of all
             students. Doing away with special SEF lines is a critical first step, and one that
             the College must enforce vigorously. Next steps must include reforms to dorm
             crew. The Working Group recommends that students during the academic year
             be penalized if bathroom cleanliness drops below a reasonable threshold. This
             threshold should be established in consultation with Facilities Maintenance
             Operations and building managers. This will allow students who work dorm crew
             to have a right of extreme refusal in extreme conditions, which they can
             document with photos from their cellphones. We also recommend that students
             who serve on pre-orientation or post-graduation dorm crew be provided with
             meals or a daily per diem distributed in advance.

       Teaching and Learning
       Harvard College desires that all students have equal access to and opportunity to
       succeed in all concentrations. The Working Group understands that departmental
       practices both inform students’ choices and reinforce cultures that can contribute to
       homogeneous pipelines within select fields. These sorts of cultures limit the number of
       mentors and sponsors to whom underrepresented students may feel comfortable
       relating, curtail departmental courses whose primary subject matter critically addresses
       the categories of diﬀerence and power, and reduce the prospect of students engaging
       with themes of human identity and diversity in the classroom.




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       What is more, according to our findings, five FAS departments or programs oﬀer the
       bulk of all courses addressing diversity and diﬀerence.9 The majority of the
       departments/programs emphasizing diversity are in the social sciences, with the
       humanities and sciences much less well represented. And when measured against the
       number of courses being oﬀered in FAS (roughly 5,500), the list of 217 courses that,
       according to our estimate, critically engage with issues of identity and diﬀerence is
       somewhat lean. The Working Group believes that Harvard’s commitment to a broad-
       based liberal arts education would be better served by having a more robust
       curriculum in this area through increased attention to diversity and diﬀerence in the
       humanities and science departments. The Working Group suggests that the College:

             1. Task directors of undergraduate studies in every department with developing
                pathways through the concentrations that would be attainable for all students,
                regardless of background. The Working Group understands that high-achieving
                students from Level 3 or 4 high schools may not have had the same course
                options available to them as a middling student from an elite prep school. This
                should not preclude students from Level 3 or 4 schools being able to
                concentrate in a particular field. Every concentration should have clearly
                articulated pathways through the major from the most introductory-level course.

             2. Encourage all departments to undertake programs designed to promote a more
                diverse group of concentrators within their departments. In the absence of a
                comprehensive strategic plan, there are many things departments can do—e.g.,
                create mentoring programs, enhance website materials that share success
                stories of underrepresented minorities, and provide resources for
                underrepresented students to attend/participate in events sponsored by
                organizations such as the National Society of Black Physicists or Society of
                Women Engineers, to enable these students to expand their networks.

             3. Create a system for flagging existing courses dealing with diversity in the new
                online search system for course selection, so that students can easily find them.
                Other Ivy League institutions, such as Yale and Brown, use an online course
                search system that allows students to select a “diverse perspectives” tab that
                automatically generates a list of courses that fit this category. The 217 courses
                identified by the Working Group would be a good starting point. The College
                should create a plan for integrating newly developed courses into the online
                course selection system.


       9
           The departments/programs are African and African American Studies, Anthropology, General Education,
       Sociology, and Studies of Women, Gender, and Sexuality.


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          4. Request that the General Education Committee develop strategies for
             strengthening its oﬀerings in areas explicitly addressing diversity. Measures may
             include actively recruiting faculty to teach courses in particular areas of diversity
             that are not currently covered and inspiring faculty to develop new courses or
             enhance existing courses by providing institutional support; e.g., coordinating
             with the Bok Center to oﬀer research-based resources and faculty programs on
             eﬀective pedagogical strategies to address issues of diversity.



       Administrative Structures
       Each year the entering freshman class of Harvard College is more racially, ethnically,
       and socioeconomically diverse than the year before. This is a positive development of
       which the University should be proud. Harvard’s administration, faculty, and staﬀ,
       however, continue to lag behind in terms of diversity. This lack of diversity frustrates
       Harvard’s eﬀorts to foster a campus environment that diminishes cultural and structural
       cues of exclusion, minimizes stereotype threats, and provides students from varying
       backgrounds equal opportunities to succeed in concentrations throughout the arts and
       sciences. The composition of Harvard’s administration, faculty, and staﬀ must reflect
       the positive strides toward diversity made with the student body in recent years. Thus,
       the Working Group recommends the College pursue the following immediate actions:

          1. Seek to diversify the Ad Board and the new Honor Council, with an eye to
             ensuring that the people who assess and, in some instances, discipline our
             students come from backgrounds that, as much as possible, are as diverse as
             those of the students themselves. There is a reasonable concern that, for
             instance, without faculty of color or faculty who were first generation students
             themselves on these bodies, we may be missing crucial sets of experiences and
             kinds of knowledge that could lead to fairer judgments and penalties. We
             understand that, in order for Harvard College to achieve fairer representation for
             the student body, underrepresented members of the faculty may have to be
             provided with incentives to assume yet another role. Yet the Working Group is
             confident that immediate action along these lines is necessary and just.

          2. Task Counseling and Mental Health Services with developing and implementing
             a strategic outreach plan for historically underserved populations. As noted
             above, the most eﬀective mental health outreach plans make clinical support
             available to students throughout the campus and address particular cultural
             needs and associated stigmas of targeted groups. Attitudes toward behavioral
             health care vary among Asian American, African American, Latinx, and veteran


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                students, as well as among certain communities of faith. We want to help
                students who identify within or between any underserved populations to have
                access to appropriate interventions in the most useful settings.

           3. Create a University-wide committee charged with studying questions that could
              lead to more long-term recommendations. We will explain this recommendation
              in more detail below.

                         Recommendations for Long-Term Interventions

       Student Life
       With regard to student life, house life and support for aﬃnity-based student groups are
       vital areas for further consideration. The Working Group believes that perceived
       inequities among the houses, both real and imagined, must be examined and
       addressed. Any perceptions of inequality and lack of accountability compromise the
       credibility of the house system. The campus witnessed the result of failed transparency
       toward the end of the 2014–15 academic year, as students levied charges of
       discrimination against Dunster House.10 We strongly believe that such charges brought
       by students are unfortunate for all parties involved. The lack of clear policies, structures
       of accountability, and consistency across houses puts everyone at risk and erodes
       trust.

       The Working Group wants the university to consider increased ways to support aﬃnity-
       based student groups on campus, including but not limited to the Harvard-Radcliﬀe
       Asian American Association, Harvard-Radcliﬀe Raza, Harvard Black Student
       Association, and Harvard Islamic Society. These are critical sites of peer-to-peer
       mentoring, academic advising, and spiritual support that often take place informally
       and with minimal institutional support. Our review of peer institutions reveals that more
       than dedicated physical space, dedicated staﬀ presence is what enables such student
       groups to flourish. Whether an assistant dean or center director, dedicated staﬀ
       members improve the quality and consistency of events, help to institutionalize
       otherwise informal mentoring and advising, and serve as a human point of contact (if
       not sponsor) for students trying to navigate the byzantine structures of University life.




       10 Unfortunately, the perception of homophobia in Dunster House extends back over a decade and is documented

       in opinion pieces published in the Harvard Crimson. (2004). Dunster's Troublesome Closet. The new BGLTS tutors
       will likely perform a useful service, but much work remains, Harvard Crimson. Levingston, I. B. (2015). Dunster
       Students Push for Tutor's Return, Harvard Crimson.


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       Many of the questions that must be asked about the administrative structure of
       Harvard’s diversity initiatives relate to our concerns about student life. With specific
       respect to house life and student groups, the Working Group desires to know:

                • In what ways might we promote greater consistency in standards and their
                  implementation among the houses when it comes to diversity-related
                  matters?
                • What role can the houses and freshman deans play in fostering more diverse
                  and inclusive environments?
                • What resources might housemasters find valuable in their eﬀorts to recruit,
                  appoint, and retain a more diverse pool of resident scholars and tutors?
                • What are current best practices of campus centers such as the Oﬃce of
                  BLGTQ Life, Oﬃce of the Chaplaincy, or Freshmen Yard Deans that the
                  University might build upon to increase oﬃce visibility and address the needs
                  of minoritized students?
                • What is the current state of faculty advising for student groups? What
                  incentives are necessary to ensure appropriate training, support, and, most
                  importantly, positive recognition of junior faculty members engaged with
                  student life during their promotion reviews?

       Teaching and Learning
       Students desire a faculty as diverse and varied in its interests as is the student body.
       As stated in our findings, the University has made great strides toward diversifying the
       faculty and improving the faculty climate overall. The Working Group applauds these
       eﬀorts. The Working Group is not clear, however, on whether any oﬃce assesses
       institutional cultures and/or reviews specific departmental practices that may frustrate
       the recruitment and retention of underrepresented faculty. A close review of
       departmental practices would interrogate basic assumptions as to the ways particular
       disciplines and fields are defined at Harvard University. The Working Group
       recommends that the University invest in creating sensitive survey instruments that can
       obtain answers to the following questions from the various schools and departments:

                • What approaches to the discipline/field does your school or department
                  currently privilege? What are the theoretical, thematic, geographic, or other
                  categories of intellectual approaches that preclude a wide range of
                  participants from engaging in particular areas of inquiry at Harvard?
                • How does diversity fit into the intellectual development of the field?
                • How do departments and programs decide on and evaluate their standards
                  for “excellence”?



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                • How do departments establish intellectual “canons” and/or what constitutes
                  survey/introductory material?
                • How can the review of General Education reinforce principles of equity,
                  diversity, and inclusion? What are the mechanisms for enforcing this in the
                  curriculum?
                • What are the formal and informal sites of networking, advising, mentoring,
                  and sponsorship within the department?
                • What are departments and schools across Harvard doing to ensure that all
                  faculty members continue to receive training in pedagogical approaches that
                  speak to an increasingly diverse demographic at Harvard, and that they are
                  cognizant of, and can oﬀset, explicit and implicit biases and micro-
                  agressions occurring inside and outside the classroom?
                • What are the types of bridge, supplemental, advising, pre-orientation, and/or
                  summer programs that might enable students to navigate particular
                  concentrations and foster pathways for success?
                • How does the Graduate School of Arts and Sciences understand its role in
                  shaping the culture of teaching and learning at Harvard?

       Administrative Structures
       Successful diversity initiatives require a strategic plan of action and a coherent
       institutional structure that allows for systems of accountability and assessment.
       Evidence from both the academic and business spheres points to these truths. A good
       strategic plan recognizes that all departments, schools, and allied institutions operate
       according to diﬀerent logics and metrics, and thus empowers each to develop an
       individualized plan for diversity. A coherent system of integrated oﬃces committed to
       diversity eﬀorts ensures that the institution is working toward a common vision with a
       shared institutional vocabulary. There has to be an identifiable structure of governance
       to hold all parties accountable to their respective strategic plans, and to assess the
       value or viability of past initiatives.

       Based on our findings, the Working Group believes that it is in Harvard’s best interests
       to recommit itself to streamlining its current structure into a much tighter and
       integrated set of oﬃces with a greater level of collaboration. This will enable Harvard
       University to better fulfill its mission and commitment to excellence through diversity.
       The presence of so many oﬃces and programs that work for the cause of diversity and
       inclusion, but appear to engage in minimal collaboration, seems both ineﬃcient and
       ineﬀective. We suspect that many of these oﬃces and/or positions were created as
       sincere responses to specific problems. Yet the current decentralized nature of these
       oﬃces, coupled with an initial conceptual intent that may now be out of sync with
       shifting demographic and cultural realities, exacerbates fault lines that further threaten


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       those who are now the most vulnerable on campus: first generation students, students
       from Level 3 and 4 high schools, and undocumented immigrants. Similarly, diversity
       initiatives are harder to implement in the absence of robust communication among
       oﬃces with common purposes. The Working Group is confident that a more tightly
       organized scheme would better serve many constituencies.

       Therefore, the Working Group believes that the University must explore such questions
       as:
             • Is there a common vision for diversity and inclusion across the University?
                How do varying constituencies across the University define diversity?
             • What primary oﬃce(s) should have oversight of diversity initiatives?
             • Is there consistency across the University with regard to oﬃce(s) and
                positions tasked with promoting diverse cultures of inclusion? Further
                research needs to determine what each oﬃce contributes to the overall
                mission of diversity and inclusion. What are their specific roles and
                responsibilities?
             • Are there common guidelines and principles that exceed federal compliance
                but to which all aﬃliates of the University must adhere? What assessment
                mechanisms are in place to measure eﬀectiveness? How does the current
                administrative structure facilitate reassessment?
             • What systems/metrics are in place to evaluate structural change? Are sunset
                provisions in place for oﬃces/programs that have either fulfilled or failed to
                meet their intended goals?

                                            Conclusion

       The Working Group on Diversity and Inclusion oﬀers these findings, recommendations
       for immediate action, and recommendations for long-term interventions in hopes for a
       more diverse and inclusive future for Harvard. The care, respect and thoughtfulness
       demonstrated by members of the Harvard community inspire us. And we are confident
       that Harvard has the resources, capacity, and talent to be an innovative world leader in
       this area. We therefore oﬀer this report as an ethical challenge and impetus for
       institutional action. In this critical moment, Harvard must commit and recommit itself to
       the practices that best reflect our institutional mission and ideals.




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JA4978
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            AsianAmericanandBlackPopulations:
                  ImplicationsforAdmissions
                                                    United States District Court
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              SATPerformanceData&Demographics
                Updatedinformation
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           
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               AsianAmericans




JA4979
                Context&Considerations


              BlackinAmerica
                                                                    Date Filed: 07/30/2020




                Discrimination&Impact
                                                                    Entry ID: 6356615




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              Providestatistics&datatogivecontextto
               thedemographics&experiencesofthe
                                                                          Document: 00117622242




               studentswemayseeinourpool
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                                                                                        NativeǦ
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                    White        Latino     MexǦAm     PR         Black      AAPI       Am
     Critical
     Reading           108,541      5,675     3,435 1,115            4,203     33,325       589
                                                                                                   Page: 548




JA4986
     Math              133,589 7,094          4,580 1,115            4,203 78,412           785
     Writing           100,191      5,675     2,290         836      4,203 39,206           490
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                    White    Latino    MexǦAm     PR         Black      AAPI       Am
     Critical
     Reading            50,096 2,838     1,145         557      2,101     17,643       294
                                                                                              Page: 549




JA4987
     Math               50,096 2,838     1,145         278      2,101 49,008           294
     Writing            41,746 1,418     1,145         278      2,101 21,563           196
                                                                                              Date Filed: 07/30/2020
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              Demographics,Identities&SocioeconomicCharacteristics
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                              18,205,898
                                                     5.8% of the total U.S. population




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          Chinese(notTaiwanese)                                                                                                              3,779,732
                           Filipino                                                                                                3,416,840
                            Indian                                                                                          3,183,063
                       Vietnamese                                                          1,737,433
                           Korean                                                          1,706,822
                         Japanese                                              1,304,286
         OtherAsian,notspecified                            623,761
                                                                                                                                                           Document: 00117622242




                         Pakistani                      409,163
                       Cambodian                    276,667
                           Hmong                    260,073
                              Thai                 237,583
                                                                                                                                                           Page: 557




JA4995
                           Laotian                 232,130
                        Taiwanese                  215,441
                      Bangladeshi             147,300
                          Burmese           100,200
                       Indonesian           95,270
                         Nepalese          59,490
                        SriLankan         45,381
                        Malaysian         26,179
                                                                                                                                                           Date Filed: 07/30/2020




                        Bhutanese         19,439
                        Mongolian         18,344
                        Okinawan          11,326
                      Singaporean         5,347

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            HugedifferencesbetweensubǦ
                                                                     Document: 00117622242




               groups
                    ƒ Culturalidentity
                                                                     Page: 558




JA4996
                    ƒ Socioeconomiccharacteristics
                                                                     Date Filed: 07/30/2020
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           Japanese                      4%
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JA5000
             Filipino                                  6.60%


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                NationalAverage   AsiansOverall          Cambodians   Hmong
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              Wemustbewearyofaggregateddata
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               forAsianAmericanstudentpopulations
              Honorthenuanceofbothidentityand
                                                                  Page: 567




JA5005
               context
              Askmorequestionsaboutthe
               compositionofAsianAmericanstudents
                                                                  Date Filed: 07/30/2020




               inourpoolandinouradmittedclasses
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                        StructuralInequities&RacializedExperiences




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                              42,020,743
                                                     13.6% of the total U.S. population




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                                                               Case: 19-2005




            Socioeconomiccharacteristics&
                                                               Document: 00117622242




               trends
                                                               Page: 571




JA5009
            Educationalinequities
                                                               Date Filed: 07/30/2020
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         $120,000.00

         $100,000.00
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          $40,000.00
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          $20,000.00

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Case: 19-2005   Document: 00117622242   Page: 573   Date Filed: 07/30/2020   Entry ID: 6356615




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Case: 19-2005   Document: 00117622242   Page: 576     Date Filed: 07/30/2020   Entry ID: 6356615




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                                        12th grade

                                                          8th grade



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Case: 19-2005   Document: 00117622242   Page: 577   Date Filed: 07/30/2020   Entry ID: 6356615




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Case: 19-2005   Document: 00117622242   Page: 579   Date Filed: 07/30/2020   Entry ID: 6356615




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Case: 19-2005   Document: 00117622242   Page: 580             Date Filed: 07/30/2020   Entry ID: 6356615




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Case: 19-2005   Document: 00117622242   Page: 581   Date Filed: 07/30/2020   Entry ID: 6356615




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              Pygmalioneffect
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                LoweredexpectationsÆlowerachievement
                                                                            Page: 582




JA5020
              Stereotypethreat
                FearofreinforcingnegativestereotypesÆ
                    compromisedperformance
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                         %ofAmericans* demonstratingantiǦBlackbias
                58

                56
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                54

                    52
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JA5021
                50                                         51.1%
                48            49.3%
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                                2008                         2010     2012

                          *RepresentativesampleofAmericanAdults
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                                        JA5025
                                                                     Case: 19-2005




           Nochallengehasbeenmoredauntingthan
           thatofimprovingtheacademicachievement
                                                                     Document: 00117622242




           ofAfricanAmericanstudents.Burdenedwith
           ahistorythatincludesthedenialof
                                                                     Page: 588




JA5026
           education,separateandunequaleducation,
           andrelegationtounsafe,substandard,innerǦ
           cityschools,thequestforqualityeducation
           remainsanelusivedreamfortheAfrican
                                                                     Date Filed: 07/30/2020




           Americancommunity.
                               ǦLadsonǦBillings
                                                                     Entry ID: 6356615




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              BlackstudentsintheU.S.haveavarietyof
               economic,social,andpsychologicalbarriers
                                                                        Document: 00117622242




               toovercomeinobtainingaqualityeducation
                                                                        Page: 589




           




JA5027
               Inaggregate,BlackstudentsintheU.S.have
               fewereducationalopportunitiesandsupports
              Regardlessofeconomicbackground,Black
               students’experiencesareimpactedbyracial
                                                                        Date Filed: 07/30/2020




               bias,bothexplicitandimplicit
                                                                        Entry ID: 6356615




     CONFIDENTIAL                                        HARV00013416

                                  DX019.0050
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                                        JA5028
                                                                                               Case: 19-2005




            http://iasp.brandeis.edu/pdfs/Author/shapiroǦthomasǦ
             m/racialwealthgapbrief.pdf
            http://www.pewsocialtrends.org/2013/08/22/50ǦyearsǦafterǦtheǦmarchǦonǦ
             washingtonǦmanyǦracialǦdividesǦremain/st_13Ǧ08Ǧ21_ss_raceinamerica_00/
                                                                                               Document: 00117622242




            http://www.documentcloud.org/documents/229044ǦachievementgapsǦ
             naep.html
            http://ase.tufts.edu/psychology/sommerslab/documents/raceinternortonsom
                                                                                               Page: 591




JA5029
             mers2011.pdf
            http://www.edtrust.org/sites/edtrust.org/files/TheStateofEducationforAfrican
             AmericanStudents_EdTrust_June2014.pdf
            http://www.aecf.org/m/resourcedoc/aecfǦracemattersEDUCATIONǦ2006.pdf
            http://civilrightsproject.ucla.edu/events/2013/summaryǦofǦnewǦresearchǦ
             closingǦtheǦschoolǦdisciplineǦgapǦresearchǦtoǦ
             policy/Research_Summary_Closing_the_School_Discipline_Gap.pdf
                                                                                               Date Filed: 07/30/2020




            http://civilrightsproject.ucla.edu/research/kǦ12Ǧeducation/integrationǦandǦ
             diversity/brownǦatǦ60ǦgreatǦprogressǦaǦlongǦretreatǦandǦanǦuncertainǦfuture
            http://joshpasek.com/wpǦcontent/uploads/2012/10/2012ǦVotingǦandǦ
             Racism.pdf
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     CONFIDENTIAL                                                               HARV00013418

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              http://cdn.americanprogress.org/wpǦ
               content/uploads/2014/03/AAPIǦreport.pdf
              http://www.pewsocialtrends.org/2012/06/19/theǦriseǦofǦasianǦ
                                                                                        Document: 00117622242




               americans/
              http://www.census.gov/prod/cen2010/briefs/c2010brǦ11.pdf
              https://www.insidehighered.com/news/2013/06/07/reportǦcallsǦ
                                                                                        Page: 592




JA5030
               endǦgroupingǦasianǦamericanǦstudentsǦoneǦcategory
              http://aapip.org/files/publication/files/2013_icount_report.pdf
              http://www.wtamu.edu/webres/File/Journals/MCJ/earp.pdf
              http://bmafunders.org/whyǦbma/
              http://www.pewsocialtrends.org/2011/07/26/wealthǦgapsǦriseǦ
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               toǦrecordǦhighsǦbetweenǦwhitesǦblacksǦhispanics/
              https://maps.google.com/gallery/details?id=z4fǦ
               ZuCLmiKg.k8nH90LT_JXg
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                                                                  United States District Court
                                                                   District of Massachusetts
  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                              DX 24                     HARV00018164
                                                            Case No.     1:14-cv-14176 (ADB)
                                                            Date Entered
                                                            By
                                                                          Deputy Clerk

                                               JA5031
                                               DX024.0001
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                                     Discussion guide to the 2012 casebook

                     All are admissable cases, but none is clear. Each folder contains information that gives pause
             and yet offers positive reasons to admit. They illustrate the perennial difficulty-philosophical as
             well as actual--of responding to individuals of merit, creating the overall mix of a Class, and trying
             to determine what seems best for each student ~.e., match with Harvard). The importance of essays,
             recommendations, objective data, and interviews is evident in these cases.



             1) Sergei Liukin (1 3+ 4 3)

             Appeal
                • Extremely bright student across academic fields with very strong faculty support
                • Real passion for learning; he would make the most of Harvard academics
                • School officials write (generally) very strong letters of recommendation
                • Has high aspirations to contribute to academia
                • Has done very well despite repeated moves and possible family upheaval (guidance
                    counselor mentions it, though it's not addressed elsewhere)
                • Strong interview report with good supporting details

             Pause factors
                • Active outside the classroom-a contributor in several areas-but not a bell ringer
                • Teacher 2 raises some serious PQ flags (not mentioned elsewhere) about intellectual
                    arrogance and Sergei's difficulties working with others who are less able than he
                • What ,viii his transition be like-from big fish in small pond to Harvard-and how will
                    Sergei interact with roommates, classmates, and administrators?

              Other information for your "committee"
                 • Area person called teacher 2 to find out more about Sergei's personal qualities; teacher stood
                     by his assessment and said that other teachers he's spoken with concur
                 • Teacher reaffirms Sergei's enormous intellectual potential but can't get 100% behind his case

                Action
                   • After several lengthy discussions, Sergei was placed on the wait list
                   • Sergei and alumni from his area wrote in to express his continued interested in Harvard and
                       his hopes to be admitted from the waitlist
                   • Sergei visited his area officer while in Boston visiting another school in April; officer met
                       with him and found him polite, pleasant enough, and a bit nervous
                   • Not admitted from waiting list




                                                                 1


   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                         HARV00018165




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                                     Discussion guide to the 2012 casebook

             2) Thomas Smith (2 2 4 2)
             Appeal
                • Bright student with several areas of academic interest
                • Harvard offers a lot for students interested in politics, community service, and religious
                    activities; Thomas would make the most of PBH, the IOP, etc.
                • Interested in public service law as a possible career-seems like whatever he does, Thomas
                    will continue his tradition of service to others
                • Has done well in spite of great family upheaval and financial difficulties
                • Student requested a fee waiver, which is generally a very good indicator of high financial
                    need; he may qualify for the Harvard Financial Aid Initiative
                • Myclassguides.com seems a good indicator of his self-starting personality
                • Teachers and guidance counselor tell us that Thomas is a real doer who makes a strong
                    impact when he gets involved with something

             Pause factors
                • We would like to know more about his note-selling business; would it be in violation of
                    Harvard's principles for academic integrity?
                • Academic and extracurricular accomplishment, while very strong, arc not unusual for us
                • Alumni interview report is not particularly helpful or well-done, though the alumnus seems
                    supportive
                • Alum calls him "mechanical" and "aggressive" without elaborating-what does he mean?

                Other information for your "committee"
                   • Area person called Thomas to find out more about his business. Thomas says he needed a
                       job that would allow him to help out around the house and watch his younger brothers. He
                       posted the outlines on the internet but didn't sell them (revenue came from ads), and the
                       service was not about finding answers to old exams online. He understands that colleges may
                       place greater restrictions on what he's able to do with notes and in study groups, and he
                       hopes to find a different job when on campus.
                   • Area person called interviewer to flesh out the "mechanical" and "aggressive" comments.
                       Over the phone, the interviewer gives a much stronger endorsement of Thomas' case than
                       the write-up suggests, and says he meant "aggressive" as a good thing: here's a young man
                       who creates his own opportunities and works hard to get things done. By "mechanical" he
                       meant "standard" with regard to his volunteer activities-not that Thomas doesn't care
                       about them or did them just to pad his resume.

                Action
                   • Admitted in April
                   • Enrolled




                                                                2



  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                         HARV00018166




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                                           Discussion guide to the 2012 casebook

                3) Melissa Guzman de Jesus (3+ 2 4 2)
                Appeal
                       •    Very bright Hispanic-American woman
                       •    Modest family background
                       •    Parents have no higher education and her guardian has a dental certificate; she has made the
                            most of her situation and excelled in school without much support from home
                       •    Melissa has balanced work, family, and school commitments well in high school; she seems
                            to have the drive and time-management skills to do very well at Harvard
                       •    The oldest of ten, Melissa's acceptance would mean a lot to her younger siblings and family
                       •    Visible and active in her local community
                       •    Wonderful support and interview

                Pause factors
                   •       Her essay gives pause. Did she write it for shock value? Does she really believe all of the
                           things that she has said in her essay? Is she naive?
                   •       Pre-med will be an adjustment for her, though her academic credentials are strong and she
                           has the work ethic to do it
                   •       Her extracurricular niche at Harvard is not clear, though she has many interests she could
                           pursue on-campus and off

                Other information for your "committee"
                   • Interviewers are few where Melissa lives, and scheduling one was difficult for her because
                       her religious beliefs and community commitments keep her busy or unable to interview all
                       weekend. Thus, she moved throughout most of the process without a face-to-face interview
                       until the very end.
                   •       An alumnus and the area person conducted phone interviews with Melissa. Both saw
                           enormous personal appeal and academic substance, but the Committee was hesitant to move
                           forward without a face-to-face interview.
                   •       Area person spoke with Melissa about her essay on the phone. Melissa did not retract her
                           statements; she believed her friend's statements and affirmed her commitment to helping
                           others in similar situations.
                   •       Area person called school counselor and both teachers to find out more about Melissa. All
                           raved about her (as they did in their letters), and her guidance counselor added that Melissa
                           wrote her essay on her own, and that it wasn't passed to her for editing (as some students
                           do). She understood how it would raise some eyebrows, but stands firmly by her conviction
                           that Melissa is a wonderful prospect for Harvard.
                   •       Area person eventually got in touch with an alumnus who did the very thorough face-to-face
                           interview included in the write-up.

              Action
                   •       Interview arrived at the very last minute; Melissa was the last case admitted before letters
                           went out in April
                  •        Enrolled




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  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                HARV00018167




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                                   Discussion guide to the 2012 casebook


             4) Giang Nguyen (3 2 6 2)
             Appeal
                • Very bright Vietnamese-American woman with compelling family history
                • Modest family background; likely to benefit from our Financial Aid Initiative
                • Important family responsibilities
                • Blue-collar/no-college background; Giang seems to have done well without much help from
                    her parents or other relatives
                • Public school in the heart of a major American city; her acceptance would resonate well in
                    thelocalcorrununity
                • Wonderful support
                • Interview (even though it is not particularly well done and has inflated ratings) sheds light on
                    Giang's important family responsibilities, which we don't learn about elsewhere

             Pause factors
                • Her extracurricular niche is unclear, especially because she has not had time to pursue much
                    outside of a few academic activities
                • Giang's application does not tell us much about her, though we learn of her family's
                    struggles to come to the US and do well (and, by extension, we learn about her values and
                    life history)
                • ACT score is modest-but ACT scores do not correlate nearly as strongly with future
                    academic performance as SAT II scores do, and those are quite strong
                • Pre-med will be an adjustment for her, though her chemistry and math scores are
                    encouraging

             Action
                • Admitted in April
                • Enrolled




                                                               4



  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                         HARV00018168




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                                   Discussion guide to the 2012 casebook

             5) Evelyn Satmar (2 2- 3 2)                                                      / I - ;;L
             Appeal
                • Very bright, active, appealing personality: a classic "well rounded case"
                • Interesting family background, which she writes about and seems interested in sharing
                • Charming essay that gives us a sense of her personality (though it was not universally liked
                    by the committee members!)
                • Teachers and guidance counselors write extensively about her strong personal qualities
                • Strong (though not especially well done or helpfully written) interview; clearly the alum
                    interviewer liked her and saw the same person as the rccomrnenders

              Pause factors
                 • While a strong overall candidate, Evelyn's credentials are not unusual in our applicant pool
                 • She lists swimming and diving as her preferred activity, though her level of talent is probably
                     not at our varsity level: what, exactly, will she do at Harvard?
                 • Her extracurricular niche at Harvard is not clear, though she has many interests she could
                     pursue on-campus and off

              Action
                 • Discussed extensively in subcommittee and full committee meetings
                 • In and out of the class
                 • Waitlisted
                 • Admitted from waiting list
                 • Enrolled




                                                                5


   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                        HARV00018169




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                                   Discussion guide to the 2012 casebook

                 6) Megan Turner (2- 2 3 3+)

                Additional Information
                   • Admissions Officer called Teacher #3 to flesh out negative recommendation. Professor
                       stood by his assessment of Megan, her ad hominum comments, and her "small-town"
                       insecurity. However, the Professor suggested that Officer call the young woman who
                       was a teaching assistant for the course.
                   • Admissions Officer called the teaching assistant. She had a very different point of view
                       about Megan. She explained that the whole seminar had started off making points using
                       more personal arguments and she could see how someone else might have construed
                       them as "ad hominum." She, however, viewed them as immature or not very developed
                       arguments. She sat the seminar down and worked with them on developing a new style
                       of arguing. Megan was among those who were most responsive and worked hardest at
                       improving her style of making a point. As to Megan's choice of colleges, the teaching
                       assistant admitted that at the start of the summer, Megan had asserted that she wanted to
                       go to Harvard but had not really thought it through. During the course of the summer,
                       she pushed Megan to really consider her college choices, and by the end of the summer,
                       Megan had really coherent arguments for why Harvard most suited her own interests.
                       As to possible negative comments about her family, the teaching assistant said she had
                       only heard positive things. The only thing she remembered that might be construed
                       differently was that Megan once explained that it was sometimes hard for her to explain
                       to her family why really wanted new experiences, as they tended to be home-bodies and
                       to not want to leave their home-state. As to Megan's ability to fit in at Harvard and be a
                       positive influence, the teaching assistant felt that she would be a wonderful addition.
                   • Admissions Officer also called the school guidance counselor to follow up on Megan's
                       personal qualities. Guidance counselor had nothing but praise and insisted that she had
                       never heard Megan be arrogant or dismissive of another student.

                 Appeal
                    • Native American and Caucasian young woman from rural area of a Mountain States.
                    • Very bright and very active.
                    • School leader. School would never understand if this student were not admitted.
                    • School backs her extremely strongly for academics, leadership, and personal qualities.
                    • Would have lots of niches at Harvard and Harvard would provide her with a much-
                        needed outlet for all of her many energies.
                    • Megan has experienced set-backs in her life and appears to have dealt with them well.

                 Pause factors
                    • Own essays very well-written but can come across as very negative and dismissive of her
                        high school context. Some readers may even find them slightly arrogant.
                    • Third teacher recommendation raises flags about her personal qualities, her ability to
                        interact with peers, and her "brightness." (TR3 also makes vast generalizations that
                        "committee" may want to flesh out.)
                    • Big fish in a small pond?
                    • What will Megan be like as a roommate?



                                                              6



  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                        HARV00018170




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                                 Discussion guide to the 2012 casebook

                Action
                   • Admissions Officer made various phone-calls after sub-committee discussion and
                       presented information gathered to the full admissions committee.
                   • After many hours of debate, the student was admitted.
                   • Student matriculated at Harvard College.




                                                          7


  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                             HARV00018171




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                                        Discussion guide to the 2012 casebook

                7) Tracey Eckham (3+ 3 1 3)
                Appeal
                   •     One of the top female recruits for women's crew.
                   •     Good scores.
                   •     Many interests outside of academics and crew per activities list.
                   •     Strong academic preparation and challenging curriculum.

                Pause factors
                   •     Essay makes her sound driven and, at times, unhappy ("how unhappy I was," "endure,"
                         etc.).
                   •     Letters refer to her as a bit of a loner ("lone wolf'') and quite driven; letter from crew coach
                         even suggests that she may be depressed and is withdrawn at times.
                   •     Personal qualities very hard to assess-who is Tracey Eckham?
                   •     Interview certainly doesn't help us with her personal qualities and doesn't make her sound
                         particularly passionate about anything.
                   •     Grades should be better given scores.

                Action
                   •     Was wait-listed in April.
                   •     Not admitted from the waiting list.




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  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                HARV00018172




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                                             Discussion guide to the 2012 casebook

                8) Mandisi Botlhoko (3 8 2 2)

                Appeal
                      •    Extremely deserving student who values education above all else
                      •    Inherently very bright; impressive SAT II results despite substandard K-10 education
                      •    Obvious desire and ability to use his education in a way that positively affects others in need;
                           already strong evidence that he has done this and will continue to do so his whole life
                      •    Unusual maturity, resilience and perspective-he will have a real impact on classmates
                      •    Might be able to contribute to our cross-country/ track team
                      •    Interview by experienced staff member sees him as special and worth any potential risk

                Pause Factors
                      •    Lower SAT I scores raise concern about English language proficiency. Student is certainly
                           less well-read in English than other successful applicants, and essays are a bit awkward.
                      •    While the package is appealing, the case lacks the "hook" provided by a special academic or
                           extracurricular talent. Not clear whether his running will translate to college competition.
                   •       Adjustment to U.S. and complicated, fast-paced college environment might be challenging

                Other information for your "committee"
                   •       Mandisi's IB math exam didn't go as well as predicted. The admissions officer wrote to the
                           counselor to see if there were extenuating circumstances. The counselor responded:
                                     ''I have gotten to know Mandisi even better this term as he is actual/y volunteering here at school in
                           his mini gap year as he waits to hearfrom his US colleges. He has been extreme/y helpful in our office. He
                           continues to ooze humili!J and gentle humour and is one ef the highest scorers ever in that 'reaction to
                           setbacks' tick box.
                                    His sister hasjust passed awqy, which at her tender age normal/y means one thing. The Botlhoko
                          fami/y had no wqy of affording the funeral expenses, the boc/y was impounded l?J the morgue until ourfacul(y
                           raisedfunds to pqy far a cojjin, etc. He was back at work the next dqy and appears to be coping remarkab/y
                           well. I asked him wf?y he didn't do as well in Maths earh'er in the term. At the time his mother was very
                           sick and had returned to herfami(y home. (His father diedyears ago). This left Mandisi as the head ofthe
                           househo!d--he does have older brothers but thry are drunkards-and around the time o/ his I\1aths exam he
                           was inundated with calls and demands from the extendedfami/y back home. He hasn't used this as an
                          excuse, however, and I would not have known about this if I hadn't asked.
                                    All of our previous, successful applicants in my time have done remarkab/y well, faced hardship, etc.
                          but I think all came from professional (if still poor) families. Mandisi; I fie/, and asyou have identified, has
                          come even further. He is certain/y worth investing in, and we can all count on his using his education to the
                          great benefit o/ ma,ry others. "
                  •       This school really uses the grid which can be much more helpful than simply checking all to
                          one side or not checking any boxes at all.
                  •       Note that while Mandisi only lists one brother on his application, he comes from an
                          extended African family with half-siblings from multiple mothers, many cousins, etc.

              Action
                  •       After long discussion, Mandisi is accepted. He will be roomed and advised carefully. Special
                          care will be taken in assigning him to a host family.



                                                                            9


  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                  HARV00018173




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                                     Discussion guide to the 2012 casebook

                9) Carrie Miller (3 2 6 3+)

                Appeal
                   • Filmmaking skills really stand out-at least before we get the faculty reading
                   • Impressive resilience with SID
                   • She writes enthusiastically about her interests

                Pause Factors
                   • Scores not as high as we might hope with all A grades-though counselor gives us some
                      explanation for them
                   • Why did Carrie think her first interview went so poorly? The interviewer clearly enjoyed
                      meeting with her.

                Other information for your "committee"
                   • Carrie's film was sent to a faculty member in Visual and Environmental Studies for review.
                       The professor wrote: "Carrie Miller's film was engaging as I learned something, however dry.
                       I applaud her interest in finding inspiration from political injustices. Good grades. Good
                       recommendations and press." (Ranked 3'd out of 4 films reviewed by that professor.)

                Action
                   • Was waitlisted and then not admitted




                                                                10


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                                     Discussion guide to the 2012 casebook

              10)      Grace Blake Cheng (3 2+ 31)

              Appeal
                 • Unusually appealing personal qualities echoed throughout the entire application. Grace's
                     teachers, guidance counselor, and alumni interviewer describe her in terms we rarely read. A
                     true "1 personal"-one of the few we see each year.
                 • Grace has engaged substantially with various communities (school, housing co-operative,
                     local, state) in meaningful ways.
                 • From a very modest socioeconomic and ethnic background that we also don't see often in
                     our student body. She would bring a unique life experience to Harvard, and she seems eager
                     to share her story and learn about others in the process.

                Pause Factors
                   • While a strong student in her high school, Grace's test scores suggest that she won't be a top
                      engineering student at Harvard. She will have to work hard here (like most students!).

                Other information for your "committee"
                   • This case, unlike most in the casebook, is a "clear admit." We include it because it shows
                       the importance that non-academic and non-extracurricular factors in our process (in this
                       case, unusually compelling personal qualities and school praise).

                Action
                   • Grace's case was a compelling one upon first read, but the alumni interview report
                       confirmed to the admissions committee that she was a truly special personal in many ways.
                       The committee sent her a "likely letter'' in February to show its enthusiasm for her case.
                   • Accepted and enrolled




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                                     Discussion guide to the 2012 casebook

                11)     Peter Duran (2 3+ 4 3+)

                Appeal
                  • Very strong student who would do well in our engineering or science concentrations.
                  • Peter's mixed-race background is underrepresented at elite colleges~and is a growing
                       demographic in the United States.
                  • Strong interest in robotics; he could do that in the School of Engineering or 1\pplied
                       Sciences.
                  • Writes about the importance of education in his family and life; we get the sense that he
                      would make good use of his time at Harvard (though that does not make him unique).

                Pause Factors
                   • Certainly a strong student, but-believe it or not!-not unusually strong in Harvard's
                      applicant pool. Nothing here elevates Peter into the "1 academic" circle.
                   • Extracurricular accomplishments are mode modest compared to many of our other
                      applicants. Do we get the sense that he would fall in love with his concentration-or more
                      academic extra-curricular activities (such as robotics)---enough for him to contribute
                      meaningfully here?

                Other information for your "committee"
                   • What do people think of the interview report? Where might it have been improved? (Point
                       to lack of detail in the extracurricular section. What other things is Peter interested in?
                       Sometimes it's as valuable for us to know what he wants to do in college as what he did in
                       high school.)

                Action
                   • Discussed in subcommittee and full committee. Not admitted.




                                                                12


  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                         HARV00018176




                                                           JA5043
                                                           DX024.0013
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                                                             United States District Court
                                                              District of Massachusetts

                                                                     DX 25
                                                       Case No.     1:14-cv-14176 (ADB)
                                                       Date Entered
                                                       By
                                                                     Deputy Clerk

                                        JA5044
                                        DX025.0001
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                                        JA5045
                                        DX025.0002
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                                        JA5046
                                        DX025.0003
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                                        JA5047
                                        DX025.0004
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                                        JA5048
                                        DX025.0005
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                                        JA5049
                                        DX025.0006
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                                        JA5050
                                        DX025.0007
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                                        JA5051
                                        DX025.0008
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                                        JA5052
                                        DX025.0009
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                                        JA5053
                                        DX025.0010
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                                        JA5054
                                        DX025.0011
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                                        JA5055
                                        DX025.0012
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                                        JA5056
                                        DX025.0013
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                                        JA5057
                                        DX025.0014
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                                        JA5058
                                        DX025.0015
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                                        JA5059
                                        DX025.0016
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                                        JA5060
                                        DX025.0017
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                                        JA5061
                                        DX025.0018
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                                        JA5062
                                        DX025.0019
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                                        JA5063
                                        DX025.0020
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                                        JA5064
                                        DX025.0021
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                                        JA5065
                                        DX025.0022
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                                        JA5066
                                        DX025.0023
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                                        JA5067
                                        DX025.0024
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                                        JA5068
                                        DX025.0025
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                                        JA5069
                                        DX025.0026
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                                        JA5070
                                        DX025.0027
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                                        JA5071
                                        DX025.0028
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                                        JA5072
                                        DX025.0029
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                                        JA5073
                                        DX025.0030
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                                        JA5074
                                        DX025.0031
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                                        JA5075
                                        DX025.0032
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                                        JA5076
                                        DX025.0033
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                                        JA5077
                                        DX025.0034
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                                        JA5078
                                        DX025.0035
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                                        JA5079
                                        DX025.0036
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                                        JA5080
                                        DX025.0037
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                                        JA5081
                                        DX025.0038
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                                        JA5082
                                        DX025.0039
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                                        JA5083
                                        DX025.0040
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                                        JA5084
                                        DX025.0041
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                                        JA5085
                                        DX025.0042
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                                        JA5086
                                        DX025.0043
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                                        JA5087
                                        DX025.0044
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                                        JA5088
                                        DX025.0045
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                                        JA5089
                                        DX025.0046
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                                        JA5090
                                        DX025.0047
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                                        JA5091
                                        DX025.0048
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                                        JA5092
                                        DX025.0049
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                                        JA5093
                                        DX025.0050
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                                        JA5094
                                        DX025.0051
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                                        JA5095
                                        DX025.0052
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                                        JA5096
                                        DX025.0053
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                                        JA5097
                                        DX025.0054
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                                        JA5098
                                        DX025.0055
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                                        JA5099
                                        DX025.0056
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                                        JA5100
                                        DX025.0057
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                                        JA5101
                                        DX025.0058
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                                        JA5102
                                        DX025.0059
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                                        JA5103
                                        DX025.0060
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                                        JA5104
                                        DX025.0061
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                                        JA5105
                                        DX025.0062
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                                        JA5106
                                        DX025.0063
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                                        JA5107
                                        DX025.0064
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                                        JA5108
                                        DX025.0065
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                                        JA5109
                                        DX025.0066
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                                        JA5110
                                        DX025.0067
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                                        JA5111
                                        DX025.0068
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                                        JA5112
                                        DX025.0069
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                                        JA5113
                                        DX025.0070
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                                        JA5114
                                        DX025.0071
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                                        JA5115
                                        DX025.0072
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                                        JA5116
                                        DX025.0073
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                                        JA5117
                                        DX025.0074
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                                        JA5118
                                        DX025.0075
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                                        JA5119
                                        DX025.0076
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                                        JA5120
                                        DX025.0077
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                                        JA5121
                                        DX025.0078
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                                        JA5122
                                        DX025.0079
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                                        JA5123
                                        DX025.0080
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                                        JA5124
                                        DX025.0081
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                                        JA5125
                                        DX025.0082
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                                        JA5126
                                        DX025.0083
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                                        JA5127
                                        DX025.0084
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                                        JA5128
                                        DX025.0085
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                                        JA5129
                                        DX025.0086
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                                        JA5130
                                        DX025.0087
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                                        JA5131
                                        DX025.0088
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                                        JA5132
                                        DX025.0089
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                                        JA5133
                                        DX025.0090
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                                        JA5134
                                        DX025.0091
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                                        JA5135
                                        DX025.0092
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                                        JA5136
                                        DX025.0093
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                                        JA5137
                                        DX025.0094
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                                        JA5138
                                        DX025.0095
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                                        JA5139
                                        DX025.0096
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                                        JA5140
                                        DX025.0097
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                                        JA5141
                                        DX025.0098
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                                        JA5142
                                        DX025.0099
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                                        JA5143
                                        DX025.0100
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                                        JA5144
                                        DX025.0101
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                                        JA5145
                                        DX025.0102
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                                        JA5146
                                        DX025.0103
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                                        JA5147
                                        DX025.0104
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                                        JA5148
                                        DX025.0105
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                                        JA5149
                                        DX025.0106
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                                        JA5150
                                        DX025.0107
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                                        JA5151
                                        DX025.0108
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                                        JA5152
                                        DX025.0109
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                                        JA5153
                                        DX025.0110
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                                        JA5154
                                        DX025.0111
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                                        JA5155
                                        DX025.0112
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                                        JA5156
                                        DX025.0113
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                                        JA5157
                                        DX025.0114
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                                        JA5158
                                        DX025.0115
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                                        JA5159
                                        DX025.0116
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                                        JA5160
                                        DX025.0117
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                                        JA5161
                                        DX025.0118
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                                        JA5162
                                        DX025.0119
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                                        JA5163
                                        DX025.0120
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                                        JA5164
                                        DX025.0121
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                                        JA5165
                                        DX025.0122
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                                        JA5166
                                        DX025.0123
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                                        JA5167
                                        DX025.0124
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                                        JA5168
                                        DX025.0125
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                                        JA5169
                                        DX025.0126
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                                        JA5170
                                        DX025.0127
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                                        JA5171
                                        DX025.0128
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                                        JA5172
                                        DX025.0129
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                                        JA5173
                                        DX025.0130
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                                        JA5174
                                        DX025.0131
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                                        JA5175
                                        DX025.0132
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                                        JA5176
                                        DX025.0133
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                                        JA5177
                                        DX025.0134
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                                        JA5178
                                        DX025.0135
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                                        JA5179
                                        DX025.0136
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                                        JA5180
                                        DX025.0137
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                                        JA5181
                                        DX025.0138
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                                        JA5182
                                        DX025.0139
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                                        JA5183
                                        DX025.0140
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                                        JA5184
                                        DX025.0141
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                                        JA5185
                                        DX025.0142
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                                        JA5186
                                        DX025.0143
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                                                            United States District Court
                                                             District of Massachusetts

                                                                    DX 26
                                                      Case No.     1:14-cv-14176 (ADB)
                                                      Date Entered
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                                        JA5205
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                                         INTEREST OF'AMICI CURIAE1
                              Brown UniYersity, University of Chicago, Colum-
                         bia Univen-:ity, Cornell L niversity, Dartmouth College,
                         Duke l~niversity, Harvard University, .Johns Hopkins
                         University, Massachusetts Institute of Technology,
                         Univen,ity of Pennsylvania, Princeton University,
                         Stanford Uniwrsity, Vanderbilt University, and Yale
                         University submit this brief as amici curiae in support
                         of respondents. Amici have long used admissions poli-
                         cies similar to the Harrnrcl Plan that .Justice Powell ap-
                         prnved in Regeril~ u/ Ullicer~ily uf Cal~(urniu v. Bakke,
                         4~8 U.S. 2G5 (1978), and the University of Michigan
                         Law School plan this Court upheld in Gruttwr v. Bolli11-
                         yer·, Fi:19U.S. ;l()fi (200:~). Amici aeeortlingly have sub-
                         stantial experience with admissions policies that con-
                         side1· all aspeets of an applicant',; background and ex-
                         perience, including in some circumstances the appli-
                         eant's raeial or ethnie baekgrnuncl.
                              Although Amici differ in many ways, they speak
                         ,vith one voice to the profound importance of a diYerse
                         student body-inducling      raeial cliYe1·sity-for their
                         educational missions. Amici seek to provide their stu-
                         dents \\ iLh the most 1·igorous, sLimulaLing, and enrieh-
                         ing educational environment, in which ideas are tested
                         and debated from every perspective. They also seek to
                         prepare active citizens and leade1·s in all fields of human
                         endeavor. Although all Amici have highly selective
                         admissions criteria designed to ensm·e that all of their

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                         with the Clerk of the Court. Ko counsel for a party authol'ed this
                         bril'f in whole• or in part. and no pPr~on, otlwr than amid m· thPir
                         cuun~el, made any moneta1·y contribution tu the preparation or
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                         student,; (including minority students) will be prepared
                         for demanding coursework and ,Yill graduate success-
                         fully, they all recog11izecllong ago that admissions by
                         purely numerical factors such as gracle-point ayerages
                         and standardized test scores would nut effectively ac-
                         complish their broader educational missions.
                              Amici thc1·eforc examine all aspects of individual
                         applicants tu assess potential for both extraordinary
                         achievement and contl'ibution to the univel'Sity's learn-
                         ing environment. This holistic review is necessary in
                         light of Arnici's rnis,;ions and role~. 1-<]ach
                                                                       include,; un-
                         dergraduate. gntduate, and professional schools. All
                         draw applicants from around the nation and the world.
                         All emphasize collaborative research, teaching, and
                         learning. And all are residentially based communities
                         ,vhere learning takes place not just from faculty but
                         also in the broad range of students' interactions ,vith
                         thci1· peers, in the classroom, ancl in many other set-
                         tings.
                              In Amici's experierwe, a cli\'erse sludenL bucly adds
                         significantly to the rigor and depth of students' educa-
                         tional experience. Diversity encourages students tu
                         que,;tion their mvn a,;surnptions, to test recei,-erl truth,;,
                         and to appreciate the spectacular complexity of the
                         modern world. This larger understanding prepm·es
                         Amici's gracluatec: to be acti\'e and engaged citizens
                         wrestling with the p1·essing challenges of the clay, to
                         pursue ilmovation in every field of discovery, and to
                         expand humanity's learning and accomplishment.
                             Amici have relied on Bakkr and Grnttrr in shaping
                         admissions policies designed to achieve these goals. A
                         c1etision questioning or repudiating the prirn:iples in
                         thoEe cases could significantly impair Amici'E ability to
                         achieve their educational missions. Although Amici are




                                                                                              HARV00018908




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                         priYate institutions, they are cognizant that Title VI of
                         the CiYil Rights Ad of Hl64 forbids institutions that
                         receive federal funds from engaging in racial "discrimi-
                         nation," and so their ongoing efforts to attain diYerse
                         student bodies c:ouldbe c:umprumised by ne,v limits thi~
                         Court might place on state university admissions pro-
                         c:edures. Ami<:iac:c:01·dinglyurge Lhe CuurL LoinLerpreL
                         the Constitution, consistent vYithBakke and Gruttcr, to
                         continue to allow educational institutions to structure
                         admissions programs that take account of race and eth-
                         nicity as single factors within a highly indiviclualizec1.
                         holistic 1·evie,v process.

                                       SUl\U\ilAHY OF ARGUMENT
                              This Court held in Gr1.lftrr that cli\-ersity in higher
                         education, of which ntce and ethnicity may be compo-
                         nents, is a compelling government interest. This Court
                         also held that the Constitution rloes not require a uni-
                         versity to ehoose between ac:ademie selectivity and di-
                         versity, and thus does not rec1uire a university to use
                         meehanistie, ostensibly race-neutral admissions plans
                         as its means uf ubtaining a diverse student body. Peti-
                         tioner here does not challenge either of those holrlings,
                         whic:h remain of exc:eplional irnvurlanc:e. UniversiLie~
                         continue to haye a compelling interest in ensuring that
                         their student bodies reflect a robust diversity that en-
                         ables them to offer a leaming environment that en-
                         riches the educational experience for all students and
                         also prepares them to be aetive, capable citizen,,; and
                         leaders in a complex and heterogeneous nation and
                         \Vorlcl. A constitutional rule that universities may
                         achieve such diversity only through the use of mecha-
                         nistic policies would not only be unworkable for Amici
                         institutions but would be fundamentally ineompatible
                         wiLh Amici's educational missions. This Court accord-




                                                                                             HARV00018909




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                                                      4
                         ingly should rnke pains not to disturb, indeed should
                         emphatically reaffirm, those core holdings of Gmtter·.
                             The arguments petitionee does make in challenging
                         the admissions policy of the University of Texas ("UT'')
                         ,voulcl h1:wethis Court depart sig11ificantly from its set-
                         tled equal protection jurisprudence.     Amici write to
                         emphasize three conspicuous enors in petitioner's un-
                         dentanding of strict scrutiny.
                              Firsl, Lhe decisiou in Gruller, noL Lhe various opin-
                         ions in Parr,,1ts hmnlvr,d in. C'nmm unity Sdwnls v . .'.('-
                         attfe Schoof District Yo. 1, 551 U.S. 701 (2007), supplies
                         the ,1pprnp1·iate framework for reviewing race-
                         consciou3 university aclmissions policies. Parents In-
                         voloed mklres,;ed student assignment policies markedly
                         different from holistic review. The Court emphasized
                         in Parerdii Irwolced that the policies at issue were
                         structured such that race vrns effectively the entire
                         classification; the policies employed race in a mechanis-
                         tic, binary fashion; and the policies called for no imli-
                         vidualized consicleralion of any other aspects of a stu-
                         dent. Both the majority opinion and the concurring
                         opinion of Justice Kennedy therefore drew a sharp dis-
                         tinction hetween the policies at issue in T'arrnts Jn-
                         voloecl and those approyed in Grutter.
                              Second, petitioner's understanding of the scope and
                         nature of the educational benefits of diversity is deeply
                         flawed. This Court recog11izec1in Grnttrr that one as-
                         pect of the mission of many uniYersities is training fu-
                         ture citizens and leadern for a heterogeneous society,
                         and that diversity is vital to that objectiw. Petitioner's
                         claim (at 2fi) that diyersity is exclusiYely an "inward-
                         facing" l:Oucepl misumlerslamls oolh prel:edenl aml lhe
                         educational mission of many universities, including
                         Amici. Petitioner's related contention-that      any con-




                                                                                            HARV00018910




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                                                      6

                         sideration by a uniYersity of demographics in assessing
                         diversity amounts to 1-a<.:ialbalaneing-is equally mis-
                         placed. When a mlivernity considers which applicants
                         vvill best contribute to a vibrant learning e1wironment
                         intended to prepare citizens and leaders fur a hetero-
                         geneous society in which race remains a salient social
                         factor, Lhe uni versiLy need nol ignore Lhe comrnuniLies
                         from which its students come and into which its stu-
                         dents will graduate, whether it be a single state, the
                         nation, or the world.
                              Thirrl, contrary to pPtitionPr's contPntion, thif.
                         Coul't has never applied a strong-basis-in-evidence
                         standard to race-conscious university admissions, and it
                         should not do so now. This Court has applied that
                         standard in the public cuntracting and employment con-
                         texts, ,vhere race was the predominant consideration in
                         measure;, ostensibly taken to 1·emedy histurical dis-
                         crimination or to avoid claims of discrimination. Those
                         settings have nothing to do ,vith the consideration of
                         1·ace and ethnicity as single aspects of individualized
                         revie,,- in higher education. The application of such a
                         stamlard to higher education vvoulclseriously impair a
                         uniwrsity's ability to use its educational judgment and
                         expforience, dfovfoloperlovfor decadfos, in dfociding which
                         students to admit. Educational judgment and expel'i-
                         ence are fundamental components of a university's aca-
                         demic freedom, proteeted by the Fil'st Amendment.
                         Petitioner's proposed standanl, moreover, c:uuld have a
                         particularly significant impact on Amici: Given the
                         large number of c1ualified applicants to whom eac:h in-
                         stitution must deny admission every year ancl the non-
                         quanLifiable aspecls of indiYidualized, holistic review, it
                         ,voulcl invite significant litigation and judicial intrusion
                         into university aclmissions processes ancl decisions.




                                                                                            HARV00018911




                                                JA5216
                                               DX026.0012
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                                                      {_j

                                               ARGUMENT

                         I.   THIS Cm;RT SHOULD REAFFIRM GRUTTER'S CORE
                              HOLDINGS THAT DIVERSITY IS A COMPELLING INTER-
                              EST AND THAT UNIVERSITIES MAY PURSUE DIVERSITY
                              WITHOUT RELYING UPON OSTENSIBLY RACE-NEUTRAL
                              ALTERNATIVES THAT WOULD UNDERMINE OTHER IM-
                              PORTANT ASPECTS OF A UNIVERSITY'S MISSION

                              A. Diversity Remains A Compelling Educational
                                 Interest For Amici Institutions
                              Jm:ti<.:ePowell recog11ized in Regent.s of U11i1·er.sity
                         of Califonn:o v. Bakke, 4:l8 CS. 2G5 (HH8), and this
                         Court held unequivoc:ally in Grutter Y. Boll iuger, 639
                         U.S. 30fi, 328 (2003). that universities "ha[ve] a compel-
                         ling interest in attaining a diverse student body." The
                         Coul't in Grntter further umlerscored that the educa-
                         tional benefits of clive1·sity are "substantial" and "nut
                         theoretical but real." !cl. at 330. The,;e are points tu
                         ,vhich Amici can attest without qualification. Deeacles
                         of experience \Vith admissions policies based on the
                         Harvard Plan, Bakke, and Grlltter have convinced them
                         that the qmility of their students' education is greatly
                         enriched if the student body is diverse in many ,vays-
                         including rncial and ethnic diven,ity. Diven,ity ew:uur-
                         ages students to question their assumptions, to under-
                         stand that wisdom and contributions to society may be
                         found where not expected, ancl to gain an appreciation
                         of the complexity of the modern world. In these ways,
                         diversity bolsters the unique role uf higher education in
                         "preparing students for work and citizenship'' and
                         training "our ~ ation's leaders" for success in a hetero-
                         geneous society. Id. at 331, 332; .S('ePar('nfs lnl'Ol1!ed
                         in Com mnni:ty Sr:hool.~Y. Serdf/(' Sr:hool f)istrirt /Vo. 1,
                         551 U.S. 701. 783 (2007) ("Diversity ... is a compelling
                         educational goal that a school district may pursue.")




                                                                                            HARV00018912




                                               JA5217
                                               DX026.0013
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                                                              7

                         (Kennedy, ,J., concurring in part and concurring in the
                         judgment).
                               Petitioner does not ask this Court to abandon Grnt-
                         ter';; holding on this score. See, e.y., Pet. Br. 26 ("Grut-
                         tcr ... permits race to be used as a fa<:tm·in admissions
                         decisions to obtain a 'critical mass' of othenvise under-
                         1·eprescntcd minority students for educational rea-
                         sons."); .JA74a. That acknowle(lgment is exceptionally
                         important to Amici. The admissions polic.:iesof Amici
                         \-ary somewhat, but each is ffrmly committed to incli-
                         vidualizPd, holistic rPviP,v of thP typP long approvPd of
                         by this Court. 2 In deciding which students to admit.
                         Amici consider all aspects of their applicants both as
                         individuals and also in relation to other potential mem-
                         ben; of the inc.:omingclass. That review is intended to
                         produce a student body that is talentecl and diverse in
                         many ,i\-ays, including in intellectual intel'ests, geogra-
                         phy, socio-economic status, background ancl experience
                         (including rnce and ethnicity), pel'Spec.:tive, and areas of
                         uccomplishmen t.
                              1. In pursuing an academically excellent and
                         broadly diverse student body, Amici do not place dispo-
                         sitivP wPight on objPctivP numerical measurPs surh as

                               2 Sec Gnrtt<:r, ,-;39CS. at :i37 !upholding admissions policy be-

                         cause the Law School "engages in a highly incliviclualizecl.holistic
                         l't!Ykw of ead1 ,1pplkant·~ fill!"); Gm,z v. Ho/li'/1.1/l"I',s:10 C.S. 21'1,
                         271 (2003) Iidentifying constitutional dee in undergrnduate admis-
                         sion~ n~ tlw absl~nee of "individualizt!d considc,ration"); id. at 27fi
                         (O'Conno1·,J., concurring) (flaw in undergraduate admissions was a
                         lack of ·'meaningful incliddualizl'd 1·0,·ic•w of applicants"); H11kke,
                         438 l:'.S. at 315 (Povvell, J.) ("The diversity that furthers a compel-
                         ling ~tak inkrl'~t encornpa~~t·~ a far brnadl'r al'ray of qm1lifka-
                         tiuns and drnrncteristit:s of which rncial or ethnic origin is but a
                         sing!,• l hough import.ant el,•tm•nL.").




                                                                                                           HARV00018913




                                                      JA5218
                                                     DX026.0014
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                         GI' A anrl SAT scores. Cert;iinly, Amici seek students
                         ,vho have the potential to succeed at demanding
                         coursework, but each institution's applicant pool in-
                         cludes many more academically strong candidates than
                         the institution could hope to admit, and even the high-
                         est GPA or SAT scores by no means guarantee admis-
                         sion.' Thus, in addiLion Lo seeking sLudenls who are
                         qualified, each institution also looks to compose a stu-
                         dent body that i,: exceptional, complementary, and cli-
                         verne in many ways. In senice of this goal, each insti-
                         tution seeks, and i1wites applicants to submit, any rele-
                         vant infot·mation about their experiences, accomplish-
                         ments, and background to understand hmv the appli-
                         cant might contribute to the vibrancy of the student
                         body. The individualized, holistic reviev,- processes em-
                         ployed by Amici are not ways of ranking candiclatef.
                         from "strong"' to ''\veak" but instead means to assemble
                         an excevlional undergracluale communily Lhal ex.poses


                               ' Amici'A focuA on factorA beyond objecth-e qualifications re-
                         flects both their educational philosophy and the strength of their
                         applkant pool~. J,'or example, in thl' J11(1~t   l'CCl'.ntadmis~ionc\ yliar,
                         one Amicus could have filled more than t,YOfull matriculating clas-
                         A(!;;from studPnts ranked fil·st in their hig·h ,-;chooh In fad, how
                         ever. only 12 percent of those applicants ,vere admitted, compl"is-
                         in_gdi,e,;htlyJn(lrl! than 21 Pl'l'tlmt of tlw total number of nclmitkd
                         applicants. For that school, more than eight matriculating classes
                         could have lwlm filled by ~tudenb in Uw top ten pC'rcent of thl'ir
                         high schools. Another Amicus recently admitted only six percent
                         of applknnt~ in thl'. top wn ]Wl'Cl'rttof thd1· high school da~~c,~and
                         declined to admit nearly two thirds of applicants with perfect SAT
                         sc01·c·s. Ancl a third Amku~ institution ha~ admittl'd, over tlw la~t
                         three admission cycles, fe,ver than half of applicants with perfect
                         SAT scon•s. That ~aml' in~tituti1m t'l'tl'ivr•d applk,ition~ from
                         2,272 vale<lictol'ian'3for the clas,; of 2016, but admitte<l only 294 of
                         t.hus,· ;1pplinu1l.s.




                                                                                                           HARV00018914




                                                      JA5219
                                                     DX026.0015
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                         student,; to difference,; of many kinds: backgrounds,
                         ideas, expe1·iences, talents, and aspirations.
                              Arnici's admissions policies are based on the princi-
                         ple that, in a free society, inquiry proceeds best ,vhen
                         vie,vs arnl goals must withstand examination from the
                         ·widest possible range of perspectives. And Amici's ex-
                         pel'iences beal' this out: A student body that is diverse
                         in many dimensions, including racial and ethnic back-
                         ground, produces enormous educational benefits. Such
                         diversity significantly improves the rigor and quality of
                         sturlents' erlucational experiencef. hy leading them to
                         examine and confront themselves and their tenets from
                         many different points of view. It also prepares them
                         for life, ,vork, and leadership in a nation and world that
                         are constantly becoming more eomplex.
                              This diversity benefits society as well, for it fosters
                         the development of citizens and leaders who arc crea-
                         tive, collaborative, and able to navigate deftly in dy-
                         namic, diYerse environments. Indeed, the university
                         plays a unique and critical role in this 1·esped, for in our
                         society a university educational experience may offer
                         one of the fe,v opportunities for individuals to live and
                         interact on a daily haf.is vvith peerf. from miwkedly dif-
                         ferent backgrounds, expel'iences, and perspectives. As
                         one university president has explained:
                             Princeton also offers you a once-in-a-lifetime
                             opportunity to connect with men nncl women
                             whose fo,·es have differed drnmatically from
                             yoUl' o,vn: who view the world from a different
                             yantage point. ~ever again will you live ,vith a
                             group of peers that was expre:'sly assembled to
                             expand your horizc,m; and open your eyes lo Lhe
                             fascinating richness of the human condition ....
                             The reason [the Admission Offiee] took sueh




                                                                                             HARV00018915




                                                JA5220
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                               care in !"electing all of you-weighing       your
                               many talents, your academie and extracmTicu-
                               lar interests, your cliver8e histories-,xas to in-
                               crease the likelihood that your entire educa-
                               tional experience, inside and out1:,idethe cb1:,s-
                               room, is as mind-expanding as po8sible. 1,Vhen
                               you graduaLe you will enLer a wodd Lhal is now
                               truly global in perspective, ancl in \Yhich suc-
                               cess will require that you have a cosmopolitan
                               attitude. You must be equipped to live and
                               work in not one culture, but in many cultures.
                         Shirley M. Tilghman, '2005 Opelliny E:rei·ci;.;e;.;
                                                                           GJ'eetiuy
                         and   Adrfrrs.~ (Sept. 200i"i), m•ai/oh/,r at http://v,,,\ ..vY.
                         princeton.edu/president/s peeches/20050911. 4
                              Like this Court, Amici look forward to the day
                         ,vhen race does not matter. See Grutter, 439 U.S. at 34::l
                         (anticipating that "25 years from now, the use of racial
                         preferences will no longer be necessary to further the
                         interest'' in divel'Sity); id. at 346 (Ginsburg, J., concur-
                         l'ing) ("one may hope, bul noL finnly foreeasL, LlrnL over
                         the next generation's span, progress toward nondis-
                         crimination and genuinely equal opportunity will make
                         it safa to sunset affirmative action"). Rut for now, ''tlw
                         reality is that" ''race [does] matter[]." Parent;.; hl-
                         m!ued, 5:51U.S. at 787 (Kennedy, .J., concm-ring in part

                              4 Fm· Amici, diyersity is meant to benefit the ~tuclent body

                         both inside and outside the classroom. Because Amici are all resi-
                         dential in~titutiun", lia~h :st1·ive:stu Cl'l,ate a leaming l,m·it·c,nmPnt
                         in ·which education occurs both ,,ithin the classroom and through
                         myl'iad othc,r ~tudc•nt intl'ractiuns-in rt,~iclenc<'~ancl dining hall:,;,
                         in performance. artistic, athletic, and 1·ecreational spaces, in stu-
                         dent m·ganization~ and adivitil'~, and throughout tht• campu:,;. In-
                         deed, Amid aim to create an enYil'Onment in which stuclenb learn
                         m, rnul'h f'l'nrn<'aeh ,ith,·1· ouL~idr·n~ within t.h,·(·iaN~1·1111n1.




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                                                     JA5221
                                                    DX026.0017
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                                                      11

                         and concurring in the judgment): arr:o;y{ Grnttrr, ,'i:m
                         U.S. at :332-333. To say that raee eontinues to matter is
                         to acknmvleclge forthrightly that, for many reasons-
                         including the frustrating persistence of segregated
                         sehools and eommunities-rnee eontinues to shape the
                         backgrounds, perspectiyes, and experiences of many in
                         our soeieLy, induding Arniei's sLudenLs. See, e.g., Par-
                         ents Incoleed, 551 U.S. at 798 (Kennedy, J., concurring
                         in part and concurring in the judgment) ("Due to a ,-a-
                         1·iety of fad ors ... neighborhoods in our i:ommunities do
                         not reflect the diversity of our Nation as a whole.").
                              Fo1· many students, a univel'Sity may be the first
                         place in \Yhich they are exposed to others whose hack-
                         grounds are markedly different from their own.
                         Through that exposm·e, students are eni:ournged to
                         question their own assumptions and biases and to ap-
                         p1·edate the eomplexity of om t:,Ocietyand the world.
                         In Amici's judgment, such exposure \Vill hasten the ar-
                         rixal of the day when rnce no longer matten,.
                              2. Abamloning Gruller's compelling-inle1·esL hold-
                         ing ,vould significantly impair the ability of Amici to
                         fulfill their edui:ational missions. It would also i:all into
                         question A rnici's ahility to use inrlivirlualizerl, holistic
                         admissions at all. The structure of that review requires
                         that Amid obtain and review topious information re-
                         garding the characteristics, life experiences, accom-
                         plishments, and talents of ead1 applicant, to assess both
                         the applicant's academic potential and the contlibution
                         that the applicant may make to the class as a whole.
                         Such nn npplitation process should allow-indeed en-
                         courage-applicants      to provide any information about
                         themselves, including thei1· background, that the appli-




                                                                                             HARV00018917




                                                JA5222
                                               DX026.0018
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                                                              12

                         c,:mt thinks releni.nt. 5 If an applic;:int thinks his or her
                         race or ethnicity is relevant to a holistic evaluation-
                         ,vhich would hardly be surprising given that race re-
                         mains a salient social factor-it is clifficult to see how a
                         uniwrsity could blind itself to that factor while also
                         gaining insight into each applicant and building a class
                         llmL is more Limn lhe sum of iLs varts.
                              ="Joris it at all apparent why universities should, at
                         this point in om nation's evolving understanding of
                         race, be forced to will ignorance with respect to race.
                         As this Court has recognized, nice continues to influ-
                         ence our experiences. See Parent;-; Inuulued, 551 U.S.
                         at 787 (Kennedy, .J., concurring in part and concurring
                         in the judgment): acrnnl Gndter, ,5:3()U.S. at :J;:2-::m::L
                         In view of that reality, as well as the histo1·y and pur-
                         poses of the Equal Protection Clause, it would be ex-
                         traordinai·y to conc.:ludeat this time that nice is the sin-
                         gle characteristic that universities may not consider in
                         composing- a student body that is diverse and excellent
                         in many dimensions, not just academically. (f Slww v.
                         Reno, G09 U.S. (i:10,G79 (Hl9:;) (Stevens, J., dbsenting)
                         ("If it is permissible to draw boundaries to pnwide
                         adequate representation for rural voters, for union
                         memhPrs, for Hasidic .Je,vs, for 1'olish Americans, or for
                         Republicans, it necessal'ily follows that it is permissible
                         to do to the same thing for members of the very minor-

                               5 ;:,a, e.g., The Common Application. 201'l-201J First-Year
                                          (!.'.ailingfo1·an
                         A.1111/"i(:(lt/1J11          (!~~ayon, among othe1· things, an "\•x-
                         perience that illustrates what you would bring to the cliyersity in a
                         eolll!)!:lleommunity" and inviting applicant~ to "attach a sPparnte
                         sheet if [applicant] wish[es] to p1·0,-ide details of circumstances or
                         qualifkations not rdkdl•d       in the applkation"). n1111i/1r/J/el(f
                         https://ww1v.communapp.u1·g/c:ummunapp/DuwnluadFurms/2013i
                         20rnPaelwt FY _rlownl1J,1rl.prH'
                                                       (lc1N(.1 iNit ,·rl Aug. 12, 2fl12.l.




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                                                         JA5223
                                                        DX026.0019
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                                                           lo
                         ity group whose history in the United States gave birth
                         to the Equal Protection Clause.").
                              Fimlly. the societal reliance interests on Bakke and
                         Grntter   counsel against any precipitous abandonment
                         of clive1·sity as a compelling inte1·est. Cf Plunned Pcl/'-
                         ent!rnnd of Se. Penn. v. Casey, SO,""i        U.S. tm:l, 8Vil-8(-i9
                         (1992). In the 34 years since Bakke and the nine yem·s
                         since Gndfef', Amici and othe1· selectiYe universities
                         have unde1taken a ,vide rnnge of measures to encour-
                         age minority applications and to expand minority ad-
                         missions. The principle that rliversity is a compelling
                         interest, announced in Bukke, ,viclely followed in prac-
                         tice, and affirmed in Gmttrr, has provided the frame-
                         ,vork ancl foundation for these efforts. The reliance in-
                         terests of universities, applieants, students, high
                         schools, businesses, and other social actors and institu-
                         tionc:;on this Court's jul'isprmlence are sub,;tantial. Ab-
                         sent some "special justification"-which          is not present
                         here-principles        of stare decisi., require continued acl-
                         herenee to Gr·ntter. See Dicken,011 Y. Uuited Stclte!i, 530
                         U.S. 428, 44:; (2000) (''even in constitutional cases,
                         [strn·P, dP,ci.,'is] carries such persuasive force that ,ve
                         lrnve always required a departure from precedent to be
                         i;;upportF:rlby somF: :c;pF:cial  justification" (intF:rnal quo-
                         tation marks omitted))."


                               6 Forbidding race-consciousness in individualized, holistic

                         admissions prnccsscs would han, many wrenching effects on
                         Amici, inducling a potential wan, of litigation by difappnintcd ap-
                         plicants. Because admissions officials ,rnulcl doubtless be mrnre of
                         th(· 1·aceof at ll,aRt ;;ome ;;uccr,;;;;fulapplicanb, ;;nme applicanb not
                         admitted might sue, claiming that race improperly influenced acl-
                         miRAion;;clecisions and wa:..;1·cs1imBible for the fact that otlwr stu-
                         dents ,nre admitted rather than them. Cnlike in other contexts in
                         v;hich all,,gation~ of diAct·iminatiun might bl: mi:sed. uniH:rnitics




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                                                    JA5224
                                                    DX026.0020
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                                                            14

                              B.   Mechanistic, Ostensibly Race-Neutral Poli-
                                   cies Are Not Constitutionally Required Alter-
                                   natives For Achieving Diversity
                              In addition to holding that cliYersity is a compelling
                         interest, this Court in Grutter finnly rejected the vie,v
                         that universities must choose between maintaining
                         "exeellence 01· ful.filliHga commilmenl lo µrovide educa-
                         tional opportunities to members of all racial groups.''
                         5;:9 U.S. at :m9.The Court declined to hold, as the So-
                         licitor General pressed, that universities must first try
                         mechanistic measures-such        as the Texas 10% Plan.
                         ,vhieh itself depends upon the existenee of segregated
                         schools-before it may nclopt race-conscious admissions
                         policies. The Court was clear that strategies that "re-
                         quire a dramatic saerifke of diversity, the aeadcmie
                         quality of all admitted students, or both" are not consti-
                         tutionally required. Id. at :340.
                              Petitioner is not challenging that aspect of Grutter.
                         See Pel. BL :l5 n.9 ("unlike in Gntller, PeLiLioners [sie]
                         are not attempting to foree a pereentage plan upon Re-
                         spondents"). She therefore is not advocating a rule

                         would often not be able to point to specific, objective distinctions
                         Jx,tweL:n(111<' applkant and another bl:C'aURl'     num"rknl :-;('c,rcRm·c·
                         not dctcrrninatiyc of Amici's admissions decisions: All such dcci-
                         ~ion~ a1·l: to ~ornc l:xknt ~uhjt,cti\'(: ancl inyolYl: mrnnr:l:d ,iudg
                         men ts about the applicant and composition of an entire class. Liti-
                                                                            ded~ion~ wouh l i1wYi-
                         gation on,1· thl: merits of ~pl:dfk aclrni:.;:.;ion~
                         tably draw courts into the second-guessing of core educational
                         judg1rnmts. See R"(Jt!ids rd·l',1J1'. o( Mich. , .. J,;win!J, 474 LS. 214,
                         226 (198-5)(courts are not well-equipped "to ernluate ... academic
                         dc·d~icm~that m·c madC' daily by fa~ulty 1mimbc,1·sof publie C'dtwa-
                         tional institutions-decisions that require an expert eyaluation of
                         eunrnlativP infol'mation and m·p not n'adily adaptPd to tlw proce-
                         dural toob of judidal ... decisionmaking" (internal quotation mal'b
                         and h1·:IC'kl'\~1Jmit.t,,d)).




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                                                     JA5225
                                                    DX026.0021
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                         that universities must first attempt mechanistic, race-
                         neutral alternatives in pursuing a diYe1·sestudent body.
                         This concession is crucial to Amici: Medrnnistic admis-
                         sions plans, \vhether based on guaranteed admissions
                         or other "objective'' numerical criteria, would be at war
                         ·with the educational missions of Amici and unworkable.
                               As this Court explained in Grnttev, guaranteed ad-
                         missions plans are not desirable race-neutn1l alterna-
                         tive,; for many unive1·sities because they ''preclude the
                         university from conducting the individualized assess-
                         ments necesf:ary to asf:emhle a student body that is not
                         just racially diverse, but diverse along all the qualities
                         valued by the uniYersity." f>:mU.S. at :l40. l11or Amici,
                         the assumption embodied in meehanistic alternatives-
                         i.e., that objective numerieal measures are the only or
                         even the best measure of an applicant's potential-is
                         pl'Ofoumlly misplaced. As we have explained, Amici
                         rely on incliviclualizecl, holistic review designed to as-
                         ses,; the qualifications of the whole applicant, as well as
                         how the applicant would contribute to fulfilling the
                         educational micisions of the institution.
                               Mechanistic proposals like the Texas lOSf Plan are
                         also completely impracticahle. Amici receive applica-
                         tion,; from far more applicants qualified by objective
                         measures than they tould hope to admit. See .supra n.3.
                         Beyond that, Amici ha\·e nationally and internationally
                         bacied student bodies at the undergraduate and gntdu-
                         ate [eye!. In the United States alone, there are more
                         than 24,000 public secondary schools and more than
                         2,700 pl'ivatc sccondal'y schools in addition to more
                         than 14,000 combined elementary and secondary
                         sehools. See Snyder & Dillmv, Dige15tuf Eclucatiuu Sta-
                         tistics   2011 tbl. 5 (.June 2012), a1x1iluble at
                         http:l/nces.erl.goy/puh:.;2012/2012001.pdf. Were each
                         A.miens to guarantee admission to just the top student




                                                                                            HARV00018921




                                               JA5226
                                               DX026.0022
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                                                             lti

                         at each of the nation's secondary schools, that would
                         requi1·e admitting many more than 20,000 students.
                         EYen if only 20 percent of those students matriculated,
                         a class of 4,000-plus students ,voukl easily exceed any
                         one of Amici institution's educational 1·esources.~ Apart
                         from that basic math problem, guaranteed admissions
                         polities would raise profound difficullies wiLhrespeel Lo
                         intemational students ancl at the graduate level. See
                         Gr11tter, 5:l9 CS. at :l40 (noting the United States did
                         not "explain how [percentage] plans could work for
                         graduate ancl professional schools"). Again, hm,yever.
                         even if these plans were somehow workable for Amici
                         (they are not), Amici would neyer Yoluntm·ily choose to
                         structure their admissions policies in such a mechanis-
                         tic fashion and with such a focus on a fe,v quantitative
                         measures.
                              Amici do extensiYely com,ider a ,vide range of race-
                         neutral factors in seeking to compose broadly din:rsc
                         and excellent stu<lent bodies. For example, Amici con-
                         sider whether the applicant is the first in the family to
                         attend college, whether he or she comes from a disad-
                         vantaged background, anrl vd1ether languages other
                         than English are spoken in the home. Amici also en-
                         gage in substantial outreach and recruiting efforts
                         aimed at increasing the size and diversity of the appli-
                         cant pool. Furthermore, Amici have aclopterl financial
                         aicl policies designed to enable a wicle vai·iety of admit-
                         ted students from all bw:kgroumls to attend. These ef-


                                 For Llw daHH of 201(1,fo1· ('-"amp!(•, Hanar,l aclmitLe(l 2,082
                          students. See Harvard College, Office of Admissions, A. flrief Pm-
                         fi'/, r!( tit." Aillfliffed Cln.,g rf '!01fi, ,wnilu/J(e nt http://wwv,;.
                         admissions.college .hanarcl.ecl u/ apply /s ta tb tks .html   (last   vi:sitecl
                         Aug. 12, 2012).




                                                                                                              HARV00018922




                                                      JA5227
                                                     DX026.0023
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                                                     17

                         forts have played an irnporumt role in contributing to
                         the diversity, induding racial and ethnic, of the student
                         bodies of Amici institutions.   nut racial and ethnic di-
                         versity are a distinct kind of difference in background,
                         and 1·eliance on such race-neutral measures alone can-
                         not substitute for indiviclualizecl, holistic reyiew that
                         lakes accounL of race ancl etlmicily of Lhe Lype ap-
                         proved of by Grnttcr. See, e.g.. ::\Tinov,-,After Bro,-vn:
                         What Would J1m1in Luther Kh1g Soy?, 12 Le,vis &
                         Clark L. Rev. 699, 686 n.192 (2008) (collecting studies
                         showing that reliance on socioeconomic status as an
                         admissions factor alone cannot prnduce racial diver-
                         sity).
                              Fo1· these reasons, the Coul't c:hould reaffirm, and
                         in no way 1·etreat from, the principle of Gndter, that
                         the Constitution does not require the use of mechanis-
                         tic, race-neutral lJolicies before race-conscious admi:,;-
                         sions approaches may be used.

                         IL   PETITJONER'S ARGUMENTS REGARDING THE APPLICA-
                              TION OF STRICT SCRUTINY ARE DEEPLY l<'LAWED

                              Petitioner argues that UT's consideration of race in
                         admissions does not satisfy strict scrntiny. UT ably de-
                         fends the specifics of its aclmissions system in its brief.
                         Amici write to emphasize that petitioner's arguments
                         amount to a backdoor effort to drain Gruttcr of meaning
                         and ,;rnuld significantly unsettle this Court's equal prn-
                         tection jurisprudence, on which Ami<..:iand many other
                         univ-ersities have relied. Specifically, petitioner's ap-
                         parent view that Parent:; l'll 1:olced, rather than Gr1d-
                         ter, governs this case is fundamentally misplaced; peti-
                         tioner's nndersta.ncling of the scope a.ncl nature of the
                         educational benefits of diversity is unfounded; and peti-
                         tioner's call for a strirt-h:isis-in-eviclence standanl to
                         reYiev.- the use of holistic, imliviclualized admissions




                                                                                            HARV00018923




                                               JA5228
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                                                     18

                         processes in higher education finds no support in this
                         Court's precedent and would have highly detrimental
                         implications.
                              Before proceeding, Amici wish to underscore a cru-
                         cial threshold point. ~ o Amicus employs race or eth-
                         nicity as a dass1ficatfrm. in its admissions policies; no
                         scats in the class arc 1·cscrvcd to applicants of any race
                         ur ethnic background, nor are applicants of any race or
                         backg;ruund limited tu a certain numbe1· of places.
                         Rather, Amici's admissions policies, by considering
                         myriad factor,; including race and ethnicity, are de-
                         signed to foster excellence through the admission uf a
                         class diverse in multiple dimensions.
                               In this way, Amici's policies m·e influern:ed by the
                         Harvarcl Plan approvecl by ,hrntice Powell in Bakke and
                         this Court in Grutter. :.\Iany universities have adopted
                         or reaffirmed such policies in the ,vakc of Grntter. In
                         light of this commitment to individualizecl, holistic re-
                         view, Amici consider race and ethnicity with extraunli-
                         rnu·y care and in Lhe must limile(l fashion necessary Lo
                         contribute meaningfully to the diversity of their stu-
                         dent body. Imposing judicial constraints on such re-
                         vie,v heyoml those ,;et forth in Grn.tter therefore vrnulrl
                         risk depriving Amici of the ability to compo::e academi-
                         cally excellent and cliYerse student bodies that remain
                         \·ital to achieving Amici's educational missions. Se('
                         Grntter. 539 U.S. at 326-327 ("Although all governmen-
                         tal uses of race arc subject to strict scrutiny, not all are
                         invalidated by it."): A.daruml Crm.structor;-;, Inc:. Y.
                         Pc11ct,51::iU.S. 200, 237 (1995) ("dispcl[ling] the notion
                         that strict scrntiny is strict in them·y, but fatal in fact"
                         (internal quotation marks omitted)).




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                                               JA5229
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                             A. Petittioner's ReHance On Pa.rents lnvolveci Is
                                Unavailing
                              AL neady every sle1J of petiLioue1·',,;a1·gw11enL,she
                         places heavy, if not exclusiYe, reliance on Pare,1ts In-
                         volued. That reliance is \\'holly misplaced. This Court
                         ha;; been cle~ir that "[c]ontext matters when reviev.-ing
                         rnce-basecl governmental action under the Equal Pro-
                         tection Clause," Gndter, 5:3~}U.S. ;327, and the differ-
                         ences between Parents h1nol1•ed ancl this case are
                         stark. In view of the important g1.1idanceprovided in
                         Grntter with rcspcd to structuring nmTowly tailored
                         admissions policies-guidance on which Amici anrl oth-
                         ers have heavily relied-thi,; Court should reject any
                         suggestion that Parents Innoll'ed, rather than Grntter,
                         governs review of imlividualized, holistic admissions
                         processes in the context of higher education.
                              1. In applying narrow tailoring in Gruffer, this
                         Comt identified the "hallmarks of a natTmvly tailored
                         [admissions] plan." 5;:rn U.S. at 334. Those hallmarks
                         are that an "admissions prngram cannot u,;e a quota
                         system"; an admissions progn1m ''may consider race or
                         ethnicity only as a plus in a particular applicant's file,
                         \Yithout insulating the individual from comparison with
                         all other candidates for the available seats"; and an ad-
                         missions prngram must be "flexible enough to consider
                         all perliuent elements of diYerniLy in light of the 1Jar-
                         ticular qualifications of each applicant." Id. (internal
                         quotation marks and brackets omitted). The Court
                         found that the program at issue in Gndter i:;atit,fied
                         tho;:e requirements because, among other things, the
                         law school "engage[d] in a highly individualized, holistit:
                         reyiew of each applicant's file, gi\-ing serious considera-
                         tion to all the ways an applicant might conti·ibute to a
                         diverse eclucational environment." Id. at 337.




                                                                                           HARV00018925




                                               JA5230
                                              DX026.0026
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                              There is a wirle gulf between that form of revie,v
                         and the assignment polides at issue in Pareuti; lll-
                         1'0/ned. Under the latter, race was a binary factor: One
                         plan "classifie[d] children as vvhite or nonwhite," while
                         the othe1· da;,:sified children "as black or 'other.'" GGl
                         U.S. at 710; w'c id. at 72~ ("Even when it comes to race,
                         U1e plan;, here employ only a lirniLed uoLion of diver-
                         sity[.]"). For each plan, moreoyer, race was effectively
                         the entire classification at issue, and it was applied in a
                         ''crude'' fashion that failed to give consideration to any
                         other characteristics of students. Sec id. at 789 (Ken-
                         nedy, J ., concurring in part and concurring in the judg-
                         ment). What is m01·e,the assignment plans were chal-
                         lenged by parents of children "denied assignment to
                         particular schools ... i;ulely becau::e of their race.'' Id.
                         at 710-711 (emphasis added).
                              The plans at issue in Pure1di; Irwulued bear no
                         meaningful resemblance to the indiYidualizccl, holistic
                         I"eYiewused by Amici and endorsed in Gn.dtvr. Justice
                         Kennedy, for example, expressly distinguished Grutz
                         and Gr1dter on the gTournl that, unlike the challenged
                         policies before the Court in Punmts hi 1:olvPd, those
                         cases addressed a ''system where race was not the en-
                         tire classification." i'l,11 lJ.S. at 7H~-7~J:L .Justic:P KPn-
                         nedy further contrasted the assignment plans at issue
                         ,vith Grnttr?r-like plans that would gh-e "nuanced, incli-
                         vidual evaluation of school needs and student charac-
                         te1·istics that might include race a,:;a component.'' !cl.
                         at WO. And the majority opinion drew precisely the
                         same distinction in comparing Gnitter with the policie:,,
                         at issue. See id. at 722 ("The entire gist of the analysis
                         in Gruller was that the admissions prog-ram al issue
                         the1·e focused on each applicant as an inc1ivic1ual,and
                         not simply as a member of a particular racial group."); id.
                         at 7~:l ("under each planL,Jwhen race comes into play, it




                                                                                             HARV00018926




                                                JA5231
                                               DX026.0027
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                                                       :21

                         is deeisiye by itself' ancl "not ,;imply one factor weighed
                         ,vith others in reaching a decision, as in Grutter").
                              In ;;hort, both the majority opinion and .Justice
                         Kennedy's concurring opinion in Pureuts htcolced took
                         pains to emphasize a distinction between policies in
                         which race (applied as a black/white binary distinction)
                         is effectively the enti1·e classification und those in which
                         race arnl ethnicity are but single factors as part of inc1i-
                         vidualized, holistic review. The Court in Parents Iu-
                         volwd was clear that the plans before it were "not gov-
                         erned by Gn.lfiPr," fifi 1 l J.S. ;:it 7~fi, anrl the inverse is
                         true here: Gf'ntter, and not Parent;,; focolued, <:ontinues
                         to supply the 21ppropriate benchmarks for assessing the
                         constitutionality of admissions policies of universitie,;,
                         such as Amici, that are strrn:turecl on Gruttcr ancl the
                         Harrnrc1 Plan.
                             2. This basic distinction disposes of petitioner's
                         argument (at :l8-41) that the use of race is unconstitu-
                         tional when it has an insubstantial effect on adual ad-
                         missions de<:isions. To be SLll'e,.Jusli<:e Kennedy in
                         PaTent" l'll uol1:c:dobserved that "it is noteworthy that
                         the number of students whose assigmnent depends on
                         express racial classifications is limited." i'ifil TJ.S. 21t
                         790. Those ''small number of assignments affected," he
                         1·easoned, "suggest[ec1] that the schools could have
                         achieved their stated ends thrnugh different means,''
                         including "fadally race-neutrnl means ... or, if neces-
                         sary, a more nuanced, individual e-valuation of school
                         needs and student characteristics that might include
                         race as a component." Id. The upshot of .Justice Ken-
                         nedy's analysis, as the Fifth Circuit noted below, was
                         that a state actor, when faced with a racial classification
                         that has little effect in practice, shouh1 instead use race-
                         neutral measures or Gnlftev-like policies that evaluate,




                                                                                               HARV00018927




                                                 JA5232
                                                DX026.0028
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                         in an individualized, holistic manner, ;i nurnher of fac-
                         tors, induding race and ethnicity. See Pet. App. 70a.
                              Contrary to petitioner's insistence. nothing in this
                         Comt 's precedent,, suggests that where race and eth-
                         nicity play only a small role (01· al'C,single factors among
                         many) in influencing decisions in a Grntter-like admis-
                         sions system, the use of race and ethnicity bccomec:1un-
                         constitutional. Such a 1·esult -would defy common sense:
                         That race and ethnicity, ,vhen condiclered among a n:ml-
                         titude of other factors, might have diminishing sig11ifi-
                         c,:mcein effecting outcomes shoulcl he taken as ,velcome
                         evidence that a program is carefully crafted to ~rvoid
                         overreliance on race ;ind ethnicity ,vhile al,:o ;ichieving
                         a diver:-oeand academically excellent student body.

                               B. Petitioner    Misapprehends The Educational
                                     Mission Of Universities And The Role And
                                     Benefits Of Diversity
                              In challenging UT's decision to reinstate a limited
                         use of race iu allmissiom, afle1· G,·u Iler, peLiLioue1·ar-
                         gues (at 2(i) that "Grutter ... endorses an inward-facing
                         concept of diversity focused on enhancing the univer-
                         sity expPrience-not    .=inoutw.=irrl-facing concept of di-
                         versity focused on achieving a level of minority enroll-
                         ment that is in proportion to the general population."
                         To be clear, Amici (apparently like UTg) clo not seek to

                               8 &e JABla    ("CT Austin has not established a goal, target.
                         01·other quantitatin· objc·dive for the admis~ion and/or L·m·c,llnwnt
                         of under-represented minority students for any of the incoming-
                         da~~li~ admittc·cl in 200:~ through 200X."): Pd. App. 44a ("CT ha~
                         never established a specific number, percentage, or range of mi-
                         nority pm·ullnwnt that would ron~titutl- 'rritieal ma~~··· and "thPn·
                         is nu indication that UT's Grnttei--!ike plan is a quota by another
                         nn.nH·").




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                                                   JA5233
                                                  DX026.0029
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                         attain levels of enrollment that conform to state, na-
                         tional, or international demographies. But petitioner's
                         proposed distinction between the "inward" and ·'out-
                         vvard" benefits of diversity is inconeistent with the edu-
                         eational missions of Amici and p1·ecedent.
                             Arnici's educational missions are broader than peti-
                         tioner and her amit:i would aelrnowlcdge. Amiei insist
                         that students at thei1· institutions ,vill exeel at demand-
                         ing eoursev,rnrk, but their missiond extend beyond that
                         singular goal to cle,,eloping active and engaged citizens
                         equipped to handle the problems of a complex world
                         and in training eity, state, national, ancl international
                         leaders in every field of endeavor, including the arts.
                         government, science, and business." In order to train

                                  9 See, e.g.. Haryarcl University, Frequently Asked Que.stions

                         ("Th<' .\'lission of Hal"VnrclCollc•ge": ''Education nt Hnrvarcl ~honltl
                         liberate students to explore, to create, to challenge, and to lead.
                         The ~upport the Colkige p1·ovideNto stndPnts i~ a foundation upon
                         which self-reliance and habits of lifelong learning are built: Har-
                         vard l'X[X!ds that the ~chola1·ship and collq,;iality it fosters in its
                         student8 v.ill lead them in their later lh-es to adrnnce knowledge,
                         to promote nmlerstancling, and trJ Sl'l'Vl' society."), u1·aii11!J/e /ff
                         http://-wv,,v.ha1Tard.edu/faqs1mission-statement         (last visited Aug.
                         12, 2012): Y,ile L'ni\·prsity, l'ninrsity      .ih,;sion StatenuDd (''Yak'
                         seeks to attract a uiverse group of exceptionally talenteu men anu
                         women frorn across the naiion and around lhe world and to edu-
                         eatP them for leadership in ~cholarship, the professions, and soci-
                         f't:,,-."). rwai/oh/r: 11t http://ww,v.yalP.edu/about/mission.html      (last
                         visited Aug. 12, 2012); Dartmouth C'nlleg·e, Missio11 ("Dartmouth
                         College educates the most promising students and prepares them
                         fo1· a lifetime of learning and of rc,sponsiblc lea<lcTship. through a
                         faculty dedicated to teaching and the creation of kno,vleclge.").
                         <<1rn:iaJJ/e at http://,vww.clartmouth.t:du/home/about/rnission.html
                         (last visited Aug. 12. 2012): Stanford Cniwrsity, The Fo1111cling
                         c;,l'ant with -1l1nmul'lllents,l,e!Ji,,/ation. <1ndCo·11rt D!'!'l'ee.,,at 24
                         (Stanfo1·d Lniversity's "chief object is the instruction of students
                         v;ith a vit'\\' to procltwing k,adc,rs ancl educato1·s in e:vc1ryfidil of




                                                                                                            HARV00018929




                                                     JA5234
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                         actiw~ citizens and leaders for participation in a cli-verse
                         nation and world, Amici must be able to compose an
                         appropriately diverse student body.
                               This Court has long embraced this facet of the edu-
                         cational mission of univel'Sities, ancl has recognized the
                         rnle cliYersity plays in advancing it. In Ba.kkP, for ex-
                         ample, Justice Po,vell explained that "it is not too much
                         to say that the nation's future depernls upon leaden,
                         trained through wide exposure to the ideas and mores
                         of students m: cli\"erse as this Nation of many peoples.''
                         4:ll'l lJ.S. at :n:: (internal quotation marks omitted).
                         Similarly. in Gruttu, this Comt held that "[i]n order to
                         cultivate a set of leaden; with legitimacy in the eyes of
                         the citizenry, it is necessary that the path to leadership
                         be visibly open to talented and qualified individuals of
                         every race and ethnicity. All members of our hetero-
                         geneous society must have confidence in the openness
                         and integrity of the educational institutions that pro-
                         vide thi,; training.'' 6:l9 U.S. at :l:l2; cf Brown v. Bo(Jrd
                         uf Eclne. uf Tupeku, 347 U.S. 483, 4'.:!3( l'.:!64) (education
                         is ''required in the pedormance of om· most basic public
                         I"esponsihilities" and "very foundation of good citizen-
                         ship").
                              This understanding of the broad educational mis-
                         sion of universities reveals the basic e1Tor in peti-
                         tioner's insistence (at 27) that any attention to demo-
                         graphics as a fado1· in assessing diversity is '' 'outright
                         racial balancing."' Gntttcr recognized that universities
                         train leaders and citizens for a heterogeneous society.

                         science and industry"), amilable at https://ogc.stanforcl.eclu.'sites/
                         ogc.~tanf1ll'rl.e1lu/file~/F1mmling%2t)Gnmt%20(l'<!llivalt·nt%2tlto%
                         20SU%20A1ticles0!20ofrk20Incorporntion)_2212-!_1.pclf        (last yis-
                         itPrl A 11g.12, 2012).




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                                                    JA5235
                                                   DX026.0031
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                         and that cliwrsity is vital to that fnnction. It stands to
                         reason that a university may pay ,;ome attention to the
                         communities from vvhich its students come and into
                         which its students graduate in pursuing those goals.
                              In Purc1ds h1i:olvcd, by contrast, the challenged
                         student assignment plans were "tied to each district's
                         specific racial demographic:::;,rnthcr than to uny peda-
                         gogic concept of the level of cliven::ity needed to obtain
                         the asserted educational benefits." ,'i:51U.S. at 72(:i
                         (plurality opinion) (emphasis added). The plans set a
                         range of enrollment "solely hy reference to the clerno-
                         graphic:::;of the respective school districts.'' Id. at 729
                         (plurality opinion). And as explained above, the pro-
                         grams clid nut employ individualized, holistic review in
                         order to achieve diver::;ity.
                              Those considerations are not at issue here, where a
                         university ha:::;a pedagogic concept of divel'Sity in mind,
                         and as part of its educational mission also pursues Grut-
                         ter's approved goal of creating a ·'path to leadel'Ship"
                         and citizenship fo1·a "heLerngeneous society.'' 589 U.S.
                         at ;m2. 10 Indeed, as explained throughout this brief,
                         producing the next generation of citizens and leadern is
                         a core mission of Amici institutions.     Tn aiming for a

                             w See Laycock, Tlw flrrmdcr Case Fo1· Affirmative Action:
                         De.=;egregation,
                                       Academic E:ccellence. and Fntiffe Leadership, 78
                         Tu!. L. lfo\'. 17(i7, 177:~ (200ll (Gr11./lc1· embmc<;d a bl'oad ,iu~tifka-
                         tion for cliYersity that included "bringing more minority young·
                         peopl<! into the, rno~t S<~lectiv<'~d10ols ancl into po~ition~ of !(;adm·-
                         ship'' to secure the "legitimacy of selective institutions of higher
                         education and th<~IPgitirnacy of th<; nation':s leade1·:.:hip"J;Payton,
                         Po.=;t-Grutter: What Does Dic·ersity Jlecm in Legal Ecl11cationand
                         Bi,yrnuU, ;-(:"iPc•pp. L. Hc•\'. ,,li!l, 5Xl-:"il'i2 (200S) (c•xplaining th<' ~ig-
                         nifkance of Grntter's discussion of the 1·elatiunship bet,1-een dh-er-
                         ~it,v a11drl,•1noc-r,1.c-,v
                                                ).




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                         rich and robust concept of diversity con::-::onantwith
                         those objeetiYes, it ,vould be illogieal to exdude alto-
                         gether any consideration of demographics, whether
                         municipal, state, national, or international, depending
                         upon the natm·e and mis::;ion of the in::;titution.
                               As Texas's flagship educational institution, UT's
                         mission is focused in pmt on trnining the next gcncrn-
                         tion of leaders fo1· Texas. See Resp. Br. 5. That may
                         ,veil affect the manner in which UT assesses the diver-
                         sity necessary to fulfill its mission. 8<'e Pet. App. :30a
                         ("'l'he need for a f.tate's leading educational institution
                         to foster civic engagement and maintain Yisibly open
                         paths to leadership ... requires a degree of attention to
                         the sul'l'ouncling community."). But this aspect of a
                         university's mission is not "nu:ial balanc[ing]. pure and
                         simple.'· Pa re11.t.~Jm,oh•erl, 5Eil U.S. at 726 (plurality
                         opinion). The es,ence of racial balancing is a goal that
                         functions as a quota, seeking to secure a "specified per-
                         centage of a paiticular µ;roup merely because of its race
                         or ethnic origin." Grntter, 53~ U.S. at 328 (internal
                         quotation mark;-; omitted). Petitioner concedes that b
                         not the goal of UT. See su7Jl'n n.8. Nor, emphatically, i;-;
                         it the goal of these Amici. Amici do not employ quotas,
                         and have no rigid baselines in mind with res11ect to di-
                         vernity. Amici's educational objectiYes are to admit a
                         student body that is diverse across myriad axes, that
                         constitutes more than the sum of its parts, that excels
                         academically, and that prepares a next generation of
                         nationally and internationally engaged citizens and
                         leaden: who are equipped to ,::w.:ceedin a remarkably
                         diverse world.
                             Petitioner largely ig11ores Grutter's recognition of
                         this paramount nJle of universities, which the Fifth
                         Circuit found crucial to its analysis. Sep Pet. App. :'i0a-
                         51a. Petitioner argues (at 29) only that ''this Court has




                                                                                            HARV00018932




                                               JA5237
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                         always rejected the use of race to advance the general
                         ,velfare of soeiety." The eases petitioner eites hold that
                         remedying societal discrimination is not a compelling
                         interest. See, e.g., City of Rirlmwnd Y. J.A. Cm.son
                         Cu., 488 U.S. 469, 499 (1989) ("amorphous claim that
                         there has been past discrimination in a particular in-
                         dus Lry t:arn10l ju,,Lify Lhe use of an unyielding raeial
                         quota"); Wygant v. Jacbon Bel. of Ecluc., 476 U.S. 267,
                         27(:i (1986) (plurality opinion) (''Societal discrimination
                         ... is too amorphous a basis for imposing a i-aeially clas-
                         sified remedy."). That is not even remotely the issue
                         he1·e. The compelling governmental interest in diver-
                         sity in higher education is quite cliffe1·entfrom remedy-
                         ing generalized discrimination.        The issue here is
                         whether, in assessing diversity, a university may take
                         into account the need (a) to foster conclitions for provicl-
                         ing the most stimulating learning environment po,:sible
                         and (b) Lo train effet:Lively eiLizens and leadern for a
                         heterogeneous society. .Justice Powell's opinion in
                         Bukke and Lhe decision of this Courl in Gruller answer
                         that question affirmatively. A retreat now would be a
                         substantial blo,Y to the eclucational missions of Amici
                         and many univen,ities.

                             C. This Comt Has Not Applied And Should Not
                                Apply A Strong-Basis-In-Evidence Standard
                                To The Unique Context Of Higher Education
                             Petitioner argues at length (at 31-37) that, under
                         this Court's precedents, a strong-basis-in-evidence
                         standard applie;; to uniYe1·sity admissions prognuns,
                         although she says little about the content of this stan-
                         dard. As a matter of prneedent, petitioner's claim is
                         wrong, as UT eogently explains (at 4V). Amiei write to
                         emphasize why this Court should not, for the first time,
                         apply sueh a standard to higher e<lueation.




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                              First, the reasons the Court has applied a strong-
                         ba::;is-in-evidence standard in other circumstances carry
                         no force here. "Context matters when revie,,-ing race-
                         ba;;ed governmental action under the Equal Protection
                         Clause." Gnitter, G39 U.S. at 327. The strong-basis-in-
                         eviclence standard has been used to identify when race
                         may be used lo remedy hisLorirnl discrimiHalion. See
                         Wygant, 476 U.S. at 277-278; Cm;,,011, 488 U.S. at 498-
                         499. vv11ether discrimination has occurred i;; an objec-
                         tive and measurable fad: For example, did the City of
                         Richmond discriminate in the past in awarding gov-
                         ernment contracts'? ln that setting, it would make little
                         sense simply to e:reclit a goocl-faith juclgment by the
                         City that discrimination ha,; occurred because the City
                         ,vould htffe no special claim to expertise regarding that
                         fact. 11
                              By contrast, the educational benefits of diversity
                         and the degree of diw:rsity necessary to obtain those
                         benefits defy easy calculation. Judgments about educa-
                         tional benefits are nece,;sarily at the core of the exper-
                         tise of universitie;; and ineyitably implicate the Fin,t
                         Amendment interests in a university's definition of its
                         own edue:ational mission, discussed further below. Ser
                         Grnttcr, ,:,;19l J .8. at :1~8(''The Law School's educational
                         judgment that such diYersity is essential to its ecluca-

                               11 In Ricci v. Dr:St1:(ann,129 S. Ct. 26fi8 (2009), this Court ap-
                         plied this standard to determine whether a public employer's fear
                         of di~paratr!-impad liability wa:s l't!asonablt!. ln that 8l'tting. too, it
                         arguably made little sense simply to credit the good-faith belief of
                         the l'mployPr becauNe thti possibility of ~n~h liability lil'~ square,]~~
                         v;ithin the competence of the courts to evaluate-unlike        the educa-
                         tiorml bt'lll'fitN to bt• ohtai11l'd from partknlar adrni~~ionN polidPN,
                         an a1·ea in vihich the com·t~ have no special expertise and have long
                         dr·fc1T1·dlo uni\ <'t'Nili,·N'jwlgrm·nt.s.




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                         tiomil mission is one to which we defer."). In this c>ru-
                         cial respect, highel' education is fal' afield from govern-
                         ment contracting and public employment, in which the
                         state actors employing the racial classifications vvould
                         have no rew,onable claim to any special expertise as to
                         ·whether historical discrimination has occurred.
                              Sccuml, application of a strong-basis-in-evidence
                         standard to univel'Sities' admissions decisions would
                         threaten to undermine the First Amendment interests
                         of universities, as well as the prnper deference due uni-
                         versity officials' educational judgments. This Court has
                         long acknowledged the special role universities play in
                         the First Amendment tradition. As .Justice l'owell ex-
                         plained, the First Amendment interests of a uniyersity
                         includes the freedom " 'to determine for itself on aca-
                         demic grounds vvho may teach, what may be taught,
                         how it shall be taught, and who may be admitted to
                         study.'" Ba.kkc. 4B8 U.S. at Bl2 (Powell, .J.) (quoting
                         S?cee.::yv. New Hurnp.-;hin,, :l,'i4 U.S. 2:-l4, 26:l (19.'".i7)
                         (Fl'ankfurter, J., concurring in the l'esult)). This Court
                         reiterated in Grutter that, "given the important pur-
                         po,;es of public education and the expan,;ive freedoms of
                         speech and thought associated ,vith the university en-
                         vironment, universities occupy a spPcial nichP in our
                         constitutional trmlition.'' Grntter. 539 U.S. at 329. 12


                              12 Sa also I'arents Jnnol1ed. 351 U.S. at 792 (Kennedy, J..
                                                           1



                         concurring in part and concmTing in the juclgmcnt: ("p1·cccclcnt
                                                                                  1


                         support[f] the prnpo~ition that Fii·Rt Amcndml:nt internsb give,
                         uniyersities particular latitude in defining diversity''): Byrne. Acc,-
                         de111.1c
                                Fi·eedmn: A ··Sper:ial Co11u 1·1111(the Fi1·.~tAme11rl111ent",9~!
                                                               0


                         Yale L.J. 251, 311 (l!.!8!.!)("lTJhe :::OupremeCourt's decisions con-
                         cerning academic frcl:<lom have protedc,d principally and ex-
                         pressly a First Amendment right of the uni\·ersity itself ... largely
                         to L,e fr<:e from go,·<:1·nmr,nt inkrfp1·cncc, in the performan~c, of




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                              Although this "special niche" of universities has
                         never meant and should not mean that they al'e im-
                         mune from judicial review, a strong-basis-in-evidence
                         standard could seriously impair universitie:c:' legitimate
                         Fir;,t Amemlment interests. A tonstitutional rnle that
                         required decisions regarding diversity-for          example,
                         deLerrninations abouL Lhe value of di\·en,ily, Lhe lypes
                         of diversity necessary to advance a university's mis-
                         sion, and the contributions of various degrees of rliver-
                         sity to that mission-to be proven by smTeys or data
                         sets, ancl then second-guessed in court, would imperil
                         the First Amendment inte1·ests of universities by cab-
                         ining a university's ability to rely on the nuanced and
                         expert judgments of its officials, faculty, and adminis-
                         trators in assessing such questions.        Cf Regrnlt!J uf
                         Unh·. of M~irh. v. Ewing, 474 U.S. 214. 22G (198G)
                         ("When judges are asked to review the suh3tance of a
                         genuinely w:adernic dedsiou, ... lhey should show great
                         respect for the faculty's professional judgment."). And
                         a slamhm.l lhal would affunl nu or liLLledeferente Lu
                         the educational judgments of universities ,vould be con-
                         trary to this Court's recognition of the need to limit in-
                         trnsive juclit.:ial inquiry of univei-sity clet.:isionmaking.
                         Srr Uninrr.sity of Penn. v. EEOC, 49:1 U.S. 182, Hrn
                         (1990) (noting the ''importance of avoiding second-
                         guessing of legitimate academic judgments"); Ecwing,
                         474 U.S. at 22fi n.12, 227 (" Academic freedom ... thrives




                         core educational functions.''); cf floarcl of Regents of Un 111• of Wis.
                         S11s. v. SrHdlumn111, ,",29 C.S. 217, 2:--\21_2000) ('·It i~ not fur thl·
                         Comt to say \\'hat b or is not germane to the i<leas to be purnue<l
                         in ;rn in~LiLutio1111fhigfo·1·h•,1.rning.").




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                                                            ;n
                         on autonomous          decisionmaking         by the academy it-
                         self[.]"). 13
                              Third, application of a strong-basis-in-evidence
                         standard to Grutter-like admissions policies could have
                         a pmticularly substantial impact on Amici. Amici re-
                         ceive applications from far more academically excellent
                         students than they could hope to admit, and they rely
                         exdusively on indiYidualized, holistic review. See .~1l-
                         11ra pp. 7-t-;. In light of that, a standard that demanded
                         rigorous empirical eYidence regarding individual ad-
                         missions decisions or decisions regarding the composi-
                         tion of a student body as a ,vhole could subject Amici to
                         frequent litigation over vd,ether the standard is satiP-
                         fiecl. The predictable result would be intrusive discov-
                         ery and judicial micro-management of admissions deci-
                         sions anrl policies. See .mpra n.(5 (explaining why a re-
                         ve1·sal of Grntter would have a similar effect). None of
                         this is to say that universities need not carefully evalu-
                         ate issues of diversity, but often the most probative
                         eviden<:e bearing on the issues will be the expert educa-
                         tional judgments of university officials, admi:,;sions offi-
                         cer,;, and faculty-jurlgments       based on decades of ex-
                         perience with holistic, individualized race-conscious
                         admissions policies. The Constitution should not he
                         1·eaclto foreclose relian<:e on those judgments.


                                    1 ' This is not, as petitioner paints it (at 22), an argument for
                         "unlimitt\cl dPfrl\·n~l' to unive1·~ity ndmini~trator~." Stl'ict ~C'l'U-
                         tiny is properly demanding, but it should be applied so as not to
                         dc·privt' unh·er~ity officials of the l'ight to ext\rd:sc· l'(!:.;ponsibly
                         their expert educational judgments. See Gmtte;·, 539 U.S. at 328
                         (:.;trid :.;erutiny "i:.;no It':.;~~trkt for taking into aeeount eomplt'x
                         educational judgment~ in an area that lies primarily within the
                         l'~fl('l'(,i~t'  llr( ht• llrlill't':.;i(y").




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                              In short, the framevYork acloptecl hy this Conrt in
                         Grntter supplies a workable and app1·opriate standard
                         for reviewing race-conscious university admissions pol-
                         icies. There is no cause for replacing that framework
                         ,Yith an ill-defined strong-basis-in-evidern.:e standanl
                         that could interfere \Vith the First Amendment inter-
                         ests of and edutatiunal juclgrnenLs by universities and
                         that ,vould be sure to invite unnetessary litigation.

                                             CONCLUSION
                             The judgment of the tourt of appeal::; should be af-
                         firmed.


                                                    Re;:;peetfully submitted.


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